          Case 2:23-bk-10990-SK                 Doc 391 Filed 10/04/23 Entered 10/04/23 11:54:55                                  Desc
                                                 Main Document    Page 1 of 557

Attorney or Party Name, Address, Telephone & FAX Nos.                         FOR COURT USE ONLY
Jeffrey W. Dulberg (State Bar No. 181200)
Jeffrey P. Nolan (State Bar No. 158923)
PACHULSKI STANG ZIEHL & JONES LLP
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067-4003
Telephone: 310.277.6910
Facsimile: 310.201.0760
E-mail:jdulberg@pszjlaw.com
jnolan@pszjlaw.com



Counsel to Bradley D. Sharp, Chapter 11 Trustee
       Movant(s) appearing without an attorney
       Attorney for Movant(s)
                                       UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
In re:                                                       CASE NO.: 2:23-bk-10990-SK

                                                                              CHAPTER: 11
LESLIE KLEIN,


                                                                                    DECLARATION THAT NO PARTY
                                                                                  REQUESTED A HEARING ON MOTION
                                                                                          LBR 9013-1(o)(3)


                                                                                                   [No Hearing Required]
                                                           Debtor(s).


  1. I am the        Movant(s) or        attorney for Movant(s) or          employed by attorney for Movant(s).

   2. On (date): 9/15/2023 Movant(s) filed a motion or application (Motion) entitled: Notice of Motion
and Motion of Chapter 11 Trustee, for Order Authorizing the Examination of Bank Hapoalim, BM dba Bank Hapoalim, USA, Pursuant to Fed. R. Bankr.
P. 2004; Memorandum of Points and Authorities; Declarations of Bradley D. Sharp, Nicholas Troszak and Jeffrey P. Nolan in Support Thereof [Docket
No. 349].


  3. A copy of the Motion and notice of motion is attached to this declaration.

  4. On (date): 9/15/2023      Movant(s), served a copy of     the notice of motion or the Motion and notice of motion
     on required parties using the method(s) identified on the Proof of Service of the notice of motion.

  5. Pursuant to LBR 9013-1(o), the notice of motion provides that the deadline to file and serve a written response and
     request for a hearing is 14 days after the date of service of the notice of motion, plus 3 additional days if served by
     mail, or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).

  6. More than 17           days have passed after Movant(s) served the notice of motion.

  7.     I checked the docket for this bankruptcy case and/or adversary proceeding, and no objection and request for hearing
         was timely filed.
  8. No objection and request for hearing was timely served on Movant(s) via Notice of Electronic Filing, or at the street
     address, email address, or facsimile number specified in the notice of motion.
       Case 2:23-bk-10990-SK             Doc 391 Filed 10/04/23 Entered 10/04/23 11:54:55                        Desc
                                          Main Document    Page 2 of 557

  9. Based on the foregoing, and pursuant to LBR 9013-1(o), a hearing is not required.

Movant(s) requests that the court grant the motion and enter an order without a hearing.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




   Date: 10/04/2023                               /s/ Jeffrey P. Nolan
                                                  Signature


                                                  Jeffrey P. Nolan
                                                  Printed name
Case 2:23-bk-10990-SK   Doc 391 Filed 10/04/23 Entered 10/04/23 11:54:55   Desc
                         Main Document    Page 3 of 557




                           EXHIBIT 1
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                   09/15/23 11:54:55
                                                                                                                                            15:51:07            Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page41of
                                                                                                                            of557
                                                                                                                               13


                                                                   1   Jeffrey W. Dulberg (CA State Bar No. 181200)
                                                                       Jeffrey P. Nolan (CA State Bar No. 158923)
                                                                   2   Pachulski Stang Ziehl & Jones LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                   3   Los Angeles, CA 90067
                                                                       Telephone: 310/277-6910
                                                                   4   Facsimile: 310/201-0760
                                                                       E-mail:jdulberg@pszjlaw.com
                                                                   5           jnolan@pszjlaw.com

                                                                   6   Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                   7                                 UNITED STATES BANKRUPTCY COURT

                                                                   8                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   9                                        LOS ANGELES DIVISION

                                                                  10    In re                                          Case No.: 2:23-bk-10990-SK
                                                                  11    LESLIE KLEIN,                                  Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                          Debtor.                     MOTION OF CHAPTER 11 TRUSTEE, FOR
                                                                                                                      ORDER AUTHORIZING THE
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                      EXAMINATION OF BANK HAPOALIM, BM
                                                                  14                                                  DBA BANK HAPOALIM, USA PURSUANT
                                                                                                                      TO FED. R. BANKR. P. 2004;
                                                                  15                                                  MEMORANDUM OF POINTS AND
                                                                                                                      AUTHORITIES; DECLARATIONS OF
                                                                  16                                                  BRADLEY D. SHARP, NICHOLAS R.
                                                                                                                      TROSZAK AND JEFFREY P. NOLAN IN
                                                                  17                                                  SUPPORT THEREOF

                                                                  18                                                  [FED. R. BANKR. P. 2004 AND L.B.R.
                                                                                                                      2004-1]
                                                                  19
                                                                                                                       [No Hearing Required]
                                                                  20

                                                                  21   TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE;
                                                                  22   THE OFFICE OF THE UNITED STATES TRUSTEE; THE PROPOSED EXAMINEE; AND
                                                                  23   PARTIES ENTITLED TO NOTICE HEREOF:
                                                                  24            PLEASE TAKE NOTICE THAT Bradley D. Sharp, the duly appointed chapter 11 trustee
                                                                  25   (the “Trustee” or “Applicant”) of the bankruptcy estate (the “Estate”) of Leslie Klein (the “Debtor”),
                                                                  26   pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (“Rule 2004”) and Local
                                                                  27   Bankruptcy Rule 2004-1 (“LBR 2004-1”), hereby moves the Court (the “Motion”) for an Order
                                                                  28   requiring that Bank Hapoalim, BM dba Bank Hapoalim, USA (“Bank Hapoalim” or Proposed


                                                                       DOCS_LA:350994.2 78512/001                      1
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                   09/15/23 11:54:55
                                                                                                                                            15:51:07              Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page52of
                                                                                                                            of557
                                                                                                                               13


                                                                   1   Examinee”) produce documents and answer written questions pursuant to Rule 7031, as agreed to as

                                                                   2   follows: October 9, 2023 for production of documents and testimony, or as otherwise consensually

                                                                   3   agreed to by the parties.

                                                                   4
                                                                                                                             I.
                                                                   5
                                                                                                          PRELIMINARY STATEMENT
                                                                   6

                                                                   7             The Motion is made on the grounds that pre-petition, the Debtor, was appointed and

                                                                   8   represented multiple trusts in his capacity as an attorney and a fiduciary. Numerous of his former

                                                                   9   clients have filed complaints over the past eight (8) years in the Superior Court of California, Los

                                                                  10   Angeles County (“Superior Court”) in which they allege monies were diverted by the Debtor,

                                                                  11   utilized for improper purposes, and which sums are unaccounted for despite orders to show cause
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   issued from the Superior Court. Non-Dischargeability complaints were subsequently filed before the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Bankruptcy Court alleging similar fact patterns accusing the Debtor of utilizing multiple accounts to
                                           ATTORNEYS AT LAW




                                                                  14   improperly make investments, collateralize investments, and/or divert monies for personal use

                                                                  15   without the permission of the beneficiaries whom entrusted said funds to the Debtor. The Debtor

                                                                  16   has indicated he maintained no hard copies of financial records and minimal personal records if any.

                                                                  17   Investigation into the bank accounts may give rise to damages, other claims and/or property

                                                                  18   recoverable by the Debtor’s bankruptcy estate.

                                                                  19                                                         II

                                                                  20                                               BACKGROUND

                                                                  21   Procedural Background and Filing of the Cases:

                                                                  22             On February 22, 2023, the Debtor filed a voluntary petition for relief under subchapter V of

                                                                  23   Chapter 11 of the Bankruptcy Code.

                                                                  24             On April 24, 2023, creditors Erica and Joseph Vago filed a Motion for Order Dismissing

                                                                  25   Debtor’s Chapter 11 Bankruptcy Case (the “Motion to Dismiss”) [Docket No. 79].

                                                                  26             On May 17, 2023, at a hearing held on the Motion to Dismiss, the Court ruled that the

                                                                  27   appointment of a chapter 11 trustee, and not dismissal of the case, was in the best interests of the

                                                                  28   estate.


                                                                       DOCS_LA:350994.2 78512/001                        2
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                   09/15/23 11:54:55
                                                                                                                                            15:51:07            Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page63of
                                                                                                                            of557
                                                                                                                               13


                                                                   1           On May 23, 2023, the UST filed a Notice of Appointment of Chapter 11 Trustee [Docket No.

                                                                   2   151].

                                                                   3           On May 24, 2023, the UST Filed an Application for Order Approving Appointment of

                                                                   4   Trustee and Fixing Bond [Docket No. 154], approved by order entered the same day [Docket No.

                                                                   5   155]. On that same day, the Trustee accepted his appointment [Docket No. 156].

                                                                   6           This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28

                                                                   7   U.S.C. §§ 1408 and 1409.

                                                                   8   Factual Background:

                                                                   9           On August 27, 2021, Plaintiff, ADI Vendriger, individually and on behalf of the Vendriger

                                                                  10   Family Trust, filed a complaint against the Debtor and the law firm of Les Klein & Associates, Inc.

                                                                  11   (the “Law Firm”) asserting various tort causes of action, including fraud, conversion of property, and
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   money had and received. The complaint alleges multiple improper acts by the Debtor including
                                        LOS ANGELES, CALIFORNIA




                                                                  13   comingling and misappropriation of funds. (See State Court Complaint for (1) Fraud; (2) Breach of
                                           ATTORNEYS AT LAW




                                                                  14   Fiduciary Duty; (3) Conversion; (4) Money Had And Received; (5) Unjust Enrichment and (6)

                                                                  15   Accounting (the “Vendriger Complaint”), ¶¶24, 25, 28, attached hereto as Exhibit A.) On April 10,

                                                                  16   2023, a Notice of Stay of Proceedings was filed.

                                                                  17           On August 29, 2022, a referee appointed by the Superior Court issued an 84 page “Report

                                                                  18   and Recommendation of the Court-Appointed Referee on Examination and Adjudication of the

                                                                  19   Trustee’s First, Second, and Third Accountings On Each of the Twenty-Four Trusts At Issue For the

                                                                  20   Trust Periods September 10, 1996-June 30, 2013, July 1, 2013-December 31, 2016 And January 1,

                                                                  21   2017-September 30, 2018” (the “Referee’s Report”, attached to the Declaration of J. Nolan as

                                                                  22   Exhibit B). The Referee’s Report outlines a multitude of improper acts taken by the Debtor

                                                                  23   including the transfer and misappropriation and commingling of funds. (See Exhibit B, p. 21) Large

                                                                  24   financial disparities were noted to exist between what the Debtor claimed was disbursed to

                                                                  25   beneficiaries and ultimately what the beneficiaries documented they received. (See Exhibit B, p. 18,

                                                                  26   ft. note 21)

                                                                  27           On May 10, 2013, Plaintiffs Erica and Joseph Vago, filed a Complaint to Determine the

                                                                  28   Nondischargeability of Certain Debts owed by Debtor Leslie Klein to Erica and Joseph Vago


                                                                       DOCS_LA:350994.2 78512/001                      3
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                   09/15/23 11:54:55
                                                                                                                                            15:51:07             Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page74of
                                                                                                                            of557
                                                                                                                               13


                                                                   1   Pursuant to 11 U.S.C. §523, and To Deny Discharge Pursuant to Section 727(A)(12) (See Complaint

                                                                   2   for Nondischargeability (the “Vago Complaint”) against the Debtor attached to the Declaration of J.

                                                                   3   Nolan as Exhibit C) The Vago Complaint alleges that the Vagos’ moved 15MM in funds to the care

                                                                   4   of the Debtor between 2013 and 2017. (See Exhibit C, ¶¶17, 26) In 2019, the Vagos demanded

                                                                   5   their monies be returned and the Debtor refused. (See Exhibit C, ¶¶36, 37) The Vago Complaint

                                                                   6   alleges that the Debtor commingled trust funds with his personal funds. (See Exhibit C, ¶46) The

                                                                   7   Vago Complaint attaches a judgment in the amount of $24,334,038 as against the Debtor.

                                                                   8           On May 12, 2023, Plaintiffs, Robert and Esther Mermelstein filed Complaint for

                                                                   9   Nondischargeability of Debt Pursuant to 11 U.S.C. §523(a)(2)(A), 11 U.S.C. §523(a)(4) & 11 U.S.C.

                                                                  10   §523(a)(6) & for Denial Of Discharge Pursuant to 11 USC §727(a)(2)(A); 11 USC §727(a)(2)(B); 11

                                                                  11   USC §727(a)(3); 11 USC §727(a)(4); 11 USC §727(a)(5) the “Mermelstein Complaint”) (See
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Declaration of J. Nolan as Exhibit D, ¶¶17, 21, 24, 28, 32). Several of the investment opportunities
                                        LOS ANGELES, CALIFORNIA




                                                                  13   resulted in significant recoveries to the Debtor which sums are alleged to have been converted by the
                                           ATTORNEYS AT LAW




                                                                  14   Debtor and concealed from the Mermelstein beneficiaries. (See Mermelstein Complaint, ¶¶14, 20,

                                                                  15   31). The Mermelstein Plaintiffs have filed proofs of claims in the Bankruptcy Case exceeding

                                                                  16   $13,000,000. (See Mermelstein Complaint, ¶41).

                                                                  17           On May 13, 2020, the California Board of Accountancy, Department of Consumer Affairs,

                                                                  18   State of California, issued its Decision and Order in which the Debtor surrendered his license. (See

                                                                  19   Decision and Order, Stipulated Surrender of License and Order and Accusation attached to the

                                                                  20   Declaration of J. Nolan as Exhibit E). The accusation documents the Debtor issuing promissory

                                                                  21   notes in the name of the Debtor, entities in which he owned a substantial interest or controlled, as

                                                                  22   well as mischaracterizing investments to clients which in reality were merely non-recourse loans

                                                                  23   utilizing the Law Firm and Law Firm IOLTA Account. The Debtor caused to be issued promissory

                                                                  24   notes and utilized the funds as he alone directed. (See Exhibit E, Accusation, ¶¶ 19(iv), 22(d)).

                                                                  25           In the single in-person meeting with the Trustee and representatives of the Trustee, the

                                                                  26   Debtor claimed he did not maintain financial records. (See Declaration of B. Sharp, ¶3; Declaration

                                                                  27   of N. Troszak, §3) This response is consistent with a finding by the referee in the Menlo case that

                                                                  28   the Debtor “had no legitimate recordkeeping system”. (See Exhibit B, p. 23, lns. 15-18)


                                                                       DOCS_LA:350994.2 78512/001                       4
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                   09/15/23 11:54:55
                                                                                                                                            15:51:07                Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page85of
                                                                                                                            of557
                                                                                                                               13


                                                                   1           Since June 8, 2023, the Trustee has requested various financial documents including bank

                                                                   2   statements, disclosure and reports of entities which he holds a financial interest. (See

                                                                   3   Correspondence dated June 8, 2023, attached to the Declaration of J. Nolan, as Exhibit F, ¶8; See

                                                                   4   email dated June 28, 2023, attached hereto as Exhibit G). The demands have been repeated to

                                                                   5   multiple counsel on behalf of the Debtor and has not resulted in the production of financial records.

                                                                   6   (See email dated July 10, 2023, attached to the Declaration of J. Nolan as Exhibit H).

                                                                   7                                                      III

                                                                   8     THE TRUSTEE IS ENTITLED TO A RULE 2004 ORDER UNDER APPLICABLE LAW

                                                                   9           Bankruptcy Rule 2004 provides that “[o]n motion of any party in interest, the court may

                                                                  10   order the examination of any entity.” Fed. R. Bankr. P. 2004(a). Examinations under Bankruptcy

                                                                  11   Rule 2004 include within their scope, inter alia, any matter that may relate to the property and assets
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   of the estate, the financial condition of the debtor, and any matter that may affect the administration
                                        LOS ANGELES, CALIFORNIA




                                                                  13   of a debtor’s estate, or to the debtor’s right to a discharge. See Fed. R. Bankr. P. 2004(b). In
                                           ATTORNEYS AT LAW




                                                                  14   addition, the attendance of a person at an examination may be ordered by the Court “at any time or

                                                                  15   place it designates, whether within or without the district court wherein the case is pending.” Fed. R.

                                                                  16   Bankr. P. 2004(d). The Bankruptcy court has broad discretion in issuing a 2004 examination. In re

                                                                  17   Deshetler, 435 B.R. 295, 302 (Bankr. S.D. Ohio 2011)

                                                                  18           It is the debtor's duty to provide the required information of creditors and assets to a trustee

                                                                  19   which is crucial to the working of the bankruptcy system. Clippard v. Russell (In re Russell), 392

                                                                  20   B.R. 315, 358 (Bankr. E.D. Tenn. 2008) the required information is needed for a variety of purposes

                                                                  21   in the administration of the bankruptcy case. Id. The debtor's obligation to provide the required

                                                                  22   information is a cost imposed on the debtor for the benefit of obtaining bankruptcy relief. Id.

                                                                  23           The Debtor has failed (or refused) to produce various financial records to support claims

                                                                  24   made to the Trustee and/or evidence of the financial condition despite multiple requests. (See

                                                                  25   Declaration of N. Troszak, ¶3.) This list includes: bank statements, payments for investments in

                                                                  26   various life insurance policies, credit card statements, access to his computers, disclosure of entities

                                                                  27   in which he holds a financial interest, and the list goes on. The lack of meaningful production of

                                                                  28   financial records produced to the Trustee means the Trustee must seek the financial information


                                                                       DOCS_LA:350994.2 78512/001                        5
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                   09/15/23 11:54:55
                                                                                                                                            15:51:07                Desc
                                                                                                     Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page96of
                                                                                                                            of557
                                                                                                                               13


                                                                   1   from third parties. Similarly, the plethora of claims by creditors in the estate, as well as various

                                                                   2   findings from sister courts and litigation pending therein, describe a picture of commingling and

                                                                   3   diversion of funds.

                                                                   4           The purpose of a Bankruptcy Rule 2004 examination is “to allow inquiry into the debtor’s

                                                                   5   acts, conduct or financial affairs so as to discover the existence or location of assets of the estate.”

                                                                   6   In re Dinbilo, 177 B.R. 932, 940 (E.D. Cal. 1993); see also In re N. Plaza LLC, 395 B.R. 113, 122,

                                                                   7   n. 9 (S.D. Cal. 2008) (purpose of Bankruptcy Rule 2004 examination is “discovering assets and

                                                                   8   unearthing frauds”) (internal citations omitted); In re Fearn, 96 B.R. 135, 138 (Bankr. S.D. Ohio

                                                                   9   1989) (rule’s primary purpose is to ascertain “the extent and location of the estate’s assets [and]

                                                                  10   examination is not limited to the debtor or his agents, but may properly extend to creditors and third

                                                                  11   parties who have had dealings with the debtor.”) (internal citations omitted). In addition,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Bankruptcy Rule 2004 is a discovery tool that can be used as a pre-litigation device to determine
                                        LOS ANGELES, CALIFORNIA




                                                                  13   whether there are grounds to bring an action to determine a debtor’s right to discharge a particular
                                           ATTORNEYS AT LAW




                                                                  14   debt. See In re Corso, 328 B.R. 375, 383 (E.D.N.Y. 2005).

                                                                  15           The scope of an examination permitted under Bankruptcy Rule 2004 is “exceptionally

                                                                  16   broad.” In re N. Plaza LLC, 395 B.R. at 122 n. 9; see also In re W&S Investments, Inc. 1993 U.S.

                                                                  17   App. LEXIS 2231 at *6 (9th Cir. Jan. 28, 1993) (“The scope of inquiry permitted under a Rule 2004

                                                                  18   examination is generally very broad and can legitimately be in the nature of a ‘fishing expedition.’”)

                                                                  19   (internal citations omitted). This broad inquiry extends to third parties as well: “Because the

                                                                  20   purpose of the Rule 2004 investigation is to aid in the discovery of assets, any third party who can be

                                                                  21   shown to have a relationship with the debtor can be made subject to a Rule 2004 investigation.” In

                                                                  22   re Ionosphere Clubs, Inc., 156 B.R. 414, 432 (S.D.N.Y. 1993); see also In re Mittco, Inc., 44 B.R.

                                                                  23   35, 36 (Bankr. D. Wis. 1984) (“When there is a showing that the purpose of the examination is to

                                                                  24   enable a party to probe into matters which may lead to the discovery of assets by examining not only

                                                                  25   the debtor, but also other witnesses, such inquiry is allowed.”). This is because “[t]he clear intent of

                                                                  26   Rule 2004 . . . is to give parties in interest an opportunity to examine individuals having knowledge

                                                                  27   of the financial affairs of the debtor in order to preserve the rights of creditors.” In re GHR

                                                                  28   Companies, Inc., 41 B.R. 655, 660 (Bankr. D. Mass. 1984). “The purpose of the Rule 2004


                                                                       DOCS_LA:350994.2 78512/001                         6
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                    09/15/23 11:54:55
                                                                                                                                             15:51:07             Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page10
                                                                                                                           7 of 13
                                                                                                                                557


                                                                   1   investigation is to aid in the discovery of assets, any third party who can be shown to have a

                                                                   2   relationship with the debtor can be made subject to a Rule 2004 investigation.” In re Ionosphere

                                                                   3   Clubs, Inc., 156 B.R. 414, 432 (Bankr. S.D.N.Y. 1993), aff’d, 17 F.3d 600 (2d Cir. 1994).

                                                                   4           In the present case, good cause exists to issue the subpoena as the Trustee must locate

                                                                   5   reliable records to determine the financial affairs and condition of the Debtor in order to preserve the

                                                                   6   rights of creditors. The Debtor’s statements that he does not maintain financial records regarding his

                                                                   7   acts, conduct, property and financial conditions means the Trustee must go to third parties. (See

                                                                   8   Declaration of N. Troszak, §3) There has been a litany of state court filings and litigation, including

                                                                   9   findings of fact, calling in to question conduct of the Debtor and his financial dealings. Various

                                                                  10   findings during litigation document the commingling of monies, investments, and trust accounts.

                                                                  11   Allegations of misappropriation of funds and the establishment of lines of credit to burden or
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   securitize assets of clients call into question business conducted by the Debtor and the location of
                                        LOS ANGELES, CALIFORNIA




                                                                  13   missing assets. This conduct has spawned a mountain of litigation which has the potential to
                                           ATTORNEYS AT LAW




                                                                  14   undermine the efficient and economic administration of the bankruptcy case. For these reasons, the

                                                                  15   Trustee seeks the production of records to investigate and determine the underlying facts.

                                                                  16           The proposed examination cannot proceed at this time under Bankruptcy Rule 7030 or 9014

                                                                  17   because Debtor is not a party to any pending adversary proceeding or contested matter that

                                                                  18   encompasses the matters addressed in this Motion.

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:350994.2 78512/001                       7
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                    09/15/23 11:54:55
                                                                                                                                             15:51:07               Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page11
                                                                                                                           8 of 13
                                                                                                                                557


                                                                   1                                                       IV.

                                                                   2                                                CONCLUSION

                                                                   3             For the reasons set forth above, the Trustee respectfully requests that this Court enter an

                                                                   4   order to be lodged consistent with the Motion herewith granting this Motion in its entirety and

                                                                   5   (a) authorizing the Trustee, pursuant to Bankruptcy Rules 2004 and 9016, to issue a subpoena

                                                                   6   substantially in the form attached hereto as Exhibit I, for the production of financial records

                                                                   7   including supporting bank statements, copies of checks, and deposit slips and (b) answer written

                                                                   8   questions on deposition; and (c) granting such other and further relief as this Court deems just and

                                                                   9   proper.

                                                                  10

                                                                  11   Dated: September 15, 2023                       PACHULSKI STANG ZIEHL & JONES LLP
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                                                       By: /s/ Jeffrey P. Nolan
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                       Jeffrey W. Dulberg
                                           ATTORNEYS AT LAW




                                                                                                                           Jeffrey P. Nolan
                                                                  14
                                                                                                                               Attorneys for Bradley D. Sharp, Chapter 11
                                                                  15                                                           Trustee
                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:350994.2 78512/001                          8
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                    09/15/23 11:54:55
                                                                                                                                             15:51:07              Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                          Document Page
                                                                                                                      Page12
                                                                                                                           9 of 13
                                                                                                                                557


                                                                   1                                 DECLARATION OF BRADLEY D. SHARP

                                                                   2           I, Bradley D. Sharp, declare:

                                                                   3          1.        I am the President and CEO of Development Specialists, Inc. (“DSI” or the “Firm”).

                                                                   4   I have personal knowledge of the facts stated in this Declaration, and if called as a witness, I could

                                                                   5   and would testify competently to these facts.

                                                                   6          2.         I make this declaration in support of the application (the “Application”) filed by the

                                                                   7   Trustee seeking an Order Authorizing the Production of Documents and Examination of Bank

                                                                   8   Hapoalim, Pursuant to Fed. R. Bankr. P. 2004.

                                                                   9          3.        I met with the Debtor on or about May 31, 2023. At that time, the Debtor indicated

                                                                  10   he did not maintain personal financial records for the various assets disclosed on his schedules. The

                                                                  11   Debtor claimed he did not maintain records for his financial affairs.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           I declare under penalty of perjury pursuant to the laws of the United States that the foregoing
                                        LOS ANGELES, CALIFORNIA




                                                                  13   is true and correct.
                                           ATTORNEYS AT LAW




                                                                  14           Executed this 15th day of September, 2023, at San Juan Capistrano, California.

                                                                  15

                                                                  16

                                                                  17                                                   ______________________________
                                                                                                                       Bradley D. Sharp
                                                                  18                                                   Chapter 11 Trustee

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:350994.2 78512/001
Case 2:23-bk-10990-SK   Doc 391
                            349 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                        09/15/23 11:54:55
                                                                 15:51:07   Desc
                        Main
                         MainDocument
                             Document PagePage13
                                               10of
                                                  of557
                                                     13
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                    09/15/23 11:54:55
                                                                                                                                             15:51:07                 Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                         Document PagePage14
                                                                                                                           11of
                                                                                                                              of557
                                                                                                                                 13


                                                                   1                                  DECLARATION OF JEFFREY P. NOLAN

                                                                   2
                                                                               I, Jeffrey P. Nolan, declare:
                                                                   3
                                                                               1.         I am an attorney at law duly licensed to practice before all courts in the State of
                                                                   4
                                                                       California. I am an attorney with the law firm of Pachulski Stang Ziehl & Jones LLP, attorneys of
                                                                   5
                                                                       record for Bradley D. Sharp, Chapter 11 Trustee of the estate of Leslie Klein (“Klein” or the
                                                                   6
                                                                       “Debtor”). The facts stated herein are of my own personal knowledge, or made known to me from a
                                                                   7
                                                                       review of the files and pleadings in this action which are maintained in the ordinary course of
                                                                   8
                                                                       business. If called upon as a witness to any facts set forth herein, I could and would competently
                                                                   9
                                                                       testify thereto.
                                                                  10
                                                                               2.         The examination requested through the Motion cannot proceed under Federal Rules
                                                                  11
                                                                       of Bankruptcy Procedure 7030 or 9014 because no adversary proceeding or contested matter is
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       currently pending encompassing the matters subject to inquiry.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                               3.         Attached hereto as Exhibits A, is a true and correct copy of the Complaint for (1)
                                                                  14
                                                                       Fraud; (2) Breach of Fiduciary Duty; (3) Conversion; (4) Money Had And Received; (5) Unjust
                                                                  15
                                                                       Enrichment and (6) Accounting filed in the Superior Court of the State of California, Case Number
                                                                  16
                                                                       21 ST CV 31915, Vendriger, et al v. Klein.
                                                                  17
                                                                               4.         Attached hereto as Exhibit B, is a true and correct copy of the Report and
                                                                  18
                                                                       Recommendation of the Court-Appointed Referee on Examination and Adjudication of the Trustee’s
                                                                  19
                                                                       First, Second, and Third Accountings On Each of the Twenty-Four Trusts At Issue For the Trust
                                                                  20
                                                                       Periods September 10, 1996-June 30, 2013, July 1, 2013-December 31, 2016 And January 1, 2017-
                                                                  21
                                                                       September 30, 2018, as attached to proof of claim 13-2 filed by the Menlo Parties in the United
                                                                  22
                                                                       States Bankruptcy Court, Central District of California, in case number 2:23-bk-10990-SK.
                                                                  23
                                                                               5.         Attached hereto as Exhibit C is a true and correct copy of the Vago v. Klein
                                                                  24
                                                                       Complaint to Determine the Nondischargeability of Certain Debts owed by Debtor Leslie Klein to
                                                                  25
                                                                       Erica and Joseph Vago Pursuant to 11 U.S.C. §523, and To Deny Discharge Pursuant to Section
                                                                  26
                                                                       727(A)(12) and filed in the United States Bankruptcy Court, Central District of California, in case
                                                                  27
                                                                       number 2:23-bk-10990-SK.
                                                                  28
                                                                               6.         Attached hereto as Exhibit D is a true and correct copy of the Mermelstein v. Klein

                                                                       DOCS_LA:350994.2 78512/001                          11
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                    09/15/23 11:54:55
                                                                                                                                             15:51:07            Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                         Document PagePage15
                                                                                                                           12of
                                                                                                                              of557
                                                                                                                                 13


                                                                   1   Complaint for Nondischargeability of Debt Pursuant to 11 U.S.C. §523(a)(2)(A), 11 U.S.C.

                                                                   2   §523(a)(4) & 11 U.S.C. §523(a)(6) & for Denial Of Discharge Pursuant to 11 USC §727(a)(2)(A);

                                                                   3   11 USC §727(a)(2)(B); 11 USC §727(a)(3); 11 USC §727(a)(4)’ 11 USC §727(a)(5), and filed in the

                                                                   4   United States Bankruptcy Court, Central District of California, in case number 2:23-bk-10990-SK.

                                                                   5           7.       Attached hereto as Exhibits E is a true and correct copy of the Decision and Order,

                                                                   6   Stipulated Surrender of License and Order and Accusation issued by the California Board of

                                                                   7   Accountancy, Department of Consumer Affairs, State of California, as printed from the state

                                                                   8   website.

                                                                   9           8.       Upon information and belief, the Debtor maintained a business relationship with

                                                                  10   Bank Hapoalim, BM dba Bank Hapoalim International and Bank Hapoalim, USA (“Bank

                                                                  11   Hapoalim”) and maintained a number of accounts based upon my review of records.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           9.       As counsel to the Trustee, we requested financial records and bank statements from
                                        LOS ANGELES, CALIFORNIA




                                                                  13   the Debtor on June 8, 2023. (See Correspondence dated June 8, 2023, attached hereto as Exhibit F)
                                           ATTORNEYS AT LAW




                                                                  14   On June 28, 2023, the Trustee again requested the bank statements. (See email dated June 28, 2023,

                                                                  15   attached hereto as Exhibit G). The Trustee made the same request when introduced to new counsel

                                                                  16   for the Debtor on July 10, 2023. (See email dated July 10, 2023, attached hereto as Exhibit H). No

                                                                  17   bank statements or financial records have been received from the Debtor in response thereto.

                                                                  18           10.      Pursuant to Local Bankruptcy Rule 2004-1(a), the Plaintiff contacted Bank Hapoalim

                                                                  19   to arrange for a mutually agreeable date, time, place, and scope of the examination sought in the

                                                                  20   Motion. The Proposed Examinee will produce the documents requested on reasonable notice to its

                                                                  21   subpoena process serving unit. Notice of this Motion has been given to the Debtor/consumer and the

                                                                  22   United States Trustee’s Office.

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:350994.2 78512/001                       12
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                        349 Filed 10/04/23
                                                                                                                  09/15/23 Entered 10/04/23
                                                                                                                                    09/15/23 11:54:55
                                                                                                                                             15:51:07            Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                         Document PagePage16
                                                                                                                           13of
                                                                                                                              of557
                                                                                                                                 13


                                                                   1           11.      The Debtor therefore requests authority to issue a subpoena to the Proposed

                                                                   2   Examinee substantially in the form attached hereto as Exhibit I.

                                                                   3           I declare under penalty of perjury pursuant to the laws of the United States that the foregoing

                                                                   4   is true and correct.

                                                                   5           Executed this 15th day of September, 2023, at Los Angeles, California.

                                                                   6

                                                                   7                                                      /s/ Jeffrey P. Nolan
                                                                                                                             Jeffrey P. Nolan
                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:350994.2 78512/001                       13
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        Main Exhibit
                             DocumentA PagePage
                                              1 of1748of 557




         EXHIBIT A
                   Case
                    Case2:23-bk-10990-SK
                         2:23-bk-10990-SK Doc        Doc349-1391 FiledàFiled
                                                                        áÔÞØâã   áäáå
                                                                             10/04/23
                                                                               09/15/23         Entered
                                                                                                 Entered10/04/23
                                                                                                               09/15/2311:54:55
                                                                                                                        15:51:07 Desc
                                                                                                                                  Desc
                              ÃÄÄÅÆÇÈÉÿËÌÍÿÎÏÏÿÐÑÍÐÌÄÈMain
                                                      ÄÿÒÌÓÿÔÒÎExhibit
                                                               ÇÏÈÕÿÖÌÄ×AÿØÌÑÍÒPage
                                                               Document        ÙÌÑÄPage
                                                                                   ÈÚÿÛÑ2ÉÅof
                                                                                           ÜÅ18
                                                                                             ÎÏÿ48
                                                                                                ÝËof
                                                                                                  ËÅÜÈ557
                                                                                                      ÍÓÿÞÙÈÍÈÄÎÿÞÍÎßÈÍ
ÿ¡¢ÿ£ÿ¤¥¦ÿ§¥ÿÿ̈§¨©ÿ§¥ÿÿ̈¡ªÿ«¬ªÿÿ­®°̄±°̄­°²ÿ­³´­µÿ¶·ÿ¤¸ÿ¹ºÿ§©ÿ»¥¼ÿ½¨¨¯§¾ÿÿ̈§¥©ÿ£ÿ¿ºÿªÀ¿ÁÂ©¢¦¥ÿ§¾
               0ÿ ÿ  ÿÿ
               2ÿ0 !!"ÿ#$%&'ÿ()%*+"ÿ,(-.ÿ0655/ÿ
                   $%&'!)%*+"1!*2$%&!"32$*ÿ
               3ÿ-  "44ÿ53ÿ6!!"*&ÿ,(-.ÿ30558/ÿ
                  7!!"*&1!*2$%&!"32$*ÿ
               4ÿ3=$
                   33ÿ(3ÿ8&9ÿ:;"3<ÿ(%4"ÿ34 ÿ
                     !ÿ:&'""!<ÿ>$&ÿ9 70ÿ
               5ÿ ?@A@BCÿDDEFGGÿ
               6ÿ0H$
                   ÿH&'I4ÿH93ÿ63ÿ
                      &'ÿJ!<ÿ:ÿ9274ÿ
               7ÿK"  "L)$&"Mÿ,203/ÿ793N22ÿ
                  O2!* "Mÿ,203/ÿ674N4268ÿ
               8ÿ:44$&"0!ÿ>$ÿP&4>>ÿ:QRÿST.QHR8THÿ
               9ÿ
              0ÿ                             (UPTHRVHÿVUHKÿVOÿKJTÿ(K:KTÿVOÿ:=ROVH.R:ÿ
              00ÿ                                           VU.K#ÿVOÿ=V(ÿ:.8T=T(ÿ
              02ÿ:QRÿST.QHR8TH<ÿ&ÿ&9;9%<ÿ!ÿ$N /ÿ!"ÿ.$3ÿÿ
              03ÿK %  ! 4" " ÿ$ >ÿ4)  " ÿ
                                         ORH(Kÿ:WT.QWT.Kÿ       KHU(Kÿ //ÿÿ
                  6T.QHR          8THÿÿO&:WR  =#X ÿ&ÿ9ÿ:QRÿ         //ÿÿ^_\`a     ÿ\ ]ÿ
              04ÿ ST.QHR         8TH<       ÿ&9 ;9 %
                                         P 
                                            &4>
                                               >!<ÿ                      //ÿÿb_c ÿ\ÿ\` ÿ̀a
              05ÿ;3ÿ                                                      // df__ e          a
              06ÿ=T(=RTÿY=TR.<ÿT(Z3<ÿ&ÿ&9;9%Xÿ&9ÿÿ /ÿg_hÿ`ÿ                ÿ `ÿ       e`a
                                                                                                      aÿjkl
              07ÿ=T(ÿY=TR.ÿ[ÿ:((VR:KT(<ÿÿ>$&ÿ //ÿ                           m_        nÿ
              08ÿP5$<ÿ>"&!2!%$!&;"ÿ<=
                                        ÿ
                                          7ÿ$L$4$&Xÿ&9ÿQVT(ÿ0N / o\@AFDÿpqBprEEFBsAtÿu@svÿFs@s@qBÿsqÿFsrEBÿ
                                                                           //ÿÿwxyz{ÿ}x~x{ÿ~xÿ  zÿ{{~xzÿ
              09ÿ                        Q">"&9&4!3ÿ                       // \F  {
                                                                                     FGÿBDÿqGsGaÿ?BDÿu?EDÿqÿ̀??CFGÿ
                                                                                     {~xzÿzÿÿ~z{zÿ
              2ÿ                                                             //ÿ
              20ÿ                                                             //ÿ$  *L&4ÿO"9Mÿ:%'%!4ÿ27<ÿ220ÿ
                                                                                   KÿQ4"Mÿ
              22ÿ                                                              //ÿÿQ"L4Mÿÿÿ
              23ÿ                                                                  ` `ÿ\ ÿhÿÿ
              24ÿ P&4>>ÿ:QRÿST.QHR8TH<ÿ!%22"!!$ÿ2$NK%!4""ÿ$>ÿ4)"ÿO!4ÿ:*"&9*"&4ÿK%!4ÿ
              25ÿ6"&9'"ÿO*0ÿ94"9ÿW0ÿ7<ÿ099<ÿ!ÿ*"&9"9ÿ4)"">4"<ÿ)""I0ÿ"'"!ÿ!ÿ>$$7!Mÿ
              26ÿÿ
              27ÿÿ
                                                                                               0ÿ
                                                                                              ÿ
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK Doc
                           Doc349-1
                               391 Filed
                                      Filed10/04/23
                                            09/15/23 Entered
                                                         Entered10/04/23
                                                                 09/15/2311:54:55
                                                                          15:51:07 Desc
                                                                                    Desc
                           Main Exhibit
                                DocumentA PagePage
                                                 3 of1948of 557



 0ÿ                                  ÿ ÿ
 2ÿ 0 ÿ!"#ÿ$%&"'#(%'ÿ)ÿÿ*+*,ÿ-./ÿ01)*1)ÿÿ21ÿ!++3ÿ#)01ÿÿ!"#
 3ÿ$%&"'#(%'ÿ)ÿÿ),441))/0ÿ4/520,)11ÿ/ÿ.1ÿ60)ÿ!71*71ÿ20,)ÿ81*0910ÿ67:ÿ*1*ÿ
 4ÿ;:ÿ73ÿ0993ÿ)ÿ71*1*ÿÿ!ÿ0,1ÿ*ÿ4/0014ÿ4/<:ÿ/ÿ.1ÿ60)ÿ!71*71ÿ20,)ÿ81*0910ÿ
 5ÿ=>?@ABÿD>EFDÿG>BÿHIÿJKKLIÿ>Mÿ>?FNDFDÿOPQRSMETUIÿ@Mÿ>EE>VWFDÿWFRFEXÿ>MÿYZW@[@Eÿ\ÿ>NDÿ?>DFÿ>ÿ
 6ÿ<0ÿ.101/ÿÿ!ÿÿ71)ÿ011+ÿ.1013ÿ.1ÿ20,)ÿ-)ÿ]19ÿ*7)101*ÿÿ.1ÿ^1ÿ/ÿ
 7ÿ_/03ÿ_/,:ÿ/ÿ̀/)ÿ!911)ÿ
 8ÿ 2 '1)</*1ÿ̀%^`#%ÿa`%#&3ÿ%^bÿOPcAF@NTUÿ)ÿÿ*+*,ÿ-./ÿ/ÿ/07/
 9ÿ*ÿ]11ÿ01)*1)ÿÿ̀/)ÿ!911)ÿ_/,:3ÿ_/0ÿÿd</ÿ/07/ÿ*ÿ]113ÿÿÿ71)ÿ
0ÿ011+ÿ.1013ÿa1ÿ-)ÿ*/9ÿ],)1))ÿÿ.1ÿ^1ÿ/ÿ_/03ÿ_/,:ÿ/ÿ̀/)ÿ!911)ÿ
00ÿ,0),ÿ/ÿ.1ÿ^1ÿe0ÿ/ÿ_/0ÿ-1])13ÿa1ÿ)ÿÿ!4+1ÿ717]103ÿ^1ÿe0ÿ&,7]10ÿ
02ÿ598ÿÿ,0),ÿ/ÿ.1ÿ_/0ÿ"1<071ÿ/ÿ_/),710ÿ! 0)ÿ-1])13ÿa1ÿ/0710:ÿ.1*ÿ
03ÿÿ41)1ÿ)ÿÿ_101*ÿ,]4ÿ!44/,3ÿ̀41)1ÿ&/ÿ674543ÿ-.4.ÿ-)ÿ),001*101*ÿ/ÿ
04ÿf,0:ÿ303ÿ220ÿÿgÿ;04.ÿ243ÿ203ÿa1ÿ1*ÿÿ%hÿ01ÿ!<<4/ÿ/0ÿ#)),41ÿ/ÿ
05ÿ`110)ÿ/ÿ^<14ÿ!*7)0/ÿÿ.1ÿ%)1ÿ/ÿ2ÿ81*0910ÿÿ̀/)ÿ!911)ÿ^,<10/0ÿ
06ÿ_/,03ÿ_)1ÿ&/ÿ̀0584ÿOPiFE@E@XNÿjXRÿklFV@>Aÿ\D?@N@MER>EXRTUÿÿa1ÿ-)ÿ<</1*ÿ^<14ÿ
07ÿ!*7)0/0ÿ/ÿ.1ÿ%)1ÿ/ÿ2ÿ81*0910ÿ,*10ÿÿ%hÿ01ÿg0*10ÿ/0ÿ0/]1ÿ*1*ÿ;04.ÿ
08ÿ243ÿ20ÿ*ÿ0141+1*ÿ̀110)ÿ/ÿ^<14ÿ!*7)0/ÿ*1*ÿ;04.ÿ243ÿ20ÿÿ
09ÿ 3 '1)</*1ÿ̀%^ÿa`%#&ÿmÿ!^^g_#!2%^3ÿ#&_3ÿ!ÿ'g6%^^#g&!`ÿ̀!8
2ÿnopiop\QqorÿOP=@R?TUÿ)ÿÿ_/0ÿ<0/1))/ÿ4/0</0/ÿ1991*ÿÿ.1ÿ<0441ÿ/ÿ
20ÿ-ÿ-.ÿ/ 41)ÿÿ.1ÿ^1ÿ/ÿ_/03ÿ_/,:ÿ/ÿ̀/)ÿ!911)3ÿ_:ÿ/ÿ^.107ÿgs)ÿ
22ÿ 4 ÿ)ÿ9/0ÿ/ÿ.1ÿ0,1ÿ71)ÿ*ÿ4<41)3ÿ-.1.10ÿ*+*,3
23ÿ4/0</013ÿ/0ÿ/.10-)13ÿ/ÿ.1ÿ"11*)ÿ*11*ÿÿ.)ÿ1/ÿ)ÿ"g%^ÿ0ÿ.0/,9.ÿ53ÿ
24ÿ4,)+13ÿ*ÿ.101/013ÿ),1)ÿ),4.ÿ"11*)ÿ]:ÿ.1ÿ4/,)ÿ71)ÿÿÿ-ÿ71*ÿ.)ÿ
25ÿÿ/ÿ)1ÿ/0.ÿ.1ÿ0,1ÿ71)ÿ*ÿ4<41)ÿ/ÿ)*ÿ"11*)ÿ)ÿ)//ÿ)ÿ),4.ÿ71)ÿ.+1ÿ
26ÿ]11ÿ)4101*ÿÿÿÿ)ÿ/071*ÿ*ÿ]11+1)ÿ*ÿ])1*ÿ,</ÿ),4.ÿ/07/ÿ*ÿ]11ÿ
27ÿ191)ÿ.ÿ14.ÿ"11*ÿ*1)91*ÿ.101ÿ)ÿ"g%^ÿ0ÿ.0/,9.ÿ53ÿ4,)+13ÿ)ÿ01)</)]1ÿÿ
                                                  2ÿ
                                                 ÿ
  Case
   Case2:23-bk-10990-SK
        2:23-bk-10990-SK Doc
                          Doc349-1
                              391 Filed
                                     Filed10/04/23
                                           09/15/23 Entered
                                                        Entered10/04/23
                                                                09/15/2311:54:55
                                                                         15:51:07 Desc
                                                                                   Desc
                          Main Exhibit
                               DocumentA PagePage
                                                4 of2048of 557



 0ÿÿÿÿÿÿ!ÿ"ÿÿ""#"ÿ!$ÿ%%&'ÿ!!ÿ#"!ÿ"ÿÿ
 2ÿ""#"ÿÿ"$ÿ$$%%'ÿ&%$&%'ÿ"(%%'ÿÿ!$'ÿÿ!ÿ"!ÿ
 3ÿ$ÿ)*+ÿ)ÿ$ÿ%$,%ÿÿ-%$$ÿÿ!ÿ&ÿ#ÿ,ÿ-%$$.ÿÿÿ
 4ÿ                               /0123  ÿ3ÿ5606ÿ
 5ÿ 5. 7#$$"$ÿÿ8#ÿ$ÿ!ÿ9ÿ:&%ÿ;#<$ÿ=#ÿ$ÿÿ!
 6ÿ$$$ÿÿ!ÿ>#ÿÿ)ÿ$$&ÿÿ#"$$&ÿ$ÿ!ÿ=#ÿÿ9ÿ
 7ÿ:&%'ÿ;ÿÿ=%$$.ÿÿÿ
 8ÿ                                           ? 2ÿ
 9ÿ 6. *ÿ@ÿ7'ÿ099'ÿ*;=:AÿB+C)ADE+Aÿÿ>:CD:ÿB+C)ADE+Aÿ,%$!
0ÿFGHÿJKLMNÿOPQRSPQRNÿNLTMNÿUQRSLKVQLÿJOPKWXÿYZN[\]F^_ÿ̀!$"!ÿ<%"ÿ!ÿ<$ÿ
00ÿ>#ÿ:&ÿÿ7#%ÿ0'ÿ0986.ÿ*;=:AÿB+C)ADE+Aÿÿ>:CD:ÿB+C)ADE+Aÿÿ
02ÿ !ÿ$$$%ÿ"a>#ÿÿ!ÿ>#.ÿ-%$$ÿ:)Dÿb+C)ADE+A'ÿÿ!$ÿ,!ÿ7",ÿ
03ÿb$&'ÿ%ÿ(ÿÿc"8ÿb$&'ÿÿ!ÿ%ÿ"!$%ÿÿ*;=:AÿB+C)ADE+Aÿ
04ÿÿ>:CD:ÿB+C)ADE+A'ÿÿÿÿ!ÿ#""ÿ"a>#ÿÿ!ÿ>#.ÿ-##ÿÿ
05ÿ !ÿÿÿ!ÿ>#'ÿÿÿÿ@"!ÿ08'ÿ0993'ÿ#<ÿ!ÿ!ÿÿ!ÿ;#8$8$&ÿ>#'ÿ
06ÿ !ÿ>#ÿ+ÿ!%%ÿ,ÿ$$,#ÿÿ%%dÿe$fÿ"!ÿ&"!$%ÿ!%%ÿ"$8ÿ!ÿ#ÿÿ
07ÿg0' 'ÿ$"ÿ$hÿ<"ÿe6ifÿ<ÿ#'ÿ"##%$8%jÿÿe$$fÿ!ÿ$ÿÿ!ÿ>#ÿ
08ÿ+ÿ!%%ÿ,ÿ$8$ÿk#%%ÿ,ÿ:)Dÿb+C)ADE+Aÿÿ7",ÿb$&.ÿ
09ÿ 7. *ÿ@ÿ7'ÿ099'ÿ*;=:AÿB+C)ADE+Aÿÿ>:CD:ÿB+C)ADE+Aÿ"$,#
2ÿ !ÿ%%$&ÿ!ÿe3fÿ%ÿ<<$ÿÿ!ÿ>#ÿÿ%%dÿ
20ÿ            l m#$"%$ÿ)ÿ$&ÿ0435ÿn$hÿ:8#ÿo2'ÿ9ÿ:&%'ÿ=:ÿe:-C
22ÿ               5554a 0a33fÿÿ*;=:AÿB+C)ADE+Aÿÿ>:CD:ÿB+C)ADE+Aÿ
                  *;=:AÿB+C)ADE+Aÿÿ>:CD:ÿB+C)ADE+A'ÿ=#ÿÿ!ÿB$&
23ÿ               n$%ÿ>#'ÿp)>ÿ5a7a9'ÿ!$"!ÿÿ"ÿ$ÿ*$"$%ÿA"ÿÿ9
                  :&%ÿ=#ÿÿD#ÿC.ÿ9aqrstqsÿuvÿPwxÿrrÿ̀yqqzÿYZJw{[|w}
24ÿ               ~\{Fw{ÿSHH^_
25ÿ
26ÿ
27ÿ
                                               3ÿ
                                              ÿ
  Case
   Case2:23-bk-10990-SK
        2:23-bk-10990-SK Doc
                          Doc349-1
                              391 Filed
                                     Filed10/04/23
                                           09/15/23 Entered
                                                        Entered10/04/23
                                                                09/15/2311:54:55
                                                                         15:51:07 Desc
                                                                                   Desc
                          Main Exhibit
                               DocumentA PagePage
                                                5 of2148of 557



 0ÿ            ÿÿ!"# !$ÿ0207ÿ%&!'"ÿ&(ÿ)*"ÿ+!$"(ÿ,+ÿ-+./
 2ÿ              55540060001ÿ#*ÿ23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864ÿ*
                 23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864(ÿ,*0""ÿ*#ÿ'
 3ÿ              5!$ÿ:;ÿ9"(ÿ<==9ÿ50709(ÿ>''ÿ>"ÿ*ÿ!ÿ2##ÿ4*"
                 *#ÿ)*"ÿ+!$"ÿ,*!;ÿ"ÿ7!"!ÿ/*?ÿ90923694ÿ*!ÿ@;ÿ22(ÿ099
 4ÿ              ABCDEFGHIJKLÿNIOLPQDORÿSFFTUVW
               ÿÿ!"# !$ÿ948ÿ/?ÿ@ÿ+&!(ÿ)*"ÿ+!$"(ÿ,+ÿ-+./
 5ÿ              5530020 21ÿ#*ÿ23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864ÿ*
 6ÿ              23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864(ÿ,*""ÿ*#ÿ'ÿ5!$
                 :;ÿ9"(ÿ<==9ÿ50709(ÿ>''ÿ>"ÿ*ÿ!ÿ2##ÿ4*"ÿ*#ÿ)*"
 7ÿ              +!$"ÿ,*!;ÿ"ÿ7!"!ÿ/*?ÿ90XYZ[XYÿ\Gÿ]D^ÿYY_ÿ̀XXaÿAB]DJLFQ
                 NIOLPQDORÿSFFTUVW
 8ÿ 8? 2!ÿ@;ÿ28(ÿ0996(ÿ23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864
 9ÿ*!bÿ'ÿ#**>!$ÿc*c;ÿ*ÿ'ÿ9"ÿ"ÿ#**>"dÿ
0ÿ             8 !ÿÿ!"# !$ÿ0435ÿ:#eÿ+&!ÿf4(ÿ)*"ÿ+!$"(ÿ,+ÿ-+./ÿ55540
00ÿ                 00071ÿ#*ÿ23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864ÿ*ÿ23,+4
                 56/47864ÿ!ÿ9+/7+ÿ56/47864(ÿ,*""ÿ*#ÿ'ÿ5!$ÿ:;
02ÿ              9"ÿÿ5=7=9(ÿ>''ÿ>"ÿ*ÿ!ÿ2##ÿ4*"ÿ*#ÿ)*"ÿ+!$"
                 ,*!;ÿ"ÿ7!"!ÿ/*?ÿ960969585ÿ*!ÿg!ÿ09(ÿ0996ÿABhDOJiDjÿ8!ÿSFFTUVW
03ÿ 9? +ÿ#*ÿ-41ÿ9"ÿc*c"ÿÿ!$ÿb;ÿ%*;ÿ.*c;ÿ@!$!
04ÿ,*c!;?ÿÿk!ÿ"ÿ!*ÿ'ÿ.*c;ÿ@!$(ÿbÿ'"ÿ!"ÿ'"#ÿ"ÿÿÿ!ÿb>!ÿ
05ÿ'ÿc*c;ÿ!$!ÿ*c!;ÿ!ÿ'ÿ*09""ÿ*#ÿ'ÿ9"?ÿ
06ÿ 0? ."!ÿ*ÿ'ÿ.*!ÿ#*ÿ3cÿ+!"*ÿ#ÿb;ÿk!(ÿ*!ÿ2*bÿ3(
07ÿ0999(ÿ23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864ÿeÿÿ/*ÿ3ÿb;ÿ9"ÿ
08ÿSFFTÿABlFPIJFTÿm\LFUVÿOGÿLHFÿKIRÿ\iÿnYop(805?5(ÿ'ÿ"ÿ*#ÿ>''ÿc*&ÿ#*ÿÿ!cÿ
09ÿc!cÿ!ÿ!"ÿ*ÿbÿÿ!ÿc;bÿ*!ÿ2*bÿ24(ÿ2 9?ÿÿ."!ÿ*ÿ'ÿ.*!ÿ#*ÿ
2ÿ3cÿ+!"*ÿ#ÿb;ÿk!(ÿ'ÿ3ÿ/*ÿ>"ÿ"ÿb;ÿÿÿ*#ÿ9"ÿÿ
20ÿ+$"ÿ2(ÿ0979(ÿ!ÿ*ÿ"ÿ7!"!ÿ/*?ÿ790945848?ÿ
22ÿ 00? 2!ÿ+$"ÿ23(ÿ2 7(ÿ23,+4ÿ56/47864(ÿ"*ÿq!*>!ÿ"ÿ2"ÿr!$(
23ÿ?ÿÿ
24ÿ 02? 2!ÿ/*&bÿ23(ÿ2 7(ÿ9+/7+ÿ56/47864(ÿ"*ÿq!*>!ÿ"ÿ9!ÿr!$
25ÿ!ÿ9!;ÿr!$(ÿ?ÿÿ
26ÿ 03? sIJKIDGLÿL\ÿLHFÿsFLOLO\Gÿi\JÿltFPODQÿuTROGOKLJDL\J_ÿDLÿvumwuÿxymSzw{yz|K
27ÿ'ÿ'ÿ>"ÿÿ,'"ÿ+*!ÿ-+*!ÿ/*?ÿ0950248884091(ÿ>''ÿ>"ÿ'ÿb;ÿ23,+4ÿ
                                                4ÿ
                                               ÿ
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK Doc
                           Doc349-1
                               391 Filed
                                      Filed10/04/23
                                            09/15/23 Entered
                                                         Entered10/04/23
                                                                 09/15/2311:54:55
                                                                          15:51:07 Desc
                                                                                    Desc
                           Main Exhibit
                                DocumentA PagePage
                                                 6 of2248of 557



 0ÿÿÿÿÿ!ÿ"#$%ÿ%&%!'ÿÿ%ÿ%(&ÿ%$)&ÿ#*ÿÿ
 2ÿ+,-./01,/23ÿ56789:ÿ896ÿ;9736ÿ<==>?@8ÿ96A5ÿBCDE:FFF:ÿG9H=9ÿG73ÿH@ÿ6I=633ÿ>Jÿ896ÿ3878?8>KLÿ
 3ÿM$)$%!ÿN&OÿPO#Q%&ÿR#&ÿSÿ030 'ÿ
 4ÿ 04' TÿUOV(ÿ24ÿ20 ÿWM&$ÿ*$M&ÿ%(&ÿP&%$%$#ÿ*#OÿXY&V$Mÿ)$$!%O%#Oÿ$ÿ%(&
 5ÿ!%%&ÿ#*ÿ$ÿ&O$Z&Oÿ$ÿ[#!ÿZ&M&!ÿXNY&O$#OÿR#NO%ÿR!&ÿ#'ÿ[P0584'ÿÿWM&$ÿO&\N&!%&ÿ
 6ÿ%(&ÿ*#MM#]$ZÿY#]&O!^ÿ_$̀ÿ%#ÿ]$%(O]ÿMMÿ!N)!ÿ#ÿ&Y#!$%ÿ$ÿ%(&ÿR(!&ÿVV#N%aÿ_$$̀ÿ$%(ÿ!$ÿ
 7ÿ!N)!ÿ%#ÿYYMbÿ%#]OÿYb)&%ÿ$ÿ*NMMÿ$VMN$ZÿMMÿVVON&ÿ$%&O&!%ÿN%$Mÿ!NV(ÿYb)&%ÿ%(%ÿ
 8ÿV&O%$ÿ#%&ÿX&VNO&ÿQbÿ&&ÿ#*ÿON!%ÿ%&ÿTV%#Q&Oÿ3 ÿ099 ÿ$ÿ*c#Oÿ#*ÿdOObÿdMY$ÿÿ
 9ÿ#!&ÿX(Y$O#ÿ%(&ÿ*$MÿYb)&%ÿ#ÿ]($V(ÿ$ÿ%(&ÿ!N)ÿ#*ÿe2 33'0 ÿ]!ÿN&ÿ#ÿTV%#Q&Oÿ24ÿ
0ÿ2 9aÿ_$$$̀ÿ%#ÿ&f&VN%&ÿÿ&M$c&OÿbÿV(&Vg!ÿO*%!ÿ]$%(O]M!ÿ#Oÿ#%(&Oÿ$!%ON)&%!ÿO]ÿ#ÿ
00ÿ%(&ÿR(!&ÿVV#N%ÿ*#Oÿ%(&ÿYb)&%ÿ#*ÿ%(&ÿ)#&bÿ#ÿ&Y#!$%ÿ$ÿ%(&ÿR(!&ÿVV#N%ÿ%#ÿYbÿ$ÿ*NMMÿ
02ÿ$VMN$ZÿMMÿVVON&ÿ$%&O&!%ÿN%$Mÿ!NV(ÿYb)&%ÿ%(&ÿX&VNO&ÿ#%&ÿ%(&ÿ*$MÿYb)&%ÿ#*ÿ]($V(ÿ
03ÿ$ÿ%(&ÿ!N)ÿ#*ÿe2 33'2 ÿ]!ÿN&ÿ#ÿTV%#Q&Oÿ24ÿ2 9aÿÿ_$c`ÿ$*ÿ&V&!!Obÿ%#ÿ#Y&ÿbÿQgÿ
04ÿVV#N%ÿ&V&!!Obÿ$ÿ%(&ÿ)&ÿ#*ÿ%(&ÿ!%%&ÿÿ%#ÿ&Y#!$%ÿ$ÿ!NV(ÿVV#N%ÿbÿÿMMÿ!N)!ÿ
05ÿ]$%(O]ÿ*O#)ÿ!$ÿR(!&ÿVV#N%'ÿÿ(&O&*%&Oÿ%#ÿ&f&VN%&ÿÿ&M$c&OÿbÿV(&Vg!ÿO*%!ÿ
06ÿ]$%(O]M!ÿ#Oÿ#%(&Oÿ$!%ON)&%!ÿO]ÿ#ÿ!NV(ÿVV#N%ÿ*#OÿYb)&%ÿ#*ÿ%(&ÿ)#&bÿ#ÿ&Y#!$%ÿ
07ÿ$ÿ!NV(ÿVV#N%ÿ%#ÿYbÿ$ÿ*NMMÿ$VMN$ZÿMMÿVVON&ÿ$%&O&!%ÿN%$Mÿ!NV(ÿYb)&%ÿ%(&ÿX&VNO&ÿ
08ÿ#%&ÿ%(&ÿ*$MÿYb)&%ÿ#*ÿ]($V(ÿ$ÿ%(&ÿ!N)ÿ#*ÿe2 33'2 ÿ]!ÿN&ÿ#ÿTV%#Q&Oÿ24ÿ2 9'ÿÿÿ
09ÿ 05' TÿUOV(ÿ24ÿ20 ÿWM&$ÿ]!ÿ$!!N&ÿ[&%%&O!ÿ#*ÿXY&V$Mÿ)$$!%O%$#'ÿÿWM&$
2ÿ!Y&V$*$VMMbÿ**$O)&ÿ%(&ÿO&\N$O&)&%ÿ%#ÿY&O*#O)ÿ%(&ÿN%$&!ÿ#*ÿY&O!#MÿO&YO&!&%%$c&ÿVV#O$Zÿ
20ÿ%#ÿM]ÿ$ÿ%(&ÿ[&%%&O!ÿ*$M&ÿ]$%(ÿ%(&ÿR#NO%'ÿÿ
22ÿ 06' (&ÿP&%$%$#ÿ*#OÿXY&V$Mÿ)$$!%O%#Oÿ$VMN&ÿ#)$%$#!ÿ#*ÿ[&!M$&ÿWM&$ÿQb
23ÿÿhÿÿiV#Qÿh&O$Z&Oÿ*#Oÿ%(&ÿYNOY#!&ÿ#*ÿ]$%(O]$Zÿ%(&ÿ*N!ÿ$ÿ%(&ÿR(!&ÿ
24ÿVV#N%ÿÿYYMb$Zÿ!NV(ÿ*N!ÿ%#ÿ%(&ÿYb)&%ÿ#*ÿ%(&ÿX&VNO&ÿ#%&ÿ!ÿ]&MMÿ!ÿÿP#]&Oÿ#*ÿ
25ÿ%%#O&bÿ$ÿ*c#Oÿ#*ÿ[&!M$&ÿWM&$ÿ%&ÿj&QONObÿ5ÿ20 ÿ!$Z&ÿQbÿÿhÿÿ
26ÿiV#Qÿh&O$Z&O'ÿÿ(&ÿP&%$%$#ÿ*#OÿXY&V$Mÿ)$$!%O%#OÿM!#ÿ$VMN&ÿÿ&VMO%$#ÿQbÿ[&!M$&ÿ
27ÿWM&$ÿ]($V(ÿ!Y&V$*$VMMbÿ#%&!ÿ%(&ÿP#]&Oÿ#*ÿ%%#O&bÿ%&ÿj&QONObÿ5ÿ20ÿ$!ÿ$ÿO&ZO!ÿ%#ÿ%(&ÿ
                                                   5ÿ
                                                  ÿ
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK Doc
                           Doc349-1
                               391 Filed
                                      Filed10/04/23
                                            09/15/23 Entered
                                                         Entered10/04/23
                                                                 09/15/2311:54:55
                                                                          15:51:07 Desc
                                                                                    Desc
                           Main Exhibit
                                DocumentA PagePage
                                                 7 of2348of 557



 0ÿÿÿÿÿ!""ÿ!!ÿÿ#""$ÿÿ%ÿ"ÿÿÿÿ%ÿ
 2ÿ!!&'"$ÿ"%ÿ%ÿ(%ÿ!')ÿÿÿ*%ÿ+,ÿ
 3ÿ 07, -ÿ.ÿ24/ÿ20/ÿÿ-%ÿÿ*!"&ÿ%)""ÿ(ÿ"%ÿ$"$ÿ0&"
 4ÿÿ&&("$ÿ!(1ÿ2"3ÿÿ("%(ÿ&&ÿ)ÿÿ%!"ÿ"ÿÿÿ4ÿ2""3ÿ5"ÿ"%ÿ
 5ÿ)/ÿÿ!!&'ÿ(%ÿ!')ÿ"ÿ&&/ÿ"&%"$ÿ&&ÿ%ÿ"ÿ"&ÿÿ!')ÿÿ
 6ÿ"ÿ+ÿ*%ÿ#'ÿ6%ÿÿ7/ÿ%%ÿ-#ÿ3/ÿ099/ÿ"ÿ8ÿÿ9 'ÿ9&!"ÿ%ÿ
 7ÿ:ÿ*!"ÿÿ"&ÿ!')ÿÿ("/ÿ"ÿÿ)ÿÿ;2 /33,0/ÿ(ÿ%ÿÿ-#ÿ24/ÿ
 8ÿ2 94ÿ2"""3ÿÿ<ÿ%ÿ%&"8ÿ'ÿ=/ÿ%/ÿ("%(&/ÿÿÿ")ÿ%(ÿÿ
 9ÿÿÿÿÿÿ!')ÿÿÿ)'ÿÿ%!"ÿ"ÿÿÿÿÿ!'ÿ"ÿ&&ÿ
0ÿ"&%"$ÿ&&ÿ%ÿ"ÿ"&ÿÿ!')/ÿÿ*%ÿ+/ÿÿ"&ÿ!')ÿÿ("/ÿ
00ÿ"ÿÿ)ÿÿ;2 /33,2/ÿ(ÿ%ÿÿ-#ÿ24/ÿ2 94ÿ%ÿ2"83ÿ"ÿ'/ÿÿ!ÿ'ÿ#=ÿ
02ÿÿ'ÿ"ÿÿ)ÿÿÿ>ÿ%ÿÿ%!"ÿ"ÿÿÿ'ÿ%ÿ&&ÿ)ÿ
03ÿ("%(ÿ)ÿ"%ÿÿ,ÿÿ7/ÿÿ<ÿ%ÿ%&"8ÿ'ÿ=/ÿ%/ÿ
04ÿ("%(&/ÿÿÿ")ÿ%(ÿÿÿÿÿ!')ÿÿÿ)'ÿÿ%!"ÿ
05ÿ"ÿÿÿÿ!'ÿ"ÿ&&ÿ"&%"$ÿ&&ÿ%ÿ"ÿ"&ÿÿ!')/ÿÿ*%ÿ
06ÿ+/ÿÿ"&ÿ!')ÿÿ("/ÿ"ÿÿ)ÿÿ;2 /33,2/ÿ(ÿ%ÿÿ-#ÿ24/ÿ2 9,ÿÿÿ
07ÿ 08, 7ÿ%/ÿ0&"ÿÿÿ"&%ÿÿ"$&ÿ"$ÿ("ÿÿÿÿ*!"&
08ÿ%)"",ÿ
09ÿ 09, -ÿ?&'ÿ27/ÿ200/ÿ0&"ÿÿ !%ÿÿ6@ÿA>+6:@B>:ÿ%ÿ?#
2ÿA%"$ÿ("ÿ"%"%ÿ0&"ÿ%ÿ"8%ÿ;255/792ÿ)ÿ9&&'ÿC!'ÿ.$)ÿ
20ÿ)!'ÿ)ÿ.ÿ20ÿÿ?ÿ200,ÿ0&"ÿ%ÿ<!ÿÿ&&(1ÿ2"3ÿ!'"$ÿÿÿ
22ÿ7ÿ6DÿFGÿHIJÿKLMNGHÿMOÿPQRSTUVWXYSTÿPYUQTVQZÿMOÿ[IF\Iÿ\KLJÿO]MLÿ^LMGFJ_ÿIJD̀ÿFGÿaK]FMN_ÿ
23ÿbKGcÿK\\MNGH_deÿfFFgÿPYRTRRRÿMOÿKHHM]GJhi_ÿOJJ_eÿfFFFgÿPZTQRRÿOM]ÿjklÿOJJ_TÿjMN]Hÿ\M_H_TÿKGDÿ
24ÿm%"$ÿ4ÿ%ÿ2"83ÿ;056/684ÿ"ÿ<ÿ!"%ÿÿ2 8/ÿ20/ÿ%ÿ200,ÿÿ0&"ÿ%ÿÿ#&ÿ
25ÿÿ;60/349,85ÿ"ÿ"ÿÿÿÿ#"ÿÿC&""ÿ%ÿ?#ÿÿ"ÿÿÿ;0/4 ÿ
26ÿ=ÿÿ?#ÿHMÿ^]JFLbN]_JÿIFLÿOM]ÿIF_ÿMGJÿIKÒÿMOÿHIJÿHKnJ_ÿ[IF\IÿopJ̀FGqÿrKFDÿHMÿHIJÿstuÿOM]ÿ
27ÿÿÿÿ(ÿ#%ÿ#'ÿvC&""qXdÿÿ
                                                   6ÿ
                                                  ÿ
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK Doc
                           Doc349-1
                               391 Filed
                                      Filed10/04/23
                                            09/15/23 Entered
                                                         Entered10/04/23
                                                                 09/15/2311:54:55
                                                                          15:51:07 Desc
                                                                                    Desc
                           Main Exhibit
                                DocumentA PagePage
                                                 8 of2448of 557



 0ÿ 2 ÿÿÿ!ÿÿ"ÿÿ#ÿ"$ÿ%!&$'ÿ!ÿ()&ÿ*+!$$
 2ÿ!)ÿ&,-''ÿ.'ÿ)ÿ""ÿÿ$/!ÿ%ÿ)$$ÿÿ0/1ÿ27ÿ200ÿÿ2)ÿ"$+ÿ
 3ÿÿ3"ÿÿ!ÿ&$'ÿ#""ÿÿ0&3ÿÿ1$1ÿ"ÿÿ&ÿ!ÿÿ"/&$1ÿÿ4ÿÿ
 4ÿ/)ÿ"$+ÿÿ3"ÿÿ!ÿ-!ÿ$/!ÿ"/!ÿ31ÿ)1'ÿ58 ÿ)$ÿ1$ÿ"$ÿÿ6ÿ
 5ÿÿ!ÿ$1ÿ/&!!$1ÿÿ
 6ÿ 20 2)ÿ"$+ÿÿ3"ÿÿ$)$!ÿÿ71ÿ#$)$1ÿ8'+
 7ÿ9+)1ÿÿÿ-!ÿ'1ÿ/$:ÿ!ÿ$/!ÿ;$ÿ()&ÿ*+!$$ÿÿ&&ÿÿ
 8ÿ$ÿ&+ÿ"$+ÿÿ$/!ÿ)$)$!ÿÿ
 9ÿ 22 2)ÿ"$+ÿÿ3"ÿ!)ÿ.'ÿÿ'ÿ/$1ÿÿÿÿ$
0ÿ&+ÿ"ÿÿ$/!ÿ)$)$!ÿÿ!ÿ&&ÿÿ"ÿÿ$ÿ&+ÿ"$+ÿÿ"/$ÿ<4=ÿ
00ÿ)$)$!ÿÿÿÿ+ÿ"ÿÿ$/!ÿ"$+ÿ71ÿ#$)$1ÿ8'+ÿ9+)1ÿ"$+ÿ
02ÿ8$&ÿ"ÿ20ÿ$/'ÿ8$&ÿ"ÿ220ÿ"$ÿ*%4ÿ>?@%A4B?Aÿÿ*/'/!ÿ"ÿ220ÿ"$ÿÿ
03ÿ0&3ÿ>$'$ÿ
04ÿ 23 2)ÿ"$+ÿÿ3"ÿÿ!ÿ"ÿÿ)$.ÿ!/""&ÿÿ&&/$
05ÿ&&/'!ÿÿ#""ÿ!ÿ$C/$ÿ31ÿ#$3ÿ9ÿD06ÿÿ!Cÿ!)ÿ/+$/!ÿ$C/!!ÿÿ
06ÿÿ!ÿÿÿ
07ÿ 24 2)ÿ"$+ÿÿ3"ÿÿ!ÿ"ÿÿ&&/$1ÿ$)$ÿÿ&/
08ÿ!$3/!ÿ+ÿÿÿ#""ÿ;$ÿÿ)$)$ÿE'ÿ/$!ÿF$ÿE+)ÿÿ22ÿ
09ÿÿ"ÿÿ"/&$1ÿEÿ$/$ÿ"$ÿÿ$/!ÿ&ÿÿ%!$3/3ÿ@ÿ4&+ÿ"ÿ5226536ÿ
2ÿÿ&/ÿ!$3/!ÿ"ÿ524 ÿ<502 ÿÿ*%4ÿÿ502 ÿÿ0&3=Gÿ-.$ÿ*%4ÿ
20ÿ1ÿ&/1ÿ$&.ÿ!$3/!ÿ'ÿ59 ÿÿ4ÿÿ!+!ÿ)$.ÿ31ÿ71ÿ
22ÿ#$)$1ÿ8'+ÿ9+)1ÿ!-ÿ&/ÿ-$ÿ!$3/!ÿ'ÿ+!ÿ5346 ÿ
23ÿ- &ÿ.!ÿ5006 ÿ/&&/ÿ"$ÿÿ
24ÿ 25 2)ÿ"$+ÿÿ3"ÿÿ!ÿ''ÿÿÿ!+$ÿ)$&&ÿ"ÿ.$H
25ÿ$)$'ÿÿ&/ÿ!$3/!ÿ+ÿÿ#""ÿÿ2)ÿ"$+ÿÿ3"ÿ!/&ÿ.$H
26ÿIJKLIMNOPÿRSTÿULOJÿNOÿJVVLIMTÿMLÿWLXJIÿYZJNO[Tÿ\NTSKKILKINSMNLOÿLVÿWZNJOMÿV]OU^ÿ
27ÿ___
                                                   7ÿ
                                                   ÿ
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK Doc
                           Doc349-1
                               391 Filed
                                      Filed10/04/23
                                            09/15/23 Entered
                                                         Entered10/04/23
                                                                 09/15/2311:54:55
                                                                          15:51:07 Desc
                                                                                    Desc
                           Main Exhibit
                                DocumentA PagePage
                                                 9 of2548of 557



 0ÿ 26 ÿÿÿ!"!#ÿ$"!ÿ%&ÿ"!ÿÿ''(!")ÿ!ÿ%!ÿ!&!*!&
 2ÿ !+ÿ%!"ÿÿ%!ÿ!!ÿÿ,"ÿÿ%!ÿ,"ÿ-ÿ%!ÿ!ÿ.+ÿ(%!&ÿÿ/ÿ
 3ÿ!."!#ÿ(ÿÿÿ!"!#ÿ$"!ÿ&%("ÿ%*!ÿ.!")ÿ00#4 # ÿ%!"ÿÿ%&ÿ
 4ÿ''(ÿÿ%!ÿ!!ÿÿ,"ÿÿ1'ÿÿ2ÿ3'%ÿ24#ÿ220#ÿ$"!ÿ'!ÿ%!ÿ%!"ÿÿ
 5ÿ "'!ÿÿ")ÿ022# ÿÿ%&ÿ!)ÿ!.!&!ÿ''(ÿ!'(&!ÿÿÿ456ÿ'"ÿÿ08# ÿÿ
 6ÿ 27 ÿÿÿ!"!#ÿ789:;<=ÿ?@:8AB9ÿCDÿ!!ÿ!'"&ÿÿ!
 7ÿ&(!ÿÿ%!ÿ4&!"ÿE.+ÿF(%!&ÿ'+ÿ%!ÿ!&!*!&ÿ%!"ÿ)ÿ$"!#ÿ!&!ÿ
 8ÿ,"<=ÿ(!(&ÿ!&ÿÿ$"!ÿÿÿ&#ÿ%*!ÿ(ÿ,"ÿÿG!)ÿÿ'(+ÿ
 9ÿ"ÿ.!&ÿÿ!"!&ÿ&!ÿ)ÿ%!ÿ4&!"ÿE.+ÿF(%!&ÿÿ
0ÿ 28 ÿÿÿ!"!#ÿ$"!ÿ%&ÿ&!ÿ%!ÿ(&ÿ%ÿ'&(!
00ÿ%!ÿ!!'!ÿ!H!!ÿ%!ÿ(ÿ$"!ÿ&ÿ!"!*!ÿÿ!ÿ%"+ÿÿ!%"ÿÿ,"ÿÿ
02ÿ1'ÿÿ%!ÿ(ÿ$"!ÿ&ÿ!+ÿÿ!ÿ%"+ÿÿ%!ÿ!%"ÿ
03ÿ 29 ÿÿÿ!"!#ÿ$"!ÿ%&ÿ"&ÿ")!ÿ*!&ÿÿ%&ÿ!
04ÿ&(&ÿÿ1'ÿH%"!ÿ&("!(&")ÿH%%"+ÿ&(&ÿÿ,"#ÿ!&!ÿ
05ÿ,"<=ÿB9I9@C9JÿJ9K@;J=ÿ?DBÿJ:=CB:LAC:D;=ÿCDÿL9ÿK@J9ÿCDÿ@MD:Jÿ,"ÿ!'+ÿ!&(!ÿ
06ÿÿ"+ÿÿN(')ÿ(!ÿÿÿ")ÿÿ)ÿ%&ÿ'!&ÿÿ
07ÿ                                   OP QPORÿTÿT UPVÿ
08ÿ 3 ,"ÿ%!!)ÿ&!!N&ÿ!'*!)ÿÿ%!ÿ(&ÿH+("")ÿ%!"ÿ)ÿ$"!ÿÿ(""ÿ"(&
09ÿ!!&ÿÿ,"ÿ"&ÿ&!!N&ÿ(*!ÿ+!&ÿ+&ÿ$"!ÿÿ(#ÿ'*!&#ÿÿ!'%ÿÿ
2ÿ(')ÿ()ÿÿWHÿÿ(&ÿ''(&ÿ'&!ÿÿ(&ÿ!"++ÿÿ%!ÿ!"!ÿ'ÿ!ÿ
20ÿA=9Jÿ@=ÿ@ÿ8@XY9B<=ÿIB:M@C9ÿL@;Zÿ@[[DA;Cÿÿ\:=A=9ÿD?ÿ@;ÿ@CCDB;9Y<=ÿCBA=Cÿ@[[DA;Cÿ:=ÿ@KD;]ÿC^9ÿKD=Cÿ
22ÿ!+!+(&ÿ&'('&ÿÿ!)ÿ'ÿ'ÿÿE%&ÿ&ÿ%!ÿ&ÿÿ'('ÿ%ÿ"!&ÿÿ%!ÿ
23ÿIAL8:[<=ÿK:=CBA=CÿD?ÿC^9ÿ89]@8ÿIBD?9==:D;_ÿ
24ÿ 30 ,"ÿ:=ÿ=99Z:;]ÿJ@K@]9=ÿ@;Jÿ@CCDB;9Y<=ÿ?99=ÿ@;Jÿ[D=C=ÿA;J9ÿ,!ÿ̀!ÿa
25ÿbcdÿ@=ÿ@ÿB9=A8CÿD?ÿ789:;<=ÿL@Jÿ?@:C^ÿXBD;]?A8ÿC@Z:;]eÿ[D;[9@8:;]eÿ@;JfDBÿJ:=ID=:;]ÿD?ÿIBDI9BCYÿ
26ÿ !"++ÿÿÿ(&ÿ
27ÿggg
                                                    8ÿ
                                                   ÿ
  Case
   Case2:23-bk-10990-SK
        2:23-bk-10990-SK Doc
                          Doc349-1
                              391 Filed
                                      Filed10/04/23
                                            09/15/23 Entered
                                                       Entered10/04/23
                                                               09/15/2311:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                          MainExhibit
                               Document
                                      A Page  Page
                                                10 of
                                                    2648
                                                       of 557



 0ÿ 32 ÿÿÿ!"#ÿÿ#ÿÿ$ÿ!ÿ%ÿÿ$$ÿ
 2ÿ&ÿ%'$ÿÿÿÿ&ÿÿ'$(ÿ)!&ÿÿ$'!#ÿ$'#(ÿ$ÿ!"ÿÿÿ&ÿ
 3ÿ)ÿ*'$ÿ&'%&ÿ&ÿÿÿ&ÿÿ!ÿÿ&ÿ+!ÿÿ&ÿÿ)#ÿ)%%ÿ&ÿ
 4ÿ!ÿ%ÿÿ,$ÿÿÿ$ÿÿ!"ÿ!-+ÿÿ&ÿ)#ÿ
 5ÿ./0/11234ÿ6711ÿ78ÿ9:;/<ÿ29973./4=1ÿ8//1<ÿ2.>ÿ79?/3ÿ/@A/.>:9B3/1ÿ1B88/3/>ÿ73ÿ:.0B33/>Cÿ
 6ÿ                                  DEFÿHFIÿDÿ  ÿ
 7ÿ                                JDKLMNÿOÿPLQRSTÿUUÿVWXWRNLRTSYÿ
 8ÿ 33 ÿ%ÿ$ÿ!+ÿ&ÿ)#ÿ!ÿ!&ÿ$ÿ"#ÿ%
 9ÿ!$ÿÿ%+&ÿ0ÿ&'%&ÿ32(ÿ!'"(ÿ)"ÿÿÿ'#ÿÿ&ÿ&ÿ
0ÿ 34 Z&ÿ[ÿ$ÿ&ÿÿÿ\+!ÿ]$-(ÿ&ÿ^+#ÿ+$
00ÿÿ&ÿ_'ÿ$ÿÿÿ$ÿ̀!)ÿ&ÿ&ÿ+aÿ&ÿa'$ÿ^!(ÿ!'$%ÿ&ÿ
02ÿ)$ÿ'$ÿ&ÿaÿÿ]#(ÿa'$ÿ)ÿ-$ÿÿ+#%ÿ&ÿb'ÿ,$ÿa&ÿ&ÿ'$ÿ
03ÿ-ÿ&ÿ_&ÿ]!!'(ÿ)&ÿÿa&!&ÿaÿ&$ÿ)#ÿb]cd]ÿZec,fdgef(ÿ+#(ÿ$ÿÿ
04ÿÿ&ÿ-ÿÿ&ÿb'ÿ
05ÿ 35 h+ÿ-ÿ$ÿ)(ÿa&ÿ[ÿ-$ÿ'!&ÿ+(ÿ[ÿa
06ÿ'!&ÿ+ÿÿ)ÿÿÿh+ÿ-ÿ$ÿ)(ÿ[ÿaÿ&ÿ&ÿa'$ÿ'ÿ&ÿ
07ÿ++-ÿÿ\+!ÿ]$-ÿÿ%ÿ!!ÿ$ÿ!ÿ"ÿb'ÿ'$ÿÿ$ÿÿ
08ÿ-+++ÿ&ÿ-ÿ
09ÿ 36 h+ÿ-ÿ$ÿ)(ÿ[ÿ-$ÿ+ÿÿi#ÿ+#
2ÿj%-ÿ_-+#ÿ&ÿ&ÿ&$ÿ%ÿ'&#(ÿÿ\+!ÿ]$-ÿÿÿÿb'(ÿÿ
20ÿ!!ÿ$ÿ&$ÿ&ÿÿ!-ÿ$"$ÿ-ÿ&ÿb'ÿ++ÿ
22ÿ 37 h+ÿ-ÿ$ÿ)(ÿa&ÿ[ÿ-$ÿ'!&ÿ+(ÿ[ÿa
23ÿ'!&ÿ+ÿÿ)ÿÿÿ
24ÿ 38 h+ÿ-ÿ$ÿ)(ÿ[ÿ-$ÿ+ÿÿÿ$ÿ&ÿdf\(
25ÿkbl(ÿ$ÿdÿb^%ÿ]'&ÿ&ÿ[ÿ&ÿ+$ÿ-$ÿ$)'ÿÿÿÿ
26ÿ-'ÿ$%ÿ-ÿ&ÿ!'#ÿ$)'$ÿÿÿÿkÿ^-+(ÿÿ22(ÿ[ÿ
27ÿ +$ÿ$)'%ÿm02( ÿÿ(ÿa&ÿ!'#ÿ!"$ÿ#ÿm9( ÿÿ$)'ÿ
                                                 9ÿ
                                                 ÿ
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK Doc
                           Doc349-1
                               391 Filed
                                       Filed10/04/23
                                             09/15/23 Entered
                                                        Entered10/04/23
                                                                09/15/2311:54:55
                                                                         15:51:07 Desc
                                                                                   Desc
                           MainExhibit
                                Document
                                       A Page  Page
                                                 11 of
                                                     2748
                                                        of 557



 0ÿ 39 ÿÿÿ!"!#ÿ$%!ÿ&"!ÿ!ÿ'()%ÿ!!'!#ÿ&"!ÿ*!$
 2ÿ'()%ÿ!!'!'ÿÿ!ÿ"'!ÿÿÿÿÿ!"!#ÿ&"!ÿ!ÿ'()%ÿ
 3ÿ'!!'!'ÿÿ)+!ÿ%!ÿ)*'ÿÿ%'ÿ'ÿÿ)"!ÿ('ÿ
 4ÿ 4 ,"ÿ-('".ÿ!"!ÿ(ÿ/012345ÿ718715139:92;35ÿÿ%!ÿ<(ÿÿ,"
 5ÿ:5ÿ=100ÿ:5ÿ/012345ÿ!(ÿ'ÿÿ)!ÿÿ%!ÿ<(ÿ%ÿ&"!ÿ$("ÿ""$ÿ%!ÿ("!'ÿ%!ÿ
 6ÿ'ÿÿ>'!'ÿÿ%!ÿ<02?;732:ÿ@9:91ÿA:745ÿBC015ÿ;?ÿD7;?1552;3:0ÿE;3FCG9ÿ
 7ÿ 40 ,"ÿ%'ÿ!!ÿH!ÿÿÿ(ÿÿÿ"!''ÿ%ÿI78# ÿ"('ÿ!!'ÿ'
 8ÿÿ!'("ÿÿ('ÿ%ÿ%+!ÿ!!ÿ$H("".ÿ$%%!"ÿJÿ!".ÿÿ'(!ÿÿ&"!ÿ
 9ÿ%ÿÿ"!H"ÿ(%.ÿÿ)""!)ÿ%!ÿ!"ÿ)!ÿÿK('ÿ!.ÿ"!ÿ"!ÿ!ÿÿÿL!'!ÿ
0ÿ!!!ÿ!ÿ.ÿ,"#ÿ%!ÿ?C3F5ÿ23ÿ/012345ÿ8;551552;3ÿ%+!ÿÿ!!ÿ!(!ÿÿ,"ÿ
00ÿ 42 M'ÿ%!ÿ!)#ÿN!#ÿÿ!'!!"!ÿ)'!O(!)!ÿÿ%!ÿ(("!ÿ)()ÿ
02ÿ&"!ÿ'ÿ%!!ÿ""!H!#ÿ,"ÿ%'ÿ'(!!ÿ)("ÿH!'ÿÿÿ"!''ÿ%ÿI78# #ÿH!%!ÿ
03ÿ$%ÿ!!'ÿÿ%ÿ(ÿ'ÿ""$!ÿ.ÿ"$ÿ
04ÿ 43 K%!ÿ)()ÿÿ&"!ÿ'ÿ""!H!ÿ%!!ÿ'ÿ!"#ÿ")('#ÿ(H!('#ÿJ
05ÿ)!ÿ(ÿ$%ÿ)')('ÿ'!Hÿ'ÿ'ÿÿ-('.ÿÿ$ÿÿ!N!".ÿÿ(+!ÿH!'ÿÿ
06ÿÿ(ÿ))Hÿÿÿ
07ÿ 44 ,"ÿ"'ÿ'!!*'ÿ!)+!.ÿÿ!.ÿ!!'ÿÿ)''ÿH'ÿ&"!ÿÿ%!
08ÿH('ÿÿÿÿ%!ÿÿ,"ÿ%'ÿ!!ÿ!O(!ÿ%(H%ÿ%!ÿÿÿ%!ÿÿ)ÿÿ%!ÿ
09ÿ!)ÿÿ%'ÿ!!''ÿ.ÿHHÿ%'ÿ)ÿH'ÿ&"!ÿÿ,"ÿ'ÿ!"!ÿÿ!)+!ÿ
2ÿG;P8135:92;3ÿ?;7ÿ9Q1ÿ71:5;3:R0Sÿ31G155:7Sÿ0;55ÿ;?ÿ92P1Tÿ:99;731S45ÿ?11'#ÿÿ%!ÿ!N!(!'ÿ
20ÿ'(!!ÿÿ)(!ÿ
22ÿ                                 UV WÿYUVÿZÿ  ÿ
23ÿ                      [\]^_`aÿbcÿZdef`d_]gÿWfhgÿiÿj_dklhÿmmÿW^c^ke_khlnÿ
24ÿ 45 ,"'ÿ!""!H!'ÿÿ)!'ÿ%!!ÿ.ÿ!!!)!ÿ!)%ÿÿ!+!.ÿ""!H
25ÿ)!ÿÿ,H%'ÿ0ÿ%(H%ÿ44#ÿ)"('+!#ÿ+!ÿ'ÿÿ("".ÿ'!ÿ%ÿ%!!ÿ
26ÿ 46 &"!#ÿ'ÿo!)"ÿM'#ÿ'ÿMH!ÿ(!ÿ,$!ÿÿM!.#ÿ'ÿ
27ÿ!.#ÿÿ'ÿÿ<,M#ÿ$'ÿÿ().ÿÿ,"ÿÿ$!ÿ,"ÿ)!ÿ().ÿ(!'ÿ
                                                  0ÿ
                                                  ÿ
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK Doc
                           Doc349-1
                               391 Filed
                                       Filed10/04/23
                                             09/15/23 Entered
                                                        Entered10/04/23
                                                                09/15/2311:54:55
                                                                         15:51:07 Desc
                                                                                   Desc
                           MainExhibit
                                Document
                                       A Page  Page
                                                 12 of
                                                     2848
                                                        of 557



 0ÿÿÿÿÿÿ!"ÿ#$"ÿ%ÿ#%"ÿ&'"ÿ!#"ÿ"ÿ
 2ÿ$!$"ÿ!ÿÿ!ÿ!#ÿ#(ÿÿ
 3ÿ 47( )'ÿ#&!ÿ!ÿ*"ÿ+ÿ&!#!$ÿ!ÿ,$ÿ*#!ÿÿ!#$
 4ÿÿÿ-!ÿ*$ÿ,#$ÿ#'#ÿÿ!ÿ!ÿ!#$ÿÿ!ÿÿ*!ÿÿÿ.#ÿ
 5ÿ!ÿÿ#!ÿ&ÿ#&ÿ.#ÿ'#'#ÿÿ#ÿ'!#"ÿÿ/$ÿ-#'#$ÿ
 6ÿ0!!&ÿ1&'!$"ÿ*$ÿ,#$ÿ,ÿ-!23ÿ567839ÿ:;ÿ<=>?@#'#ÿ
 7ÿ#*ÿÿ-!"ÿ*$ÿ'!$ÿ&ÿ!ÿ!#$ÿÿ'ÿÿ*ÿ!ÿ.#ÿ!ÿÿ
 8ÿ'#'ÿÿ!''&ÿÿA'!ÿB&#!#ÿ!'ÿ!&ÿ!ÿ!ÿ!"ÿ*$ÿ!ÿÿ
 9ÿ'#%ÿ ÿ!ÿ!#!ÿ!"ÿ*$ÿ!ÿÿ'#%ÿÿ'#'#ÿ#Cÿ
0ÿ&!ÿ#ÿ!Dÿ!#"ÿ!ÿ*$ÿ#*ÿÿÿ!%#ÿÿE!*ÿ,ÿ
00ÿ##$ÿÿ-!23ÿ56783ÿFGHI<6Hÿ?>J3<7J:K>ÿLJ63>(ÿÿÿ
02ÿ 48( -!ÿ!ÿ*ÿ!#&ÿ*$ÿ+23ÿL<786LHÿ8>3L?G:>8ÿI>?>G79ÿG7LK68G7Mÿ
03ÿ*#!ÿÿÿ!#$ÿÿÿ-!ÿ*$ÿ,#$ÿ#'#ÿÿ!ÿ!ÿ!#$ÿÿ!ÿ
04ÿÿ*!ÿÿÿ.#ÿ!ÿÿ#!ÿ&ÿ#&ÿ.#ÿ'#'#ÿÿ#ÿ'!#"ÿÿ
05ÿ/$ÿ-#'#$ÿ0!!&ÿ1&'!$"ÿ*$ÿ,#$ÿ,ÿ-!23ÿ567839ÿ:;ÿ<=>?@
06ÿ#'#ÿ#*ÿÿ-!"ÿ*$ÿ'!$ÿ&ÿ!ÿ!#$ÿÿ'ÿÿ*ÿ!ÿ.#ÿ
07ÿ!ÿÿ'#'ÿÿ!''&ÿÿA'!ÿB&#!#ÿ!'ÿ!&ÿ!ÿ!ÿ!"ÿ*$ÿ!ÿ
08ÿÿ'#%ÿ ÿ!ÿ!#!ÿ!"ÿ*$ÿ!ÿÿ'#%ÿÿ'#'#ÿ#Cÿ
09ÿ&!ÿ#ÿ!Dÿ!#"ÿ!ÿ*$ÿ#*ÿÿÿ!%#ÿÿE!*ÿ,ÿ
2ÿ##$ÿÿ-!23ÿ56783ÿFGHI<6Hÿ?>J3<7J:K>ÿLJ63>(ÿÿ
20ÿ 49( N$ÿÿÿ!ÿ!ÿ!*%"ÿ+ÿ*#!ÿÿ!#$ÿÿÿÿ!"
22ÿ#$"ÿ%ÿ#%"ÿ&'"ÿ!#"ÿ"ÿ$!$"ÿ!ÿÿ!ÿ!#ÿ#ÿ
23ÿ,!#ÿ-!ÿ*$ÿ!ÿÿÿ,ÿ#"ÿ!ÿÿ!ÿ&!#ÿ!%#ÿÿ-!23ÿ*ÿ#(ÿ
24ÿ 5( Bÿ!ÿ#"ÿ'#D&!"ÿ!ÿ#!*ÿ#ÿÿÿOK>G723ÿ*#!ÿÿÿ!#$
25ÿ"ÿ-!ÿ!ÿ #ÿ!!ÿ!&!ÿÿÿÿ!ÿP78" "ÿ#ÿ,ÿ#ÿÿ!ÿ
26ÿ!&ÿ!ÿ!,ÿ*$ÿ!,(ÿ
27ÿQQQ
                                                  00ÿ
                                                  ÿ
  Case
   Case2:23-bk-10990-SK
        2:23-bk-10990-SK Doc
                          Doc349-1
                              391 Filed
                                      Filed10/04/23
                                            09/15/23 Entered
                                                       Entered10/04/23
                                                               09/15/2311:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                          MainExhibit
                               Document
                                      A Page  Page
                                                13 of
                                                    2948
                                                       of 557



 0ÿ 50 ÿÿ !ÿ!ÿ"#ÿ!ÿ$ÿ%ÿ$ÿ$ÿ !
 2ÿ&!'&ÿÿ()ÿ*ÿÿÿ+)ÿ!&)ÿÿ&& ÿÿÿ&ÿ
 3ÿ,*ÿ()ÿ!ÿ*ÿ!+&"ÿ&!'&ÿ&!ÿ'ÿÿ&&'ÿ!%!ÿÿ$ÿ!'ÿ!ÿ
 4ÿ"%ÿÿÿ-$')ÿÿÿ!ÿÿ&#ÿ.+/ÿ!ÿ+'#ÿ!%ÿ
 5ÿ%ÿ(ÿÿÿ'ÿ&&!%ÿÿ+ÿÿ$ÿ ÿÿÿ
 6ÿ 52 ÿÿ ,ÿ&#/ÿÿ/ÿ ÿ!ÿ&ÿ(ÿÿ$ÿ%'!ÿ
 7ÿÿÿ$ÿÿÿ$ÿ" ÿ0'!ÿ$'%$ÿ$ÿÿÿ$ÿÿ&ÿÿ$ÿ+&ÿÿ
 8ÿ$ÿÿ"/ÿ"%%ÿ$ÿ&ÿ%ÿ(ÿÿÿÿ!ÿÿ&#ÿ&+ÿ
 9ÿ123ÿ567ÿ37892:8;<=ÿ:7>79983=ÿ<299ÿ21ÿ5?@7Aÿ85523:7=B9ÿ1779Aÿ8!ÿ$ÿ.+!'ÿ'!ÿÿ
0ÿÿ&'!ÿ
00ÿ                                  ÿDEFÿGHIÿJÿ  ÿ
02ÿ                              KLMNOPQRLMÿSÿTURMQVÿWWÿFOXOMYUMVQZÿ
03ÿ 53 ÿ%ÿ!ÿ&+ÿ$ÿ"/ÿ&ÿ&$ÿ!ÿ#/ÿ%
04ÿ&!ÿÿ%+$ÿ0ÿ$'%$ÿ52)ÿ&'#)ÿ"#ÿÿÿ'/ÿÿ$ÿ$ÿ
05ÿ 54 )ÿÿÿ5[ÿ"&/ÿÿ$ÿ-')ÿ$ÿÿÿ*$&$ÿ0'!ÿ!"'
06ÿÿ$ÿ-'ÿ\ÿÿÿ!&!ÿ%)ÿ*!ÿ!ÿ$!ÿÿ%$ÿÿ+ÿ$ÿB9ÿ$ÿÿ
07ÿ$ÿÿ& ÿ$!ÿ"/ÿ(ÿÿÿ
08ÿ 55 (ÿ/ÿ!ÿ'"/ÿ!ÿ*$ÿB9ÿ]32]735=ÿ;=ÿ58^?:_
09ÿ+ÿÿ$ÿB9ÿ$ÿÿ$ÿÿ& ÿ!ÿ"/ÿ'%ÿÿ'ÿ$ÿB9ÿ$ÿ
2ÿÿ$ÿÿ& ÿÿ!!ÿ*ÿ!ÿÿ'ÿÿ$ÿ ÿ
20ÿ 56 ÿ!!ÿÿ&ÿÿ̀<7?:B9ÿ37>7?]5ÿ23ÿ3757:5?2:ÿ21ÿB9ÿ$ÿÿ$
22ÿÿ& ÿ
23ÿ 57 ÿ*ÿ$ !ÿ"/ÿ̀<7?:B9ÿ&+ÿ!ÿÿÿ$ÿB9ÿ$ÿÿ$
24ÿÿ& ÿ
25ÿ 58 `<7?:B9ÿ&!'&ÿÿ&#%ÿ!ÿ'%ÿÿ'ÿ$ÿB9ÿ$ÿÿ$ÿ
26ÿ& ÿ*ÿÿ'"ÿ&ÿÿ$ÿ$ÿ&'!ÿÿÿÿ
27ÿaaa
                                                02ÿ
                                                ÿ
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK Doc
                           Doc349-1
                               391 Filed
                                       Filed10/04/23
                                             09/15/23 Entered
                                                        Entered10/04/23
                                                                09/15/2311:54:55
                                                                         15:51:07 Desc
                                                                                   Desc
                           MainExhibit
                                Document
                                       A Page  Page
                                                 14 of
                                                     3048
                                                        of 557



 0ÿ 59 ÿÿ!ÿ"ÿ!#$ÿÿÿ#%ÿ%ÿ%ÿÿÿ&78' '
 2ÿ(ÿ"%ÿ!ÿ()!$#ÿÿÿÿ#*##ÿ$ÿÿ(%+!!ÿ,-ÿ.ÿ
 3ÿ 6 /012345ÿ"ÿ!ÿÿ"%!"ÿ%ÿ6ÿ.ÿ$$!ÿ.ÿ%((%'ÿ#"'
 4ÿ!7%ÿ!ÿ8'ÿÿÿ!ÿ%ÿ"%+ÿ*#(-ÿ!ÿ(+ÿ!#$ÿ$ÿ6ÿ
 5ÿÿÿ#%ÿ""%!$ÿ%ÿ(%%ÿÿÿ#ÿ%ÿÿ
 6ÿ 60 ÿ%ÿ9ÿ"%+-ÿ%ÿ%-ÿÿ!ÿ"%ÿ$ÿ6ÿ%ÿ
 7ÿ$%!ÿ%ÿ%ÿ%ÿ%ÿÿÿÿ,ÿ:!ÿ%$ÿÿ%ÿ%ÿ%ÿ%ÿ"ÿÿÿ
 8ÿ(%"%ÿ%ÿÿÿ,-ÿ,$$ÿÿ"%ÿ$ÿ6ÿÿÿÿ!ÿ%ÿ"%+ÿ
 9ÿ"%#(%ÿ%ÿÿ%,-ÿ"-ÿ0;55ÿ;=ÿ>2?1@ÿA>>;B31C45ÿ=115@ÿA3Dÿ;>E1Bÿ1FG13D2>HB15ÿ
0ÿ!ÿ%ÿ" !ÿ
00ÿ                                I JKLÿJNOÿIÿ  ÿ
02ÿ                      P QRSTÿLUVÿURVÿKSWSXYSVÿZÿ[UXR\]ÿ^^ÿ_S`SRVUR]\aÿ
03ÿ 62 ÿ$ÿ!ÿ"%(%ÿÿ,-ÿ"ÿ"ÿ!ÿ+-ÿ$%
04ÿ"%!ÿÿ$(ÿ0ÿ%$ÿ60'ÿ"+'ÿ,%+ÿÿÿ-ÿÿ%ÿÿ
05ÿ 63 6ÿ"+!ÿ#%-ÿÿÿ%#ÿ%ÿÿ45ÿÿ%ÿÿÿ"%#
06ÿ 64 8ÿ45ÿÿ%ÿÿÿ"%#ÿ"+!ÿ,-ÿ6ÿ.ÿ%ÿ!ÿ%ÿ
07ÿ,ÿ%ÿÿ
08ÿ 65 6ÿÿ%ÿ$+ÿÿ#%-ÿ"+!ÿÿÿ%#ÿ%ÿÿ4ÿÿ%ÿ
09ÿ ÿ"%#ÿ%ÿÿ
2ÿ 66 ÿÿ!ÿ"ÿ!#$ÿÿÿ#%ÿ%ÿ%ÿÿÿ&78' '
20ÿ(ÿ"%ÿ!ÿ()!$#ÿÿÿÿ#*##ÿ$ÿÿ(%+!!ÿ,-ÿ.ÿ
22ÿ                                 ÿIILÿJNOÿIÿ  ÿ
23ÿ                         PJRbc\]ÿORdXWefSR]Zÿ[UXR\]ÿ^^ÿ_S`SRVUR]\aÿ
24ÿ 67 ÿ$ÿ!ÿ"%(%ÿÿ,-ÿ"ÿ"ÿ!ÿ+-ÿ$%
25ÿ"%!ÿÿ$(ÿ0ÿ%$ÿ66ÿ'ÿ"+'ÿ,%+ÿÿÿ-ÿÿ%ÿÿ
26ÿ 68 6ÿ"+!ÿÿ4ÿÿ%ÿÿÿ"%#ÿ%#ÿÿ8ÿ(%(
27ÿggg
                                                   03ÿ
                                                   ÿ
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK Doc
                           Doc349-1
                               391 Filed
                                       Filed10/04/23
                                             09/15/23 Entered
                                                        Entered10/04/23
                                                                09/15/2311:54:55
                                                                         15:51:07 Desc
                                                                                   Desc
                           MainExhibit
                                Document
                                       A Page  Page
                                                 15 of
                                                     3148
                                                        of 557



 0ÿ 69 ÿÿÿÿÿ!"ÿ#ÿ$%%&'ÿ')*+,ÿ-.ÿ/),ÿ+,0/*1ÿ203-4,ÿ.+-4ÿ/),
 2ÿ56ÿ77ÿ
 3ÿ 7 81,20&'ÿ!7ÿ%ÿ#ÿ$%%&ÿ#ÿ%ÿ#ÿÿ!9ÿ!9ÿÿ#ÿ:7
 4ÿ%ÿ$%%ÿ
 5ÿ 70 $%%ÿ#ÿ6%%ÿ!6ÿ9;ÿÿ#ÿ96ÿ%ÿÿÿ#ÿ<78= =
 6ÿ76ÿ!ÿÿ7>6;9ÿÿÿ#ÿ9:969ÿ;ÿÿ7"ÿ?@ÿÿ
 7ÿ                                           ABÿ
 8ÿ 72 $%%ÿ;ÿÿ!7ÿ#ÿ?@ÿ%!ÿ!#ÿÿ"@ÿ;
 9ÿ!ÿÿ$;7#ÿ0ÿ#6;#ÿ70ÿ=ÿ!6"=ÿ?"ÿÿ%ÿ%6@ÿÿ%#ÿ#ÿ
0ÿ 73 =ÿÿD7!ÿE9=ÿÿE;ÿ6ÿ$ÿ%ÿE@=ÿÿ
00ÿ@=ÿÿÿÿF$E=ÿÿÿ%6!@ÿÿ$%%ÿ
02ÿ 74 $%%ÿÿ6?ÿÿ!ÿÿ#ÿ9ÿÿ%6ÿ!!6;ÿ?@ÿÿ
03ÿ-+G,+ÿ/-ÿG,/,+420,ÿ/),ÿ*4-H0/ÿ-.ÿI1*20/2..&'ÿ*'',/'ÿJ+-0K.H11Lÿ),1GÿMLÿ81,20Nÿ
04ÿ 75 O7ÿ%9ÿÿ?%=ÿ$%%ÿÿÿ#"ÿ!!ÿÿ"ÿ#ÿ%6ÿ#
05ÿMLÿ81,20ÿ'203,ÿI1*20/2..&'ÿ*'',/'ÿ*+,ÿ),1Gÿ20ÿ*33-H0/'ÿÿÿ0&'ÿ0*4,ÿ-+ÿ/),ÿ20ÿ/),ÿP2+4&'ÿ
06ÿ9ÿ
07ÿ                                      QRSQÿT QÿQSSTÿ
08ÿ UVSQST QS=ÿ$%%ÿ7@ÿ%ÿ>6;9ÿ;ÿW%=ÿÿ!#ÿ%ÿ#9=ÿ
09ÿÿ%Xÿÿ
2ÿ                                ÿVSÿTQYÿAYSÿTÿ  ÿ
20ÿ 0 W9;ÿÿÿ96ÿ%ÿÿÿ#ÿ<78= Z
22ÿ 2 [ÿÿ#ÿ;ÿÿ%9ÿÿ%ÿÿÿÿ?ÿ7"ÿÿZ
23ÿ 3 \:97@ÿÿ76"ÿ9;ÿÿÿ96ÿ!!;ÿÿ7%Z
24ÿ 4 E@ÿ%ÿÿ!ÿÿÿ96ÿ!!;ÿÿ7%Z
25ÿ 5 Eÿ!!6;ÿ%ÿÿ%6ÿ!"=ÿ?6=ÿÿ#ÿ?@ÿZ
26ÿ                              ÿVSÿYS ]ÿAYSÿTÿ  ÿ
27ÿ 6 W9;ÿÿÿ96ÿ%ÿÿÿ#ÿ<78= Z
                                                    04ÿ
                                                    ÿ
  Case
   Case2:23-bk-10990-SK
        2:23-bk-10990-SK Doc
                          Doc349-1
                              391 Filed
                                      Filed10/04/23
                                            09/15/23 Entered
                                                       Entered10/04/23
                                                               09/15/2311:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                          MainExhibit
                               Document
                                      A Page  Page
                                                16 of
                                                    3248
                                                       of 557



 0ÿ 7 ÿÿÿÿÿ!ÿ"ÿÿÿ"ÿÿ#ÿ$%ÿÿ&'
 2ÿ 8 ()!$*ÿ"ÿ$+&&%ÿ"!ÿ&ÿÿ! +ÿ,,"&ÿÿ$ '
 3ÿ 9 -*ÿÿ"ÿ,ÿ&ÿÿ! +ÿ,,"&ÿÿ$ '
 4ÿ 0 -ÿ,,+&ÿÿÿ+"ÿ,&%".ÿ"&#+".ÿ"ÿ"ÿ#*ÿ/&'
 5ÿ                      ÿ12ÿ134ÿ562ÿ7ÿ  ÿ
 6ÿ 00 8!ÿ&ÿÿ! +ÿÿÿÿÿ978. '
 7ÿ 02 ÿÿÿÿÿ!ÿ"ÿÿÿ"ÿÿ#ÿ$%ÿÿ&'
 8ÿ 03 ()!$*ÿ"ÿ$+&&%ÿ"!ÿ&ÿÿ! +ÿ,,"&ÿÿ$ '
 9ÿ 04 -*ÿÿ"ÿ,ÿ&ÿÿ! +ÿ,,"&ÿÿ$ '
0ÿ                     ÿ12ÿ7 531ÿ562ÿ7ÿ  ÿ
00ÿ 05 8!ÿ&ÿÿ! +ÿÿÿÿÿ978. '
02ÿ 06 ÿÿÿÿÿ&ÿÿ! +ÿ,,"&ÿÿ$ '
03ÿ                      ÿ12ÿ771ÿ562ÿ7ÿ  ÿ
04ÿ 07 8!ÿ&ÿÿ! +ÿÿÿÿÿ978. '
05ÿ 08 ÿÿÿÿÿ!ÿ"ÿÿÿ"ÿÿ#ÿ$%ÿÿ&'
06ÿ                      ÿ12ÿ6:1ÿ562ÿ7ÿ  ÿ
07ÿ 09 -ÿ,,+&ÿÿÿ+"ÿ,&%".ÿ"&#+".ÿ"ÿ"ÿ#*ÿ/&'
08ÿ                         ÿÿ5626ÿ7ÿ  ÿ
09ÿ 2 ;ÿÿ"!ÿÿ#ÿ$%ÿÿ&'
2ÿ 20 ;ÿ,<+&ÿ"!ÿÿ#ÿ$%ÿÿ&'
20ÿ 22 ;ÿ&ÿÿ="ÿ#*ÿ='
22ÿ 23 ;ÿ&+&ÿÿ="ÿ#*ÿ='
23ÿ>>>ÿ
24ÿ>>>ÿ
25ÿ>>>ÿ
26ÿ>>>ÿ
27ÿ>>>ÿ
                                             05ÿ
                                             ÿ
  Case
   Case2:23-bk-10990-SK
        2:23-bk-10990-SK Doc
                          Doc349-1
                              391 Filed
                                      Filed10/04/23
                                            09/15/23 Entered
                                                       Entered10/04/23
                                                               09/15/2311:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                          MainExhibit
                               Document
                                      A Page  Page
                                                17 of
                                                    3348
                                                       of 557



 0ÿ 24 ÿÿÿÿ!ÿ"#ÿ!
 2ÿ
 3ÿ 25 ÿ$"%ÿ%ÿ!ÿ$%ÿ&ÿÿ%ÿ'$ÿ!(ÿ)$ÿ!ÿ**
 4ÿ+!,ÿÿ-$.$ÿ27/ÿ220ÿ               0123-456ÿ3-77869/ÿ77:ÿ
 5ÿ
 6ÿ                                      ;,ÿ
 7ÿ                                           '7-6<005ÿ982=>ÿ0123-456ÿ
                                              ;65??ÿ@ÿA-00563-=ÿ
 8ÿ                                           -ÿÿ:&&ÿ
 9ÿ                                           -+<ÿB5=+6<>56/ÿÿ'C?$ÿ!ÿ
                                              &!&D&!$ÿ
0ÿ
00ÿ
02ÿ
03ÿ
04ÿ
05ÿ
06ÿ
07ÿ
08ÿ
09ÿ
2ÿ
20ÿ
22ÿ
23ÿ
24ÿ
25ÿ
26ÿ
27ÿ
                                           06ÿ
                                           ÿ
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              18 of
                                                  3448
                                                     of 557




                       0123435ÿ7ÿ
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              19 of
                                                  3548
                                                     of 557



     ADJ <WOcfligll.prapeym,il.-,
     To Jaffe Hlda ~ t ~ . n e t > . i11lU wi,n <V41nd11ge,Oh0tma1.com>
     Al,•ldl••lltlo . .. . . . . . . . /Id's

                                                                                                              2 ""-'1men11,. -429 ICS




                                          AiCEll.a.urt TO FJRST NfDDICDT l>EC'LAAATIOIC or TRUST
                                                    (O!ICAII and TAHU. VEIIDRIGDt • • It.a.
                                                        'rel.ORIC:ER FAia LY TIIVST)




                                               ~llt FrAST NltHCftD;T DECUltATIOII or nttTSl' e.xa-=uted on
                                 tho 7th day of My :.990, by OSQR IIJRDa?CD and 'D.(IIA
                                 WDIDIUC:U ... TNROT$, ano Osc.\a "1:JfDIUC:D ancl TAlllA
                                 W!ICDRICEJl •• 'l'JN&t.cla. ie ~....a,y . ~ .by c.aid TrU:etors •nd
                                 Tniat••• pu,ranuant t.o the r19ht t:o      •-nd
                                                                               ~ Wider the
                                 or19ift-'l DI.CJ.AJUI.TlOl( or T11VST, Thia • ~ n t shall i-eplaa.
                                 1n pertinent pert •ny prov1ai- to the cont.r•rt in tAO
                                 or.t9.lnal ll&CJ.AMT:OII or ntUS'T, and abal.l ot:...,o,1 . . ......, ••id
                                 OZCURAT?Otr OF' TRUS1' o\a toltovc:

                                         l.    Oi,on tJle dut:l'I of UHi S11..-vivi119 Tr\lstor. the
                                Tna•t•• atuill distrU>ut• the 'l'rust Eat.eta•• tollova:
                                                  <•) J:.ch granckhild of U.• 'l'l"ll•tora al\all
                                ro.:.-4,,.. ~ • • - oC 'J'en -;-n.,.....nd - l l a r a ($10,000), increased
                                six parc-t ' " ' por aNIWS, CUDUlat.ivaty;
                                                 (b)
                                be d.ivi.s.ct cma-haU C:!./21 to .JACCS VEN1!RICD,       -n
                                                      nie re:aainder ot tba TrUct .t&t•t• sbal1
                                                                                     of the
                                TrUIJtors, end one-half (l/2) ~ ADI VDIDIUGER, :son of t.ba
                                'J'rvstora, par i:ticpo~.

                                            I.H ,.!?MESS WHEREOF, tbe Or19ihbL TN&tor and TNStee
                                bave. axeGVtod ttri• 11:aa-,,.t Co Cl>e DECUIMTlOtl OT TROST tl>ia
                                LL!!!... day or ?f'..u~~,: , t 9U.

                               'l'ROSTOR:                                 TRUST££:


                                a  o·
                               OSCAR ~ ~-
                                               :
                                ,..
                                 i".ui.. >kthh)~.•                        TA>lfA iibibiUCii )
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              20 of
                                                  3648
                                                     of 557




                                    STATE or CALU'OIUCIA                   I
                                                                           ) SC•
                                    COU#'TY or r.()S Alk.ttzs l




                                    d•'f ot   md y           :,IftfESS
                                                                               •Y hand end ott1c1•1 1011 this Lj'-1,I
                                                                                • lttJ""

                                                                                 r~~~Q;,~~~
                                                                                  otuy bhc: oru
                                                ...... t•
                             • •.             omct.U. If.AL                                        1n
                                           , _ill'tllUC'.
                                           ,.,,., """"'"'   $1,opltO
                                                          CN,.'flo«lt,,.
                                                                                   Cc,unt.y and SC..t•
                               I       .        ,
                                            .,_ _ _ .,.U    -""
     Case
      Case2:23-bk-10990-SK
           2:23-bk-10990-SK Doc
                             Doc349-1
                                 391 Filed
                                         Filed10/04/23
                                               09/15/23 Entered
                                                          Entered10/04/23
                                                                  09/15/2311:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                             MainExhibit
                                  Document
                                         A Page  Page
                                                   21 of
                                                       3748
                                                          of 557

       -
7'
                                                    FIRST AMENDMENT TRUST
                                                      WENORIGER FAMILY

                   THIS FIRST AMENDED TRUST AGREEMENT r eplaces the prior Trust
                   Agree111ent dated July 10, 1986, and is entered into by and
                   between OSCAR WENDRIGER and TANIA WENDRIGER, "HusbandN and
                   "Wife," respectively, of the County ot Lo& Angeles, in the
                   State of California, hereinafter called 11·Trustors," and OSCAR
                   WENDRIGER and TANIA WENDRIGER ot tho Stato ot California,
                   horoinaft•r r•f•rred to as "Cotrustees. M
                   In construing this Trust the fo~lowing definitions shall
                   apply:
                   l.   Whenever used herein the expression "Trustors" shall
                   refer to OSCAR WENORIGER and TANIA HENORIGER.
                   2.   Whenever used herein the expression °0riginal
                   cotrustees" shall refer to OSCAR WENDRIGER and TANIA
                   WENDRIGER.
                   J.   Whenever used herein tho oxpression "Original cotrustec"
                   shall refer to either OSCAR WENDRIGER or TANIA WENDRIGER,
                   4.   Whenever used herein the expression NSuccessor Trustee"
                   shall reter to JACOB a . k.a. YAACOV VENDRIGER and ADI
                   VENDRIGER.
                   5.   Whenever uaed herein the expression "Alternate Trustee"
                   shall refer to the surviving successor Trustee and SHLOMO
               ~   MENl<ES.
                   6.    Whenever used herein the expression "Trustee" shall be
                   deeme d a reference to whomever is serving as Truste e, or
                   Cotrustees, whether original, successor or alternate.
                   7.    Tho ini tial primary beneticiarie• ot this Trus t Est ato
                   shall be OSCAR WENDRIGER and TANIA WENDRIGER.
                   8.    The effective date of this Trust Agree.ment shall. be its
                   date of execution.

                   I.     TRUST PROPERTY
                          A.     Original Trust Estate
                            The Trustors a cknowledge that they have transferred
                   to the Trustee without consideration the sum of ton dollars,
                   along with the foll owing:
                   PERSONAL PROPERTl: All tangible and intangible held personal
                   property that the Truetors, either separately or as COJIIJIIUnity
                   property, now own or do hereafter acquiro, including but not


                                            REVOCABLE LIVING TRUST Pagel


                                                                          -   -   .   -- .   -~ -~-·---
                                                                                                  - -. ,,________   -   ...


           .   - -·- ·--·- ··- -- ..,.. ... - ·-·- . -· ... ·-·-- ·- --
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              22 of
                                                  3848
                                                     of 557
                                                                   - ~=--..· ·-


      limited to household furniture, furnishings, and utensils;
      equipment and appliances; a rt; clothing; cash; personal
      effects; bank accounts; registered and unregistered
      securities; notes receivables security interests and liens;
      interests in partnerships, firms, businesses (including
      inventory), and corporations ; contract rights; ana a~ounts
      due from e~ployers; excluding, however, any and all such
      property subject to any (other) trust or power of
      appointment; and any property subject to a pledge, security
      agreement or legal restriction on transfer,
     All such property owned by Tru•tora shall bo considered and
     treated as co1U11unity property unless listed as separate
     property in this Trust on Schedule B (the separate property
     ot husband, it any), and in Schedule c (the separate property
     of wife, if any).
     All such property, which is hereby delivered by the Trustors
     to the TrUstee, shall be held, administered, and distributed
     by the Trustee as hereinafter set forth.

          B.   Additions to Trust Estate
              Additional property may be added to the Trust Estate
     at any time by the Trustors or either o! the~, or by any
     person or persons, by inter vivos or testamentary transfer.
     All such original and additional property is referred to
     herein collectively as the Trust Estate, and shall be held,
     managed cmd distributed as here.in provided.
               i.   Enlployee Benefit Plans
                  In the event that any designation ot the Trustee
     o~ this Trust as Beneficiary i n any employee benefit plan in
     which the Trustor• may have an i nt•r••t shall be inettectual
     in whole or in part, the Trustors specifically request that
     the co111111ittee, or other group having authority to do so under
     any suoh plans, ••lect the Trustee of the Trust as
     beneficiary of such plans to the ~axi.um extent possible ,
     The Tru~tQQ may aleot the mode of payment which, in the
     Trustee's discretion, appears to be the most advantageous
     option available to the Trust and/or lts then current income,
     Beneficiaries in terms ot income ta~. estato and inhoritane•
     tax, and/or inv,stment return considerations, based on the
     Trustee's evaluation ot the facts and circu•stances relevant
     to such conQiderations as they exist at the time the Trustee
     makes such election. FUrther , the Trustee nay, predicated
     upon th• foregoing consideration, elect in writing not t o
     treat the death benefits as a lump aWR distribution tor
     income tax purposes and thus exclude the maximum allowed from


                      REVOCABLE LIVING TRUST Paqe 2
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              23 of
                                                  3948
                                                     of 557

                                                                                                                        -
---   .. - -':' .... ~
                         -·- · ····· - -· ____.. ..... ..   --- -        ...
                                                                               _ .... ... . ~~- ·- ~··4····   .. ---·



                eatate taxes . An election by a T~stee in good faith in the
                exaroiae of the discretionary power conferred upon it shall
                be final and binding upon all paraon• whoJ11SOaver and shall be
                a full acquittance and discharge to the Truatea, and the
                Truatee shall not be liable to .any peraon by reaaon of its
                exerciaa of such discretionary power.         ·
                           c.      Character of Property Unchanged
                           Tb• property comprising the original corpua of the
                '?r\Ult Estate is comaunity property of the Truatora, except as
                otlierwi•• specifically indicated. During the joint lives of
                the Truators, any property tranaferre4 to this Truat shall
                retain it• original character. All such property •hall be
                aaaUJlled to be community property unl••• otherwise
                epeoifically indicated in writinq by the TrUatora. In the
                event or revoCatio~, the Truetee eha11 diatributo •ugh
                property to the Truatora baaed on the sue property rights
                they had prior to transfer to the Tnaat. Any and all gifts
                made by the Truetora of Trust                       ••••t•
                                                       ah.all constitute a
                revocation by the 1'ruators as to such property, and,
                therefore, a gift by any Truator having an interest in that
                property would al•o constitute a revocation.
                 II.       ORJ:GINAL AND SUCCESSOR 'l'RUSTDS
                           A.      ~~i9inal Cotruat•••
                                   Th• Original Cotrustaas UJJder this Declaratipn ot
                Trust shall be as hereinabove defined, to serve with all of
                the obligation, powers, and authori:ty contained within this
                Truat Agreament.
                           D.      Death or Resignation of Qriginal Cotruatea
                         In the event of the death of either original
                cotrustee, or if for any reason whatsoever he or she ceases
                to serve as cotruatae b.ereunder, the T1;U•tore nomi1Ulte ·can<1
                appoint the remaining cotruatee to serve aa Trustee hereunder
                without the approval Qf any Court.
                         In the event of the death of both Original
               cotrustees, or if tor any reason whatsoever both cease to
               aerve as Trustee hereunder, the TrUatora nominate and appoint
               the successor 'l'rus·t •• aa hereinabove defined to serve aa
               Trustee hereunder without the approval of any court. In the
               event that the abovenamed Successor 'l'rustee consist• of more
               th.an one peraon then if for any raa•on whatsoever any of the
               aroresaid do not serve or cease to serve as cotruatee
               hereunder, tha irrustora nominate and appoint wh011soevar ot


                                                REVOCABLB LIVING '!'RUST Pa9~ 3
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              24 of
                                                  4048
                                                     of 557
                                                                                       Q

      the aforenaaed •hall be available to serve ae Successor
      Trustee hereunder without the approval of any court.
               In the event of the death of the successor Trustee
      as hereinabove defined, or if for any reason whatsoever he,
      she, or they cease(s) to serve or for any reason refuses to
      serve as Trustee hereunder, the Truators no~inate and appoint
      the designated Alternate Trustee to serve as Tru~tee
      hereunder without the approval ot any court. xn the event
      that the Alternate Trustee consists of more than one person
      then if for any reason whatsoever any of the aforesa!d do not
      serve or cease to serve as Cotnistee hereunder, the Trustors
      nominate and appoint whomsoever of the aforenaaed shall be
      available to serve as successor Trustee hereunder without the
      approval of any court.
               In the event of the death of the original Trustors
      hereof, and in the event that neither the aforenamed
      Successor Trustee or the a!orementioned Alternate Trustee is
      available then the majority o! then living beneficiaries
      hereunder who are issue of the Original Trustors hereof shall
      have the right to select another Successor Trustee hereunder
      to serve without approval ot any court. In the case ot minor
      beneficiaries, then any guardian of such a beneficiary shall
      act on behalf of such ~inor beneficiary to select a successor
      Trustee.
           c.    Discharge or Resignation of Trustee
              The Trustors &hall have tha ri9ht to discharge the
     Trustee of any Trust hereunder. Discharge of a Trustee shall
     be by delivery to such Trustee of thirty (JO) daya' written
     notice of discharge, accompanied by the name ot the intended
     Successor Trustee.
           D.    Duties and Responsibilities of Successor Trustees
              No successor Trustee shall have any responsibility
     tor any acts or omissions ot any prior Trustee and no duty to
     audit or investiaate the accounts or adlllini$tr~tion of any
     11uc;.h Tru•~•o; nor, ... nl ... o ln wr.i.tin,y             te•flU••~cia ~o do ao by :a
     parson having a present or future beneficial interest under a
     Trust hereunder, any duty to take action to obtain redress
     for breach oft.rust. It is the intent ot the Original
     Truetors that the successor Trustee shall not be required to
     obtain court approval, discharge, or pursue any other Court
     proceedings at the request ot incOll\e Beneficiaries without
     first attempting to obtain releases troll the majority of the
     adult incoae Beneficiaries with such release and discharge
     being complatoly adequate as to all responsibilities


                           REVOCABLE LIVING TRUST Page 4


                . --·- -- . -· ·- ....... --   --- - .. ·-·--·-·---·-··
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              25 of
                                                  4148
                                                     of 557




      incumbent upon the Trustee . However, under any
      circumstances, any claim or action against any previous
      Trustee must in any event be asserted or tiled by any
      Beneficiary within one (1) year after the appointment of a
      Successor Trustee.
            E.   Bond
              No Trustee shall be required to post bond or any
     other security for the faithful pertoraance of any duties or
     obligations of such office.                         .,
     III, INITIAL TRUST
           The Trustee shall hold, manage, invest, and reinvest the
     Trust Estate and shall collect the income thereof, and shall,
     upon demand of the Trustors, pay to the Trustors during their
     joint lives all community net income of tha · Trust Estate and
     shall pay to each Trust~r all separate net income from his or
     her respective share of the Trust Estate. In the event that
     the Trustors do not demand payment of the net income of
     CODllllunity property, or it either of the Trustors fails to
     demond distribution of 6eparate property net income, then the
     Trustee may at his discretion accumulate such income, and
     such inco~e will becol'De property of the Trust Estate.
          The Trustee shall further pay colllJl\unity property
     principal, up to the whole thereof, to the Trustors upon
     written request. Upon the written request of the Truator who
     transferred separate estate property to the Trust, the
     Trustee shall pay so much of the principal of the separate
     estate established by such Trustor, up to the whole thereof,
     as he or she ahall request.
     IV,   REVOCATION AND AMENDMENT
           Either of the Trus tors, during their joint lives, may at
     any time and upon succe ssive occasions, revoke this Trust in
     whole or in part.     The Trustors may jointly alter or amend
     any of its provisions .     Any Amendment may be similarly
     cancelled or amended . It a Truster ls incompetent, such
     power to revoke, alter or amend the Trust may be eKeroised by
     the guardian or conservator at the direction of a court of
     competent jurie4iction where such court approval i~ raquirod.
           From and after the death of Githor of the Original
    Truators, this Agreement, · insofar as it relates to the
    SURVIVOR'S TRUST, may be revoked or amonded at any time and
    from til'IO to time by the Survivor delivering written notice
    of revocation or amendment to the Trustee; provided, however,


                        REVOCABLE LIVING :l'RUS? PGge 5
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              26 of
                                                  4248
                                                     of 557



- -·-      . - - -···- ·-----           - - ---------- -
                                             -·




         that the duties and liabilities ot th• Trustee cannot be
         increased without ·its .consent. In the event or any
         revocation, the revoking party or parties .shall inde:mnify the
         Trustee in a manner satisfactory to it against liabilities
         lawfully incurred by th• Tru•t•• in th• conduct of its
         office. If a survivor is ino011petent, such power to revoke,
         alter or a.end the Trust may be exerciaed by the guardian or
         conservator at the direction of a court of co~petent
          jurisdiction.    Bxcept as hereinabove provided, this
         Agreement, and the Trusts evidenced hereby, are irrevocable
         and shall not be sul:>ject to amendment.
         V.    DISTRIBtJ'l'IONS ON DEATH OF EITHER TRUSTOR
              Upon the death of the original TrUstor hereof whose
         death shall occur first. the Trustee Shall make any such
         distributions of specific gifta which are itemized and listed
         on Schedule D (the Specific Gift Distribution Schedule) which
         ia attached hereto and incorporated herein by reference.
         With reference to any specific gifts 11a.da in accordance with
         Schedule D, whether referenced in this Article v or Article
         VI below, the following ahall apply. In the event that a · ·
         Beneficiary does not survive the decedent spouae, any gift to
         the deceased Beneficiary shall lapse and pass as part of the
         rest and residue of the 'l'rUat Estate.
              ~haroa~tor, tho TrUatoo •hall divido tho ~ruat Eatato,
         including all property received as a result of the Decedent's
         death, into two parts, each part to be administered as a
         separate Trust to be known respectively as the 11 SURVIVOR'S
         T.ROST," and the .. DECBDBNT'S T.Rt1S'1' . " Reference hereafter to
         the "DECEDENT" shall refer to either of the Trustors whose
         death shall first occur, and reference to the "SURVIVOR•
         shall refer to the survivinq Truster.
              A.   Decedent's Trust
                   Th• DSCBCEN'l''S TRUST •ha11 include an alllOunt equal
         to the lesser of the equivalent Estate Tax Exemption in
         ef!eot 'during the year or the death of the decedent, or one-
         half (l/2) of the 'l'rUst Estate.
                  As a method of illustration of speci,f ic amounts for
         the Estate Tax EXemption, the Trustee is directed to




                          REVOCABLE LIVING TRUST Page 6
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/23
                                                              ·,,
                                                                     11:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              27 of
                                                  4348
                                                     of 557



                       ·---- -----        --·- .. -·---   - -,.._...._...- .. .... ..-
                                                                           ~-



        distribute to the DBCBDENT'S 'l'RUST an amount equal, in each
        year, to the aaounta as indicated below.

                                                EQUIVALENT ESTATE
                   DATE or DEATH                    TAX BXEKPTIOH
                   1990 and after                          $600,000

                   In determining the equivalent :r:atAte Tax Exemption,
        the Trustee ia to take into consideration any litetillle gifts
        made which may decrease the actual amount availabia to
        transfer to the DBCBDBN'r'S 'l'RUST. The Truators acknowledge
        that their intent is that the aJDount to~• distributed to the
        DBCEDEN'l''S 'l'RUS'l' shall not exceed an amount which will
        provide tor a zero (O) tax upon the death of the first of the
        Trustora to die.
              B.   survivor ' s 'l'ruat
                 All at tha raGt and residua ot the assets ot the
        Trust Estate shall be allocated to the SURVIVOR'S TRUST.
              c. other Transfers
                  In the event that property ia received by th•
        TrUatee , either by rnter Vivo• or Testamentary Transfer, and
        directions are contained in the Instrument ot Transfer tor
        allocation to or between the SURVJ:VOR'S 'l'RUST and the
        DECEDENT'S 'l'ROST, then the 'l'rustee shall malc:e allocation i n
        accordance with auch directions, anything to the contrary
        notwitbetandin~ .     In the event no s~ci!io in•~rue~ion• aro
        given as to allocation, such property as is received trom a
        source other than the Trustors (or either of them), shall be
        placed in the SURVIVOR'S TRUST.
        VI.   SURVIVOR'S TRUST
              A.   Distribution of Income
                 All the net income shall be distri))uted in
        convenient installments not less trequently than quarterly to
        the Survivor during h1e or her i1ret1me.
              B.   Powers of Appointment ot Principal
                 During hi• or her life~iae, the Survivor ahall have
        a general power to appoint the principal and any
        undistributed income of the SURVIVOR'S 'l'RUS~ or any part
        thereof, ta hiaself or herself, or to any per•on or persons.



                            REVOCABLE LIVING TRUST Page 7
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              28 of
                                                  4448
                                                     of 557




               Upon the death of the Survivor, he or she shall have
      the power to appoint the principal and any undistributed
      income of the SURVIVOR'S TRUST or any part thereof to his or
      her Estate or any person or persons, or to the DECEDENT'S
      TRUST. Such power of appointment shall be exercised only by
      means of written directions executed by the Survivor and
      delivered to the Trustee during the lifetime of the survivor.
      If the Survivor executes and delivers nore than one such
      written direction to the Trustee, the last one .shall control
      unless, by its context, the Survivor clearly indicates
      otherwise.                                           ,·
           c. Death of survivor
                                         ..
               Upon the death of the Survivor, the SURVIVOR'S TRUST
      shall terminate. The Trustee shall distribute the Trust
      Estate in accordance with and to the extent provided by the
      survivor's exercise of his or her powe r of appointment. All
      specific gifts itemized and listed on Schedule D hereof to be
      distributed by the Trustee at that time shall then be
      distributed by the Trustee. Any part ot the Trust Estate
      with respect to which the Survivor shall not have exercised
      his or her power of appointment shall beco11e a part of the
      trust established under Article VIII hereof, and be        ·
      administered by the Trustee, in accordance with the
      provisions set forth herein.
      VII. DECEDENT'S TRUST
           A.   Distribution of Incone
               Allot the net income chall be distributed in
      convenient installments, not less frequently than quarterly,
      to the Survivor during his or her lifetime.
           8,   Distribution of Principal
                The Trustee shall also distribute principal to the
     survivor, which in the sole discretion or the Trustee is
     necessary to provide proper support for the Survivor as
     defined under Article IX and Article XIII, A.2.
          C,    Survivor's Power of AppointMent

              The Survivor, during his or her lifetime, shall have
     the power to appoint the principal and undistributed incomQ
     of the Trust Estate, or any part thereof, to himself or to
     herself, or to any parson or parsons; however, the survivor
     may exercise said power of appointment during any calendar
     year only to the extent of Five Thousand Dollars ($5,000) or


                      REVOCABLE LIVINC TRU~T Pago 8
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              29 of
                                                  4548
                                                     of 557
                                                                      .   - ------:i




     five percent (5%) of the aggregate value of the Trust Estate,
     whichever amount shall be greater, Any such power ot
     appointment shall not be construed to be cumulative and if
     not exercised in any calendar year, such power shall be
     terminated as to that year. Such power of appointment shall
     be exercised only by means of written direction executed by
     the Survivor and delivered to the Trustee during the lifetime
     of the survivor. If the survivor executes and delivers more
     than one such written direction to the Trustee, the last one
     shall control unless, by its context, the survivor clearly
     indicates otherwise.                                 l

          D.   Death of Survivor
              Upon the death of the survivor, the DECEDENT'S TRUST
     shall terminate, and shall become a part of the Trust created
     under Article VlII, and be administered in accordance with
     the provisions of said Article.
     VIII.CHILDREN'S TRUST
          A,   Income and Principal Prior to Division
               Prior to division of the Children's Trust as
     provided for in Paraqraph c hereinafter, the Trustee is
     directed to add any undistributed income to the principal .
          B,   Advancements
               1.   Request for Advancements
                    Any Beneficiary of this TrUst may, at any time,
     and upon successive occasions, by written instrwnent filed
     with the Trustee, request an advancement or advanceMents on
     his or her ultimate anticipated share ot the Children's
     Trust. If, in its solQ discretion, the Trustee determines
     that the requested advancement or advancements will be used
     tor a worthy objective then the Trustee may make such
     advancement or advancements in whole or in part from the
    Beneficiary's share of the Trust. As used herein, the term
    "worthy objectives" may include, but not be limited to, the
    purchase of a home appropriate to the needs and circumstances
    of the Beneficiary; the acquisition of a business interest in
    keepinq with the .age, training and experience of the
    Beneficiary, provided that such business interest is needed
    for the support of the Benericiary and his or her family, and
     £ur~her provided thGt there lo G reGeonable p~obaLilit1 u£
    success in the judg111ent of the Trustee; and the continuance
    of the education of any Beneficiary on a full-time progran in
    an institution of higher learning either on an undergraduate


                      REVOCABLE LIVING TRUST Page 9
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              30 of
                                                  4648
                                                     of 557




      or graduate level or at a trade or vocational school, with
      expenses including, but not limited to, tuition, books,
      laboratory fees, room, board and a reasonable spending
      allowance. The Trustee shall incur no liability or
      obligation to any Beneficiary or any othe r pers on by an
      exercise, or nonexercise, in good faith of its discretion
      hereunder.

           c. Division of Children's Trust
                l.   Time of Division
                      The Children's Trust shall be divided into
      shares ill\Jl\ediately upon the death of the survivor of the
      Original Trustors.
                2.   Terms of Division
                  The Trustee shall divide two-thirds or all or
     the assets then re~aining in the Children's Trust, without
     making any adjustments tor payments for support and
     maintenance tor any Beneficiary as provided for under Article
     X, into equal shares with one share for each of the Trustors'
     then living children and one share for each deceased child of
     the Trustors who then has issue surviving. The sole children
     ofthe Trustors are YAACOV a.k.a. JACOB VENDRIGER and ADI
     VENDRIGER.
                  The Trustee shall divide the remaining one-third
     of tho Tru~t E~tato into a~ many ~haro~ a~ thoro aro thon
     living grandchildren . The share arising out of the existence
     of each grandchild shall be added to the share of the parent
     of such grandchild for the benefit of said parent.
                   The division shall be. on a per stirpes basis,
     except that if none of the Trustors' children survive and if
     only grandchildren survive, the division into shares shall be
     on a per oapita basis . The share ot each deceased child
     shall be divtded into proportionate smaller shares, or
     subshares, for each of such deceased child's then living
     issue. After the division ot the assets into shares and
     subshares as provided above, the shares shall be distributed
     and/or held as hereinafter provided,

           D.   Distribution and Administration of Children's Trust
              The Trustee shall distribute the respective share or
     subshare to any Beneficiary who is a child of the Trustors
     immediately upon the death of the Survivor of the Trustors .



                      REVOCABLE LIVING TRUST Page 10
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc


                         --
                        MainExhibit
                             Document
                                    A Page  Page
                                              31 of
                                                  4748
                                                     of 557




               Trustee shall distribute the respective share or
      subshare to any Beneficiary who has attained the age of
      thirty years old. For any Beneficiary who has not attained
      the age of 30, the following procedures shall govern.
              Upon the division of the Children's Trust into
     shares and subshares and subsequent thereto; income from each
     share or subshare therefrom shall be paid not less than
     quarter-annually to or !or the benefit of the respective
     Beneficiary. In addition to income, the Trustee shall
     distribute the principal from the respective share oi
     subshare to the Beneficiary upop the Beneficiary's attaining
     or having attained the age of 30.
              In the event a Beneficiary of the Trustors dies with
     funds remaining in his or her share or subshare, then such
     funds shall be paid to his or her then living issue, or if
     there be no living issue, then to the remaining Beneficiaries
     of the Trustors, as and in the manner provided for under
     NTerms of Division."
               In tho ovont a BQnQf.ic1~ry olGCts to hava the
     Trustee continue to administer the distributed portion of the
     share or subshare, to which such Beneficiary is entitled as
     hereinbetore provided, or any part thereof, the Trustee may
     continue to administer such Beneficiary's interest as a
     separate TrUst share in accordance with the terms of Article
     X and XI hereof, subject to the continuing right of such
     Beneficiary to withdraw at any ti~e tha amounts of said
     separate Trust share. If a Beneficiary dies with funds
     remaining in his or her separate Trust share, such funds
     shall be paid as he or she designated by testamentary or
     inter vivos disposition, and ~ailin9 sane, to his er her
     estate.    Upon the termination of any share, if any assets
     are distributable to a person who is not yet entitled to
     distribution, then the distributable share of such
     Boneficiary shall at once vest in him or her, but the Trustee
     in its sole discretion, may continue to hold such
     distributable share until said Beneficiary is entitled to
     distribution, using QO much of the income and/or principal
     thereot as may be necessary in the opinion of the Trustee for
     the support of such beneficiary and paying to such
     Beneficiary the then remaining assets of his or her share
     upon his or her becoming entitled to distribution. If the
     said Beneficiary dies prior to such time as he or she would
     bG entitled to diGtribution, all the remaining assets of such
     individual's interest in the Trust share otherwise payabie to
     him or her shall be paid to the estate of such Beneficiary.




                    RBVOCA8LE LIVING TRUBT Paoe 11
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              32 of
                                                  4848
                                                     of 557




           E.   Provision for Grandchildren
             If, prior to the tenaination of the Children's
    Trust, any o! the Trustors' children are deceased with issue
    surviving, then the Trustee may, in its discretion, support
    such issue of deceased children as though they were children
    of the Trustors.
           F.   Termination
                1.   No Issue surviving                      ,-
                                       ..
                     In the event that no issue of the Trustors
    ~urvive t&e Trustors' deaths, or survive the distribution of
    the Trust Estate, then and in that event all of the assets
    that would have been a part of the Trust Estate shall be
    distributed in the following •anner: any assets of the Trust
    Estate which for any reason cannot be distributed in this
    manner shall be distributed fifty percent to the otherwise
    lawful heirs free of trust and fifty percent to charitable
    facilities in Israel for the benefit of injured soldiers.
                2.   Discretionary Tenaination
                 Any time that a Trust or Trust share created
    under this Agreement ha~, in the judglllent of th• Trustee, a
    value so low that the expenses of maintaining the Trust
    cannot be reasonably justified, the Trustee may, in its
    discretion, but is not required to, terrainate such Trust or
    Trust share. In case of such termination, the Trustee shall
    distribute forthwith the share so ter11inated to the primary
     Beneficiaries thereof .
                3.   Mandatory Termination
                  The Trust Estate shall terminate in any and all
     aventG not later than twenty-one (21) years arter the death
     of the last surviving Beneficiary herein named who is living
     at the time of death ot the Decedent, it being the intent of
    the Trustors that this Trust Agreement shall be interpreted
    so as not to violate the Rule Against Perpetuities.   The
    Trust Estate, upon such termination, shall be distributed to
    the Beneficiaries for whom, at that time, a share or subshare
    has bean set aside, each such Beneficiary to receive his or
    her share or subshare and any accumulations thereon .
     IX.   SUPPORT AND MAINTENANCE
          lf the Trustee of any Trust hereunder deems the net
     income payable from such Trust not sufficient to support any


                       REVOCABLE LIVING TRUST Paga 12
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK Doc
                           Doc349-1
                               391 Filed
                                       Filed10/04/23
                                             09/15/23 Entered
                                                        Entered10/04/23
                                                                09/15/2311:54:55
                                                                         15:51:07 Desc
                                                                                   Desc
                           MainExhibit
                                Document
                                       A Page  Page
                                                 33 of
                                                     4948
                                                        of 557




.....

         Beneficiary entitled to receive suoh support pursuant to the
         terms ot this Trust Agreement, then the Trustee may, aa often
         as it deeas necessary, pay to or apply for the use and
         benefit of such Beneficiary such part of the principal of
         such Trust, up to and including the whole thereof, as the
         Trustee in its discretion believes necessary for the support
         of such Beneficiary.
              A.   standard•
                  In exercising its discretton hereunder, the1 Trustee
         shall take into consideration tbe income, earning capacity,
         resources and other sources of receipt of the Beneficiary,
         together with any other factor which the Trustee may deem
         pertinent, including the accustomed manner of living of such
         Beneficiary, but need not require the exhaustion of personal
         resources as a condition for meking disbursements under the
         authority of this paragraph. The jud9111ent of tha Trustee as
         to the propriety and amount of all such paynents shall be
         conol.uaive.

                 Notwithstanding any provision to the contrary, the
        Trustee shall not distribute principal except within the
        standards of Internal Revenue Code 2041.
              B.   Evidence of Need
                 The Trustee fflay, in its discretion, require as a
        condition precedent to the distribution of any Trust assets
        for support or advancement, that the BeneficiAry turnish
        evidence ot his or her financial condition, income, earning
        capacity and assets, in form and content satisfactory to the
        Trustee. The Trustee shall be entitled to rely upon the
        written certification of such Beneficiary or the guardian of
        such Beneficiary as to the nature and extent of such
        Beneficiary's needs for support, and the inadequacy of such
        Beneficiary's resources apart from the Trust. The Trustee
        shall not be required to make further inquiry as to the
        authenticity of the tacts so certified.
              c. Preferences
                   In exercising its discretion hereunder, the Trustee
        is to consider the needs ot the survivor tor support ae the
        prilllary purpoH of- the Trusts during his or her li!eti.Jlle,
        even if the satisfaction of such needs requires invasion of
        the entire Trust Es~ate.
                 After the death of the Survivor, the support of the
        children shall be paranount to the conservation of the Truat


                        RIVOCABJ.,i' LIVING 'l'RUST Page 13
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              34 of
                                                  5048
                                                     of 557




     Estate for the benefit ot those who will be entitled to take
     it on termination. The Trustee ehall, in exercising the
     discretion given herein for the benefit of the children or
     their issue, do so in such a manner as will encourage thrift,
     indu5try, and salt-reliance to the maximuro extent practicable
     by the respective Beneticiariea, and discourage extravagance
     or indolence on the part of any such Beneficiary.
          o.   Guardian's and conservator's Expenditures
              The Truators do not desire that the guardiarr'' or
     conservator of any Deneticiary should incur personal axpansg
     for the support of such Beneficiary. The Trustee shall
     disburse funds from such Beneficiary's Trust Estate tor the
     purpose of reimbursing such guardian or conservator for
     reasonable expenses incurred in accommodation of such
     Beneficiary.
     X,   POWERS OP TRUSTEE
         The Trustee shall have the following powers, duties and
    discretions in addition to those otherwise granted herein or
    by law, a nd except as elsewhere heroin ~pecitical ly
    restricted.
          A.   Retention
             The Trustee shall have the power to retain, without
    liability tor loss or depreciation resulting from such
    retention, the original assets and all other property
    hereafter transferred, devised or bequeathed to the Trustee,
    although such property may not be of the character prescribed
    by law or by th• terms of this instru11ent for the investment
    ot othor Truet aaeets, and, although i~ representa a large
    percentage or all of the Trust Estate, this said original
    property may accordingly be held as a permanent investment.
               The TrUstee shall have the power, with respect to
    any buainoss interest that may ~ecome a part or the Trust
    Estate, whether organized as a sole proprietorship,
    partnership, or corporation, and upon such terms tor such
    time and in such manner as it may deem advisable, to hold,
    retain and continue to operat• •uch bueinesa solely at the
    risk or the Trust -Estate and without liabil ity on tho part of
    the Tructoo for any- losaes reaultin9 therefrom; to dissolve,
    liquidate , or sell at such time and upon such tarl\Q as the
    Trustee may deem advisable; to incorporate s uch business and
    hold the stock as an asset of the Trust Estate: to use the
    general assets of the Trust for the purpose ot the business;
    to borrow money tor business purposes and pledge or encumber


                    REVOCABLE LIVING TROST Page 14
 Case
  Case2:23-bk-10990-SK
       2:23-bk-10990-SK Doc
                         Doc349-1
                             391 Filed
                                     Filed10/04/23
                                           09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                         MainExhibit
                              Document
                                     A Page  Page
                                               35 of
                                                   5148
                                                      of 557


                                    ,   ..
,. - ..........   .   ---
                      the assets of th• business or the other assets of the Trust
                      Estate to secure the loan; to employ such officers, managers,
                      employees or agents as it ~ay deea advisable in the
                      management ot such business, including electing directors,
                      officers, or employees or the Trustee to take part in the
                      111anagement o! such business as airectors or o!ticers.
                            B.   General Property Powers
                               The Trustee shall have all such powers and is
                      authorized to do all such acts, take all such proceedings and
                      exercise all such rights and pr~vileges in the management of
                      the Trust Estate as it the absolute owner thereof, including,
                      without limiting the generality of the terms, the right to
                      manage, control, sell, convey, exchange, partition, assign,
                      divide, aubdivide, improve, or repair1 to 9rant options and
                      to sell upon deterred payments; to lease for terms within or
                      extending beyond the duration of the Trust concerned for any
                      purpose, including the exploration for and renoval ot oil,
                      gas and other minerals; to enter into coJ11111unity oil leases,
                      pooling and unitization agreements; to create restrictions,
                      easements and other servitudes1 to co~promise, arbitrate or
                      otherwise adjust clai~s in tavor of or against the Trust; to
                      institute, compromise and defend actions and proceedings at
                      the expense ot the Trust Estate; and to carry such insurance
                      as tha Trust•• may deem advisable.

                            c. Powers Regarding Securities
                               The Trustee shall have, respecting securities, all
                      the rights, powers and privileges ot an owner, including the
                      right to vote stock, give proxies, pay assessments and other
                      sums deemed by the Trustee to be neceasary for the protection
                      of the Trust Estate; to participate in voting trusts, pooling
                      agreements, foreclosures, reorganizations, consolidations,
                      mergara and liquidations, and in connection therewith, to
                      deposit eeourities with and transfer title to any protective
                      or othGr conmittGG under auoh torma aa th• Tru•t•• •ay dooffi
                      ~dvisable; to exercise or sell stock subscription or
                      conversion rights; to open an account with a brokerage firm
                      of tha choosing of the Trustee in the Trustee's nane, in it•
                      own behalf for the purpose of purchasing and selling ot all
                      kinds ot securities and authorizing such brokerage tirai to
                      act upon any orders, including margin orders, options, both
                      covered and uncovered, instructions with respect to such
                      accounts and/or the delivery of securities or money therefrom
                      and received from said Trustee; and to retain as an
                      investment any securities or other property recoivod through
                      the oxerciao ot any gt the rore9oing powers, The Trustee ls
                      turther authorized to sign, deliver and/or receive any


                                             REVOCABLE LIVING TRUST PAge 15
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              36 of
                                                  5248
                                                     of 557




    doCU11ents necessary to carry out the powers contained within
    this paragraph.
         o.    Exercise Stock Options
              The Trustee is expressly authorized in the Trustee ' s
   sole discretion to exercise any option to purchase stock
   under any stock option purchase plan in which · any Decedent
   Beneficiary is a participant or may bold such option rights
   to t:.he extent that any such option rights may be exercised by
   the TrUa~•• even ~ough ~he •to~k involved is atock ol a
   corporation which may be serving as corporate Trustee f
   hereunder, regardless of the amounti of such stock or the
   percentage of the Trust Estate which may be invested in such
   stock beto~e or attar any purchase under such option.
        £.    Investlllent Powers
              1.   General
                   Th• Tru•~•• has ~he power to invest and reinvest
   principal and income, to purchase or acquire therewith every
   kind of property, real, personal or mixed, and every kind of
   investment, specifically including, but not by way of
   limitation, shares in one or more mutual funds, in any Common
   Trust FUnds administered by the Trustee, corporate
   obligations ot every kind, and stock, preterred or common,
   which persons ot prudence and discretion and intelligence
   acquire tor their own accounts.
                   The Trustee is further authorized to buy, sell
   and trade in securitioc ot a ny natura (including ahol"t: aalea)
   on margin, and for such purposes may maintain and operate
   margin accounts with brokers, and may pledge any securities
   hel d or purchased by him with such brokers as security tor
   loans and advances made to the Trustee.
              2.   Lite Insurance and Annuities
                   The Tl:'Ustee is authorized in the Trustee ' s
  discretion to maintain and/or purchase policies of life
  insurance and/or annuities on the life or for the benefit of
 · any Trust uenet1c1ar1es and to hold and pay tor the saiae as
· an investment and ~sset of the Trustee, at any ti~e and upon
  successive occasions, tha premiums to be charged against
  income or principal, as the Trustee shall determine,
               The Trustee shall have the following powers,
  duties and discretions with respect to policies of life
  insurance held as a part of the Trust Estate:


                    REVOCA~LE LIVING TRUST     Page 16
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              37 of
                                                  5348
                                                     of 557
                                                                            ...



                . a. The Trustee may pay premiuas, asses•~•nts or
    other charge.a with respect to such polioies together with all
    other charges upon such policies or otherwise required to
    preserve them as binding contracts, but shall be under no
    duty to do so.
                 b. In the event that the Trustee intends not to
    pay any premium, assessment or other charge with respect to
    any policy held by it, or otherwise intends to cancel,
    convert or substantially modify any such policy, it shall
    first give the insured, or the guardian of the person QJ! an
    insured under disability, at least fifteen (15) days' advance
    written notice of its intention to take such action.
                 c. Any amounts received by the Trustee with
    respect to any policy as a dividend shall be treated as
    principal.
                d. Upon the . receipt of proof of death of any
   person whose life is insured tor the benefit of any Trust
   hereunder, or upon maturity ot any policy payable to a
   Trustee prior to the death of the insured, the Trustee shall
   collect all SUJIS payable with respect thereto and shall
   thereafter hold such SUIIIS as principal of the respective
   Trust Estate, ~~copt th~t any interest paid by the ineurer
   for a period subseqUent to aaturity shall be considered as
   incoD1e,
                e. The TrUstee may accept any paYJDents due it
   under any settlement arrangement aade before or after the
   death ot the insured and may exercise any rights available to
   it under such arrangement .
                f . The Trustee may compromise, arbitrate or
   otherwise adju&t claims upon any policies, and may, but shall
   not be required to exercise any settlement option• available
   under such policies. Tho receipt of the Trustee to the
   insurer shall be a full discharge and the insurer is not
   required to see to the application of the proceeds.
        F.   Determination of Income and Principal
            The Trustee shall have the power and the authority
   to determine income and principal, and how receipts and
   disbur•ements, including the  f•••  of the Trustee, ahall be
   credited, cnarqad or apportioned oo between ineo•e and
   principal, however, all such detel'111ination shall be maae in
   accordance with tha law of the state of the situs of the
   Trust and the decision and the accounts of tha Trustee in


                  REVOCABLE LIVING TRUST   Page 17
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              38 of
                                                  5448
                                                     of 557




 accordance witll said provisions shall be binding on all
 persons in int~r,es~.
           Notwithstanding the foregoing, the Trustee shall :
  (l) allocate to principal all dividends or other payments
 made by any corporation or mutual investment company that are
 designated by the company as a distribution of capital gain~;
 (2) where a premium has been paid or a discount ~eceived in
 connection with the purchase or a bond, amortize ouch pramiu~
 or discount by making an appropriate charge or credit to
 income as the case may be; and (3) charge income from time to
 time with a reasonable reserve for (a) depreciation of al).
 incoae-producing depreciable real ·or personal property, and
 capital improvements and extraordinary repairs on inco~e-
 producing property; (b) depletion of all depletable natural
 resources, and (c) all intangible property having a li~ited
 economic life. such allocations and charges need not be
 made, however, it written consents are obtained from all
 income Beneficiaries and remainder111en, vested or contingent,
 living and competent to act .
      G.   Authority to Borrow and Encumber
          Trustee shall have the power to borrow money for any
 Trust purpose upon such terms and conditions as the Trustee
 may deem proper, and to obligate the Trust Estate for
 repayment and to encumber the Trust Estate or any of its
 property by mortgage, deed of trust , pledge or otherwise,
 using such procedure to consumate the transaction as the
 Tru•t•• •ay deea adviaablo .
           In addition to the power to encumber property tor a
 loan bring made to the Trust, the Trustee is specifically
 authorized and e~powered to obligate, hypothecate and
 encumber the estate by mortgage, deed of trust, pledge or
 otherwise, or whatever form the Trustee deems appropriate, or
 to act as a third party guarantor to guarantee private.
 borrowings ot the Trustors or either of them during their
 joint lifetime. Upon the death of the decedent, such
 guarantee may only be made from the survivor's Trust .
      H.   Loans
           1,   To Trust
              The Trustee shall have the power t o, in the
 Trustee'a discretion, advance funds to any Trust herein
 created !or any Trust purpose, such advances with interest at
 current rates to be a first lien on and be repaid out of
 principal and as an expense of the Trust; and to reimburse


                   REVOCABLE LIVING TRUST Page 18
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              39 of
                                                  5548
                                                     of 557

                      ____-,--
                                          _,.;...,._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ "<;:




~
   the Trustee from P,rincipal or accuaulated income for any loss
   p_;: exp_i~n.s .e··'l~~~r;red ·bY' reason ot the Trustee's ownership or
   ~~1~ing '6f· ·anf ·property in this Trust.
     ~·-
   ;.· .. ·.•....· ·.'- ..
                        ~ -~ ·

                ·2.   To Benefici~ries
                   The Trustee may, at any time and upon successive
   occasions, loan such sUDs to the Beneficiaries· or any of them
   as the 'l'rus·tee shall deem advisable and in the best interest
   of the Beneficiaries, such loan or loans, if made, to bear
   interest at the prevailing rate and to be unsecured or
   ••cured, aa th• Trustee may, in the Trustee's discretiori,
   direct. Provided, however, that •·the TruBtee sholl have w.i.de
   discretion in the making or denial of any such loan, and the
   Trustee's judgment in the aatter shall be conclusive and
   binding on any Beneficiary requesting any such loan.
           I,   Distributions to or tor Minor or Incompetent
            It at any time any Beneficiary entitled to receive
   income and/or principal hereunder shall be a minor or an
   incompetent or a person whoa the Trustee deems to b• unable,
   wisely or properly, to handle !undo it pQid to hi~ or her
   directly, the TrUstee may make any such payments, in tbe
   Truatee's discretion, in any one or more, or any combination,
   of the following ways:
                1.    Directly to such Beneficiary, or
            2. To the natural guardian or the legally appointed
   guardian, conservator or other fiduciary of the person or
   estate of such Beneficiary, or
                J.    To any poruon or organization !urnishing support
   for such Beneficiary, or
                4.    By the Trustee retaining the principal and
   uakinq expenditures directly tor the support of aueh
   Beneficiary.
               The Trust6e shall not be required to sae to the
   application of any funds so paid or applied, and the receipt
   of such pa~ee if disbursed for such purpose in the best
   jud!Jlllent o~ the Truatea shall be !Ull acquittance to the
   Trustee. The decisi~n ot th• Trustee a• to direct paY111•nts
   or application of tunds in the manner herein prescribed shall
   be conclusive ond binding upon all parties in interest if
   made in good faith. The Trustee is requested to make all
   such disbursements in a way calculated to dispense with the
   necessity of quardianship proceedings.


                       REVOCABLE LIVING TRUST Page 19
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              40 of
                                                  5648
                                                     of 557



                 ··'""';




            The Truatae may, in its aole and absolute
   discretion, require such reports and take such steps as it
   may deem requisite to assure and enforce the due application
   of such money to the purposes aforesaid.
        J.   Disbursement for FUneral and Last Illness
            The Tru•t•• ~ay pay for the last illness, funeral
   and burial expenses of either Trustor or of any other
   Beneficiary of this Trust unless adequate provision shl1,ll
   have been aade therefor through his or her Probate Estate or
   otherwise.
        K.   Notification of Trustee
            Until the Trustee shall receive written notice of
   any birth, marriage, death, or other event upon which the
   right to paY1Dent from this Trust may depend, the Trustee
   shall incur no liability tor disbursements or distributions
   made or omitted in good faith.
        L.   Division of Trusts
             In making the distributions to any Trust or share
   created under this Agreement, tho judglllent of the Trustee
   concerning the valuation of a•s•t• distributed ehall h•
   binding and conclusive upon all Beneficiaries. The Trustee
   may distribute the shares to the various Trusts or to
   Beneficiaries by making distribution in cash, or in kind, or
   partly in cash and partly in kind, or in undivided
   interests, i~ such manner as the Trustea, in its sole and
   absolute discretion, deems advisable. The Trustee may sell
   such profertr as it deems necessary to make any such division
   or distribution. The Trustee shall not be required to make
   physical division of the Trust property, except when
   necessary for the purposes of diatribution, but may, in the
   Trustee's discretion, maintain and keep the assets o! any
   separate trusts in one or more consolidated trust funds, and
   as to each consolidated trust tund, the division into various
   shares comprising such trust fund need to be made only upon
   the Trustee's books oC account, in which each separate trust
   shall be allotted its proportional share of the principal and
   inco~e of the consolidated fund and shall be charge~ with its
   proportionate part ot expenses th•reot .
        M.   Provision for Taxes
            Upon the death of either Trustor or of any other
   Beneficiary, any estate, inheritance, succession or other


                     REVOCABLE LIVING TRUST Paga 20
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              41 of
                                                  5748
                                                     of 557


                         _.,,..
                                  -
             ... . ,-•
               ~




     death taxes, .duties, charges or assessments, together with
     interest, penalties costs, Trustee's compensation and
     attorney's tees which shall become dua by reason of the Trust
     Esuste or any interest therein being includable in the Estate
    ot either Truster, or of such other Beneficiary, for such tax
     purposes, may l>e paid from the TrUst Estate by the Trustee,
    in its discretion, unless other adequate provision shall have
    been made therefore. Any such payments shall· be charged to
    the principal of the Tru•t Estate. The 'l'rUstee aay make such
    P•Yllt•nt• directly, or to the EMecutor or other fiduciary of
    the Trustors or such other Beneficiary, and may rely UP.On the
    written • tatement of such fiduciary as to the amount a~d
    propriety ot such taxes, interest; penalties and other costs.
    The decision ot the Trustee as to any such paYJllents shall be
    conclusive·and binding upon all parties interested in this
    Trust or such Estate. lf the Trust Estate shall be then
    insufficient or if it be then terminated the Trustee shall be
    reillbursed by the persons to whon the Trust Estate shall have
    been distributed, to the extent of tha amount received by
    each distributee. The Trustee, before making any
    distribution or either income or principal, may accordingly
    require a refunding agreement or may withhold distribution
    pending detet'lllination or release of any tax lien .
             The Trustee is authorized to acquire by purchase,
    exchange or otherwise, property, real, personal or mixed. ,
    frqm the Executor or Administrator of the Estate of any
    Beneficiary of this Trust, even though such property may not
    be of a character prescribed by law or by the terms of the
    Trust instrument tor the investment of Trust tunda, and
    although the acquisition of such property may rosult in a
    large percentage or all of the Trust Estate being invested in
    one class of property. The Trustee is expressly authorizad
    to retain the property so acquired so long as it shall deea
    this advisable and to make secured or unsecured loans to the
    Executor or Administrator of such Estate upon such ter111s as
    the Trustee shall deem advisable, such procedures being
   authorized to the extant that they do not adversely affect or
   diminish the marital deduction available to the Estate.   Such
   purchases or loans shall ba without liability to tha '19rustee
   for loss resulting to th• Trust E•tate therefrom. In any
   dealinc:,~ with tha fiduci~rv of tha K~t~to . tha Tructoo •~v
   r•ly upon the statement of such fiduciary as to all material
   tacts.
            Any portion of the Trust Es tate which was received
   from any qualified plan as described in section 2039 ot the
   Internal Revenue Code of 1954, as amended, or any subsequent
   like or sillilar law, may not be used tor any purpose
   described in this Article, which would result in inclusion of


                     REVOCABLE LIVING TRUST Page 21
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              42 of
                                                  5848
                                                     of 557


          --   ----· ·--·-- - · - - ·-          ,.   ..   - - - -- -- -· ·-- --

          aaid funds in the taxable Federal Estate of the Truster so
          long as other sources of funds are available.
                   If the Trustee considers that any distribution from
          a Trust hereunder other than pureuant to a pdwer.to withdraw
         or appoint is a taxable diatribution subject to a generation-
         skipping tax payable by the distribute•, the Trustee shall
         augment the distribution by an amount which- the Trustee
         estimates to be auffiqient to pay the tax and shall charge
         the same against the Trust to which the tax relates. If the
         Trustee conaiders that any termination of an interest in or
         power over Trust property hereunder is a taxable termination
         subject to a generation-skipping tax, the Trustee shall pay
         the tax from tho ~t'Uat prope~y to vhioh tho taK ralataa,
         without adjustment of the relative interests of the
         Beneficiaries. If the tax is i•posed in part by reason of
         Trust property hereunder and in part by reason of other
         property, the Trustee shall pay that portion thereof which
         the value of the Trust property bears to the total property
         taxed, taking into consideration deductions, exemptions, and
         other factors which the Trustee deeas pertinent.
               N.   Payment of Trust Expensee
                    The Trustee shall hav• i:ha au~ho~i~y ~o pay all
         costs, charges and expenses of the Trust Bstate, together
         with reasonable co~pensation for the Trustee's services
         hereunder, including servic•• in whole or partial
         distribution ot the Trust Estate; and to employ and
         compensate from the Trust Estate such agents, assistants and
         attorneys as in the Trustee's judgment shall be necessary to
         protect and manage the Trust property.
               o.   Estate Settlement ·
                  Tne Trustee ls hereby relf'leeted to direct any legal
         questions or requirements concerning settlement of this Trust
         Estate to Stewart Levin, tbe TrUstor's legal oouneel.
               P.   Right of Trustee to Probate TrUst Assets
                  Notwithstanding any other provision• of this Trust
         Agreement, the Trustee may, in its sole discretion, direct
         the Executor of the Will of either or both of the Trustors,
         to aubject up to and including all Truat assets to the
         jurisdiction o~ t:ha Probate Court ae if no living trancforc
         had been made to the Tru~t.




                         REVOCABLE LIVING TRUST           Page 22
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              43 of
                                                  5948
                                                     of 557




      · Q,    Ppv.er ot Cotrustees To Act Independently
            No~ithatanding any other provision to the contrary,
   the Truster~ specifically authorize only either of the
   original cotrustees during their joint lives and while
   serving as Cotrustees, to act independently of the other and
   have the authority to perform all powers and acts as granted
   under this Declaration of Trust, except as affects an
   interest in real property, by example, but not limited
   thereto, to sell, transfer, assign, mortgage, hypothecata or
   otherwise encrumber the real property of the Trust Estat1,
   which will necessitate the concurrence of both Original
   Cotrustees as long as both are al-ive.
              Noewithstanding any other provision to the contrary,
   the TrUstors specifically do not authorize any Successor
   Cotrustaes during their joint lives and while serving as
   cotrustees, to act independently of the other with respect to
   parfot"Jlanca of any and all powore and acts as granted under
   tnia Deciaration or Trust . ·
        R.   CoWDence or De!end Litigation
           The Trustee may commence or defend such litigation
  with respect to the Trust or any property of the Trust E~tate
  as the Trustee may deem advisable at the expense o! the
  Trust.
        s.   Compromise Claims
           The Trustee may compromise or otherwise adjust any
  claims or litigation against or in favor of the Trust.
        T.   Adjustment !or Tax Consequences
           The Trustee shall have the power, in the Trustee's              ·I
  absolute discretion, to take any action and to make any
  election to minimize the tax liabilities or this Trust and
  its Beneticiari•• and to allocate the benefits among the
  various Benefieiaries and to make ad~ustmants in the riqhts
  o~ any Bana~ioiarie• or betveen the income and principal
  accounts, to compensate tor the consequence o! any tax
  election or any investment or adlftini•trative decision that
  ~e Trustee believe~ has had the effect of directly or
  indirectly preferring. one Beneficiary or group of
  Beneficiaries over others.




                  REVOCABLE LIVING TRUST     Page 23
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed
                                       ,, 10/04/23
                                           09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        MainExhibit
                             Document
                                    A Page   Page
                                               44 of
                                                   6048
                                                      of 557




          u.   Budget Income and Expenses
               T~e Trustee shall have the power to budget the
    esti)llated annual income and expenses or the Trust or Trust
    share in such aanner as to equalize as far as possible
    periodic income payments to Benetiaiaries .
          v.   Interest
               The Trustee shall not pay interest on any 1
    distributions required to be made in the Trust Agreement.
    XI.   REPLACEMEN'l! OF TRUSTEE
          During the time that either o! the original Trustees are
    acting as a Trustee, his or her capacity to continua to so
    function as a Trustee 111ay be ter111inated by the written
    concurrence of the medical physician who ia overseeing the
    general health of that Trustee and the rel'll4ining Original
    Cotrustee or the successor Trustee who would next be
    nominated and appointed to serve as Trustee hereunder. In
    the event that these two designated parties are in agreement,
    that one ot the Original Trustees or both of th. . should be
    removed as a Trustee, they should deliver their
    recommendation to the successor Trustee who would next be
    nominated and appointed to serve as Trustee hereunder, who
    shall have the authority to then aaawaa full responsibility
    as Trustee ot this Trust. In the event that said successor
    Trustee is unavailable then Alternate Trustee named
    hereinabove shall provide all !unction• of said successor
    Trustee hereunder and shall serve as Trustee.
    XlI. GENERAL PROVISIONS
         The administration of any Trust provided tor herein
    shall be subject to the !allowing general provisions.
          A.   supplementary Definitions
               l.   Children and Issue
                The words "children" and "issue" as used herein
   shall include natural children and issue of children, and not
   legally adopted children and the lawful i••ue of legally
   adopted children. The word "living" ahall include unborn
   persona in the persons in the period of gestation.




                     REVOCABLE LIVING TRUST   Page 24
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              45 of
                                                  6148
                                                     of 557
                                         ,,




               2. 1 support
                 I


                     The term "support" as used herein ' shall include
    proper support, maintenance, medical care, and education,
    including private grade, secondary or high schools, private
    or public institutions of higher learning at both
    undergraduate and graduate levels, . professional education,
    vocational and trade schools, depending upon the abilities
    an~ IIJl\bitions ot tho respective Bene~iciary .
         B.   Annual Accounting
             The Trustee shall rendet"an annual accounting to the
    Beneficiary or Beneficiaries of the Trust not more than one
    hundred twenty (120) days following the close of the fiscal
    year of the Trust.
         C.   Spendthrift Clause
            Tho interacts of tho Bonoficiarios in the principal
   and/or income of the Trust shall not be subject to the claim
   or claims of their creditors or others, nor to legal process,
   and may not be voluntarily or involuntarily alienated or
   encumbered.
         o. Partial Invalidity
             It any provision ot thia instrument is void, invalid
   or unenforceable, the remaining provisions shall nevertheless
   be valid and carried into affect. If any Trust herein
   establishe d exceeds the longest per111iaaible period, it shall
   persist in its period tor the longest period permissible,
   then terlllinate.
        E.    Headings

            The headings in this instrument are for convenience
   only and are not part ot the text.
        F.    Situs of Trust
              The situs ot the Trust Estate shall be the state of
    California. The situs of the Trust Estate may be transferred
  . from California to ·such other jurisdiction as the majority of
    the income Beneficiaries may designate, however, only upon
    written notice given to the Trustee.




                     REVOCABLE LIVING TRUST Page 25
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                   .
                        MainExhibit
                  ~-,,::;:_
                             Document
                                     ~ - _ __
                                    A Page  Page
                                              46 of
                                                  6248
                                                     of 557




~                      ·
         . _G.    ~iDultaneous Death
      ,         ·I t there be no sufficient evidence that the Trustors
      died .otherwise than simultaneously, then for the purposes of
      this Agreement and the tax effect of this Agreement, it shall
      be presumed that the Decedent shall be the Husband and the
      Survivor ahall l:>e the Wite.
           H.     counterparts
               The Agreement may be executed in any nu~er,ot
      counterparts and each shall constitute an original ot one and
      the same instrwaent.
           I.    ~pplication to Probate Court
              Xf any diaputea ariao as to interpretation ot this
     Agreement, or there is need to obtain Court approval of any
     accounting or any interpretation in regard to this Agreement,
     the Trustors direct the. Trustee to make application to the
     Probate Court, it being the intent of the Trustors that the
     Probate Court shall not assuma continuing jurisdiction,
     except as may be required by law.
          J.     Number and Gender
                As used in this Trust Agreement, the masculine,
     feminine and neuter gender, and the plural and sinaular
     nulllber shall each be deemed to include the others when the
     context so indicates.
          K.     Trust Shares or Subshares
              For purposes ot simplicity, the Trustors have used
     in this Trust Agre•ment the terms "shares" and "subshares. 11
     The Trustors intend, however, that each share or subshare
     shall be a separate Trust.
          L.     No Contest Provi~ion
              It any beneficiary in any manner, directly or
     indirectly, contests this instrument or any ot its
    provisions, any share or intereat in tha trust given to that
    contesting beneficiary under this instrument ia revoked and
    ~hall be diposed of aa if that contesting beneficiary had
    predeceased tha Truators.
             This is to witness -that We, the undersigned
    Trustors, recpiaotivoly, have road ~ho p~oviaiona 0£ i:hi•
    Trust Agreement and understand the provisions therein, and it



                           REVOCABLE LIVING TRUST   Paga 26
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              47 of
                                                  6348
                                                     of 557




      is .our- ~n~ent to enter into this Trust Agreement in
     ·:~b~\;~~an~ with Col!llllunity Property law, allowing a Husband
      ~nd Wife to enter into a contract with each other regarding
      ooiolunity property.

              IN WITNESS WHEREOF, the provisions.of this
     Declaration Of 'lrwst shall bind OSCAR WENDRIGER and TANIA
     WENDRIGBR as Trustors, and OSCAR WENDRIGER and TANIA
     WENDRIGBR as cotrustees; successor Trustees assuming the role
     of Trustee hereunder, and the Beneficiaries of this TrUst, as
     well aa their successors and assigns.
             ~ t e d at /..~;       ~.A ·· , California,
     this   '+   day ot   IAA try      , 1990.
     TRUSTORS:


     OSCAR WENDRIGER


      r;,;. tk,~~
     TANIA WENDRIG
                                          COTRUSTEES:


                                          OSCAR WENDRIGER

                                           ku,,;_ /J,,,,.Lr
                                         TANIA WENDRIG




                     REVOCABLE LIVING TRUST Page 27
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-1
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    A Page  Page
                                              48 of
                                                  6448
                                                     of 557




    . STATE OF CA~IPORNIA )
                          )
    COUNTY OF U>S ANGELES )          /U
         On        -r-'11J·'I;, Y-        , 1990, before me, the
    undersigned, a Not ry Public In and for aaid County and
    State, personally appeared OSCAR WENDRIGER and TANIA
    WENDRIGER, personally known to me or proved to 11e on the
    basis ot satisfactory evidence to be the person(s) whose
    na111e(s) is/are subacri))ed to the within instrument and .
    acknowledged that he/she/they executed the same.~
                                                           :7
    Y2
      ~~<
         WITNESS   my hand and ofticial .~eal, this

                   ,1990.                 ~
                                           ~1~-q
                                                       J~~      day of



                                           said County and State




                    REVOCABLB LIVING TRUST       Pago 28
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        Main Exhibit
                             DocumentB PagePage
                                              1 of6591of 557




         EXHIBIT B
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        Main Exhibit
                             DocumentB PagePage
                                              2 of6691of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        Main Exhibit
                             DocumentB PagePage
                                              3 of6791of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        Main Exhibit
                             DocumentB PagePage
                                              4 of6891of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        Main Exhibit
                             DocumentB PagePage
                                              5 of6991of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        Main Exhibit
                             DocumentB PagePage
                                              6 of7091of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        Main Exhibit
                             DocumentB PagePage
                                              7 of7191of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        Main Exhibit
                             DocumentB PagePage
                                              8 of7291of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                        Main Exhibit
                             DocumentB PagePage
                                              9 of7391of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              10 of
                                                  7491
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              11 of
                                                  7591
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              12 of
                                                  7691
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              13 of
                                                  7791
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              14 of
                                                  7891
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              15 of
                                                  7991
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              16 of
                                                  8091
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              17 of
                                                  8191
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              18 of
                                                  8291
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              19 of
                                                  8391
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              20 of
                                                  8491
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              21 of
                                                  8591
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              22 of
                                                  8691
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              23 of
                                                  8791
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              24 of
                                                  8891
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              25 of
                                                  8991
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              26 of
                                                  9091
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              27 of
                                                  9191
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              28 of
                                                  9291
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              29 of
                                                  9391
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              30 of
                                                  9491
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              31 of
                                                  9591
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              32 of
                                                  9691
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              33 of
                                                  9791
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              34 of
                                                  9891
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                        MainExhibit
                             Document
                                    B Page  Page
                                              35 of
                                                  9991
                                                     of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              36 100
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              37 101
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              38 102
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              39 103
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              40 104
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              41 105
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              42 106
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              43 107
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              44 108
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              45 109
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              46 110
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              47 111
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              48 112
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              49 113
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              50 114
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              51 115
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              52 116
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              53 117
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              54 118
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              55 119
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              56 120
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              57 121
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              58 122
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              59 123
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              60 124
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              61 125
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              62 126
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              63 127
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              64 128
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              65 129
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              66 130
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              67 131
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              68 132
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              69 133
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              70 134
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              71 135
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              72 136
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              73 137
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              74 138
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              75 139
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              76 140
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              77 141
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              78 142
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              79 143
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              80 144
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              81 145
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              82 146
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              83 147
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              84 148
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              85 149
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              86 150
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              87 151
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              88 152
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              89 153
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              90 154
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-2
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentB Page Page
                                              91 155
                                                  of 91of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-3
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit C Page
                                          Page1 of
                                                15648of 557




        EXHIBIT C
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/10/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/10/23
                                                              10/04/23
                                                               09/15/23
                                                                      13:02:20
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      C PagePage
                                             Page
                                               2 of
                                                 157148of
                                                        of42
                                                          557



    1   ROBERT P. GOE (State Bar No. 137019
        rgoe@goeforlaw.com
    2   REEM J. BELLO (State Bar No. 198840)
        rbello@goeforlaw.com
    3   GOE FORSYTHE & HODGES LLP
        17701 Cowan Avenue, Suite 210, Bldg. D
    4   Irvine, CA 92614
        Telephone: (949) 798-2460
    5   Facsimile: (949) 955-9437
    6   BRIAN A. PROCEL (State Bar No. 218657)
        brian@procel-law.com
    7   MARTIN H. PRITIKIN (State Bar No. 210845)
        marty@procel-law.com
    8   PROCEL LAW, PC
        401 Wilshire Boulevard, 12th Floor
    9   Santa Monica, California 90401
        Telephone: (424) 788-4538
   10
        Attorneys for Judgment Creditors and Plaintiffs
   11   Erica and Joseph Vago
   12                               UNITED STATES BANKRUPTCY COURT
   13                               CENTRAL DISTRICT OF CALIFORNIA
   14                                     LOS ANGELES DIVISION

   15
        In re                                                 Case No. 2:23-bk-10990-SK
   16
        LESLIE KLEIN,                                         Chapter 11
   17
                      Debtor.                                 Adv. Case No.
   18
   19                                                         COMPLAINT TO DETERMINE THE
        ERICA VAGO and JOSEPH VAGO,                           NONDISCHARGEABILITY OF CERTAIN
   20
                                                              DEBTS OWED BY DEBTOR LESLIE
                      Plaintiffs,
   21                                                         KLEIN TO ERICA AND JOSEPH VAGO
                vs.                                           PURSUANT TO 11 U.S.C. § 523 AND TO
   22                                                         DENY DISCHARGE PURSUANT TO
        LESLIE KLEIN and DOES 1 through 10,                   SECTION 727(A)(12)
   23
                      Defendants.
   24
   25
   26

   27
   28

                                                          1
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/10/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/10/23
                                                              10/04/23
                                                               09/15/23
                                                                      13:02:20
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      C PagePage
                                             Page
                                               3 of
                                                 158248of
                                                        of42
                                                          557



    1          Plaintiffs Erica (“Erica”) and Joseph Vago (“Joseph”) (collectively, the “Vagos”), allege as
    2   follows on personal knowledge:
    3                                           Nature of the Case
    4          1.      Defendant and Debtor Leslie Klein (“Defendant” or “Debtor”) stole more than $8
    5   million from Erica in a complicated life insurance scam.
    6          2.      Defendant was the Vagos’ friend for more than 40 years. Defendant preyed on the
    7   Vagos during a time of vulnerability and desperation. Defendant convinced the Vagos to entrust
    8   him with Erica’s $15 million inheritance. Defendant claimed he would act as the Vagos’ lawyer,
    9   accountant and investment adviser.
   10          3.      In truth, Defendant is a con man who systematically embezzled the Vagos’ money
   11   and lied to them every step of the way. Defendant created false financial statements. Defendant
   12   misrepresented the nature of the Vagos’ “investments.” Defendant talked in circles and provided
   13   documents that were designed to confuse. Defendant sold insurance policies without telling the
   14   Vagos. Defendant fabricated meetings that never happened. Defendant made himself the trustee
   15   over life insurance trusts that purportedly held the Vagos’ money.
   16          4.      In the end, Erica’s money simply vanished. Defendant forced the Vagos to take
   17   their case to trial. Defendant attempted to derail the litigation at every possible moment.
   18   Defendant refused to participate in discovery. The trial court sanctioned Defendant on multiple
   19   occasions. At trial, Defendant—who was a CPA for decades—could not account for what
   20   happened to $8 million in Erica’s inheritance. On cross-examination, Defendant admitted that he
   21   had no intention of ever giving Erica a return on her money. This was a scam from start to finish.
   22          5.      The jury ultimately returned a verdict holding Defendant liable for intentional
   23   fraud, fraudulent concealment, breach of fiduciary duty and elder abuse. The jury awarded more
   24   than $8 million in punitive damages. And the trial court entered judgment in the amount of $24.3
   25   million.
   26          6.      This debt is not dischargeable in bankruptcy. The Vagos’ judgment emanates from
   27   a widespread, deliberate and calculated fraud on the part of Defendant.
   28

                                                          2
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/10/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/10/23
                                                              10/04/23
                                                               09/15/23
                                                                      13:02:20
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      C PagePage
                                             Page
                                               4 of
                                                 159348of
                                                        of42
                                                          557



    1                                         Jurisdiction and Venue
    2           7.     On February 22, 2023 (the “Petition Date”), Defendant filed a voluntary Chapter 11
    3   bankruptcy petition in the United States Bankruptcy Court, Central District of California, Los
    4   Angeles Division.
    5           8.     This action is a civil proceeding arising in the above-captioned chapter 11
    6   bankruptcy case, which is now pending in this judicial district, and arising under, and arising in
    7   and related to title 11 of the United States Code.
    8           9.     This Court has jurisdiction pursuant to 28 U.S.C. § 1334(b) and 28 U.S.C. §
    9   157(b)(2)(J) to hear and determine this proceeding and to enter an appropriate final order and
   10   judgment.
   11           10.    This matter is a core proceeding pursuant to 28 U.S.C. § 157.
   12           11.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.
   13                                                The Parties
   14           12.    The Vagos are judgment creditors in the above-captioned Chapter 11 bankruptcy
   15   case.
   16           13.    Defendant is the debtor in the above-captioned Chapter 11 bankruptcy case.
   17                                           General Allegations
   18           A.     The Friendship
   19           14.    Joseph first met Defendant in 1970. They are both Orthodox Jews and they were
   20   members of the same temple.
   21           15.    Over the years, the Vagos and Defendant interacted at family and religious events,
   22   including birthdays, holidays, shabbat dinners, bar mitzvahs, and weddings. Defendant and the
   23   Vagos were friends.
   24           B.     Legal Services
   25           16.    In June 2012, Erica’s uncle died. In October 2012, Erica’s brother died. A few
   26   months later, in July 2013, Erica’s mother died. Erica and Joseph had to deal with three lost loved
   27   ones in short succession.
   28

                                                             3
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/10/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/10/23
                                                              10/04/23
                                                               09/15/23
                                                                      13:02:20
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      C PagePage
                                             Page
                                               5 of
                                                 160448of
                                                        of42
                                                          557



    1          17.     Erica’s brother, Robert Schweitzer (“Schweitzer”), died on October 3, 2012.
    2   Schweitzer willed the bulk of his estate to Erica. Schweitzer’s estate included roughly $18 million
    3   in a foreign bank account.
    4          18.     A few days following Schweitzer’s death, the Vagos were at their home mourning
    5   the loss of Schweitzer. Defendant went to the Vagos to pay his respects. At that time, Defendant
    6   also offered his services as a lawyer and accountant. Defendant said he could handle any issues
    7   that might come up with Schweitzer’s estate. The Vagos ultimately agreed to retain their longtime
    8   friend. The Vagos and Defendant arranged to meet the following week.
    9          C.      The Life Insurance Policies
   10          19.     About a week later, the Vagos and Defendant met to discuss Schweitzer’s estate.
   11   Erica learned before the meeting that Schweitzer had left her more than $18 million, located in a
   12   foreign bank account. The Vagos did not know how to handle the will, probate, inheritance,
   13   foreign bank accounts, and estate taxes. At the meeting, Erica told Defendant about the
   14   inheritance.
   15          20.     Defendant said this issue was his “specialty.” Defendant told Erica that he was a
   16   jack-of-all-trades—he was a lawyer, CPA, and financial adviser. Defendant told Erica he could
   17   deal with the will. Defendant told Erica he could prepare the estate tax returns. Defendant told
   18   Erica he could figure out the best way to repatriate the money from the foreign bank account.
   19   Defendant told Erica he could even set up investments for the money once the Vagos received it.
   20          21.     The Vagos agreed to let Defendant guide them through this unfamiliar territory.
   21   Erica wrote Defendant a $7,000 check that day for the legal services he promised to provide
   22   through his law firm Leslie Klein & Associates (“LK&A”).
   23          22.     Defendant also recommended that the Vagos invest the inheritance in life insurance
   24   policies. Defendant explained the safety and benefits of this strategy. Defendant said that each
   25   investment would garner 10 to 12% interest each year, plus a premium on the principal in some
   26   cases, all to be paid when the Vagos cashed out. And Defendant emphasized how simple cashing
   27   out would be. Defendant advised that investments in these policies were “just like cash.”
   28   Defendant promised the Vagos they could “sell them for cash any time [they] wanted.”

                                                         4
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/10/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/10/23
                                                              10/04/23
                                                               09/15/23
                                                                      13:02:20
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      C PagePage
                                             Page
                                               6 of
                                                 161548of
                                                        of42
                                                          557



    1          23.     Defendant added that the best way to effect the transaction would be to wire the
    2   money to the LK&A client trust account. Defendant would then invest the money from the
    3   LK&A client trust account into life insurance policies. When the Vagos mentioned they wanted to
    4   donate substantial sums to charity, Defendant suggested they wire the money to the EKLK
    5   Foundation, which Defendant set up and controlled. Defendant said the EKLK Foundation would
    6   then distribute funds to charities the Vagos chose.
    7          24.     Finally, Defendant said that if the Vagos wanted cash from Erica’s inheritance for
    8   themselves, they should ask him for it. He would write them a check from the LK&A client trust
    9   account.
   10          25.     Defendant reassured the Vagos that the strategy was sound. Defendant said he
   11   performed the same transactions for “all my clients” as well as his family. Defendant told the
   12   Vagos that he invested his own money in the life insurance policies. Defendant added that
   13   prominent tax attorneys and accountants “in Century City” confirmed to him that this was a safe
   14   and proper strategy. Defendant claimed to have invested in life insurance policies for several
   15   prominent members of the Jewish community.
   16          D.      The Scam
   17          26.     Over the next four years, Erica arranged more than $15 million in wire transfers
   18   from the foreign bank account holding her inheritance. Erica made each transfer at Defendant’s
   19   direction and to accounts Defendant controlled.
   20          27.     About $12.4 million went to the LK&A client trust account, and the rest went to
   21   Defendant’s EKLK Foundation.
   22          28.     As the money came in, Defendant represented to the Vagos that he was executing
   23   the investment strategy he had convinced them to follow. Defendant told the Vagos he was
   24   investing much of Erica’s inheritance in life insurance policies.
   25          29.     The life insurance “investments” were not really investments; they were non-
   26   recourse loans to irrevocable life insurance trusts. Each life insurance trust purportedly contained
   27   a life insurance policy or policies—on the life of a complete stranger to the Vagos—which served
   28   as the sole security for the Vagos’ loan. The principal and interest on each loan were not due until

                                                          5
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/10/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/10/23
                                                              10/04/23
                                                               09/15/23
                                                                      13:02:20
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      C PagePage
                                             Page
                                               7 of
                                                 162648of
                                                        of42
                                                          557



    1   the death of the policyholder. For Erica and Joseph—who were respectively 59 and 61 when
    2   Schweitzer passed—this term rendered the loans almost valueless. They did not know when—if
    3   ever—the loans would become due.
    4           30.     The Vagos did not know the identities of the other “investors” in each life
    5   insurance trust. The Vagos did not know how much money Defendant received from other
    6   “investors.” The Vagos had no way to independently verify whether Defendant was paying the
    7   premiums on the insurance policies. The Vagos had no way to determine whether the insureds
    8   were alive or not. The Vagos could not find out whether any insurance companies had paid
    9   Defendant money in connection with the policies they “invested” in. The Vagos had no way to
   10   know whether Defendant sold the policies they thought they invested in. The Vagos were
   11   completely in the dark and at the mercy of Defendant.
   12           31.     The Vagos’ names were nowhere to be found on the promissory notes or on the life
   13   insurance policies. Rather, the promissory notes were executed for the benefit of the “Estate of
   14   Robert Schweitzer.” It could not be more evident that Defendant structured these “investments” in
   15   a manner designed to confuse and deceive the Vagos. Defendant knew that these “investments”
   16   were never going to pay out.
   17           32.     Though these promissory notes were nearly worthless to the Vagos, by Defendant’s
   18   doing, they still had a huge carrying cost. To keep the underlying life insurance policies from
   19   lapsing, Defendant told the Vagos that they would have to pay hundreds of thousands of dollars
   20   per year toward insurance premiums. This money was in addition to the millions already loaned
   21   to the life insurance policy trusts.
   22           33.     By 2019, Defendant claimed to have “invested” $8.3 million of the Vagos’ money
   23   in life insurance policies.
   24           E.      The Misrepresentations
   25           34.     Defendant routinely visited the Vagos at their house. During these visits,
   26   Defendant would give the Vagos a memo on the letterhead of LK&A that purported to show the
   27   status of their “investments.” In a July 1, 2017 memorandum, Defendant stated that the Vagos’
   28

                                                          6
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/10/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/10/23
                                                              10/04/23
                                                               09/15/23
                                                                      13:02:20
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      C PagePage
                                             Page
                                               8 of
                                                 163748of
                                                        of42
                                                          557



    1   “investment” had increased in value to $9.4 million. And the memorandum indicated that the
    2   Vagos were entitled to $3,205,000 in interest since their initial “investment” in 2012.
    3          35.     Defendant provided a memorandum in 2018 that indicated the Vagos’
    4   “investments” were worth $10.2 million and the interest was $3,685,000. These written
    5   memoranda were all lies.
    6          F.      The Vagos Discover Defendant’s Fraud
    7          36.     On or around September 15, 2019, Defendant went to the Vagos’ home for their
    8   regular meeting. At this meeting, Erica told Defendant she needed to cash out roughly $1 million.
    9   Defendant responded that the “interest” that had accrued on the Vagos’ investment was all gone.
   10   Defendant falsely stated that “hedge funds are not paying interest anymore” on life insurance
   11   policies, so their earnings over the past seven years had vanished.
   12          37.     The Vagos demanded that Defendant refund their money. Defendant refused.
   13          G.      The State Board of Accountancy
   14          38.     At the same time Defendant was defrauding the Vagos, he was accused of stealing
   15   money from his client Hubert Scott (“Scott”). The California State Board of Accountancy (the
   16   “State Board”) brought charges against Defendant in 2019.
   17          39.     The State Board alleged that Scott inherited money when his brother and son died.
   18   Defendant purported to serve as Scott’s tax preparer, financial planner and investment adviser.
   19   Scott, at that time, was 86 years old and had dementia. Defendant had himself appointed as the
   20   trustee of Scott’s trust agreement. Over the course of five years, Scott gave Defendant $2.42
   21   million.
   22          40.     Defendant purported to “invest” Scott’s money in non-recourse promissory notes
   23   with irrevocable life insurance trusts (i.e., the exact same investments that are at issue here).
   24   Defendant invested 85% of Scott’s money in these life insurance trusts. Even though Scott was 86
   25   years old, he would only be paid out when the insured passed away. Defendant also invested
   26   Scott’s money in companies with which Defendant was affiliated. Among others, Defendant
   27   purportedly invested $750,000 of Scott’s money in LEDs sold by Time Square Media, Inc. (“Time
   28   Square Media”). Defendant was the president of Time Square Media. This $750,000 investment

                                                           7
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/10/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/10/23
                                                              10/04/23
                                                               09/15/23
                                                                      13:02:20
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      C PagePage
                                             Page
                                               9 of
                                                 164848of
                                                        of42
                                                          557



    1   purportedly made by Defendant was not reflected in any accounting. The State Board noted that
    2   none of the transactions were made in Scott’s name. Instead, Defendant admitted that he did not
    3   invest the money in life insurance policies on behalf of his clients, but that he actually borrowed
    4   the money himself from his clients.
    5          41.     The State Board alleged that Defendant failed to provide an accounting, and instead
    6   periodically provided documents showing inflated values that were inaccurate on their face.
    7   Defendant ultimately denied that he was Scott’s tax preparer or adviser.
    8          42.     A conservator was appointed in 2016, and Defendant was removed as trustee. The
    9   State Board filed the Accusation in 2019, based on allegations of fraud, breach of fiduciary duty,
   10   embezzlement, commingling funds and undue influence. Defendant entered into a stipulation with
   11   the State Board that resulted in the surrender of his accounting license.
   12          H.      The Litigation and Defendant’s Failure to Comply with Court Orders
   13          43.     The Vagos filed a state court complaint against Defendant on July 1, 2020. From
   14   day one, Defendant and LK&A engaged in a scheme to evade discovery and to derail the case.
   15          44.     Defendant served boilerplate objections to all written discovery requests and
   16   refused to provide substantive responses. Defendant refused to produce documents. The Vagos
   17   then filed several rounds of discovery motions. The Court granted all of them and entered
   18   monetary and issue sanctions against Defendant. The Court ordered Defendant to produce a
   19   responsivity chart and a privilege log. Defendant did not. The Court ordered Defendant to
   20   produce bank records. Defendant did not. Defendant filed a motion to quash a third-party
   21   subpoena served on Bank of America, which he lost. Defendant failed to pay the court-ordered
   22   monetary sanctions by the deadline and failed to comply with court orders requiring supplemental
   23   responses. Defendant even walked out of a court ordered deposition. Defendant stalled and
   24   refused to make himself available for deposition. Defendant substituted new counsel on the eve of
   25   trial. Defendant filed numerous motions to continue the trial date, all of which were denied
   26          I.      The Trial, Jury Verdict and Judgment
   27          45.     On August 29, 2022, the trial in the Vagos’ state court matter commenced.
   28

                                                          8
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                              1 Filed
                                   Filed
                                     Filed
                                         05/10/23
                                          10/04/23
                                           09/15/23 Entered
                                                      Entered
                                                       Entered
                                                             05/10/23
                                                              10/04/23
                                                               09/15/23
                                                                      13:02:20
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Exhibit
                             Document
                               Document
                                     C Page  Page
                                              Page
                                                10 165
                                                   of948
                                                       of
                                                        of42
                                                          557



    1          46.     At trial, the Vagos presented evidence that Defendant sought out to defraud them
    2   when they were at their most vulnerable—just after Erica’s brother died and while she was caring
    3   for her dying mother in the hospital. Defendant initially testified that he had no financial interest
    4   in the policies that he purportedly invested the Vagos’ money in. But Defendant later admitted
    5   that he invested his own money in these same policies.
    6          47.     Defendant drafted and signed promissory notes where he agreed as trustee that the
    7   Vagos would be entitled to 12% interest on their money. But Defendant testified at trial that he
    8   never had any intention of actually paying the Vagos that interest. Defendant utterly failed to
    9   explain what these “investments” actually were; whether the Vagos were entitled to make any
   10   money from his perspective; or what he did with the Vagos’ money.
   11          48.     Defendant testified at trial that he kept a contemporaneous “ledger” of all
   12   transactions relating to the Vagos. This was a lie—no such ledger was produced at trial.
   13   Defendant admitted that he provided false and inflated financials to the Vagos on a regular basis.
   14   Defendant took out a life insurance policy on an individual named Ann Radow. Ann Radow
   15   testified at trial that she had never met Defendant; that he took out an insurance policy on her life
   16   without her knowledge or consent; and that Defendant created the Ann Radow Trust and made
   17   himself the trustee without her knowledge or consent.
   18          49.     Unbeknownst to the Vagos, Defendant surrendered his license to practice
   19   accounting after he was accused of embezzling money from Scott, an 86-year-old client with
   20   dementia. The State Board disciplined Defendant at the same time he was defrauding the Vagos.
   21          50.     The jury ultimately found that Erica had proven her case against Defendant for
   22   intentional fraud, fraudulent concealment, financial elder abuse and breach of fiduciary duty. The
   23   jury awarded Erica $8.3 million in compensatory damages, plus $8.3 million more in punitive
   24   damages. And the jury awarded Joseph an additional $400,000 in emotional distress damages.
   25   The Court then awarded $7,334,038.99 in prejudgment interest and entered judgment in the
   26   amount of $24,334,038.99 (“Judgment”). A true and correct copy of the Judgment is attached as
   27   Exhibit 1.
   28

                                                           9
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 11 166
                                                    of1048of 557
                                                             42



    1                                     FIRST CLAIM FOR RELIEF
    2                       (Nondischargeability of Debt - 11 U.S.C. § 523(a)(2)(A))
    3          51.     The Vagos reallege and incorporate by reference all of the prior and subsequent
    4   allegations in this Complaint as though fully set forth herein.
    5          52.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
    6   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
    7   inheritance (more than $15 million).
    8          53.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
    9   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
   10   purposes and to refrain from using her funds and other property for his own personal non-business
   11   purposes.
   12          54.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
   13   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
   14   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
   15   in a complicated life insurance scam.
   16          55.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
   17   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
   18   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
   19   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
   20          56.     Defendant’s misappropriation of Erica’s funds and other property was
   21   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
   22   deprive Erica of the possession, use and benefit of her funds and other property.
   23          57.     As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
   24   funds and other property and Defendant’s false pretenses, false representations, and actual fraud
   25   set forth herein, the Vagos have suffered damages in the amount of not less than $26,386,891.00.
   26          58.     Defendant’s debt to the Vagos is nondischargeable under 11 U.S.C. § 523(a)(2)
   27   because it was incurred as a result of false pretenses, false representations, and actual fraud.
   28

                                                          10
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 12 167
                                                    of1148of 557
                                                             42



    1          59.     The damages arising from Defendant’s willful and malicious false pretenses, false
    2   representation and actual fraud to the Vagos constitutes a debt against Defendant that is non-
    3   dischargeable pursuant to 11 U.S.C. § 523(a)(2).
    4                                   SECOND CLAIM FOR RELIEF
    5                         (Nondischargeability of Debt - 11 U.S.C. § 523(a)(4))
    6          60.     The Vagos reallege and incorporate by reference all of the prior and subsequent
    7   allegations in this Complaint as though fully set forth herein.
    8          61.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
    9   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
   10   inheritance (more than $15 million).
   11          62.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
   12   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
   13   purposes and to refrain from using her funds and other property for his own personal non-business
   14   purposes.
   15          63.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
   16   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
   17   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
   18   in a complicated life insurance scam.
   19          64.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
   20   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
   21   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
   22   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
   23          65.     Defendant’s misappropriation of Erica’s funds and other property was
   24   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
   25   deprive Erica of the possession, use and benefit of her funds and other property.
   26          66.     As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
   27   funds and other property while acting in a fiduciary capacity and Defendant’s false pretenses, false
   28

                                                          11
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 13 168
                                                    of1248of 557
                                                             42



    1   representations, and actual fraud set forth herein while acting in a fiduciary capacity, the Vagos
    2   have suffered damages in the amount of not less than $26,386,891.00.
    3          67.     The damages to the Vagos arising from Defendant’s fraud, defalcation,
    4   embezzlement and larceny while acting in a fiduciary capacity constitutes a debt against
    5   Defendant that is non-dischargeable pursuant to 11 U.S.C. § 523(a)(4).
    6                                     THIRD CLAIM FOR RELIEF
    7                         (Nondischargeability of Debt - 11 U.S.C. § 523(a)(6))
    8          68.     The Vagos reallege and incorporate by reference all of the prior and subsequent
    9   allegations in this Complaint as though fully set forth herein.
   10          69.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
   11   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
   12   inheritance (more than $15 million).
   13          70.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
   14   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
   15   purposes and to refrain from using her funds and other property for his own personal non-business
   16   purposes.
   17          71.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
   18   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
   19   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
   20   in a complicated life insurance scam.
   21          72.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
   22   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
   23   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
   24   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
   25          73.     Defendant’s misappropriation of Erica’s funds and other property was
   26   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
   27   deprive Erica of the possession, use and benefit of her funds and other property.
   28

                                                          12
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 14 169
                                                    of1348of 557
                                                             42



    1          74.      As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
    2   funds and other property while acting in a fiduciary capacity and Defendant’s false pretenses, false
    3   representations, and actual fraud set forth herein while acting in a fiduciary capacity, the Vagos
    4   have suffered damages in the amount of not less than $26,386,891.00.
    5          75.      The damages arising from Defendant’s willful and malicious injury to the Vagos
    6   constitutes a debt against Defendant that is non-dischargeable pursuant to 11 U.S.C. § 523(a)(6).
    7                                   FOURTH CLAIM FOR RELIEF
    8                           (For Denial of Discharge - 11 U.S.C. § 727(a)(12))
    9          76.      The Vagos reallege and incorporate by reference all of the prior and subsequent
   10   allegations in this Complaint as though fully set forth herein.
   11          77.      Pursuant to 11 U.S.C. § 727(a)(12), the court shall grant the debtor a discharge
   12   unless- the court after notice and a hearing held not more than 10 days before the date of the entry
   13   of the order granting the discharge finds that there is reasonable cause to believe that—(A) section
   14   522(q)(1) may be applicable to the debtor; and (B) there is pending any proceeding in which the
   15   debtor may be found guilty of a felony of the kind described in section 522(q)(1)(A) or liable for a
   16   debt of the kind described in section 522(q)(1)(B).
   17          78.      On April 11, 2023, the Vagos filed a motion [Docket No. 71] seeking disallowance
   18   of Debtor’s claim of exemption in the real property located at 322 N. June Street, Los Angeles,
   19   CA 90004 (the “Property”) in any amount exceeding $189,050.00 pursuant to Section 522(q) of
   20   the Bankruptcy Code.
   21          79.      Section 522(q) operates to reduce any state law homestead exemption claim to
   22   $189,050.00 where debtor owes a debt arising from “fraud, deceit, or manipulation in a fiduciary
   23   capacity.” 11 U.S.C. § 522(q)(1)(B)(ii).
   24          80.      As set forth herein, Debtor owes a debt to the Vagos in an amount of not less than
   25   $26,386,891.00 based upon the Judgment which arose from “fraud, deceit, or manipulation in a
   26   fiduciary capacity.” 11 U.S.C. § 522(q)(1)(B)(ii).
   27          81.      Accordingly, Debtor is not entitled to a discharge of his debts pursuant to 11 U.S.C.
   28   § 727(a)(12).

                                                          13
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 15 170
                                                    of1448of 557
                                                             42



    1                                           Prayer for Relief
    2          WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
    3          1.     On the First Claim for Relief, the Vagos seek an order determining that Defendant
    4   is indebted to the Vagos in an amount not less than $26,386,891.00 and that Defendant’s debt is
    5   excepted from discharge pursuant to 11 U.S.C. § 523(a)(2);
    6          2.     On the Second Claim for Relief, the Vagos seek an order determining that
    7   Defendant is indebted to the Vagos in an amount not less than $26,386,891.00 and that
    8   Defendant’s debt is excepted from discharge pursuant to 11 U.S.C. § 523(a)(4);
    9          3.     On the Third Claim for Relief, the Vagos seek an order determining that Defendant
   10   is indebted to the Vagos in an amount not less than $26,386,891.00 and that Defendant’s debt is
   11   excepted from discharge pursuant to 11 U.S.C. § 523(a)(6);
   12          4.     On the Fourth Claim for Relief, the Vagos seek an order denying Defendant his
   13   discharge pursuant to 11 U.S.C. § 727(a)(12);
   14          5.     For costs of suit incurred herein; and
   15          6.     For such other and further relief as the Court may deem appropriate.
   16                                                    Respectfully submitted,
   17   Dated: May 10, 2023                             GOE FORSYTHE & HODGES LLP
   18
   19                                               By: /s/Robert P. Goe
                                                        Robert P. Goe
   20
                                                        Attorneys for Plaintiffs Erica Vago and
   21                                                   Joseph Vago

   22
   23
   24
   25
   26

   27
   28

                                                        14
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 16 171
                                                    of1548of 557
                                                             42



    1                              PROOF OF SERVICE OF DOCUMENT
    2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
    3   business address is: 17701 Cowan, Bldg. D., Suite 210, Irvine, CA 92614

    4   A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION
        AND MOTION FOR ORDER DISMISSING DEBTOR’S CHAPTER 11 BANKRUPTCY
    5   CASE; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF
        ERICA VAGO, BRIAN PROCEL; AND REQUEST FOR JUDICIAL NOTICE IN
    6   SUPPORT OF SAME will be served or was served (a) on the judge in chambers in the form
        and manner required by LBR 5005-2(d); and (b) in the manner stated below:
    7
        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
    8   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
        court via NEF and hyperlink to the document. On (date) May 10, 2023, I checked the CM/ECF
    9
        docket for this bankruptcy case or adversary proceeding and determined that the following persons
   10   are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
        below:
   11
   12
                                                              Service information continued on attached
   13
        page
   14
        2. SERVED BY UNITED STATES MAIL:
   15   On (date) May 10, 2023, I served the following persons and/or entities at the last known addresses
        in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
   16   sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   17   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
        than 24 hours after the document is filed.
   18
                                                              Service information continued on attached
   19   page
   20   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
   21   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
        F.R.Civ.P. 5 and/or controlling LBR, on (date) May 10, 2023, I served the following persons
   22   and/or entities by personal delivery, overnight mail service, or (for those who consented in writing
        to such service method), by facsimile transmission and/or email as follows. Listing the judge here
   23   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
        completed no later than 24 hours after the document is filed.
   24
   25         The Honorable Sandra R. Defendant, USBC, 255 E. Temple Street, Ctrm 1575, Los
               Angeles, CA 90012
   26

   27
   28                                                     1
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 17 172
                                                    of1648of 557
                                                             42


                                                              Service information continued on attached
    1   page
    2
        I declare under penalty of perjury under the laws of the United States that the foregoing is true and
    3   correct.

    4    May 10, 2023           Susan C. Stein                           /s/Susan C. Stein
         Date                   Printed Name                             Signature
    5
    6
    7
    8

    9
   10
   11
   12
   13
   14

   15
   16
   17
   18
   19
   20

   21
   22
   23
   24
   25
   26

   27
   28                                                     2
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 18 173
                                                    of1748of 557
                                                             42


        TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
    1
    2   Mailing Information for Case 2:23-bk-10990-SK
    3   Electronic Mail Notice List
    4   The following is the list of parties who are currently on the list to receive email notice/service for
        this case.
    5
              Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
    6         Michael Jay Berger michael.berger@bankruptcypower.com,
               yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
    7         Greg P Campbell ch11ecf@aldridgepite.com,
               gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
    8
              Theron S Covey tcovey@raslg.com, sferry@raslg.com
    9         Dane W Exnowski dane.exnowski@mccalla.com,
               bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
   10         Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
              Michael Jones michael.jones4@usdoj.gov
   11         Ron Maroko ron.maroko@usdoj.gov
              Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
   12
              Mark M Sharf (TR) mark@sharflaw.com,
   13          C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
              Alan G Tippie Alan.Tippie@gmlaw.com,
   14          atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denis
               e.walker@gmlaw.com
   15         United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
   16         Michael L Wachtell mwachtell@buchalter.com
              John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
   17         Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
              Paul P Young paul@cym.law, jaclyn@cym.law
   18
   19
   20

   21
   22
   23
   24
   25
   26

   27
   28                                                      3
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 19 174
                                                    of1848of 557
                                                             42




                       EXHIBIT 1




                       EXHIBIT 1
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 20 175
                                                    of1948of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 21 176
                                                    of2048of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 22 177
                                                    of2148of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 23 178
                                                    of2248of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 24 179
                                                    of2348of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 25 180
                                                    of2448of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 26 181
                                                    of2548of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 27 182
                                                    of2648of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 28 183
                                                    of2748of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 29 184
                                                    of2848of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 30 185
                                                    of2948of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 31 186
                                                    of3048of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 32 187
                                                    of3148of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 33 188
                                                    of3248of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 34 189
                                                    of3348of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 35 190
                                                    of3448of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 36 191
                                                    of3548of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 37 192
                                                    of3648of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 38 193
                                                    of3748of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 39 194
                                                    of3848of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 40 195
                                                    of3948of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 41 196
                                                    of4048of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 42 197
                                                    of4148of 557
                                                             42
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01150-SK Doc
                         Doc
                          Doc
                            349-3
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/10/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/10/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         13:02:20
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      C Page  Page
                                               Page
                                                 43 198
                                                    of4248of 557
                                                             42
     Case
      Case2:23-bk-10990-SK
           2:23-bk-10990-SK
           2:23-ap-01150-SK Doc
                             Doc
                             Doc349-3
                                 391
                                 1-1 Filed
                                         Filed05/10/23
                                              10/04/23
                                               09/15/23 Entered
                                                           Entered05/10/23
                                                                    10/04/23
                                                                     09/15/2313:02:20
                                                                             11:54:55
                                                                              15:51:07 Desc
                                                                                        Desc
                            Adversary
                            Main Exhibit
                                 Document
                                      Cover
                                         C Page
                                              Sheet
                                                 Page
                                                    44Page
                                                       199
                                                       of 48of1557
                                                                of 2
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                    ADVERSARY PROCEEDING NUMBER
                                                                                              (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                     DEFENDANTS
  ERICA VAGO and JOSEPH VAGO,                                                   LESLIE KLEIN and DOES 1 through 10,


ATTORNEYS (Firm Name, Address, and Telephone No.)                              ATTORNEYS (If Known)
GOE FORSYTHE & HODGES LLP
17701 Cowan Avenue, Suite 210, Bldg. D, Irvine, CA 92614
Telephone: (949) 798-2460 / Facsimile: (949) 955-9437
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debto      □ U.S. Trustee/Bankruptcy Admin       □ X Debtor    □ U.S. Trustee/Bankruptcy Admin
□ X Creditor □ Other                               □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

Complaint to Determine the Nondischargeability of Certain Debts Owed by Debtor Leslie Klein to Erica and Joseph Vago
Pursuant to 11 U.S.C. § 523 and to Deny Discharge Pursuant to Section 727(a)(12)


                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                  FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                              □
                                                                                  61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                  68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                        □
                                                                                  63-Dischargeability - §523(a)(8), student loan
                                                                                  64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                               □
                                                                                     (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                           65-Dischargeability - other


                                                                               □
                                                                               FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                               □
                                                                                  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                  72-Injunctive relief – other


□2 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                               □ 81-Subordination of claim or interest
                                                                               FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                               □ 91-Declaratory judgment
                                                                               FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                               □ 01-Determination of removed claim or cause
                                                                               FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,
□1 67-Dischargeability                                                         □
        actual fraud                                                           Other

                                                                               □
                       - §523(a)(4), fraud as fiduciary, embezzlement,             SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
   larceny                                                                         02-Other (e.g. other actions that would have been brought in state court
                       (continued next column)
                                                                                      if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                 □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                               Demand $ 26,386,891.00
Other Relief Sought
   Case
    Case2:23-bk-10990-SK
         2:23-bk-10990-SK
         2:23-ap-01150-SK Doc
                           Doc
                           Doc349-3
                               391
                               1-1 Filed
                                       Filed05/10/23
                                            10/04/23
                                             09/15/23 Entered
                                                         Entered05/10/23
                                                                  10/04/23
                                                                   09/15/2313:02:20
                                                                           11:54:55
                                                                            15:51:07 Desc
                                                                                      Desc
                          Adversary
                          Main Exhibit
                               Document
                                    Cover
                                       C Page
                                            Sheet
                                               Page
                                                  45Page
                                                     200
                                                     of 48of2557
                                                              of 2
 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                LESLIE KLEIN                   2:23-bk-10990-SK
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
   CENTRAL                                                             LOS ANGELES                         SANDRA KLEIN
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


    /s/Robert P. Goe


DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
  May 10, 2023                                                          Robert P. Goe



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
      Case
       Case2:23-bk-10990-SK
            2:23-bk-10990-SK
            2:23-ap-01150-SK Doc
                              Doc
                              Doc349-3
                                  391
                                  1-2 Filed
                                          Filed05/10/23
                                               10/04/23
                                                09/15/23 Entered
                                                            Entered05/10/23
                                                                   10/04/23
                                                                    09/15/2313:02:20
                                                                            11:54:55
                                                                             15:51:07 Desc
                                                                                       Desc
                             Main Exhibit
                                  Document
                                   SummonsC Page Page
                                                  Page
                                                     461201
                                                        of
                                                         of48
                                                           3of 557

 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 ROBERT P. GOE (State Bar No. 137019
 rgoe@goeforlaw.com
 REEM J. BELLO (State Bar No. 198840)
 rbello@goeforlaw.com
 GOE FORSYTHE & HODGES LLP
 17701 Cowan Avenue, Suite 210, Bldg. D
 Irvine, CA 92614
 Telephone: (949) 798-2460
 Facsimile: (949) 955-9437


 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                             DIVISION

 In re:

 LESLIE KLEIN,                                                            CASE NO.: 2:23-bk-10990-SK
                                                                          CHAPTER:
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
ERICA VAGO and JOSEPH VAGO,




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
                                                                                      [LBR 7004-1]
 LESLIE KLEIN and DOES 1 through 10,




                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom: 1575                                  3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 1                                   F 7004-1.SUMMONS.ADV.PROC
      Case
       Case2:23-bk-10990-SK
            2:23-bk-10990-SK
            2:23-ap-01150-SK Doc
                              Doc
                              Doc349-3
                                  391
                                  1-2 Filed
                                          Filed05/10/23
                                               10/04/23
                                                09/15/23 Entered
                                                            Entered05/10/23
                                                                   10/04/23
                                                                    09/15/2313:02:20
                                                                            11:54:55
                                                                             15:51:07 Desc
                                                                                       Desc
                             Main Exhibit
                                  Document
                                   SummonsC Page Page
                                                  Page
                                                     472202
                                                        of
                                                         of48
                                                           3of 557


You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 2                                   F 7004-1.SUMMONS.ADV.PROC
        Case
         Case2:23-bk-10990-SK
              2:23-bk-10990-SK
              2:23-ap-01150-SK Doc
                                Doc
                                Doc349-3
                                    391
                                    1-2 Filed
                                            Filed05/10/23
                                                 10/04/23
                                                  09/15/23 Entered
                                                              Entered05/10/23
                                                                     10/04/23
                                                                      09/15/2313:02:20
                                                                              11:54:55
                                                                               15:51:07 Desc
                                                                                         Desc
                               Main Exhibit
                                    Document
                                     SummonsC Page Page
                                                    Page
                                                       483203
                                                          of
                                                           of48
                                                             3of 557


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
17701 Cowan Avenue, Suite 210, Bldg. D
Irvine, CA 92614
A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
Complaint to Determine the Nondischargeability of Certain Debts Owed by Debtor Leslie Klein to Erica and Joseph Vago
_________________________________________________________________________________________________
Pursuant to 11 U.S.C. § 523 and to Deny Discharge Pursuant to Section 727(a)(12)
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 3                                   F 7004-1.SUMMONS.ADV.PROC
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-4
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit D Page
                                          Page1 of
                                                20423of 557




        EXHIBIT D
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/12/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/12/23
                                                              10/04/23
                                                               09/15/23
                                                                      11:48:19
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      D PagePage
                                             Page
                                               2 of
                                                 205123of
                                                        of19
                                                          557


  1   Baruch C. Cohen, Esq. (SBN 159455)
      LAW OFFICE OF BARUCH C. COHEN
  2           A Professional Law Corporation
      4929 Wilshire Boulevard, Suite 940
  3   Los Angeles, California 90010
      Tel: (323) 937-4501 Fax: (888) 316-6107
  4   email: baruchcohen@baruchcohenesq.com
  5   Attorney For Plaintiffs Robert & Esther Mermelstein
  6                              UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
  7                                  LOS ANGELES ANA DIVISION
  8

  9    In re                                                Case No. 2:23-bk-10990-SK

 10    LESLIE KLEIN,                                        Hon. Sandra Klein

 11            Debtor and Debtor in Possession,             Chapter 11

 12

 13    ROBERT & ESTHER MERMELSTEIN,                         COMPLAINT FOR
                                                            NONDISCHARGEABILITY
 14                        Plaintiffs                       OF DEBT PURSUANT TO 11 USC §
                                                            523(a)(2)(A), 11 USC § 523(a)(4), & 11
 15    vs.                                                  USC § 523(a)(6); & FOR DENIAL OF
                                                            DISCHARGE PURSUANT TO 11 USC
 16    LESLIE KLEIN                                         § 727(a)(2)(A); 11 USC § 727(a)(2)(B);
                                                            11 USC § 727(a)(3); 11 USC § 727(a)(4);
 17                       Defendant                         11 USC § 727(a)(5)

 18

 19
               TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
 20
      JUDGE, THE DEBTOR AND HIS COUNSEL, AND ALL OTHER INTERESTED
 21
      PARTIES:
 22
               Plaintiffs-Creditors, Robert & Esther Mermelstein (“Plaintiffs”), complain for
 23
      nondischargeability of debt & for denial of discharge against Defendant-Debtor, Leslie Klein
 24
      (“Defendant”), and alleges respectfully as follows:
 25
                                    CORE/NON-CORE DESIGNATION
 26
      1.       In accordance with Local Bankruptcy Rule 7008-1, Plaintiffs allege that this adversary
 27
               proceeding constitutes a core proceeding under 28 USC § 157(b)(2). Plaintiffs
 28
               acknowledge that the Court has the power to enter final orders and judgments in this
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/12/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/12/23
                                                              10/04/23
                                                               09/15/23
                                                                      11:48:19
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      D PagePage
                                             Page
                                               3 of
                                                 206223of
                                                        of19
                                                          557


  1         matter. Plaintiffs also consent to the Court's entry of final orders and judgments in this
  2         matter under FRBP Rule 7008..
  3                            JURISDICTION, VENUE & STANDING
  4   2.    This adversary proceeding arises under In re Klein, 2:23-bk-10990-SK, a Chapter 11 case
  5         commenced in the United States Bankruptcy Court for the Central District of California
  6         (“Bankruptcy Case”). The Court has jurisdiction under 11 USC §§ 523 and 727, and 28
  7         USC §§ 157 and 1334.
  8   3.    The venue is proper in this Court pursuant to 28 USC § 1409.
  9   4.    Plaintiffs have standing to bring this action because Plaintiffs are creditors in the
 10         Bankruptcy Case under 11 USC § 101(10).
 11                                              PARTIES
 12   5.    The following is a description of the relevant parties involved in the facts forming the
 13         basis of this Complaint.
 14   6.    Plaintiffs are individuals, senior citizens residing in Brooklyn, NY.
 15   7.    Defendant is an individual, whose principal residence is in Los Angeles County,
 16         California and who regularly conducted business from Los Angeles County, California.
 17         Defendant was a certified public accountant, formerly licensed by the State of California,
 18         and a former, and an attorney licensed by the State of California.1 Defendant is the debtor
 19         in the above-captioned Chapter 11 bankruptcy case.
 20   ///
 21

 22     1
              On September 10, 1992, the Supreme Court of the State of California, in State Bar
 23           Court Case No. 86-O-14258, ordered that Defendant be suspended from the practice
              of law for 18 months and further ordered that he take and pass the California
 24           Professional Responsibility Examination (“CPRE”). Defendant failed the November
              1993 and January 1994 CPREs. In Case No. 86-O-14258, Defendant admitted to
 25           intentional misrepresentations. On August 3, 1995, the Supreme Court of the State
              of California, in State Bar Court Case No. 92-O-11716 (consolidated with Case Nos.
 26
              93-O-11825, 94-O-13951, 94-O12055, and 94-O15901) ordered that Defendant be
 27           suspended from the practice of law for one year. In Case No. 92-O-11716, as
              consolidated, Defendant admitted to willful violations of Rules of Professional
 28           Conduct concerning client trust accounts and conflicts of interest.

                                                     -2-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/12/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/12/23
                                                              10/04/23
                                                               09/15/23
                                                                      11:48:19
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      D PagePage
                                             Page
                                               4 of
                                                 207323of
                                                        of19
                                                          557


  1                                    GENERAL ALLEGATIONS
  2   8.    The following general allegations form the background for the Plaintiffs’ claims for relief
  3         against Defendant.
  4   9.    Plaintiffs are family relatives of Defendant, are Orthodox Jews, and are the settlors and
  5         beneficiaries of the Mermelstein Charitable Remainder Unitrust Dated July 27, 2009, (the
  6         “ Mermelstein Trust”).
  7   10.   Defendant, on behalf of The Klein Charitable Remainder Unitrust dated 2-20-1996 (the
  8         “Klein Trust”) solicited Plaintiffs to invest in at least seven (7) life insurance policies: (1)
  9         Garza; (2) Times Square; (3) Ganz; (4) Spitzer; (5) Kohn; (6) Friedman; & (7)
 10         Zimmerman.
 11                                                GARZA
 12   11.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 13         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 14         Venture (the “Garza Memo”). The purpose of the Garza Memo, was to purchase a
 15         $1,000,000.00 life insurance Policy (“Garza Policy”); American General on the life of
 16         Emanuel Garza (“Garza”). In furtherance of the Garza Memo, Plaintiffs paid Klein
 17         $100,000.00 towards the purchase of the Garza Policy. Defendant instructed Plaintiffs to
 18         make said payments to Defendant’s IOLTA - Attorney Client Trust Account. Per the
 19         Garza Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
 20         ($400,000.00 plus return of premiums paid; plus $100,000.00).
 21   12.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 22         Agreement for Joint Venture (Garza), changing the recipient of the $500,000.00 from the
 23         Mermelstein Trust to Robert & Esther Mermelstein.
 24   13.   Plaintiffs are informed and believe that Defendant sold 50% to the Garza Policy, to the
 25         Longevity Fund of NY and partially to the Longevity Fund of Michigan without their
 26         consent.
 27   14.   Plaintiffs are informed and believe that Garza apparently died in 2018, and on or about 7-
 28

                                                      -3-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/12/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/12/23
                                                              10/04/23
                                                               09/15/23
                                                                      11:48:19
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      D PagePage
                                             Page
                                               5 of
                                                 208423of
                                                        of19
                                                          557


  1         2-2018, Defendant collected the Garza Proceeds, on the Garza Policy. Defendant
  2         concealed this information from Plaintiffs, misappropriated & kept the Garza Proceeds
  3         for himself, and failed to pay Plaintiffs the $500,00.00 per the Garza Memo.
  4                                         TIMES SQUARE
  5   15.   On 7-16-2012, Defendant issued Plaintiffs a Non-Recourse Promissory Note, in the
  6         amount of $333,333.00, due and payable by 7-16-2013, by Defendant on behalf of the
  7         Times Square Media Inc., containing a “Heter Iska” document (an approved way of
  8         restructuring a loan or debt so that it becomes an investment instead of a loan, per
  9         Halacha - Jewish law).
 10   16.   Plaintiffs are informed and believe that Defendant had no intention of paying the Times
 11         Square Non-Recourse Promissory Note, as Plaintiffs made no payments whatseoever.
 12                                               GANZ
 13   17.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 14         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 15         Venture with plaintiffs (the “Ganz Memo”). The purpose of the Ganz Memo, was to
 16         purchase a $1,000,000.00 life insurance Policy (“Ganz Policy”); American General on
 17         the life of Emanuel Ganz (“Ganz”). In furtherance of the Ganz Memo, Plaintiffs paid
 18         Klein $100,000.00 towards the purchase of the Ganz Policy. Defendant instructed
 19         Plaintiffs to make said payments to Defendant’s IOLTA - Attorney Client Trust Account.
 20         Per the Ganz Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
 21         ($400,000.00 plus return of premiums paid; plus $100,000.00).
 22   18.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 23         Agreement for Joint Venture (Ganz), changing the recipient of the $500,000.00 from the
 24         Mermelstein Trust to Robert & Esther Mermelstein.
 25   19.   Plaintiffs are informed and believe that Defendant apparently sold 50% to the Ganz
 26         Policy, to the Longevity Fund of NY and partially to the Longevity Fund of Michigan,
 27         without Plaintiff’s consent.
 28

                                                    -4-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/12/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/12/23
                                                              10/04/23
                                                               09/15/23
                                                                      11:48:19
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      D PagePage
                                             Page
                                               6 of
                                                 209523of
                                                        of19
                                                          557


  1   20.   Plaintiffs are informed and believe that Ganz apparently died in 2018, and on or about 7-
  2         2-2018, Defendant collected the Ganz Proceeds, on the Ganz Policy. Defendant
  3         concealed this information from Plaintiffs, misappropriated & kept the Ganz Proceeds for
  4         himself, and failed to pay Plaintiffs the $500,00.00 per the Ganz Memo.
  5                                             SPITZER
  6   21.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
  7         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
  8         Venture with Plaintiffs (the “Spitzer Memo”). The purpose of the Spitzer Memo, was to
  9         make premium payments of a $5,000,000.00 life insurance Policy Number: US
 10         0023546L (“Spitzer Policy”); American General on the life of Malvine Spitzer
 11         (“Spitzer”). In furtherance of the Spitzer Memo, Plaintiffs paid Defendant $250,000.00
 12         towards the purchase of the Spitzer Policy. Defendant instructed Plaintiffs to make said
 13         payments to Defendant’s IOLTA - Attorney Client Trust Account. Per the Spitzer Memo,
 14         Defendant promised to pay the Mermelstein Trust $2,250,000.00 ($2,000,000 plus
 15         $250,000 and all premiums paid of the proceeds).
 16   22.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 17         Agreement for Joint Venture (Spitzer), changing the recipient of the $2,250,000.00 from
 18         the Mermelstein Trust to Robert & Esther Mermelstein.
 19   23.   Plaintiffs are informed and believe that Defendant apparently sold portions of the Spitzer
 20         Policy, without their consent - but Plaintiffs do not know to whom. Defendant concealed
 21         this information from Plaintiffs.
 22                                              KOHN
 23   24.   On 3-10-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 24         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 25         Venture with Plaintiffs (the “Kohn Memo”). The purpose of the Kohn Memo, was to
 26         make premium payments of a $3,000,000.00 life insurance Policy (“Kohn Policy”);
 27         American General on the life of Eugene Kohn (“Kohn”). In furtherance of the Kohn
 28

                                                    -5-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/12/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/12/23
                                                              10/04/23
                                                               09/15/23
                                                                      11:48:19
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      D PagePage
                                             Page
                                               7 of
                                                 210623of
                                                        of19
                                                          557


  1         Memo, Plaintiffs paid Defendant $200,000.00 towards the purchase of the Kohn Policy.
  2         Defendant instructed Plaintiffs to make said payments to Defendant’s IOLTA - Attorney
  3         Client Trust Account. Per the Kohn Memo, Defendant promised to pay the Mermelstein
  4         Trust $1,200,000.00 ($200,000 and $1,000,000 and all premiums paid of the proceeds).
  5   25.   On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for
  6         Joint Venture (Kohn), changing the recipient of the $1,200,000.00 from the Mermelstein
  7         Trust to Robert & Esther Mermelstein.
  8   26.   Plaintiffs are informed and believe that Defendant paid premiums of the Kohn Policy up
  9         to 2011. Thereafter, Defendant apparently sold portions or the entirety of the Kohn
 10         Policy - without Plaintiffs’ consent - to Life Capital Group, LLC (“LCG”), where Shlomo
 11         Yehuda Rechnitz (“Rechnitz”) was to resume paying the Kohn Policy premiums from
 12         2011 onwards. Defendant concealed this information from Plaintiffs.
 13   27.   According to information recently received by Plaintiffs an unsigned Amended and
 14         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
 15         and Rechnitz agreed that upon the death of Kohn, Defendant and Rechnitz would be
 16         reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
 17         Defendant and Rechnitz would split the profits 50/50 of the Kohn Policy, and that
 18         Plaintiffs would receive their $1,200,000.00.
 19                                           FRIEDMAN
 20   28.   On 3-1-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 21         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 22         Venture with Plaintiffs (the “Friedman Memo”). The purpose of the Friedman Memo,
 23         was to purchase a $1,500,000.00 life insurance Policy (“Friedman Policy”); American
 24         General on the life of Goldie Friedman (“Friedman”). In furtherance of the Friedman
 25         Memo, Plaintiffs paid Klein $250,000.00 towards the purchase of the Friedman Policy.
 26         Defendant instructed Plaintiffs to make said payments to Defendant’s IOLTA - Attorney
 27         Client Trust Account. Per the Friedman Memo, Defendant promised to pay the
 28

                                                    -6-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/12/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/12/23
                                                              10/04/23
                                                               09/15/23
                                                                      11:48:19
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      D PagePage
                                             Page
                                               8 of
                                                 211723of
                                                        of19
                                                          557


  1         Mermelstein Trust $1,000,000.00 ($250,000.00 and $750,000.00 and all premiums paid
  2         of the proceeds).
  3   29.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
  4         Agreement for Joint Venture (Friedman), changing the recipient of the $1,000,000.00
  5         from the Mermelstein Trust to Robert & Esther Mermelstein.
  6   30.   Plaintiffs are informed and believe that Defendant apparently sold portions of the
  7         Friedman Policy, to the Longevity Fund of NY and partially to the Longevity Fund of
  8         Michigan, without Plaintiff’s consent.
  9   31.   Plaintiffs are informed and believe that Friedman apparently died in 2020, and Defendant
 10         collected the Friedman Proceeds, on the Friedman Policy. Defendant concealed this
 11         information from Plaintiffs, misappropriated & kept the Friedman Proceeds for himself,
 12         and failed to pay Plaintiffs the $1,000,000.00 per the Friedman Memo.
 13                                          ZIMMERMAN
 14   32.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 15         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 16         Venture with Plaintiffs (the “Zimmerman Memo”). The purpose of the Zimmerman
 17         Memo, was to purchase a $9,000,000.00 life insurance Policy (“Zimmerman Policy”);
 18         American General Policy # US 0023738L on the life of Rozy Pearl Zimmerman
 19         (“Zimmerman”). In furtherance of the Zimmerman Memo, Plaintiffs paid Defendant
 20         $150,000.00 towards the purchase of the Zimmerman Policy. Defendant instructed
 21         Plaintiffs to make said payments to Defendant’s IOLTA - Attorney Client Trust Account.
 22         Per the Zimmerman Memo, Defendant promised to pay the Mermelstein Trust
 23         $2,400,000.00 ($2,250,000.00 plus $150,000.00).
 24   33.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 25         Agreement for Joint Venture (Zimmerman), changing the recipient of the $2,400,000.00
 26         from the Mermelstein Trust to Robert & Esther Mermelstein.
 27   34.   Plaintiffs are informed and believe that Defendant paid premiums of the Zimmerman
 28

                                                     -7-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                              1 Filed
                                   Filed
                                    Filed
                                        05/12/23
                                         10/04/23
                                          09/15/23 Entered
                                                     Entered
                                                       Entered
                                                             05/12/23
                                                              10/04/23
                                                               09/15/23
                                                                      11:48:19
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Document
                              Exhibit
                               Document
                                      D PagePage
                                             Page
                                               9 of
                                                 212823of
                                                        of19
                                                          557


  1         Policy up to 2011. Thereafter, Defendant apparently sold portions or the entirety of the
  2         Zimmerman Policy to Life Capital Group, LLC (“LCG”) - without Plaintiffs’ consent - ,
  3         where Shlomo Yehuda Rechnitz (“Rechnitz”) was to resume paying the Zimmerman
  4         Policy premiums from 2011 onwards. Defendant concealed this information from
  5         Plaintiffs.
  6   35.   Defendant, as Trustee of the Rozy Pearl Zimmerman Irrevocable Life Insurance Trust
  7         (the “Zimmerman Trust”) issued three Non-Recourse Promissory Notes (the
  8         “Zimmerman Notes”) to Plaintiffs secured by the Zimmerman Policy in the amount of
  9         $2,357,679.50:
 10         a.      Non-Recourse Promissory Notes # 1, principal sum of $1,412,679.53, dated June
 11                 15, 2011 - due June 15, 2020 (the “$1,412,679.53 Zimmerman Note”);
 12         b.      Non-Recourse Promissory Notes # 2, principal sum of $570,000.00, dated
 13                 December 7, 2009 - due December 7, 2019 (the: “$570,000.00 Zimmerman
 14                 Note”);
 15         c.      Non-Recourse Promissory Notes # 2, principal sum of $375,000.00, dated
 16                 January 14, 2010 - due January 14, 2020 (the “$375,000.00 Zimmerman Note”).
 17         d.      Interest on the three Non-Recourse Zimmerman Notes until 4-30-2023 comes to
 18                 $2,939,936.84. Therefore the total amount of the claim is: $7,697,616.34
 19                 ($2,400,000.00 (Zimmerman Policy) + $2,357,679.50 (3 Zimmerman Notes) +
 20                 2,939,936.84 (interest) = $7,697,616.34.
 21   36.   According to information recently received by Plaintiffs, an unsigned Amended and
 22         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
 23         and Rechnitz agreed that upon the death of Zimmerman, Defendant and Rechnitz would
 24         be reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
 25         Defendant and Rechnitz would split the profits 50/50 of the Zimmerman Policy, and that
 26         Plaintiffs would receive their $2,400,000.00. Defendant concealed this information from
 27         Plaintiffs.
 28

                                                    -8-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                              1 Filed
                                   Filed
                                     Filed
                                         05/12/23
                                          10/04/23
                                           09/15/23 Entered
                                                      Entered
                                                       Entered
                                                             05/12/23
                                                              10/04/23
                                                               09/15/23
                                                                      11:48:19
                                                                       11:54:55
                                                                        15:51:07 Desc
                                                                                  Desc
                                                                                   Desc
                        Main
                          Main
                             Exhibit
                             Document
                               Document
                                     D Page  Page
                                              Page
                                                10 213
                                                   of923
                                                       of
                                                        of19
                                                          557


  1    PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT’S IOLTA ACCOUNT
  2   37.   During this entire time, Defendant repeatedly assured Plaintiffs that their investments in
  3         the 7 policies were secure and accruing interest. Defendant mailed Plaintiffs periodic
  4         monthly checks of $5,000.00 issued from Defendant’s IOLTA - Attorney Client Trust
  5         Account.
  6                     PLAINTIFFS’ DISCOVERY OF DEFENDANT’S FRAUD
  7   38.   On or about 1-21-2021, Plaintiffs discovered the above-referenced frauds and
  8         concealment.
  9   39.   On or about 6-22-2022, Defendant wrote Plaintiffs assuring them that their investments
 10         were “secure” when in reality, Defendant sold them off to third parties without Plaintiffs’
 11         consent:
 12         I received you e mail and I disagree. I paid in on the Zmerman policy over
            $1,000,000. The interest for the last 10 years is over $2,300,000 . I also own
 13         25%of the profits. You are well secured. You can call me if you have any
            questions. [Emphasis Added]
 14
      40.   On or about 7-18-2022, Defendant wrote Plaintiffs admitting that he used Plaintiffs’
 15
            monies from the Friedman Garza and Gans to pay for his legal fees in his lawsuit with
 16
            Rechnitz.
 17
            I got your email. I want to make it very clear we are family and I don’t want to
 18         fight. I think I can make a deal with Rechnitz because I have the best lawyers in
            LA. If not we will go to court. I have big leverage on Rechnitz due to the Menlo
 19         case. I am not assigning the Zimmerman case to you. I am using the money from
            the Friedman Garza and Gans cases for attorney fees in the Rechnitz case. On
 20         Zimmerman Rechnitz and I paid $4,000,000 in premiums but it is return of
            premium. We also gave Mrs Zimmerman $200,000. I am sure they will sue to get
 21         more. It is a big policy and all big policies have big fights. [Emphasis Added]
 22                              PLAINTIFFS’ PROOF OF CLAIMS
 23   41.   Plaintiffs timely filed seven (7) Proofs of Claim against Defendant totaling $13,480,949,
 24         primarily based on Defendant misappropriating insurance policies and the proceeds, as
 25         follows:
 26         a.     Claim # 19-1 (Garza) $500,000.00;
 27         b.     Claim # 20-1 (Times Square) $333,333.00;
 28

                                                    -9-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/12/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/12/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         11:48:19
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      D Page  Page
                                               Page
                                                 11 214
                                                    of1023of 557
                                                             19


  1          c.     Claim # 21-1 (Ganz) $500,000.00;
  2          d.     Claim # 22-1 (Spitzer) $2,250,000.00;
  3          e.     Claim # 23-1 (Kohn) $1,200,000.00;
  4          f.     Claim # 24-1 (Friedman) $1,000,000.00; &
  5          g.     Claim # 25-2 (Zimmerman) $7,697,616.34.
  6                 TOTAL:           $13,480,949
  7                                   FIRST CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC § 523(a)(2)(A))
  8
      42.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  9
             in this Complaint as though fully set forth herein.
 10
      43.    At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
 11
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
 12
      44.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
 13
             loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
 14
             business purposes and to refrain from using their funds and other property for his own
 15
             personal non-business purposes.
 16
      45.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
 17
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
 18
             additional policies into Defendant’s IOLTA client trust account. Defendant then stole
 19
             more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
 20
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
 21
             elder abuse.
 22
      46.    Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
 23
             without their consent and fraudulent. Defendant acted with the intent to permanently
 24
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
 25
      47.    As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
 26
             funds and other property and Defendant’s false pretenses, false representations, and
 27
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
 28

                                                     -10-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/12/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/12/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         11:48:19
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      D Page  Page
                                               Page
                                                 12 215
                                                    of1123of 557
                                                             19


  1          than $13,480,949.
  2   48.    Defendant’s debt to Plaintiffs is nondischargeable under 11 USC § 523(a)(2) because it
  3          was incurred as a result of false pretenses, false representations, and actual fraud.
  4   49.    The damages arising from Defendant’s willful and malicious false pretenses, false
  5          representation and actual fraud to Plaintiffs constitutes a debt against Defendant that is
  6          nondischargeable pursuant to 11 USC § 523(a)(2)(A).
  7                                 SECOND CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC § 523(a)(4))
  8
      50.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  9
             in this Complaint as though fully set forth herein.
 10
      51.    At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
 11
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
 12
      52.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
 13
             loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
 14
             business purposes and to refrain from using their funds and other property for his own
 15
             personal non-business purposes.
 16
      53.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
 17
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
 18
             additional policies into Defendant’s IOLTA client trust account. Defendant then stole
 19
             more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
 20
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
 21
             elder abuse.
 22
      54.    Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
 23
             without their consent and fraudulent. Defendant acted with the intent to permanently
 24
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
 25
      55.    As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
 26
             funds and other property and Defendant’s false pretenses, false representations, and
 27
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
 28

                                                     -11-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/12/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/12/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         11:48:19
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      D Page  Page
                                               Page
                                                 13 216
                                                    of1223of 557
                                                             19


  1          than $13,480,949.
  2   56.    The damages to Plaintiffs arising from Defendant’s fraud, defalcation, embezzlement and
  3          larceny while acting in a fiduciary capacity constitutes a debt against Defendant that is
  4          non-dischargeable pursuant to 11 USC § 523(a)(4).
  5                                  THIRD CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC § 523(a)(6))
  6
      57.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  7
             in this Complaint as though fully set forth herein.
  8
      58.    At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
  9
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
 10
      59.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
 11
             loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
 12
             business purposes and to refrain from using their funds and other property for his own
 13
             personal non-business purposes.
 14
      60.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
 15
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
 16
             additional policies into Defendant’s IOLTA client trust account. Defendant then stole
 17
             more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
 18
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
 19
             elder abuse.
 20
      61.    Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
 21
             without their consent and fraudulent. Defendant acted with the intent to permanently
 22
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
 23
      62.    As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
 24
             funds and other property and Defendant’s false pretenses, false representations, and
 25
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
 26
             than $13,480,949.
 27
      63.    The damages to Plaintiffs arising from Defendant’s willful and malicious injury to
 28

                                                     -12-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/12/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/12/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         11:48:19
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      D Page  Page
                                               Page
                                                 14 217
                                                    of1323of 557
                                                             19


  1          Plaintiffs constitutes a debt against Defendant that is non-dischargeable pursuant to 11
  2          USC § 523(a)(6).
  3                                  FOURTH CAUSE OF ACTION
                         (Objection to Debtor’s Discharge 11 USC § 727(a)(2)(A))
  4
      64.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  5
             in this Complaint as though fully set forth herein.
  6
      65.    Plaintiffs are informed and believe that within one year before the Petition, Defendant
  7
             transferred, removed, and/or concealed, or permitted to be transferred, removed, and/or
  8
             concealed, Defendant’s property.
  9
      66.    As of the dates of the transfers, removals, and/or concealments of Defendant’s property,
 10
             Defendant had one or more unsecured creditors.
 11
      67.    The transfers, removals, and/or concealments of Defendant’s property prevented the
 12
             distribution of Defendant’s property to Defendant’s unsecured creditors.
 13
      68.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant’s
 14
             creditors, including, without limitation, Plaintiffs, transferred, removed, and/or
 15
             concealed, or permitted to be transferred, removed, and/or concealed, Defendant’s
 16
             property.
 17
      69.    By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
 18
             concealment of Defendant’s property with the intent to hinder, delay, and/or defraud at
 19
             least one of Defendant’s creditors, Defendant violated 11 USC § 727(a)(2)(A).
 20
      70.    Defendant failed to list valuable property on his schedule of assets and failed in his
 21
             statement of affairs to disclose property transfers.
 22
      71.    Defendant has a reckless indifference to the truth.
 23
                                       FIFTH CAUSE OF ACTION
 24                      (Objection to Debtor’s Discharge 11 USC § 727(a)(2)(B))
 25   72.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 26          in this Complaint as though fully set forth herein.
 27   73.    Plaintiffs are informed and believe that After the Petition, Defendant transferred,
 28

                                                      -13-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/12/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/12/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         11:48:19
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      D Page  Page
                                               Page
                                                 15 218
                                                    of1423of 557
                                                             19


  1          removed, concealed, and/or permitted to be transferred, removed, and/or concealed,
  2          property of the Bankruptcy estate.
  3   74.    As of the dates of the transfers, removals, and/or concealments of the property of the
  4          estate, Defendant had one or more unsecured creditors.
  5   75.    The transfers, removals, and/or concealments of the property of the estate prevented the
  6          distribution of this property to Defendant’s unsecured creditors.
  7   76.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant’s
  8          creditors, transferred, removed, and/or concealed, or permitted to be transferred,
  9          removed, and/or concealed, property of the estate.
 10   77.    By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
 11          concealment of estate property, with the intent to hinder, delay, and/or defraud at least
 12          one of Defendant’s creditors, Defendant violated 11 USC § 727(a)(2)(B).
 13   78.    Defendant failed to list valuable property on his schedule of assets and failed in his
 14          statement of affairs to disclose property transfers.
 15   79.    Defendant has a reckless indifference to the truth.
 16                                   SIXTH CAUSE OF ACTION
                          (Objection to Debtor’s Discharge 11 USC § 727(a)(3)
 17
      80.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 18
             in this Complaint as though fully set forth herein.
 19
      81.    Plaintiffs are informed and believe that Defendant has not maintained adequate books
 20
             and records from which Debtor’s financial condition can be ascertained. Debtor has
 21
             consistently not maintained adequate books and records. His failure to keep adequate
 22
             books and records is not justified considering the circumstances articulated in this
 23
             Complaint.
 24
      82.    Defendant has concealed, destroyed, falsified, and/or failed to keep or preserve
 25
             information from which Defendant’s financial condition and/or business transactions
 26
             might be ascertained.
 27
      83.    Defendant has not been cooperative with the Office of the United States Trustee
 28

                                                      -14-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/12/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/12/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         11:48:19
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      D Page  Page
                                               Page
                                                 16 219
                                                    of1523of 557
                                                             19


  1          ("OUST") or with his creditors. Defendant has intentionally withheld records, books,
  2          documents, and/or other papers relating to Defendant’s property and/or financial affairs.
  3   84.    Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
  4          727(a)(3).
  5                                SEVENTH CAUSE OF ACTION
                          (Objection to Debtor’s Discharge 11 USC § 727(a)(4)
  6
      85.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
  7
             in this Complaint as though fully set forth herein.
  8
      86.    Plaintiffs are informed and believe that Defendant has not made simple isolated errors or
  9
             omissions in his Bankruptcy filings. Defendant’s filings, such as his schedules and
 10
             statement of affairs, do not reflect inadvertence or incompetence; rather, they exhibit
 11
             fraudulent intent.
 12
      87.    Defendant has a pattern of misleading conduct.
 13
      88.    Defendant has a reckless indifference to the truth.
 14
      89.    Defendant has failed to list assets in his schedules.
 15
      90.    Defendant has falsely testified in the 341 Meeting.2
 16

 17
        2
              At the 3-13-2023 341(a) Meeting, Defendant at circa 11:15 testified in response to
 18           omissions to be brought to the attention of the United States Trustee (“UST”), that
              there were only “three minor errors” which he thought that his attorney corrected.
 19
              Defendant testified that there were “no” errors related to any assets that he owns. At
 20           circa 12:52, Defendant testified that he identified all assets on his schedules.
              Defendant at circa 1:18:30-1:09:21 testified that in the year before the Bankruptcy,
 21           he received no commissions from his third-party life insurance deals. At circa
              1:20:18, Defendant testified that he has not ever collected money on his third-party
 22           life insurance deals. At circa 1:22:18, Defendant testified that he has never received
 23           a payoff on his third-party life insurance deals. At circa 1:23:21, Defendant testified
              that four people have died and that he has received no money. Defendant at circa
 24           1:39:00 testified, in response to whether he had transactions with Shlomo Rechnitz
              in the last five or six months relating to the thirdparty life insurance policies, “nope.”
 25           Defendant testified that he does not remember paying the premiums for these
              policies out of his attorney client trust account at any time. Defendant at circa
 26
              1:40:03 testified that he does not remember depositing his own funds into his
 27           attorney-client trust account so that these insurance premiums could be paid. In
              response to the question of whether Defendant traveled out of the country anywhere
 28           recently, other than Israel, Defendant at circa 2:23:00 testified, “nope.” In response

                                                       -15-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/12/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/12/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         11:48:19
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      D Page  Page
                                               Page
                                                 17 220
                                                    of1623of 557
                                                             19


  1   91.    Defendant has knowingly and fraudulently made false oaths and/or accounts in the
  2          Bankruptcy Case.
  3   92.    Defendant has failed to provide records which are necessary for the OUST and his
  4          creditors to properly understand Defendant’s financial condition and/or recent business
  5          transactions.
  6   93.    Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
  7          727(a)(4).
  8                                    EIGHTH CAUSE OF ACTION
                             (Objection to Debtor’s Discharge 11 USC § 727(a)(5)
  9
      94.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 10
             in this Complaint as though fully set forth herein.
 11
      95.    Defendant has failed to explain satisfactorily his deficiency and/or loss of assets to meet
 12
             Debtor’s liabilities. No determination has yet been made of an entitlement to a discharge
 13
             in this Bankruptcy Case.
 14
      96.    Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
 15
             727(a)(5).
 16
                                          PRAYER FOR RELIEF
 17
             WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
 18
      1.     On the First Claim for Relief, Plaintiffs seek an order determining that Defendant is
 19
             indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
 20
             excepted from discharge pursuant to 11 USC § 523(a)(2)(A);
 21
      2.     On the Second Claim for Relief, Plaintiffs seek an order determining that Defendant is
 22
             indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
 23
             excepted from discharge pursuant to 11 USC § 523(a)(4);
 24
      3.     On the Third Claim for Relief, Plaintiffs seek an order determining that Defendant is
 25

 26
              to the question of whether Defendant has bank accounts in Israel, Defendant at circa
 27           2:26:48 testified, “nope.” Defendant at circa 2:59:15 testified that he has not
              transferred any assets within the last year to a third party. Defendant at circa 2:59:33
 28           testified that he has not given any gifts more than $12,000.00 to his family.

                                                      -16-
Case
 Case
  Case
     2:23-bk-10990-SK
      2:23-bk-10990-SK
       2:23-ap-01153-SK Doc
                         Doc
                          Doc
                            349-4
                             391
                               1 Filed
                                    Filed
                                      Filed
                                          05/12/23
                                           10/04/23
                                            09/15/23 Entered
                                                       Entered
                                                         Entered05/12/23
                                                                 10/04/23
                                                                  09/15/23
                                                                         11:48:19
                                                                          11:54:55
                                                                           15:51:07 Desc
                                                                                     Desc
                                                                                      Desc
                        Main
                          MainExhibit
                              Document
                               Document
                                      D Page  Page
                                               Page
                                                 18 221
                                                    of1723of 557
                                                             19


  1          indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
  2          excepted from discharge pursuant to 11 USC § 523(a)(6);
  3   4.     On the Fourth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
  4          pursuant to 11 USC § 727(a)(2)(A);
  5   5.     On the Fifth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
  6          pursuant to 11 USC § 727(a)(2)(B);
  7   6.     On the Sixth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
  8          pursuant to 11 USC § 727(a)(3);
  9   7.     On the Seventh Claim for Relief, Plaintiffs seek an order denying Defendant his
 10          discharge pursuant to 11 USC § 727(a)(4);
 11   8.     On the Eighth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 12          pursuant to 11 USC § 727(a)(5);
 13   9.     For costs of suit incurred herein; and
 14   10.    For such other and further relief as the Court may deem appropriate.
 15
      DATED:        May 12, 2023                      LAW OFFICE OF BARUCH C. COHEN
 16                                                   A Professional Law Corporation
 17                                                   By     /S/ Baruch C. Cohen
                                                      Baruch C. Cohen, Esq.
 18                                                   Attorney For Creditors Robert & Esther
                                                      Mermelstein
 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                       -17-
     Case
      Case
       Case
          2:23-bk-10990-SK
           2:23-bk-10990-SK
            2:23-ap-01153-SK Doc
                              Doc
                               Doc
                                 349-4
                                  391
                                    1 Filed
                                         Filed
                                           Filed
                                               05/12/23
                                                10/04/23
                                                 09/15/23 Entered
                                                            Entered
                                                              Entered05/12/23
                                                                      10/04/23
                                                                       09/15/23
                                                                              11:48:19
                                                                               11:54:55
                                                                                15:51:07 Desc
                                                                                          Desc
                                                                                           Desc
                             Main
                               MainExhibit
                                   Document
                                    Document
                                           D Page  Page
                                                    Page
                                                      19 222
                                                         of1823of 557
                                                                  19
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
  52%(57 (67+(50(50(/67(,1                                                      /(6/,(./(,1

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
%DUXFK&&RKHQ(VT 6%1   
/$:2)),&(2)%$58&+&&2+(1$3URIHVVLRQDO/DZ&RUSRUDWLRQ
:LOVKLUH%RXOHYDUG6XLWH/RV$QJHOHV&$

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ
                                                   ; Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
Ƒ &UHGLWRU
;           Ƒ 2WKHU                                Ƒ Creditor    Ƒ Other
Ƒ 7UXVWHH                                          Ƒ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
&203/$,17)25121',6&+$5*($%,/,7<2)'(%738568$177286& D  $ 86& D   86& D   )25
'(1,$/2)',6&+$5*(38568$177286& D  $ 86& D  % 86& D  86& D  86& D 



                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ  61-Dischargeability - §523(a)(5), domestic support
Ƒ 12-Recovery of money/property - §547 preference                               Ƒ
                                                                                ; 68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ  63-Dischargeability - §523(a)(8), student loan
Ƒ 14-Recovery of money/property - other                                         Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ  65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property                                 Ƒ  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                Ƒ  72-Injunctive relief – other

    FRBP 7001(4) – Objection/Revocation of Discharge
Ƒ; 41-Objection / revocation of discharge - §727(c),(d),(e)                     FRBP 7001(8) Subordination of Claim or Interest
                                                                                Ƒ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                Ƒ 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
Ƒ; 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                               Ƒ
Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,         01-Determination of removed claim or cause

       actual fraud                                                            Other
Ƒ; 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                    (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
Ƒ Check if this case involves a substantive issue of state law                  Ƒ Check if this is asserted to be a class action under FRCP 23
Ƒ &KHFNLIDMXU\trial is demanded in complaint                                Demand $ 
Other Relief Sought
   Case
    Case
     Case
        2:23-bk-10990-SK
         2:23-bk-10990-SK
          2:23-ap-01153-SK Doc
                            Doc
                             Doc
                               349-4
                                391
                                  1 Filed
                                       Filed
                                         Filed
                                             05/12/23
                                              10/04/23
                                               09/15/23 Entered
                                                          Entered
                                                            Entered05/12/23
                                                                    10/04/23
                                                                     09/15/23
                                                                            11:48:19
                                                                             11:54:55
                                                                              15:51:07 Desc
                                                                                        Desc
                                                                                         Desc
                           Main
                             MainExhibit
                                 Document
                                  Document
                                         D Page  Page
                                                  Page
                                                    20 223
                                                       of1923of 557
                                                                19
 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                         /(6/,(./(,1                                                                EN6.
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                      NAME OF JUDGE
&HQWUDO'LVWULFWRI&DOLIRUQLD                                            /RV$QJHOHV                       .OHLQ
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                   ADVERSARY
                                                                                                           PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                      NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF))




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                               %DUXFK&&RKHQ(VT



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
      Case
       Case2:23-bk-10990-SK
            2:23-bk-10990-SK
            2:23-ap-01153-SK Doc
                              Doc
                              Doc349-4
                                  391
                                  1-1 Filed
                                          Filed05/12/23
                                               10/04/23
                                                09/15/23 Entered
                                                            Entered05/12/23
                                                                   10/04/23
                                                                    09/15/2311:48:19
                                                                            11:54:55
                                                                             15:51:07 Desc
                                                                                       Desc
                             Main Exhibit
                                  Document
                                   SummonsD Page Page
                                                  Page
                                                     211224
                                                        of
                                                         of23
                                                           3of 557

 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Baruch C. Cohen, Esq. (SBN 159455)
 LAW OFFICE OF BARUCH C. COHEN
  A Professional Law Corporation
 4929 Wilshire Boulevard, Suite 940
 Los Angeles, California 90010
 (323) 937-4501 Facsimile: (888) 316-6107
 Email: baruchcohen@baruchcohenesq.com




 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                             DIVISION

 In re:
 LESLIE KLEIN
                                                                          CASE NO.: 2:23-bk-10990-SK
                                                                          CHAPTER: 11
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
ROBERT & ESTHER MERMELSTEIN




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
 LESLIE KLEIN                                                                         [LBR 7004-1]




                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom:                                       3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 1                                   F 7004-1.SUMMONS.ADV.PROC
      Case
       Case2:23-bk-10990-SK
            2:23-bk-10990-SK
            2:23-ap-01153-SK Doc
                              Doc
                              Doc349-4
                                  391
                                  1-1 Filed
                                          Filed05/12/23
                                               10/04/23
                                                09/15/23 Entered
                                                            Entered05/12/23
                                                                   10/04/23
                                                                    09/15/2311:48:19
                                                                            11:54:55
                                                                             15:51:07 Desc
                                                                                       Desc
                             Main Exhibit
                                  Document
                                   SummonsD Page Page
                                                  Page
                                                     222225
                                                        of
                                                         of23
                                                           3of 557


You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 2                                   F 7004-1.SUMMONS.ADV.PROC
        Case
         Case2:23-bk-10990-SK
              2:23-bk-10990-SK
              2:23-ap-01153-SK Doc
                                Doc
                                Doc349-4
                                    391
                                    1-1 Filed
                                            Filed05/12/23
                                                 10/04/23
                                                  09/15/23 Entered
                                                              Entered05/12/23
                                                                     10/04/23
                                                                      09/15/2311:48:19
                                                                              11:54:55
                                                                               15:51:07 Desc
                                                                                         Desc
                               Main Exhibit
                                    Document
                                     SummonsD Page Page
                                                    Page
                                                       233226
                                                          of
                                                           of23
                                                             3of 557


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 3                                   F 7004-1.SUMMONS.ADV.PROC
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit E Page
                                          Page1 of
                                                22721of 557




         EXHIBIT E
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit E Page
                                          Page2 of
                                                22821of 557



                                    BEFORE THE
                         CALIFORNIA BOARD OF ACCOUNTANCY
                         DEPARTMENT OF CONSUMER AFFAIRS
                               STATE OF CALIFORNIA




  In the Matter of the Accusation Against:         Case No. AC-2019-62
  LESLIE KLEIN                                    OAH No. 2019090073
  322 N. June Street
  Los Angeles, CA 90004
  Certified Public Accountant Certificate No.
  67454
                                    Respondent.



                                    DECISION AND ORDER
        The attached Stipulated Surrender of License and Order is hereby adopted by the
  California Board of Accountancy, Department of Consumer Affairs, as its Decision in this
  matter.
                                                   May 13, 2020
        This Decision shall become effective on -----------
                           April 13, 2020
        It is so ORDERED ----------



                             FOR THE CALIFORNIA BOARD OF ACCOUNTANCY
                             DEPARTMENT OF CONSUMER AFFAIRS
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit E Page
                                          Page3 of
                                                22921of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit E Page
                                          Page4 of
                                                23021of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit E Page
                                          Page5 of
                                                23121of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit E Page
                                          Page6 of
                                                23221of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit E Page
                                          Page7 of
                                                23321of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit E Page
                                          Page8 of
                                                23421of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                   Filed10/04/23
                                         09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit E Page
                                          Page9 of
                                                23521of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              10 236
                                                  of 21of 557




                                      Exhibit A
                               Accusation No. AC-2019-62
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              11 237
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              12 238
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              13 239
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              14 240
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              15 241
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              16 242
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              17 243
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              18 244
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              19 245
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              20 246
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-5
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                      Entered10/04/23
                                                              09/15/2311:54:55
                                                                       15:51:07 Desc
                                                                                 Desc
                       Main Exhibit
                            DocumentE Page Page
                                              21 247
                                                  of 21of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-6
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit F Page
                                         Page1 248
                                                of 4 of 557




          EXHIBIT F
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-6
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit F Page
                                         Page2 249
                                                of 4 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-6
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit F Page
                                         Page3 250
                                                of 4 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-6
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit F Page
                                         Page4 251
                                                of 4 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-7
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit G Page
                                         Page1 252
                                                of 8 of 557




         EXHIBIT G
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-7
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit G Page
                                         Page2 253
                                                of 8 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-7
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit G Page
                                         Page3 254
                                                of 8 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-7
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit G Page
                                         Page4 255
                                                of 8 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-7
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit G Page
                                         Page5 256
                                                of 8 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-7
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit G Page
                                         Page6 257
                                                of 8 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-7
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit G Page
                                         Page7 258
                                                of 8 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-7
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit G Page
                                         Page8 259
                                                of 8 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-8
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit H Page
                                         Page1 260
                                                of 5 of 557




         EXHIBIT H
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-8
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit H Page
                                         Page2 261
                                                of 5 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-8
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit H Page
                                         Page3 262
                                                of 5 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-8
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit H Page
                                         Page4 263
                                                of 5 of 557
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-8
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit H Page
                                         Page5 264
                                                of 5 of 557
          Case
           Case2:23-bk-10990-SK
                2:23-bk-10990-SK Doc
                                  Doc349-9
                                      391 Filed
                                            Filed10/04/23
                                                  09/15/23 Entered
B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)
                                                              Entered10/04/23
                                                                      09/15/2311:54:55
                                                                               15:51:07 Desc
                                                                                         Desc
                                 Main Document
                                       Exhibit I Page
                                                   Page1 of
                                                          265
                                                            10 of 557
                                   UNITED STATES BANKRUPTCY COURT
                                                         Central District of California, Los Angeles Division

In re LESLIE KLEIN.                                                         Case No.       2:23-bk-10990-SK
                                  Debtor
                                                                            Chapter       11


                                           SUBPOENA FOR RULE 2004 EXAMINATION

To: Bank Hapoalim, BM, dba Bank Hapoalim, USA.
                                                      (Name of person to whom the subpoena is directed)


   Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE                                                                                          DATE AND TIME
    Pachulski Stang Ziehl & Jones LLP                                                            October 9, 2023 at 10:00 a.m.
    10100 Santa Monica Blvd., 13th Floor
    Los Angeles, CA 90067

The examination will be recorded by this method:

   Production: YOU ARE COMMANDED to produce the documents set forth on Exhibit A hereto and complete the
written questions included as Exhibit B.



        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date:    September 15, 2023

                                 CLERK OF COURT

                                                                           OR

                                 Signature of Clerk or Deputy Clerk               Attorney’s signature


The name, address, email address, and telephone number of the attorney representing
       Chapter 11 Trustee          , who issues or requests this subpoena, are: Jeffrey P. Nolan, Pachulski Stang Ziehl
& Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, California 90067, Telephone: (310) 277-6910


                                        Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                      American LegalNet, Inc.
                                                                                                                      www.FormsWorkFlow.com
DOCS_LA:350995.2 78512/001
          Case
           Case2:23-bk-10990-SK
                2:23-bk-10990-SK Doc
                                  Doc349-9
                                      391 Filed
                                            Filed10/04/23
                                                  09/15/23 Entered
                                                              Entered10/04/23
B2540 (Form 2540 - Subpoena for Rule 2004 Examination) (Page 2)
                                                                      09/15/2311:54:55
                                                                               15:51:07 Desc
                                                                                         Desc
                                 Main Document
                                       Exhibit I Page
                                                   Page2 of
                                                          266
                                                            10 of 557

                                                             PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any):
on (date)              .

    I served the subpoena by delivering a copy to the named person as follows:

                                                     on (date)                             ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                                       .

My fees are $                    for travel and $                 for services, for a total of $            .


          I declare under penalty of perjury that this information is true and correct.

Date:

                                                                                                     Server’s signature


                                                                                                   Printed name and title



                                                                                                     Server’s address


Additional information concerning attempted service, etc.:




                                                                                                                          American LegalNet, Inc.
                                                                                                                          www.FormsWorkFlow.com
DOCS_LA:350995.2 78512/001
           Case
            Case2:23-bk-10990-SK
                 2:23-bk-10990-SK Doc
                                   Doc349-9
                                       391 Filed
                                             Filed10/04/23
                                                   09/15/23 Entered
                                                               Entered10/04/23
                                                                       09/15/2311:54:55
                                                                                15:51:07 Desc
                                                                                          Desc
B2540 (Form 2540 - Subpoena for Rule 2004 Examination) (Page 3)
                                  Main Document
                                        Exhibit I Page
                                                    Page3 of
                                                           267
                                                             10 of 557
                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)
(c) Place of compliance.                                                                 (ii) disclosing an unretained expert's opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                       (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                          modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                               (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                      be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                 (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                            compensated.

  (2)For Other Discovery. A subpoena may command:                                   (e) Duties in Responding to a Subpoena.
     (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,           (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                      procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                    information:
                                                                                         (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                    documents must produce them as they are kept in the ordinary course of
                                                                                    business or must organize and label them to correspond to the categories in
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or                    the demand.
attorney responsible for issuing and serving a subpoena must take                        (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person              Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is             electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —                a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a               usable form or forms.
party or attorney who fails to comply.                                                   (C) Electronically Stored Information Produced in Only One Form. The
                                                                                    person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                    information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                         (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                    responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                    from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                    of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                    order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                    reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                    made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                    requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                    26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,           (2) Claiming Privilege or Protection.
the following rules apply:                                                               (A) Information Withheld. A person withholding subpoenaed
       (i) At any time, on notice to the commanded person, the serving party        information under a claim that it is privileged or subject to protection as
may move the court for the district where compliance is required for an             trial-preparation material must:
order compelling production or inspection.                                                  (i) expressly make the claim; and
      (ii) These acts may be required only as directed in the order, and the                (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from       or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                      privileged or protected, will enable the parties to assess the claim.
                                                                                          (B)Information Produced. If information produced in response to a
  (3) Quashing or Modifying a Subpoena.                                             subpoena is subject to a claim of privilege or of protection as trial-
    (A) When Required. On timely motion, the court for the district where           preparation material, the person making the claim may notify any party that
compliance is required must quash or modify a subpoena that:                        received the information of the claim and the basis for it. After being
      (i) fails to allow a reasonable time to comply;                               notified, a party must promptly return, sequester, or destroy the specified
      (ii) requires a person to comply beyond the geographical limits               information and any copies it has; must not use or disclose the information
specified in Rule 45(c);                                                            until the claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected matter, if no      information if the party disclosed it before being notified; and may
exception or waiver applies; or                                                     promptly present the information under seal to the court for the district
      (iv) subjects a person to undue burden.                                       where compliance is required for a determination of the claim. The person
   (B) When Permitted. To protect a person subject to or affected by a              who produced the information must preserve the information until the claim
subpoena, the court for the district where compliance is required may, on           is resolved.
motion, quash or modify the subpoena if it requires:                                …
      (i) disclosing a trade secret or other confidential research,                 (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                          also, after a motion is transferred, the issuing court – may hold in contempt
                                                                                    a person who, having been served, fails without adequate excuse to obey
                                                                                    the subpoena or an order related to it.


                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

                                                                                                                                      American LegalNet, Inc.
                                                                                                                                      www.FormsWorkFlow.com
DOCS_LA:350995.2 78512/001
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-9
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit I Page
                                         Page4 of
                                                268
                                                  10 of 557



                                             EXHIBIT A

                     TO RULE 2004 SUBPOENA TO BANK HAPOALIM, BM

                                  AND BANK HAPOALIM, USA

         Pursuant to Fed. R. Civ. P. 45, Bradley D Sharp, the duly appointed Chapter 11 trustee

 (the “Trustee”) in the Chapter 11 Cases (defined below), hereby requests that Bank Hapoalim,

 BM, dba Bank Hapoalim International and Bank Hapoalim, USA, its subsidiaries and

 affiliates, produce and make available for inspection and copying to the Trustee each of the

 following documents, things, and tangible items, or categories of documents, in your possession,

 custody, or control which are responsive to the following requests for documents and materials

 (the “Requests”) at the offices of Pachulski Stang Ziehl & Jones, LLP, 10100 Santa Monica
 Boulevard., 13th Floor, Los Angeles, California, 90067 (Attn: Jeffrey P. Nolan):

                                          INSTRUCTIONS

         A.       You are required to conduct a thorough investigation and produce all

 DOCUMENTS (as defined below) in your possession, custody and control including all

 DOCUMENTS in the possession, custody and control of your, officers, directors, employees,

 agents, representatives and anyone acting on your behalf.

         B.       If there are no documents in existence that are responsive to a particular Request,

 your response must include a statement to that effect. If documents once existed in your

 possession, custody, or control, but are no longer in your possession, custody, or control for any

 reason, please identify the specific circumstances under which you lost possession, custody, or

 control, and identify your understanding of the documents’ [current whereabouts] or the manner

 in which you disposed of the documents.

         C.       Electronically stored information (“ESI”) responsive to these Requests shall be

 produced in the same manner in which it is stored, together with all associated metadata. If

 software not in normal, typical, commercial use is necessary to view the ESI produced in full,

 native, and usable form with full functionality, then a copy of or license to the necessary software

 shall be produced together with the ESI.


 DOCS_LA:350996.2 78512/001
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-9
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit I Page
                                         Page5 of
                                                269
                                                  10 of 557



         D.       Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, documents should

 either be organized and labeled to correspond with the categories in this Document Request or

 produced as they are kept in the normal course of business.

         E.       If any of the requested documents fall within the scope of this Request, but have

 not been produced on grounds that such documents are privileged, please provide the following

 information as to each document to which such claim is made: (a) the privilege that is grounds for

 withholding the Document; (b) the nature of the Document (e.g., letter, spreadsheet,

 memorandum); (c) the date that the Document was prepared; (d) the name/title of the author; (e)
 the name/title of each recipient or addressee of the Document; (f) the number of pages withheld;

 and (g) the name and location of the current custodian of the Document.

         F.       Unless otherwise provided herein, the relevant period of inquiry for these Requests

 is January 1, 2015 through July 31, 2023.

                          DEFINITIONS FOR DOCUMENT PRODUCTION

                                  AND EXAMINATION TOPICS

         1.        “YOU” or “YOUR” means Bank Hapoalim, BM, dba Bank Hapoalim

 International, its subsidiaries and affiliates, including, but not limited to, Bank Hapoalim, USA.

         2.       “CONCERNING” means and includes relating to, constituting, defining,

 evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

 analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

         3.       “DOCUMENT” or “DOCUMENTS” is defined to have the same meaning and to

 be equal in scope to the terms “documents” and “electronically stored information” as used in the

 Federal Rules of Civil Procedure 34(a) and/or “writings” as defined in the Federal Rules of

 Evidence 1001, and each “duplicate” as defined in the Federal Rules of Evidence 1001.

 “DOCUMENTS” means and includes all written, recorded, transcribed or graphic matter of every

 nature, type and kind, however and by whomever produced, reproduced, disseminated or made.

 This includes, but is not limited to, any and all originals, copies or drafts of any and all of the

 following: papers; books; letters; correspondence; memoranda; notes; notations; transcripts;

                                                   2
 DOCS_LA:350996.2 78512/001
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-9
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit I Page
                                         Page6 of
                                                270
                                                  10 of 557



 minutes; reports; appraisals; estimates; projections; charts, graphs and tables; schedules;

 proposals; offers; contracts; agreements; signature cards; checks, canceled checks and bank or

 account statements; and any information contained in any computer tape, card, disk, drive,

 program or other device; computer print-outs; microfilm; microfiche; any other tangible or

 intangible thing or item that contains any information; and, all “writings and recordings” and

 “photographs” (and all negatives thereof) as defined in and by the Federal Rules of Evidence, Rule

 1001.

         4.       “KLEIN” means the individual Leslie Klein and any alias name including
 Menachem Klein, and/or Lutzy Klein.


         5.       “KLEIN ASSOCIATED ENTITY” means the following organizations:

 The Klein Charitable Remainder Unitrust dated 2-20-1996
 The Klein Trust
 Klein Charitable Remainder Unitrust
 Klein Charitable Remainder Annuity
 Klein Living Trust dated April 8, 1990
 EKLK Foundation
 Doctors Marketing Group, LLC
 Doctors Marketing Network LLC
 Doctors Referral Service LLC
 Doctors Marketing Nationwide, Inc. (MD entity)
 The Patient Referral Network, LLC (MD entity)
 Bay Area Development Co.
 Big Boyz Legal, LLC
 Litigation Financing, LLC

         6.       “TRANSFERS” means any and all payments, credits, debits, deposits, in

 whatever form made, be it wire, check, ACH or otherwise.

                                    DOCUMENT REQUESTS

         Request No. 1:

         All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS, for

 all the following accounts, whether active or inactive:



                                                  3
 DOCS_LA:350996.2 78512/001
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-9
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit I Page
                                         Page7 of
                                                271
                                                  10 of 557



            a.       KLEIN;

            b.       KLEIN ASSOCIATED ENTITY

            Request No. 2:

            All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS,

 associated with the following address, whether active or inactive (excluding accounts solely held

 in the name of Barbara Roth Klein):

                                                 322 N. June Street
                                               Los Angeles, CA 90004

            Request No. 3:
            All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS,

 associated with the following taxpayor id, whether active or inactive:

            •        ___-__-69441

            Request No. 4:

            All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS, for

 any credit card issued or underwritten by YOU to KLEIN or a KLEIN ASSOCIATED ENTITY.




 1
     The full social security number will be provided upon request.

                                                             4
 DOCS_LA:350996.2 78512/001
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-9
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit I Page
                                         Page8 of
                                                272
                                                  10 of 557

                                             EXHIBIT B

              TO DEPOSITION ON WRITTEN QUESTIONS TO SUBPOENA OF

               BANK HAPOALIM, BM dba BANK HAPOALIM, USA (“BANK”)

 1.      Please state your full name, occupation, official title, and business address.

 Answer: ______________________________________________________________________

 2.      Are you the custodian of records for BANK?

 Answer:

 3.      In your capacity as custodian of records for BANK, are you familiar with whether BANK
         maintains records of its business activities?

 Answer: ______________________________________________________________________

 4.      Are the records of BANK kept under your care, supervision, custody, or control?

 Answer: ______________________________________________________________________

 5.      Was it in the regular course of business activities of BANK for a person with personal
         knowledge of the act, event, condition, opinion, or diagnosis identified in the records
         requested in the attached Exhibit A, to make such records or to transmit such information
         to be included in the records?

 Answer:

 6.      Were the documents requested in Exhibit A made at or near the time of the act, event,
         condition, opinion, or diagnosis identified in the records or within a reasonable time
         thereafter?

 Answer: ______________________________________________________________________

 7.      Were the documents requested in the attached Exhibit A made and kept in the regular
         course of daily business activities by BANK?

 Answer: ______________________________________________________________________

 8.      Were the documents requested in the attached Exhibit A transmitted to your files, and did
         you maintain the records as part of your official duties as the custodian of records for
         BANK?

 Answer: ______________________________________________________________________




 DOCS_LA:350997.2 78512/001
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-9
                            391 Filed
                                  Filed10/04/23
                                        09/15/23 Entered
                                                    Entered10/04/23
                                                            09/15/2311:54:55
                                                                     15:51:07 Desc
                                                                               Desc
                       Main Document
                             Exhibit I Page
                                         Page9 of
                                                273
                                                  10 of 557

 9.      Please hand the originals or exact duplicates of the documents requested in the attached
         Exhibit A to the [court reporter/notary public] taking your deposition for photocopying
         and attachment to this deposition. Have you now given all documents requested in the
         attached Exhibit A to the [court reporter] taking your deposition? If not, identify for the
         [court reporter] the records and documents you did not produce and explain why you did
         not produce them.

 Answer: ___________________________________________________________________

 10.     In the event you are unable to find any of the records requested in the subpoena you
         received, how long does BANK maintain its files, and does BANK ever destroy its files?

 Answer: ___________________________________________________________________

 11.     Are you aware of any other entities or persons that may have possession of records
         pertaining to those identified in Exhibit A? If so, please state the name and address of
         such entity or person, if known.

 Answer: __________________________________________________________________

 12.     Have you been requested or directed by any person to withhold or protect, for any reason,
         the records identified in Exhibit A? Has any person suggested that you should withhold
         or protect the records identified in Exhibit A? If so, please state the name and address of
         the person who conveyed this information to you and when such event occurred.

 Answer: __________________________________________________________________

 13.     Do you know or have reason to believe that the records identified in Exhibit A have in
         any manner been edited, purged, culled, or otherwise altered? If so, please identify the
         records and why they were altered or removed.

 Answer: ___________________________________________________________________

 14.     If any document responsive to this subpoena was, but is no longer, in your possession,
         custody, or control, or no longer exists, state whether (1) it is missing or lost, (2) it was
         destroyed, (3) it was transferred to others, or (4) it was otherwise disposed of, and explain
         the circumstances surrounding its disposition, including the date of such disposition.

 Answer: __________________________________________________________________




 DOCS_LA:350997.2 78512/001                        2
Case
 Case2:23-bk-10990-SK
      2:23-bk-10990-SK Doc
                        Doc349-9
                            391 Filed
                                    Filed10/04/23
                                          09/15/23 Entered
                                                     Entered10/04/23
                                                             09/15/2311:54:55
                                                                      15:51:07 Desc
                                                                                Desc
                       Main Document
                             Exhibit I PagePage
                                              10 of
                                                 27410of 557


                                           VERIFICATION

 STATE OF                              )
      ss.                              )
 COUNTY OF                             )

         Before me, the undersigned authority, on this day personally appeared

         _______________________________, custodian of records for Bank Hapoalim, BM and
 Bank Hapoalim, USA, known to me to be the person whose named is subscribed to the foregoing
 instrument in the capacity therein stated, who being first duly sworn, stated upon his/her oath
 that the answers to the foregoing questions are true and correct. I further certify that the records
 attached hereto are exact duplicates of the original records.



                                               Witness

 SWORN TO ME AND SUBSCRIBED before me by ___________________ on
 _______________________, ______.




 DOCS_LA:350997.2 78512/001                       3
        Case
         Case2:23-bk-10990-SK
               2:23-bk-10990-SK Doc
                                 Doc391
                                      349-10
                                         Filed Filed
                                               10/04/23
                                                     09/15/23
                                                          EnteredEntered
                                                                     10/04/23
                                                                          09/15/23
                                                                              11:54:55
                                                                                   15:51:07
                                                                                        Desc
                               Desc
                               Main Document
                                     Proof of Service
                                                  PagePage
                                                        275 of1 557
                                                                of 3

                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                     10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

  A true and correct copy of the foregoing document entitled (specify): MOTION OF CHAPTER 11 TRUSTEE,
  FOR ORDER AUTHORIZING THE EXAMINATION OF BANK HAPOALIM, BM DBA BANK
  HAPOALIM, USA PURSUANT TO FED. R. BANKR. P. 2004; MEMORANDUM OF POINTS AND
  AUTHORITIES; DECLARATIONS OF BRADLEY D. SHARP, NICHOLAS R. TROSZAK AND
  JEFFREY P. NOLAN IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in
  the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 15, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
stated below:


                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) September 15, 2023, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

Bank Hapoalim, BM                                                             Bank Hapoalim
dba Bank Hapoalim USA                                                         CT Corporation System
Kotler Dov, CEO                                                               Agent for Bank Hapoalim
1120 Avenue of the Americas                                                   330 N. Brand Blvd, Ste 700
New York, NY 10036                                                            Glendale, CA 91203-2366


                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 15, 2023, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.


                                                                                       Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 15, 2023                      Rolanda Mori                                            /s/ Rolanda Mori
 Date                            Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
DOCS_LA:351198.1 78512/001
        Case
         Case2:23-bk-10990-SK
               2:23-bk-10990-SK Doc
                                 Doc391
                                      349-10
                                         Filed Filed
                                               10/04/23
                                                     09/15/23
                                                          EnteredEntered
                                                                     10/04/23
                                                                          09/15/23
                                                                              11:54:55
                                                                                   15:51:07
                                                                                        Desc
                               Desc
                               Main Document
                                     Proof of Service
                                                  PagePage
                                                        276 of2 557
                                                                of 3

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

       Simon Aron saron@wrslawyers.com, moster@wrslawyers.com
       Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
       Ron Bender rb@lnbyg.com
       Michael Jay Berger michael.berger@bankruptcypower.com,
        yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
       Greg P Campbell ch11ecf@aldridgepite.com, gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
       Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
       Theron S Covey tcovey@raslg.com, sferry@raslg.com
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Dane W Exnowski dane.exnowski@mccalla.com, bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
       Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
       Michael I. Gottfried mgottfried@elkinskalt.com,
        cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
       Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
       Michael S Kogan mkogan@koganlawfirm.com
       Marc A Lieberman marc.lieberman@flpllp.com, safa.saleem@flpllp.com,addy@flpllp.com
       John W Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
       Ron Maroko ron.maroko@usdoj.gov
       Kirsten Martinez Kirsten.Martinez@bonialpc.com, Notices.Bonial@ecf.courtdrive.com
       Steven M Mayer smayer@mayerlawla.com
       Krikor J Meshefejian kjm@lnbyg.com
       Kenneth Misken Kenneth.M.Misken@usdoj.gov
       Jeffrey P Nolan jnolan@pszjlaw.com
       Eric J Olson eric@ejolsonlaw.com
       Jeffrey N Pomerantz jpomerantz@pszjlaw.com
       Brian A Procel bprocel@millerbarondess.com, rdankwa@millerbarondess.com;docket@millerbarondess.com
       Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
       Mark M Sharf (TR) mark@sharflaw.com,
        C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
       Bradley D. Sharp (TR) bsharp@dsi.biz
       Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
       Alan G Tippie Alan.Tippie@gmlaw.com,
        atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denise.walker@gmlaw.co
        m
       Gary Tokumori gtokumori@pmcos.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Michael L Wachtell mwachtell@buchalter.com
       John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
       Brett J. Wasserman wasserman@smcounsel.com
       Alex M Weingarten aweingarten@willkie.com, lcarter@willkie.com
       Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
       Paul P Young paul@cym.law, jaclyn@cym.law
       Roye Zur rzur@elkinskalt.com,
        cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
DOCS_LA:351198.1 78512/001
        Case
         Case2:23-bk-10990-SK
               2:23-bk-10990-SK Doc
                                 Doc391
                                      349-10
                                         Filed Filed
                                               10/04/23
                                                     09/15/23
                                                          EnteredEntered
                                                                     10/04/23
                                                                          09/15/23
                                                                              11:54:55
                                                                                   15:51:07
                                                                                        Desc
                               Desc
                               Main Document
                                     Proof of Service
                                                  PagePage
                                                        277 of3 557
                                                                of 3

2. SERVED BY UNITED STATES MAIL:

Nathan Talei
Oldman, Sallus & Gold, L.L.P.
16133 Ventura Blvd., PH-A
Encino, CA 91436

Debtors Counsel
Michael S. Kogan, Esq.
Kogan Law Firm APC
11500 W. Olympic Blvd., Suite 400
Los Angeles, CA 90064




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
DOCS_LA:351198.1 78512/001
Case 2:23-bk-10990-SK   Doc 391 Filed 10/04/23 Entered 10/04/23 11:54:55   Desc
                        Main Document   Page 278 of 557




                            EXHIBIT 2
          Case 2:23-bk-10990-SK                  Doc 391
                                                      350 Filed 10/04/23
                                                                09/15/23 Entered 10/04/23
                                                                                    09/15/23 11:54:55
                                                                                             15:58:48                                     Desc
                                                 Main
                                                  MainDocument
                                                       Document PagePage279
                                                                         1 ofof277
                                                                                557



 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 Jeffrey N. Pomerantz (CA State Bar No. 143717)
 Jeffrey W. Dulberg (CA State Bar No. 181200)
 Jeffrey P. Nolan (CA State Bar No. 158923)
 PACHULSKI STANG ZIEHL & JONES LLP
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: (310) 277-6910; Facsimile: (310) 201-0760
 Email: jpomerantz@pszjlaw.com, jdulberg@pszjlaw.com,
        jnolan@pszjlaw.com
     Debtor(s) appearing without an attorney
     Attorney to: Counsel to Bradley D. Sharp, Chapter 11
 Trustee for Estate of Leslie Klein
                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                       CASE NO.:         2:23-bk-10990-SK
                                                                              CHAPTER: 11
 LESLIE KLEIN,




                                                                                       NOTICE OF MOTION FOR ORDER
                                                                                            WITHOUT HEARING
                                                                                        PURSUANT TO LBR 9013-1(o)



                                                                                          [No hearing unless requested in writing]
                                                               Debtor(s).


TO THE U.S. TRUSTEE AND ALL PARTIES IN INTEREST. PLEASE TAKE NOTICE THAT:

  1. Movant(s)    Bradley D. Sharp, Chapter 11 Trustee for Estate of Leslie Klein          , has filed a motion entitled
        Motion of Chapter 11 Trustee, for Order Authorizing the Examination of Bank Hapoalim, BM dba Bank Hapoalim,
     USA Pursuant to Fed. R. Bankr. P. 2004; Memorandum of Points and Authorities; Declarations of Bradley D. Sharp,
     Nicholas R. Troszak and Jeffrey P. Nolan In Support Thereof


  2. Movant(s) is requesting that the court grant the motion without a hearing, as provided for in LBR 9013-1(o).

  3. The motion is based upon the legal and factual grounds set forth in the motion and briefly described in the attached
     description of relief sought. (Check appropriate box below):
             The full motion is attached hereto; or
             The full motion has been filed with the court, and a detailed description of the relief sought is attached hereto.

  4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
     LBR 9013-1(o), any party objecting to the motion may request a hearing on the motion. The deadline for filing and
     serving a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3


             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                             Page 1                 F 9013-1.2.NO.HEARING.NOTICE
DOCS_LA:351194.1 78512/001
         Case 2:23-bk-10990-SK                   Doc 391
                                                      350 Filed 10/04/23
                                                                09/15/23 Entered 10/04/23
                                                                                    09/15/23 11:54:55
                                                                                             15:58:48                                     Desc
                                                 Main
                                                  MainDocument
                                                       Document PagePage280
                                                                         2 ofof277
                                                                                557


        additional days if you were served by mail, electronically, or pursuant to F.R.Civ.P. 5(b)(2)(D), (E), or (F). If you fail
        to comply with this deadline, the court may treat such failure as a waiver of your right to oppose the motion and may
        grant the motion without further hearing and notice.



Date:      September 15, 2023                                                     Respectfully submitted,



                                                                                     /s/ Jeffrey P. Nolan
                                                                                  Signature of Movant or attorney for Movant


                                                                                     Jeffrey P. Nolan
                                                                                  Printed name of Movant or attorney for Movant




             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                           Page 2                   F 9013-1.2.NO.HEARING.NOTICE
DOCS_LA:351194.1 78512/001
        Case 2:23-bk-10990-SK                   Doc 391
                                                     350 Filed 10/04/23
                                                               09/15/23 Entered 10/04/23
                                                                                   09/15/23 11:54:55
                                                                                            15:58:48                                     Desc
                                                Main
                                                 MainDocument
                                                      Document PagePage281
                                                                        3 ofof277
                                                                               557




                                             ATTACHED MOTION




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 2                   F 9013-1.2.NO.HEARING.NOTICE
DOCS_LA:351194.1 78512/001
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                       09/15/23 11:54:55
                                                                                                                                                15:58:48        Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                          Document PagePage282
                                                                                                                            4 ofof277
                                                                                                                                   557


                                                                   1   Jeffrey W. Dulberg (CA State Bar No. 181200)
                                                                       Jeffrey P. Nolan (CA State Bar No. 158923)
                                                                   2   Pachulski Stang Ziehl & Jones LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                   3   Los Angeles, CA 90067
                                                                       Telephone: 310/277-6910
                                                                   4   Facsimile: 310/201-0760
                                                                       E-mail:jdulberg@pszjlaw.com
                                                                   5           jnolan@pszjlaw.com

                                                                   6   Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                   7                                  UNITED STATES BANKRUPTCY COURT

                                                                   8                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                   9                                         LOS ANGELES DIVISION

                                                                  10    In re                                          Case No.: 2:23-bk-10990-SK
                                                                  11    LESLIE KLEIN,                                  Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                          Debtor.                      MOTION OF CHAPTER 11 TRUSTEE, FOR
                                                                                                                       ORDER AUTHORIZING THE
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                       EXAMINATION OF BANK HAPOALIM, BM
                                                                  14                                                   DBA BANK HAPOALIM, USA PURSUANT
                                                                                                                       TO FED. R. BANKR. P. 2004;
                                                                  15                                                   MEMORANDUM OF POINTS AND
                                                                                                                       AUTHORITIES; DECLARATIONS OF
                                                                  16                                                   BRADLEY D. SHARP, NICHOLAS R.
                                                                                                                       TROSZAK AND JEFFREY P. NOLAN IN
                                                                  17                                                   SUPPORT THEREOF

                                                                  18                                                   [FED. R. BANKR. P. 2004 AND L.B.R.
                                                                                                                       2004-1]
                                                                  19
                                                                                                                       [No Hearing Required]
                                                                  20

                                                                  21   TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE;
                                                                  22   THE OFFICE OF THE UNITED STATES TRUSTEE; THE PROPOSED EXAMINEE; AND
                                                                  23   PARTIES ENTITLED TO NOTICE HEREOF:
                                                                  24            PLEASE TAKE NOTICE THAT Bradley D. Sharp, the duly appointed chapter 11 trustee
                                                                  25   (the “Trustee” or “Applicant”) of the bankruptcy estate (the “Estate”) of Leslie Klein (the “Debtor”),
                                                                  26   pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (“Rule 2004”) and Local
                                                                  27   Bankruptcy Rule 2004-1 (“LBR 2004-1”), hereby moves the Court (the “Motion”) for an Order
                                                                  28   requiring that Bank Hapoalim, BM dba Bank Hapoalim, USA (“Bank Hapoalim” or Proposed


                                                                       DOCS_LA:350994.2 78512/001                      1
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                       09/15/23 11:54:55
                                                                                                                                                15:58:48          Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                          Document PagePage283
                                                                                                                            5 ofof277
                                                                                                                                   557


                                                                   1   Examinee”) produce documents and answer written questions pursuant to Rule 7031, as agreed to as

                                                                   2   follows: October 9, 2023 for production of documents and testimony, or as otherwise consensually

                                                                   3   agreed to by the parties.

                                                                   4
                                                                                                                             I.
                                                                   5
                                                                                                           PRELIMINARY STATEMENT
                                                                   6

                                                                   7             The Motion is made on the grounds that pre-petition, the Debtor, was appointed and

                                                                   8   represented multiple trusts in his capacity as an attorney and a fiduciary. Numerous of his former

                                                                   9   clients have filed complaints over the past eight (8) years in the Superior Court of California, Los

                                                                  10   Angeles County (“Superior Court”) in which they allege monies were diverted by the Debtor,

                                                                  11   utilized for improper purposes, and which sums are unaccounted for despite orders to show cause
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   issued from the Superior Court. Non-Dischargeability complaints were subsequently filed before the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Bankruptcy Court alleging similar fact patterns accusing the Debtor of utilizing multiple accounts to
                                           ATTORNEYS AT LAW




                                                                  14   improperly make investments, collateralize investments, and/or divert monies for personal use

                                                                  15   without the permission of the beneficiaries whom entrusted said funds to the Debtor. The Debtor

                                                                  16   has indicated he maintained no hard copies of financial records and minimal personal records if any.

                                                                  17   Investigation into the bank accounts may give rise to damages, other claims and/or property

                                                                  18   recoverable by the Debtor’s bankruptcy estate.

                                                                  19                                                         II

                                                                  20                                               BACKGROUND

                                                                  21   Procedural Background and Filing of the Cases:

                                                                  22             On February 22, 2023, the Debtor filed a voluntary petition for relief under subchapter V of

                                                                  23   Chapter 11 of the Bankruptcy Code.

                                                                  24             On April 24, 2023, creditors Erica and Joseph Vago filed a Motion for Order Dismissing

                                                                  25   Debtor’s Chapter 11 Bankruptcy Case (the “Motion to Dismiss”) [Docket No. 79].

                                                                  26             On May 17, 2023, at a hearing held on the Motion to Dismiss, the Court ruled that the

                                                                  27   appointment of a chapter 11 trustee, and not dismissal of the case, was in the best interests of the

                                                                  28   estate.


                                                                       DOCS_LA:350994.2 78512/001                        2
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                       09/15/23 11:54:55
                                                                                                                                                15:58:48        Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                          Document PagePage284
                                                                                                                            6 ofof277
                                                                                                                                   557


                                                                   1           On May 23, 2023, the UST filed a Notice of Appointment of Chapter 11 Trustee [Docket No.

                                                                   2   151].

                                                                   3           On May 24, 2023, the UST Filed an Application for Order Approving Appointment of

                                                                   4   Trustee and Fixing Bond [Docket No. 154], approved by order entered the same day [Docket No.

                                                                   5   155]. On that same day, the Trustee accepted his appointment [Docket No. 156].

                                                                   6           This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28

                                                                   7   U.S.C. §§ 1408 and 1409.

                                                                   8   Factual Background:

                                                                   9           On August 27, 2021, Plaintiff, ADI Vendriger, individually and on behalf of the Vendriger

                                                                  10   Family Trust, filed a complaint against the Debtor and the law firm of Les Klein & Associates, Inc.

                                                                  11   (the “Law Firm”) asserting various tort causes of action, including fraud, conversion of property, and
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   money had and received. The complaint alleges multiple improper acts by the Debtor including
                                        LOS ANGELES, CALIFORNIA




                                                                  13   comingling and misappropriation of funds. (See State Court Complaint for (1) Fraud; (2) Breach of
                                           ATTORNEYS AT LAW




                                                                  14   Fiduciary Duty; (3) Conversion; (4) Money Had And Received; (5) Unjust Enrichment and (6)

                                                                  15   Accounting (the “Vendriger Complaint”), ¶¶24, 25, 28, attached hereto as Exhibit A.) On April 10,

                                                                  16   2023, a Notice of Stay of Proceedings was filed.

                                                                  17           On August 29, 2022, a referee appointed by the Superior Court issued an 84 page “Report

                                                                  18   and Recommendation of the Court-Appointed Referee on Examination and Adjudication of the

                                                                  19   Trustee’s First, Second, and Third Accountings On Each of the Twenty-Four Trusts At Issue For the

                                                                  20   Trust Periods September 10, 1996-June 30, 2013, July 1, 2013-December 31, 2016 And January 1,

                                                                  21   2017-September 30, 2018” (the “Referee’s Report”, attached to the Declaration of J. Nolan as

                                                                  22   Exhibit B). The Referee’s Report outlines a multitude of improper acts taken by the Debtor

                                                                  23   including the transfer and misappropriation and commingling of funds. (See Exhibit B, p. 21) Large

                                                                  24   financial disparities were noted to exist between what the Debtor claimed was disbursed to

                                                                  25   beneficiaries and ultimately what the beneficiaries documented they received. (See Exhibit B, p. 18,

                                                                  26   ft. note 21)

                                                                  27           On May 10, 2013, Plaintiffs Erica and Joseph Vago, filed a Complaint to Determine the

                                                                  28   Nondischargeability of Certain Debts owed by Debtor Leslie Klein to Erica and Joseph Vago


                                                                       DOCS_LA:350994.2 78512/001                      3
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                       09/15/23 11:54:55
                                                                                                                                                15:58:48         Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                          Document PagePage285
                                                                                                                            7 ofof277
                                                                                                                                   557


                                                                   1   Pursuant to 11 U.S.C. §523, and To Deny Discharge Pursuant to Section 727(A)(12) (See Complaint

                                                                   2   for Nondischargeability (the “Vago Complaint”) against the Debtor attached to the Declaration of J.

                                                                   3   Nolan as Exhibit C) The Vago Complaint alleges that the Vagos’ moved 15MM in funds to the care

                                                                   4   of the Debtor between 2013 and 2017. (See Exhibit C, ¶¶17, 26) In 2019, the Vagos demanded

                                                                   5   their monies be returned and the Debtor refused. (See Exhibit C, ¶¶36, 37) The Vago Complaint

                                                                   6   alleges that the Debtor commingled trust funds with his personal funds. (See Exhibit C, ¶46) The

                                                                   7   Vago Complaint attaches a judgment in the amount of $24,334,038 as against the Debtor.

                                                                   8           On May 12, 2023, Plaintiffs, Robert and Esther Mermelstein filed Complaint for

                                                                   9   Nondischargeability of Debt Pursuant to 11 U.S.C. §523(a)(2)(A), 11 U.S.C. §523(a)(4) & 11 U.S.C.

                                                                  10   §523(a)(6) & for Denial Of Discharge Pursuant to 11 USC §727(a)(2)(A); 11 USC §727(a)(2)(B); 11

                                                                  11   USC §727(a)(3); 11 USC §727(a)(4); 11 USC §727(a)(5) the “Mermelstein Complaint”) (See
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Declaration of J. Nolan as Exhibit D, ¶¶17, 21, 24, 28, 32). Several of the investment opportunities
                                        LOS ANGELES, CALIFORNIA




                                                                  13   resulted in significant recoveries to the Debtor which sums are alleged to have been converted by the
                                           ATTORNEYS AT LAW




                                                                  14   Debtor and concealed from the Mermelstein beneficiaries. (See Mermelstein Complaint, ¶¶14, 20,

                                                                  15   31). The Mermelstein Plaintiffs have filed proofs of claims in the Bankruptcy Case exceeding

                                                                  16   $13,000,000. (See Mermelstein Complaint, ¶41).

                                                                  17           On May 13, 2020, the California Board of Accountancy, Department of Consumer Affairs,

                                                                  18   State of California, issued its Decision and Order in which the Debtor surrendered his license. (See

                                                                  19   Decision and Order, Stipulated Surrender of License and Order and Accusation attached to the

                                                                  20   Declaration of J. Nolan as Exhibit E). The accusation documents the Debtor issuing promissory

                                                                  21   notes in the name of the Debtor, entities in which he owned a substantial interest or controlled, as

                                                                  22   well as mischaracterizing investments to clients which in reality were merely non-recourse loans

                                                                  23   utilizing the Law Firm and Law Firm IOLTA Account. The Debtor caused to be issued promissory

                                                                  24   notes and utilized the funds as he alone directed. (See Exhibit E, Accusation, ¶¶ 19(iv), 22(d)).

                                                                  25           In the single in-person meeting with the Trustee and representatives of the Trustee, the

                                                                  26   Debtor claimed he did not maintain financial records. (See Declaration of B. Sharp, ¶3; Declaration

                                                                  27   of N. Troszak, §3) This response is consistent with a finding by the referee in the Menlo case that

                                                                  28   the Debtor “had no legitimate recordkeeping system”. (See Exhibit B, p. 23, lns. 15-18)


                                                                       DOCS_LA:350994.2 78512/001                       4
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                       09/15/23 11:54:55
                                                                                                                                                15:58:48            Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                          Document PagePage286
                                                                                                                            8 ofof277
                                                                                                                                   557


                                                                   1           Since June 8, 2023, the Trustee has requested various financial documents including bank

                                                                   2   statements, disclosure and reports of entities which he holds a financial interest. (See

                                                                   3   Correspondence dated June 8, 2023, attached to the Declaration of J. Nolan, as Exhibit F, ¶8; See

                                                                   4   email dated June 28, 2023, attached hereto as Exhibit G). The demands have been repeated to

                                                                   5   multiple counsel on behalf of the Debtor and has not resulted in the production of financial records.

                                                                   6   (See email dated July 10, 2023, attached to the Declaration of J. Nolan as Exhibit H).

                                                                   7                                                      III

                                                                   8     THE TRUSTEE IS ENTITLED TO A RULE 2004 ORDER UNDER APPLICABLE LAW

                                                                   9           Bankruptcy Rule 2004 provides that “[o]n motion of any party in interest, the court may

                                                                  10   order the examination of any entity.” Fed. R. Bankr. P. 2004(a). Examinations under Bankruptcy

                                                                  11   Rule 2004 include within their scope, inter alia, any matter that may relate to the property and assets
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   of the estate, the financial condition of the debtor, and any matter that may affect the administration
                                        LOS ANGELES, CALIFORNIA




                                                                  13   of a debtor’s estate, or to the debtor’s right to a discharge. See Fed. R. Bankr. P. 2004(b). In
                                           ATTORNEYS AT LAW




                                                                  14   addition, the attendance of a person at an examination may be ordered by the Court “at any time or

                                                                  15   place it designates, whether within or without the district court wherein the case is pending.” Fed. R.

                                                                  16   Bankr. P. 2004(d). The Bankruptcy court has broad discretion in issuing a 2004 examination. In re

                                                                  17   Deshetler, 435 B.R. 295, 302 (Bankr. S.D. Ohio 2011)

                                                                  18           It is the debtor's duty to provide the required information of creditors and assets to a trustee

                                                                  19   which is crucial to the working of the bankruptcy system. Clippard v. Russell (In re Russell), 392

                                                                  20   B.R. 315, 358 (Bankr. E.D. Tenn. 2008) the required information is needed for a variety of purposes

                                                                  21   in the administration of the bankruptcy case. Id. The debtor's obligation to provide the required

                                                                  22   information is a cost imposed on the debtor for the benefit of obtaining bankruptcy relief. Id.

                                                                  23           The Debtor has failed (or refused) to produce various financial records to support claims

                                                                  24   made to the Trustee and/or evidence of the financial condition despite multiple requests. (See

                                                                  25   Declaration of N. Troszak, ¶3.) This list includes: bank statements, payments for investments in

                                                                  26   various life insurance policies, credit card statements, access to his computers, disclosure of entities

                                                                  27   in which he holds a financial interest, and the list goes on. The lack of meaningful production of

                                                                  28   financial records produced to the Trustee means the Trustee must seek the financial information


                                                                       DOCS_LA:350994.2 78512/001                        5
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                       09/15/23 11:54:55
                                                                                                                                                15:58:48            Desc
                                                                                                    Main
                                                                                                     MainDocument
                                                                                                          Document PagePage287
                                                                                                                            9 ofof277
                                                                                                                                   557


                                                                   1   from third parties. Similarly, the plethora of claims by creditors in the estate, as well as various

                                                                   2   findings from sister courts and litigation pending therein, describe a picture of commingling and

                                                                   3   diversion of funds.

                                                                   4           The purpose of a Bankruptcy Rule 2004 examination is “to allow inquiry into the debtor’s

                                                                   5   acts, conduct or financial affairs so as to discover the existence or location of assets of the estate.”

                                                                   6   In re Dinbilo, 177 B.R. 932, 940 (E.D. Cal. 1993); see also In re N. Plaza LLC, 395 B.R. 113, 122,

                                                                   7   n. 9 (S.D. Cal. 2008) (purpose of Bankruptcy Rule 2004 examination is “discovering assets and

                                                                   8   unearthing frauds”) (internal citations omitted); In re Fearn, 96 B.R. 135, 138 (Bankr. S.D. Ohio

                                                                   9   1989) (rule’s primary purpose is to ascertain “the extent and location of the estate’s assets [and]

                                                                  10   examination is not limited to the debtor or his agents, but may properly extend to creditors and third

                                                                  11   parties who have had dealings with the debtor.”) (internal citations omitted). In addition,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Bankruptcy Rule 2004 is a discovery tool that can be used as a pre-litigation device to determine
                                        LOS ANGELES, CALIFORNIA




                                                                  13   whether there are grounds to bring an action to determine a debtor’s right to discharge a particular
                                           ATTORNEYS AT LAW




                                                                  14   debt. See In re Corso, 328 B.R. 375, 383 (E.D.N.Y. 2005).

                                                                  15           The scope of an examination permitted under Bankruptcy Rule 2004 is “exceptionally

                                                                  16   broad.” In re N. Plaza LLC, 395 B.R. at 122 n. 9; see also In re W&S Investments, Inc. 1993 U.S.

                                                                  17   App. LEXIS 2231 at *6 (9th Cir. Jan. 28, 1993) (“The scope of inquiry permitted under a Rule 2004

                                                                  18   examination is generally very broad and can legitimately be in the nature of a ‘fishing expedition.’”)

                                                                  19   (internal citations omitted). This broad inquiry extends to third parties as well: “Because the

                                                                  20   purpose of the Rule 2004 investigation is to aid in the discovery of assets, any third party who can be

                                                                  21   shown to have a relationship with the debtor can be made subject to a Rule 2004 investigation.” In

                                                                  22   re Ionosphere Clubs, Inc., 156 B.R. 414, 432 (S.D.N.Y. 1993); see also In re Mittco, Inc., 44 B.R.

                                                                  23   35, 36 (Bankr. D. Wis. 1984) (“When there is a showing that the purpose of the examination is to

                                                                  24   enable a party to probe into matters which may lead to the discovery of assets by examining not only

                                                                  25   the debtor, but also other witnesses, such inquiry is allowed.”). This is because “[t]he clear intent of

                                                                  26   Rule 2004 . . . is to give parties in interest an opportunity to examine individuals having knowledge

                                                                  27   of the financial affairs of the debtor in order to preserve the rights of creditors.” In re GHR

                                                                  28   Companies, Inc., 41 B.R. 655, 660 (Bankr. D. Mass. 1984). “The purpose of the Rule 2004


                                                                       DOCS_LA:350994.2 78512/001                         6
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                      09/15/23 11:54:55
                                                                                                                                               15:58:48           Desc
                                                                                                    Main
                                                                                                    MainDocument
                                                                                                          Document Page
                                                                                                                      Page288
                                                                                                                            10 of
                                                                                                                               of277
                                                                                                                                  557


                                                                   1   investigation is to aid in the discovery of assets, any third party who can be shown to have a

                                                                   2   relationship with the debtor can be made subject to a Rule 2004 investigation.” In re Ionosphere

                                                                   3   Clubs, Inc., 156 B.R. 414, 432 (Bankr. S.D.N.Y. 1993), aff’d, 17 F.3d 600 (2d Cir. 1994).

                                                                   4           In the present case, good cause exists to issue the subpoena as the Trustee must locate

                                                                   5   reliable records to determine the financial affairs and condition of the Debtor in order to preserve the

                                                                   6   rights of creditors. The Debtor’s statements that he does not maintain financial records regarding his

                                                                   7   acts, conduct, property and financial conditions means the Trustee must go to third parties. (See

                                                                   8   Declaration of N. Troszak, §3) There has been a litany of state court filings and litigation, including

                                                                   9   findings of fact, calling in to question conduct of the Debtor and his financial dealings. Various

                                                                  10   findings during litigation document the commingling of monies, investments, and trust accounts.

                                                                  11   Allegations of misappropriation of funds and the establishment of lines of credit to burden or
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   securitize assets of clients call into question business conducted by the Debtor and the location of
                                        LOS ANGELES, CALIFORNIA




                                                                  13   missing assets. This conduct has spawned a mountain of litigation which has the potential to
                                           ATTORNEYS AT LAW




                                                                  14   undermine the efficient and economic administration of the bankruptcy case. For these reasons, the

                                                                  15   Trustee seeks the production of records to investigate and determine the underlying facts.

                                                                  16           The proposed examination cannot proceed at this time under Bankruptcy Rule 7030 or 9014

                                                                  17   because Debtor is not a party to any pending adversary proceeding or contested matter that

                                                                  18   encompasses the matters addressed in this Motion.

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:350994.2 78512/001                       7
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                      09/15/23 11:54:55
                                                                                                                                               15:58:48             Desc
                                                                                                    Main
                                                                                                    MainDocument
                                                                                                          Document Page
                                                                                                                      Page289
                                                                                                                            11 of
                                                                                                                               of277
                                                                                                                                  557


                                                                   1                                                       IV.

                                                                   2                                                CONCLUSION

                                                                   3             For the reasons set forth above, the Trustee respectfully requests that this Court enter an

                                                                   4   order to be lodged consistent with the Motion herewith granting this Motion in its entirety and

                                                                   5   (a) authorizing the Trustee, pursuant to Bankruptcy Rules 2004 and 9016, to issue a subpoena

                                                                   6   substantially in the form attached hereto as Exhibit I, for the production of financial records

                                                                   7   including supporting bank statements, copies of checks, and deposit slips and (b) answer written

                                                                   8   questions on deposition; and (c) granting such other and further relief as this Court deems just and

                                                                   9   proper.

                                                                  10

                                                                  11   Dated: September 15, 2023                       PACHULSKI STANG ZIEHL & JONES LLP
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                                                       By: /s/ Jeffrey P. Nolan
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                       Jeffrey W. Dulberg
                                           ATTORNEYS AT LAW




                                                                                                                           Jeffrey P. Nolan
                                                                  14
                                                                                                                               Attorneys for Bradley D. Sharp, Chapter 11
                                                                  15                                                           Trustee
                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:350994.2 78512/001                          8
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                      09/15/23 11:54:55
                                                                                                                                               15:58:48            Desc
                                                                                                    Main
                                                                                                    MainDocument
                                                                                                          Document Page
                                                                                                                      Page290
                                                                                                                            12 of
                                                                                                                               of277
                                                                                                                                  557


                                                                   1                                 DECLARATION OF BRADLEY D. SHARP

                                                                   2           I, Bradley D. Sharp, declare:

                                                                   3          1.        I am the President and CEO of Development Specialists, Inc. (“DSI” or the “Firm”).

                                                                   4   I have personal knowledge of the facts stated in this Declaration, and if called as a witness, I could

                                                                   5   and would testify competently to these facts.

                                                                   6          2.         I make this declaration in support of the application (the “Application”) filed by the

                                                                   7   Trustee seeking an Order Authorizing the Production of Documents and Examination of Bank

                                                                   8   Hapoalim, Pursuant to Fed. R. Bankr. P. 2004.

                                                                   9          3.        I met with the Debtor on or about May 31, 2023. At that time, the Debtor indicated

                                                                  10   he did not maintain personal financial records for the various assets disclosed on his schedules. The

                                                                  11   Debtor claimed he did not maintain records for his financial affairs.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           I declare under penalty of perjury pursuant to the laws of the United States that the foregoing
                                        LOS ANGELES, CALIFORNIA




                                                                  13   is true and correct.
                                           ATTORNEYS AT LAW




                                                                  14           Executed this 15th day of September, 2023, at San Juan Capistrano, California.

                                                                  15

                                                                  16

                                                                  17                                                   ______________________________
                                                                                                                       Bradley D. Sharp
                                                                  18                                                   Chapter 11 Trustee

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:350994.2 78512/001
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page291
                                                13 of
                                                   of277
                                                      557
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                      09/15/23 11:54:55
                                                                                                                                               15:58:48               Desc
                                                                                                    Main
                                                                                                    MainDocument
                                                                                                          Document Page
                                                                                                                      Page292
                                                                                                                            14 of
                                                                                                                               of277
                                                                                                                                  557


                                                                   1                                  DECLARATION OF JEFFREY P. NOLAN

                                                                   2
                                                                               I, Jeffrey P. Nolan, declare:
                                                                   3
                                                                               1.         I am an attorney at law duly licensed to practice before all courts in the State of
                                                                   4
                                                                       California. I am an attorney with the law firm of Pachulski Stang Ziehl & Jones LLP, attorneys of
                                                                   5
                                                                       record for Bradley D. Sharp, Chapter 11 Trustee of the estate of Leslie Klein (“Klein” or the
                                                                   6
                                                                       “Debtor”). The facts stated herein are of my own personal knowledge, or made known to me from a
                                                                   7
                                                                       review of the files and pleadings in this action which are maintained in the ordinary course of
                                                                   8
                                                                       business. If called upon as a witness to any facts set forth herein, I could and would competently
                                                                   9
                                                                       testify thereto.
                                                                  10
                                                                               2.         The examination requested through the Motion cannot proceed under Federal Rules
                                                                  11
                                                                       of Bankruptcy Procedure 7030 or 9014 because no adversary proceeding or contested matter is
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       currently pending encompassing the matters subject to inquiry.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                               3.         Attached hereto as Exhibits A, is a true and correct copy of the Complaint for (1)
                                                                  14
                                                                       Fraud; (2) Breach of Fiduciary Duty; (3) Conversion; (4) Money Had And Received; (5) Unjust
                                                                  15
                                                                       Enrichment and (6) Accounting filed in the Superior Court of the State of California, Case Number
                                                                  16
                                                                       21 ST CV 31915, Vendriger, et al v. Klein.
                                                                  17
                                                                               4.         Attached hereto as Exhibit B, is a true and correct copy of the Report and
                                                                  18
                                                                       Recommendation of the Court-Appointed Referee on Examination and Adjudication of the Trustee’s
                                                                  19
                                                                       First, Second, and Third Accountings On Each of the Twenty-Four Trusts At Issue For the Trust
                                                                  20
                                                                       Periods September 10, 1996-June 30, 2013, July 1, 2013-December 31, 2016 And January 1, 2017-
                                                                  21
                                                                       September 30, 2018, as attached to proof of claim 13-2 filed by the Menlo Parties in the United
                                                                  22
                                                                       States Bankruptcy Court, Central District of California, in case number 2:23-bk-10990-SK.
                                                                  23
                                                                               5.         Attached hereto as Exhibit C is a true and correct copy of the Vago v. Klein
                                                                  24
                                                                       Complaint to Determine the Nondischargeability of Certain Debts owed by Debtor Leslie Klein to
                                                                  25
                                                                       Erica and Joseph Vago Pursuant to 11 U.S.C. §523, and To Deny Discharge Pursuant to Section
                                                                  26
                                                                       727(A)(12) and filed in the United States Bankruptcy Court, Central District of California, in case
                                                                  27
                                                                       number 2:23-bk-10990-SK.
                                                                  28
                                                                               6.         Attached hereto as Exhibit D is a true and correct copy of the Mermelstein v. Klein

                                                                       DOCS_LA:350994.2 78512/001                          11
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                      09/15/23 11:54:55
                                                                                                                                               15:58:48          Desc
                                                                                                    Main
                                                                                                    MainDocument
                                                                                                          Document Page
                                                                                                                      Page293
                                                                                                                            15 of
                                                                                                                               of277
                                                                                                                                  557


                                                                   1   Complaint for Nondischargeability of Debt Pursuant to 11 U.S.C. §523(a)(2)(A), 11 U.S.C.

                                                                   2   §523(a)(4) & 11 U.S.C. §523(a)(6) & for Denial Of Discharge Pursuant to 11 USC §727(a)(2)(A);

                                                                   3   11 USC §727(a)(2)(B); 11 USC §727(a)(3); 11 USC §727(a)(4)’ 11 USC §727(a)(5), and filed in the

                                                                   4   United States Bankruptcy Court, Central District of California, in case number 2:23-bk-10990-SK.

                                                                   5           7.       Attached hereto as Exhibits E is a true and correct copy of the Decision and Order,

                                                                   6   Stipulated Surrender of License and Order and Accusation issued by the California Board of

                                                                   7   Accountancy, Department of Consumer Affairs, State of California, as printed from the state

                                                                   8   website.

                                                                   9           8.       Upon information and belief, the Debtor maintained a business relationship with

                                                                  10   Bank Hapoalim, BM dba Bank Hapoalim International and Bank Hapoalim, USA (“Bank

                                                                  11   Hapoalim”) and maintained a number of accounts based upon my review of records.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           9.       As counsel to the Trustee, we requested financial records and bank statements from
                                        LOS ANGELES, CALIFORNIA




                                                                  13   the Debtor on June 8, 2023. (See Correspondence dated June 8, 2023, attached hereto as Exhibit F)
                                           ATTORNEYS AT LAW




                                                                  14   On June 28, 2023, the Trustee again requested the bank statements. (See email dated June 28, 2023,

                                                                  15   attached hereto as Exhibit G). The Trustee made the same request when introduced to new counsel

                                                                  16   for the Debtor on July 10, 2023. (See email dated July 10, 2023, attached hereto as Exhibit H). No

                                                                  17   bank statements or financial records have been received from the Debtor in response thereto.

                                                                  18           10.      Pursuant to Local Bankruptcy Rule 2004-1(a), the Plaintiff contacted Bank Hapoalim

                                                                  19   to arrange for a mutually agreeable date, time, place, and scope of the examination sought in the

                                                                  20   Motion. The Proposed Examinee will produce the documents requested on reasonable notice to its

                                                                  21   subpoena process serving unit. Notice of this Motion has been given to the Debtor/consumer and the

                                                                  22   United States Trustee’s Office.

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:350994.2 78512/001                       12
                                                                   Case 2:23-bk-10990-SK            Doc 391
                                                                                                         350 Filed 10/04/23
                                                                                                                   09/15/23 Entered 10/04/23
                                                                                                                                      09/15/23 11:54:55
                                                                                                                                               15:58:48          Desc
                                                                                                    Main
                                                                                                    MainDocument
                                                                                                          Document Page
                                                                                                                      Page294
                                                                                                                            16 of
                                                                                                                               of277
                                                                                                                                  557


                                                                   1           11.      The Debtor therefore requests authority to issue a subpoena to the Proposed

                                                                   2   Examinee substantially in the form attached hereto as Exhibit I.

                                                                   3           I declare under penalty of perjury pursuant to the laws of the United States that the foregoing

                                                                   4   is true and correct.

                                                                   5           Executed this 15th day of September, 2023, at Los Angeles, California.

                                                                   6

                                                                   7                                                      /s/ Jeffrey P. Nolan
                                                                                                                             Jeffrey P. Nolan
                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:350994.2 78512/001                       13
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page295
                                                17 of
                                                   of277
                                                      557




       EXHIBIT A
                     Case 2:23-bk-10990-SK                    Doc 391 350 FiledàáÔÞØâã   áäáå
                                                                                     09/15/23
                                                                                     10/04/23          Entered 10/04/23
                                                                                                                    09/15/23 11:54:55
                                                                                                                               15:58:48                         Desc
                                       ÃÄÄÅÆÇÈÉÿËÌÍÿÎÏÏÿÐÑÍÐÌÄMain
                                                              ÈMain
                                                               ÄÿÒÌÓÿÔÒDocument
                                                                       ÎDocument
                                                                        ÇÏÈÕÿÖÌÄ×ÿØÌÑÍÒÙÌÑPage
                                                                                          ÄPage
                                                                                           ÈÚÿÛÑÉÅÜ296
                                                                                                   Å18
                                                                                                    ÎÏÿÝËof
                                                                                                         Ëof
                                                                                                          ÅÜÈ277
                                                                                                             ÍÓ557
                                                                                                               ÿÞÙÈÍÈÄÎÿÞÍÎßÈÍ
ÿ¡¢ÿ£ÿ¤¥¦ÿ§¥ÿÿ̈§¨©ÿ§¥ÿÿ̈¡ªÿ«¬ªÿÿ­®°̄±°̄­°²ÿ­³´­µÿ¶·ÿ¤¸ÿ¹ºÿ§©ÿ»¥¼ÿ½¨¨¯§¾ÿÿ̈§¥©ÿ£ÿ¿ºÿªÀ¿ÁÂ©¢¦¥ÿ§¾
               0ÿ ÿ  ÿÿ
               2ÿ0 !!"ÿ#$%&'ÿ()%*+"ÿ,(-.ÿ0655/ÿ
                   $%&'!)%*+"1!*2$%&!"32$*ÿ
               3ÿ-  "44ÿ53ÿ6!!"*&ÿ,(-.ÿ30558/ÿ
                  7!!"*&1!*2$%&!"32$*ÿ
               4ÿ3=$
                   33ÿ(3ÿ8&9ÿ:;"3<ÿ(%4"ÿ34 ÿ
                     !ÿ:&'""!<ÿ>$&ÿ9 70ÿ
               5ÿ ?@A@BCÿDDEFGGÿ
               6ÿ0H$
                   ÿH&'I4ÿH93ÿ63ÿ
                      &'ÿJ!<ÿ:ÿ9274ÿ
               7ÿK"  "L)$&"Mÿ,203/ÿ793N22ÿ
                  O2!* "Mÿ,203/ÿ674N4268ÿ
               8ÿ:44$&"0!ÿ>$ÿP&4>>ÿ:QRÿST.QHR8THÿ
               9ÿ
              0ÿ                             (UPTHRVHÿVUHKÿVOÿKJTÿ(K:KTÿVOÿ:=ROVH.R:ÿ
              00ÿ                                           VU.K#ÿVOÿ=V(ÿ:.8T=T(ÿ
              02ÿ:QRÿST.QHR8TH<ÿ&ÿ&9;9%<ÿ!ÿ$N /ÿ!"ÿ.$3ÿÿ
              03ÿK %  ! 4" " ÿ$ >ÿ4)  " ÿ
                                         ORH(Kÿ:WT.QWT.Kÿ       KHU(Kÿ //ÿÿ
                  6T.QHR          8THÿÿO&:WR  =#X ÿ&ÿ9ÿ:QRÿ         //ÿÿ^_\`a     ÿ\ ]ÿ
              04ÿ ST.QHR         8TH<       ÿ&9 ;9 %
                                         P 
                                            &4>
                                               >!<ÿ                      //ÿÿb_c ÿ\ÿ\` ÿ̀a
              05ÿ;3ÿ                                                      // df__ e          a
              06ÿ=T(=RTÿY=TR.<ÿT(Z3<ÿ&ÿ&9;9%Xÿ&9ÿÿ /ÿg_hÿ`ÿ                ÿ `ÿ       e`a
                                                                                                      aÿjkl
              07ÿ=T(ÿY=TR.ÿ[ÿ:((VR:KT(<ÿÿ>$&ÿ //ÿ                           m_        nÿ
              08ÿP5$<ÿ>"&!2!%$!&;"ÿ<=
                                        ÿ
                                          7ÿ$L$4$&Xÿ&9ÿQVT(ÿ0N / o\@AFDÿpqBprEEFBsAtÿu@svÿFs@s@qBÿsqÿFsrEBÿ
                                                                           //ÿÿwxyz{ÿ}x~x{ÿ~xÿ  zÿ{{~xzÿ
              09ÿ                        Q">"&9&4!3ÿ                       // \F  {
                                                                                     FGÿBDÿqGsGaÿ?BDÿu?EDÿqÿ̀??CFGÿ
                                                                                     {~xzÿzÿÿ~z{zÿ
              2ÿ                                                             //ÿ
              20ÿ                                                             //ÿ$  *L&4ÿO"9Mÿ:%'%!4ÿ27<ÿ220ÿ
                                                                                   KÿQ4"Mÿ
              22ÿ                                                              //ÿÿQ"L4Mÿÿÿ
              23ÿ                                                                  ` `ÿ\ ÿhÿÿ
              24ÿ P&4>>ÿ:QRÿST.QHR8TH<ÿ!%22"!!$ÿ2$NK%!4""ÿ$>ÿ4)"ÿO!4ÿ:*"&9*"&4ÿK%!4ÿ
              25ÿ6"&9'"ÿO*0ÿ94"9ÿW0ÿ7<ÿ099<ÿ!ÿ*"&9"9ÿ4)"">4"<ÿ)""I0ÿ"'"!ÿ!ÿ>$$7!Mÿ
              26ÿÿ
              27ÿÿ
                                                                                               0ÿ
                                                                                              ÿ
    Case 2:23-bk-10990-SK      Doc 391
                                    350 Filed 10/04/23
                                              09/15/23 Entered 10/04/23
                                                                 09/15/23 11:54:55
                                                                          15:58:48        Desc
                               Main
                               MainDocument
                                     Document Page
                                                 Page297
                                                       19 of
                                                          of277
                                                             557



 0ÿ                                  ÿ ÿ
 2ÿ 0 ÿ!"#ÿ$%&"'#(%'ÿ)ÿÿ*+*,ÿ-./ÿ01)*1)ÿÿ21ÿ!++3ÿ#)01ÿÿ!"#
 3ÿ$%&"'#(%'ÿ)ÿÿ),441))/0ÿ4/520,)11ÿ/ÿ.1ÿ60)ÿ!71*71ÿ20,)ÿ81*0910ÿ67:ÿ*1*ÿ
 4ÿ;:ÿ73ÿ0993ÿ)ÿ71*1*ÿÿ!ÿ0,1ÿ*ÿ4/0014ÿ4/<:ÿ/ÿ.1ÿ60)ÿ!71*71ÿ20,)ÿ81*0910ÿ
 5ÿ=>?@ABÿD>EFDÿG>BÿHIÿJKKLIÿ>Mÿ>?FNDFDÿOPQRSMETUIÿ@Mÿ>EE>VWFDÿWFRFEXÿ>MÿYZW@[@Eÿ\ÿ>NDÿ?>DFÿ>ÿ
 6ÿ<0ÿ.101/ÿÿ!ÿÿ71)ÿ011+ÿ.1013ÿ.1ÿ20,)ÿ-)ÿ]19ÿ*7)101*ÿÿ.1ÿ^1ÿ/ÿ
 7ÿ_/03ÿ_/,:ÿ/ÿ̀/)ÿ!911)ÿ
 8ÿ 2 '1)</*1ÿ̀%^`#%ÿa`%#&3ÿ%^bÿOPcAF@NTUÿ)ÿÿ*+*,ÿ-./ÿ/ÿ/07/
 9ÿ*ÿ]11ÿ01)*1)ÿÿ̀/)ÿ!911)ÿ_/,:3ÿ_/0ÿÿd</ÿ/07/ÿ*ÿ]113ÿÿÿ71)ÿ
0ÿ011+ÿ.1013ÿa1ÿ-)ÿ*/9ÿ],)1))ÿÿ.1ÿ^1ÿ/ÿ_/03ÿ_/,:ÿ/ÿ̀/)ÿ!911)ÿ
00ÿ,0),ÿ/ÿ.1ÿ^1ÿe0ÿ/ÿ_/0ÿ-1])13ÿa1ÿ)ÿÿ!4+1ÿ717]103ÿ^1ÿe0ÿ&,7]10ÿ
02ÿ598ÿÿ,0),ÿ/ÿ.1ÿ_/0ÿ"1<071ÿ/ÿ_/),710ÿ! 0)ÿ-1])13ÿa1ÿ/0710:ÿ.1*ÿ
03ÿÿ41)1ÿ)ÿÿ_101*ÿ,]4ÿ!44/,3ÿ̀41)1ÿ&/ÿ674543ÿ-.4.ÿ-)ÿ),001*101*ÿ/ÿ
04ÿf,0:ÿ303ÿ220ÿÿgÿ;04.ÿ243ÿ203ÿa1ÿ1*ÿÿ%hÿ01ÿ!<<4/ÿ/0ÿ#)),41ÿ/ÿ
05ÿ`110)ÿ/ÿ^<14ÿ!*7)0/ÿÿ.1ÿ%)1ÿ/ÿ2ÿ81*0910ÿÿ̀/)ÿ!911)ÿ^,<10/0ÿ
06ÿ_/,03ÿ_)1ÿ&/ÿ̀0584ÿOPiFE@E@XNÿjXRÿklFV@>Aÿ\D?@N@MER>EXRTUÿÿa1ÿ-)ÿ<</1*ÿ^<14ÿ
07ÿ!*7)0/0ÿ/ÿ.1ÿ%)1ÿ/ÿ2ÿ81*0910ÿ,*10ÿÿ%hÿ01ÿg0*10ÿ/0ÿ0/]1ÿ*1*ÿ;04.ÿ
08ÿ243ÿ20ÿ*ÿ0141+1*ÿ̀110)ÿ/ÿ^<14ÿ!*7)0/ÿ*1*ÿ;04.ÿ243ÿ20ÿÿ
09ÿ 3 '1)</*1ÿ̀%^ÿa`%#&ÿmÿ!^^g_#!2%^3ÿ#&_3ÿ!ÿ'g6%^^#g&!`ÿ̀!8
2ÿnopiop\QqorÿOP=@R?TUÿ)ÿÿ_/0ÿ<0/1))/ÿ4/0</0/ÿ1991*ÿÿ.1ÿ<0441ÿ/ÿ
20ÿ-ÿ-.ÿ/ 41)ÿÿ.1ÿ^1ÿ/ÿ_/03ÿ_/,:ÿ/ÿ̀/)ÿ!911)3ÿ_:ÿ/ÿ^.107ÿgs)ÿ
22ÿ 4 ÿ)ÿ9/0ÿ/ÿ.1ÿ0,1ÿ71)ÿ*ÿ4<41)3ÿ-.1.10ÿ*+*,3
23ÿ4/0</013ÿ/0ÿ/.10-)13ÿ/ÿ.1ÿ"11*)ÿ*11*ÿÿ.)ÿ1/ÿ)ÿ"g%^ÿ0ÿ.0/,9.ÿ53ÿ
24ÿ4,)+13ÿ*ÿ.101/013ÿ),1)ÿ),4.ÿ"11*)ÿ]:ÿ.1ÿ4/,)ÿ71)ÿÿÿ-ÿ71*ÿ.)ÿ
25ÿÿ/ÿ)1ÿ/0.ÿ.1ÿ0,1ÿ71)ÿ*ÿ4<41)ÿ/ÿ)*ÿ"11*)ÿ)ÿ)//ÿ)ÿ),4.ÿ71)ÿ.+1ÿ
26ÿ]11ÿ)4101*ÿÿÿÿ)ÿ/071*ÿ*ÿ]11+1)ÿ*ÿ])1*ÿ,</ÿ),4.ÿ/07/ÿ*ÿ]11ÿ
27ÿ191)ÿ.ÿ14.ÿ"11*ÿ*1)91*ÿ.101ÿ)ÿ"g%^ÿ0ÿ.0/,9.ÿ53ÿ4,)+13ÿ)ÿ01)</)]1ÿÿ
                                                  2ÿ
                                                 ÿ
   Case 2:23-bk-10990-SK     Doc 391
                                  350 Filed 10/04/23
                                            09/15/23 Entered 10/04/23
                                                               09/15/23 11:54:55
                                                                        15:58:48     Desc
                             Main
                             MainDocument
                                   Document Page
                                               Page298
                                                     20 of
                                                        of277
                                                           557



 0ÿÿÿÿÿÿ!ÿ"ÿÿ""#"ÿ!$ÿ%%&'ÿ!!ÿ#"!ÿ"ÿÿ
 2ÿ""#"ÿÿ"$ÿ$$%%'ÿ&%$&%'ÿ"(%%'ÿÿ!$'ÿÿ!ÿ"!ÿ
 3ÿ$ÿ)*+ÿ)ÿ$ÿ%$,%ÿÿ-%$$ÿÿ!ÿ&ÿ#ÿ,ÿ-%$$.ÿÿÿ
 4ÿ                               /0123  ÿ3ÿ5606ÿ
 5ÿ 5. 7#$$"$ÿÿ8#ÿ$ÿ!ÿ9ÿ:&%ÿ;#<$ÿ=#ÿ$ÿÿ!
 6ÿ$$$ÿÿ!ÿ>#ÿÿ)ÿ$$&ÿÿ#"$$&ÿ$ÿ!ÿ=#ÿÿ9ÿ
 7ÿ:&%'ÿ;ÿÿ=%$$.ÿÿÿ
 8ÿ                                           ? 2ÿ
 9ÿ 6. *ÿ@ÿ7'ÿ099'ÿ*;=:AÿB+C)ADE+Aÿÿ>:CD:ÿB+C)ADE+Aÿ,%$!
0ÿFGHÿJKLMNÿOPQRSPQRNÿNLTMNÿUQRSLKVQLÿJOPKWXÿYZN[\]F^_ÿ̀!$"!ÿ<%"ÿ!ÿ<$ÿ
00ÿ>#ÿ:&ÿÿ7#%ÿ0'ÿ0986.ÿ*;=:AÿB+C)ADE+Aÿÿ>:CD:ÿB+C)ADE+Aÿÿ
02ÿ !ÿ$$$%ÿ"a>#ÿÿ!ÿ>#.ÿ-%$$ÿ:)Dÿb+C)ADE+A'ÿÿ!$ÿ,!ÿ7",ÿ
03ÿb$&'ÿ%ÿ(ÿÿc"8ÿb$&'ÿÿ!ÿ%ÿ"!$%ÿÿ*;=:AÿB+C)ADE+Aÿ
04ÿÿ>:CD:ÿB+C)ADE+A'ÿÿÿÿ!ÿ#""ÿ"a>#ÿÿ!ÿ>#.ÿ-##ÿÿ
05ÿ !ÿÿÿ!ÿ>#'ÿÿÿÿ@"!ÿ08'ÿ0993'ÿ#<ÿ!ÿ!ÿÿ!ÿ;#8$8$&ÿ>#'ÿ
06ÿ !ÿ>#ÿ+ÿ!%%ÿ,ÿ$$,#ÿÿ%%dÿe$fÿ"!ÿ&"!$%ÿ!%%ÿ"$8ÿ!ÿ#ÿÿ
07ÿg0' 'ÿ$"ÿ$hÿ<"ÿe6ifÿ<ÿ#'ÿ"##%$8%jÿÿe$$fÿ!ÿ$ÿÿ!ÿ>#ÿ
08ÿ+ÿ!%%ÿ,ÿ$8$ÿk#%%ÿ,ÿ:)Dÿb+C)ADE+Aÿÿ7",ÿb$&.ÿ
09ÿ 7. *ÿ@ÿ7'ÿ099'ÿ*;=:AÿB+C)ADE+Aÿÿ>:CD:ÿB+C)ADE+Aÿ"$,#
2ÿ !ÿ%%$&ÿ!ÿe3fÿ%ÿ<<$ÿÿ!ÿ>#ÿÿ%%dÿ
20ÿ            l m#$"%$ÿ)ÿ$&ÿ0435ÿn$hÿ:8#ÿo2'ÿ9ÿ:&%'ÿ=:ÿe:-C
22ÿ               5554a 0a33fÿÿ*;=:AÿB+C)ADE+Aÿÿ>:CD:ÿB+C)ADE+Aÿ
                  *;=:AÿB+C)ADE+Aÿÿ>:CD:ÿB+C)ADE+A'ÿ=#ÿÿ!ÿB$&
23ÿ               n$%ÿ>#'ÿp)>ÿ5a7a9'ÿ!$"!ÿÿ"ÿ$ÿ*$"$%ÿA"ÿÿ9
                  :&%ÿ=#ÿÿD#ÿC.ÿ9aqrstqsÿuvÿPwxÿrrÿ̀yqqzÿYZJw{[|w}
24ÿ               ~\{Fw{ÿSHH^_
25ÿ
26ÿ
27ÿ
                                               3ÿ
                                              ÿ
   Case 2:23-bk-10990-SK      Doc 391
                                   350 Filed 10/04/23
                                             09/15/23 Entered 10/04/23
                                                                09/15/23 11:54:55
                                                                         15:58:48     Desc
                              Main
                              MainDocument
                                    Document Page
                                                Page299
                                                      21 of
                                                         of277
                                                            557



 0ÿ            ÿÿ!"# !$ÿ0207ÿ%&!'"ÿ&(ÿ)*"ÿ+!$"(ÿ,+ÿ-+./
 2ÿ              55540060001ÿ#*ÿ23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864ÿ*
                 23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864(ÿ,*0""ÿ*#ÿ'
 3ÿ              5!$ÿ:;ÿ9"(ÿ<==9ÿ50709(ÿ>''ÿ>"ÿ*ÿ!ÿ2##ÿ4*"
                 *#ÿ)*"ÿ+!$"ÿ,*!;ÿ"ÿ7!"!ÿ/*?ÿ90923694ÿ*!ÿ@;ÿ22(ÿ099
 4ÿ              ABCDEFGHIJKLÿNIOLPQDORÿSFFTUVW
               ÿÿ!"# !$ÿ948ÿ/?ÿ@ÿ+&!(ÿ)*"ÿ+!$"(ÿ,+ÿ-+./
 5ÿ              5530020 21ÿ#*ÿ23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864ÿ*
 6ÿ              23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864(ÿ,*""ÿ*#ÿ'ÿ5!$
                 :;ÿ9"(ÿ<==9ÿ50709(ÿ>''ÿ>"ÿ*ÿ!ÿ2##ÿ4*"ÿ*#ÿ)*"
 7ÿ              +!$"ÿ,*!;ÿ"ÿ7!"!ÿ/*?ÿ90XYZ[XYÿ\Gÿ]D^ÿYY_ÿ̀XXaÿAB]DJLFQ
                 NIOLPQDORÿSFFTUVW
 8ÿ 8? 2!ÿ@;ÿ28(ÿ0996(ÿ23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864
 9ÿ*!bÿ'ÿ#**>!$ÿc*c;ÿ*ÿ'ÿ9"ÿ"ÿ#**>"dÿ
0ÿ             8 !ÿÿ!"# !$ÿ0435ÿ:#eÿ+&!ÿf4(ÿ)*"ÿ+!$"(ÿ,+ÿ-+./ÿ55540
00ÿ                 00071ÿ#*ÿ23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864ÿ*ÿ23,+4
                 56/47864ÿ!ÿ9+/7+ÿ56/47864(ÿ,*""ÿ*#ÿ'ÿ5!$ÿ:;
02ÿ              9"ÿÿ5=7=9(ÿ>''ÿ>"ÿ*ÿ!ÿ2##ÿ4*"ÿ*#ÿ)*"ÿ+!$"
                 ,*!;ÿ"ÿ7!"!ÿ/*?ÿ960969585ÿ*!ÿg!ÿ09(ÿ0996ÿABhDOJiDjÿ8!ÿSFFTUVW
03ÿ 9? +ÿ#*ÿ-41ÿ9"ÿc*c"ÿÿ!$ÿb;ÿ%*;ÿ.*c;ÿ@!$!
04ÿ,*c!;?ÿÿk!ÿ"ÿ!*ÿ'ÿ.*c;ÿ@!$(ÿbÿ'"ÿ!"ÿ'"#ÿ"ÿÿÿ!ÿb>!ÿ
05ÿ'ÿc*c;ÿ!$!ÿ*c!;ÿ!ÿ'ÿ*09""ÿ*#ÿ'ÿ9"?ÿ
06ÿ 0? ."!ÿ*ÿ'ÿ.*!ÿ#*ÿ3cÿ+!"*ÿ#ÿb;ÿk!(ÿ*!ÿ2*bÿ3(
07ÿ0999(ÿ23,+4ÿ56/47864ÿ!ÿ9+/7+ÿ56/47864ÿeÿÿ/*ÿ3ÿb;ÿ9"ÿ
08ÿSFFTÿABlFPIJFTÿm\LFUVÿOGÿLHFÿKIRÿ\iÿnYop(805?5(ÿ'ÿ"ÿ*#ÿ>''ÿc*&ÿ#*ÿÿ!cÿ
09ÿc!cÿ!ÿ!"ÿ*ÿbÿÿ!ÿc;bÿ*!ÿ2*bÿ24(ÿ2 9?ÿÿ."!ÿ*ÿ'ÿ.*!ÿ#*ÿ
2ÿ3cÿ+!"*ÿ#ÿb;ÿk!(ÿ'ÿ3ÿ/*ÿ>"ÿ"ÿb;ÿÿÿ*#ÿ9"ÿÿ
20ÿ+$"ÿ2(ÿ0979(ÿ!ÿ*ÿ"ÿ7!"!ÿ/*?ÿ790945848?ÿ
22ÿ 00? 2!ÿ+$"ÿ23(ÿ2 7(ÿ23,+4ÿ56/47864(ÿ"*ÿq!*>!ÿ"ÿ2"ÿr!$(
23ÿ?ÿÿ
24ÿ 02? 2!ÿ/*&bÿ23(ÿ2 7(ÿ9+/7+ÿ56/47864(ÿ"*ÿq!*>!ÿ"ÿ9!ÿr!$
25ÿ!ÿ9!;ÿr!$(ÿ?ÿÿ
26ÿ 03? sIJKIDGLÿL\ÿLHFÿsFLOLO\Gÿi\JÿltFPODQÿuTROGOKLJDL\J_ÿDLÿvumwuÿxymSzw{yz|K
27ÿ'ÿ'ÿ>"ÿÿ,'"ÿ+*!ÿ-+*!ÿ/*?ÿ0950248884091(ÿ>''ÿ>"ÿ'ÿb;ÿ23,+4ÿ
                                                4ÿ
                                               ÿ
    Case 2:23-bk-10990-SK      Doc 391
                                    350 Filed 10/04/23
                                              09/15/23 Entered 10/04/23
                                                                 09/15/23 11:54:55
                                                                          15:58:48          Desc
                               Main
                               MainDocument
                                     Document Page
                                                 Page300
                                                       22 of
                                                          of277
                                                             557



 0ÿÿÿÿÿ!ÿ"#$%ÿ%&%!'ÿÿ%ÿ%(&ÿ%$)&ÿ#*ÿÿ
 2ÿ+,-./01,/23ÿ56789:ÿ896ÿ;9736ÿ<==>?@8ÿ96A5ÿBCDE:FFF:ÿG9H=9ÿG73ÿH@ÿ6I=633ÿ>Jÿ896ÿ3878?8>KLÿ
 3ÿM$)$%!ÿN&OÿPO#Q%&ÿR#&ÿSÿ030 'ÿ
 4ÿ 04' TÿUOV(ÿ24ÿ20 ÿWM&$ÿ*$M&ÿ%(&ÿP&%$%$#ÿ*#OÿXY&V$Mÿ)$$!%O%#Oÿ$ÿ%(&
 5ÿ!%%&ÿ#*ÿ$ÿ&O$Z&Oÿ$ÿ[#!ÿZ&M&!ÿXNY&O$#OÿR#NO%ÿR!&ÿ#'ÿ[P0584'ÿÿWM&$ÿO&\N&!%&ÿ
 6ÿ%(&ÿ*#MM#]$ZÿY#]&O!^ÿ_$̀ÿ%#ÿ]$%(O]ÿMMÿ!N)!ÿ#ÿ&Y#!$%ÿ$ÿ%(&ÿR(!&ÿVV#N%aÿ_$$̀ÿ$%(ÿ!$ÿ
 7ÿ!N)!ÿ%#ÿYYMbÿ%#]OÿYb)&%ÿ$ÿ*NMMÿ$VMN$ZÿMMÿVVON&ÿ$%&O&!%ÿN%$Mÿ!NV(ÿYb)&%ÿ%(%ÿ
 8ÿV&O%$ÿ#%&ÿX&VNO&ÿQbÿ&&ÿ#*ÿON!%ÿ%&ÿTV%#Q&Oÿ3 ÿ099 ÿ$ÿ*c#Oÿ#*ÿdOObÿdMY$ÿÿ
 9ÿ#!&ÿX(Y$O#ÿ%(&ÿ*$MÿYb)&%ÿ#ÿ]($V(ÿ$ÿ%(&ÿ!N)ÿ#*ÿe2 33'0 ÿ]!ÿN&ÿ#ÿTV%#Q&Oÿ24ÿ
0ÿ2 9aÿ_$$$̀ÿ%#ÿ&f&VN%&ÿÿ&M$c&OÿbÿV(&Vg!ÿO*%!ÿ]$%(O]M!ÿ#Oÿ#%(&Oÿ$!%ON)&%!ÿO]ÿ#ÿ
00ÿ%(&ÿR(!&ÿVV#N%ÿ*#Oÿ%(&ÿYb)&%ÿ#*ÿ%(&ÿ)#&bÿ#ÿ&Y#!$%ÿ$ÿ%(&ÿR(!&ÿVV#N%ÿ%#ÿYbÿ$ÿ*NMMÿ
02ÿ$VMN$ZÿMMÿVVON&ÿ$%&O&!%ÿN%$Mÿ!NV(ÿYb)&%ÿ%(&ÿX&VNO&ÿ#%&ÿ%(&ÿ*$MÿYb)&%ÿ#*ÿ]($V(ÿ
03ÿ$ÿ%(&ÿ!N)ÿ#*ÿe2 33'2 ÿ]!ÿN&ÿ#ÿTV%#Q&Oÿ24ÿ2 9aÿÿ_$c`ÿ$*ÿ&V&!!Obÿ%#ÿ#Y&ÿbÿQgÿ
04ÿVV#N%ÿ&V&!!Obÿ$ÿ%(&ÿ)&ÿ#*ÿ%(&ÿ!%%&ÿÿ%#ÿ&Y#!$%ÿ$ÿ!NV(ÿVV#N%ÿbÿÿMMÿ!N)!ÿ
05ÿ]$%(O]ÿ*O#)ÿ!$ÿR(!&ÿVV#N%'ÿÿ(&O&*%&Oÿ%#ÿ&f&VN%&ÿÿ&M$c&OÿbÿV(&Vg!ÿO*%!ÿ
06ÿ]$%(O]M!ÿ#Oÿ#%(&Oÿ$!%ON)&%!ÿO]ÿ#ÿ!NV(ÿVV#N%ÿ*#OÿYb)&%ÿ#*ÿ%(&ÿ)#&bÿ#ÿ&Y#!$%ÿ
07ÿ$ÿ!NV(ÿVV#N%ÿ%#ÿYbÿ$ÿ*NMMÿ$VMN$ZÿMMÿVVON&ÿ$%&O&!%ÿN%$Mÿ!NV(ÿYb)&%ÿ%(&ÿX&VNO&ÿ
08ÿ#%&ÿ%(&ÿ*$MÿYb)&%ÿ#*ÿ]($V(ÿ$ÿ%(&ÿ!N)ÿ#*ÿe2 33'2 ÿ]!ÿN&ÿ#ÿTV%#Q&Oÿ24ÿ2 9'ÿÿÿ
09ÿ 05' TÿUOV(ÿ24ÿ20 ÿWM&$ÿ]!ÿ$!!N&ÿ[&%%&O!ÿ#*ÿXY&V$Mÿ)$$!%O%$#'ÿÿWM&$
2ÿ!Y&V$*$VMMbÿ**$O)&ÿ%(&ÿO&\N$O&)&%ÿ%#ÿY&O*#O)ÿ%(&ÿN%$&!ÿ#*ÿY&O!#MÿO&YO&!&%%$c&ÿVV#O$Zÿ
20ÿ%#ÿM]ÿ$ÿ%(&ÿ[&%%&O!ÿ*$M&ÿ]$%(ÿ%(&ÿR#NO%'ÿÿ
22ÿ 06' (&ÿP&%$%$#ÿ*#OÿXY&V$Mÿ)$$!%O%#Oÿ$VMN&ÿ#)$%$#!ÿ#*ÿ[&!M$&ÿWM&$ÿQb
23ÿÿhÿÿiV#Qÿh&O$Z&Oÿ*#Oÿ%(&ÿYNOY#!&ÿ#*ÿ]$%(O]$Zÿ%(&ÿ*N!ÿ$ÿ%(&ÿR(!&ÿ
24ÿVV#N%ÿÿYYMb$Zÿ!NV(ÿ*N!ÿ%#ÿ%(&ÿYb)&%ÿ#*ÿ%(&ÿX&VNO&ÿ#%&ÿ!ÿ]&MMÿ!ÿÿP#]&Oÿ#*ÿ
25ÿ%%#O&bÿ$ÿ*c#Oÿ#*ÿ[&!M$&ÿWM&$ÿ%&ÿj&QONObÿ5ÿ20 ÿ!$Z&ÿQbÿÿhÿÿ
26ÿiV#Qÿh&O$Z&O'ÿÿ(&ÿP&%$%$#ÿ*#OÿXY&V$Mÿ)$$!%O%#OÿM!#ÿ$VMN&ÿÿ&VMO%$#ÿQbÿ[&!M$&ÿ
27ÿWM&$ÿ]($V(ÿ!Y&V$*$VMMbÿ#%&!ÿ%(&ÿP#]&Oÿ#*ÿ%%#O&bÿ%&ÿj&QONObÿ5ÿ20ÿ$!ÿ$ÿO&ZO!ÿ%#ÿ%(&ÿ
                                                   5ÿ
                                                  ÿ
    Case 2:23-bk-10990-SK       Doc 391
                                     350 Filed 10/04/23
                                               09/15/23 Entered 10/04/23
                                                                  09/15/23 11:54:55
                                                                           15:58:48         Desc
                                Main
                                MainDocument
                                      Document Page
                                                  Page301
                                                        23 of
                                                           of277
                                                              557



 0ÿÿÿÿÿ!""ÿ!!ÿÿ#""$ÿÿ%ÿ"ÿÿÿÿ%ÿ
 2ÿ!!&'"$ÿ"%ÿ%ÿ(%ÿ!')ÿÿÿ*%ÿ+,ÿ
 3ÿ 07, -ÿ.ÿ24/ÿ20/ÿÿ-%ÿÿ*!"&ÿ%)""ÿ(ÿ"%ÿ$"$ÿ0&"
 4ÿÿ&&("$ÿ!(1ÿ2"3ÿÿ("%(ÿ&&ÿ)ÿÿ%!"ÿ"ÿÿÿ4ÿ2""3ÿ5"ÿ"%ÿ
 5ÿ)/ÿÿ!!&'ÿ(%ÿ!')ÿ"ÿ&&/ÿ"&%"$ÿ&&ÿ%ÿ"ÿ"&ÿÿ!')ÿÿ
 6ÿ"ÿ+ÿ*%ÿ#'ÿ6%ÿÿ7/ÿ%%ÿ-#ÿ3/ÿ099/ÿ"ÿ8ÿÿ9 'ÿ9&!"ÿ%ÿ
 7ÿ:ÿ*!"ÿÿ"&ÿ!')ÿÿ("/ÿ"ÿÿ)ÿÿ;2 /33,0/ÿ(ÿ%ÿÿ-#ÿ24/ÿ
 8ÿ2 94ÿ2"""3ÿÿ<ÿ%ÿ%&"8ÿ'ÿ=/ÿ%/ÿ("%(&/ÿÿÿ")ÿ%(ÿÿ
 9ÿÿÿÿÿÿ!')ÿÿÿ)'ÿÿ%!"ÿ"ÿÿÿÿÿ!'ÿ"ÿ&&ÿ
0ÿ"&%"$ÿ&&ÿ%ÿ"ÿ"&ÿÿ!')/ÿÿ*%ÿ+/ÿÿ"&ÿ!')ÿÿ("/ÿ
00ÿ"ÿÿ)ÿÿ;2 /33,2/ÿ(ÿ%ÿÿ-#ÿ24/ÿ2 94ÿ%ÿ2"83ÿ"ÿ'/ÿÿ!ÿ'ÿ#=ÿ
02ÿÿ'ÿ"ÿÿ)ÿÿÿ>ÿ%ÿÿ%!"ÿ"ÿÿÿ'ÿ%ÿ&&ÿ)ÿ
03ÿ("%(ÿ)ÿ"%ÿÿ,ÿÿ7/ÿÿ<ÿ%ÿ%&"8ÿ'ÿ=/ÿ%/ÿ
04ÿ("%(&/ÿÿÿ")ÿ%(ÿÿÿÿÿ!')ÿÿÿ)'ÿÿ%!"ÿ
05ÿ"ÿÿÿÿ!'ÿ"ÿ&&ÿ"&%"$ÿ&&ÿ%ÿ"ÿ"&ÿÿ!')/ÿÿ*%ÿ
06ÿ+/ÿÿ"&ÿ!')ÿÿ("/ÿ"ÿÿ)ÿÿ;2 /33,2/ÿ(ÿ%ÿÿ-#ÿ24/ÿ2 9,ÿÿÿ
07ÿ 08, 7ÿ%/ÿ0&"ÿÿÿ"&%ÿÿ"$&ÿ"$ÿ("ÿÿÿÿ*!"&
08ÿ%)"",ÿ
09ÿ 09, -ÿ?&'ÿ27/ÿ200/ÿ0&"ÿÿ !%ÿÿ6@ÿA>+6:@B>:ÿ%ÿ?#
2ÿA%"$ÿ("ÿ"%"%ÿ0&"ÿ%ÿ"8%ÿ;255/792ÿ)ÿ9&&'ÿC!'ÿ.$)ÿ
20ÿ)!'ÿ)ÿ.ÿ20ÿÿ?ÿ200,ÿ0&"ÿ%ÿ<!ÿÿ&&(1ÿ2"3ÿ!'"$ÿÿÿ
22ÿ7ÿ6DÿFGÿHIJÿKLMNGHÿMOÿPQRSTUVWXYSTÿPYUQTVQZÿMOÿ[IF\Iÿ\KLJÿO]MLÿ^LMGFJ_ÿIJD̀ÿFGÿaK]FMN_ÿ
23ÿbKGcÿK\\MNGH_deÿfFFgÿPYRTRRRÿMOÿKHHM]GJhi_ÿOJJ_eÿfFFFgÿPZTQRRÿOM]ÿjklÿOJJ_TÿjMN]Hÿ\M_H_TÿKGDÿ
24ÿm%"$ÿ4ÿ%ÿ2"83ÿ;056/684ÿ"ÿ<ÿ!"%ÿÿ2 8/ÿ20/ÿ%ÿ200,ÿÿ0&"ÿ%ÿÿ#&ÿ
25ÿÿ;60/349,85ÿ"ÿ"ÿÿÿÿ#"ÿÿC&""ÿ%ÿ?#ÿÿ"ÿÿÿ;0/4 ÿ
26ÿ=ÿÿ?#ÿHMÿ^]JFLbN]_JÿIFLÿOM]ÿIF_ÿMGJÿIKÒÿMOÿHIJÿHKnJ_ÿ[IF\IÿopJ̀FGqÿrKFDÿHMÿHIJÿstuÿOM]ÿ
27ÿÿÿÿ(ÿ#%ÿ#'ÿvC&""qXdÿÿ
                                                   6ÿ
                                                  ÿ
    Case 2:23-bk-10990-SK       Doc 391
                                     350 Filed 10/04/23
                                               09/15/23 Entered 10/04/23
                                                                  09/15/23 11:54:55
                                                                           15:58:48          Desc
                                Main
                                MainDocument
                                      Document Page
                                                  Page302
                                                        24 of
                                                           of277
                                                              557



 0ÿ 2 ÿÿÿ!ÿÿ"ÿÿ#ÿ"$ÿ%!&$'ÿ!ÿ()&ÿ*+!$$
 2ÿ!)ÿ&,-''ÿ.'ÿ)ÿ""ÿÿ$/!ÿ%ÿ)$$ÿÿ0/1ÿ27ÿ200ÿÿ2)ÿ"$+ÿ
 3ÿÿ3"ÿÿ!ÿ&$'ÿ#""ÿÿ0&3ÿÿ1$1ÿ"ÿÿ&ÿ!ÿÿ"/&$1ÿÿ4ÿÿ
 4ÿ/)ÿ"$+ÿÿ3"ÿÿ!ÿ-!ÿ$/!ÿ"/!ÿ31ÿ)1'ÿ58 ÿ)$ÿ1$ÿ"$ÿÿ6ÿ
 5ÿÿ!ÿ$1ÿ/&!!$1ÿÿ
 6ÿ 20 2)ÿ"$+ÿÿ3"ÿÿ$)$!ÿÿ71ÿ#$)$1ÿ8'+
 7ÿ9+)1ÿÿÿ-!ÿ'1ÿ/$:ÿ!ÿ$/!ÿ;$ÿ()&ÿ*+!$$ÿÿ&&ÿÿ
 8ÿ$ÿ&+ÿ"$+ÿÿ$/!ÿ)$)$!ÿÿ
 9ÿ 22 2)ÿ"$+ÿÿ3"ÿ!)ÿ.'ÿÿ'ÿ/$1ÿÿÿÿ$
0ÿ&+ÿ"ÿÿ$/!ÿ)$)$!ÿÿ!ÿ&&ÿÿ"ÿÿ$ÿ&+ÿ"$+ÿÿ"/$ÿ<4=ÿ
00ÿ)$)$!ÿÿÿÿ+ÿ"ÿÿ$/!ÿ"$+ÿ71ÿ#$)$1ÿ8'+ÿ9+)1ÿ"$+ÿ
02ÿ8$&ÿ"ÿ20ÿ$/'ÿ8$&ÿ"ÿ220ÿ"$ÿ*%4ÿ>?@%A4B?Aÿÿ*/'/!ÿ"ÿ220ÿ"$ÿÿ
03ÿ0&3ÿ>$'$ÿ
04ÿ 23 2)ÿ"$+ÿÿ3"ÿÿ!ÿ"ÿÿ)$.ÿ!/""&ÿÿ&&/$
05ÿ&&/'!ÿÿ#""ÿ!ÿ$C/$ÿ31ÿ#$3ÿ9ÿD06ÿÿ!Cÿ!)ÿ/+$/!ÿ$C/!!ÿÿ
06ÿÿ!ÿÿÿ
07ÿ 24 2)ÿ"$+ÿÿ3"ÿÿ!ÿ"ÿÿ&&/$1ÿ$)$ÿÿ&/
08ÿ!$3/!ÿ+ÿÿÿ#""ÿ;$ÿÿ)$)$ÿE'ÿ/$!ÿF$ÿE+)ÿÿ22ÿ
09ÿÿ"ÿÿ"/&$1ÿEÿ$/$ÿ"$ÿÿ$/!ÿ&ÿÿ%!$3/3ÿ@ÿ4&+ÿ"ÿ5226536ÿ
2ÿÿ&/ÿ!$3/!ÿ"ÿ524 ÿ<502 ÿÿ*%4ÿÿ502 ÿÿ0&3=Gÿ-.$ÿ*%4ÿ
20ÿ1ÿ&/1ÿ$&.ÿ!$3/!ÿ'ÿ59 ÿÿ4ÿÿ!+!ÿ)$.ÿ31ÿ71ÿ
22ÿ#$)$1ÿ8'+ÿ9+)1ÿ!-ÿ&/ÿ-$ÿ!$3/!ÿ'ÿ+!ÿ5346 ÿ
23ÿ- &ÿ.!ÿ5006 ÿ/&&/ÿ"$ÿÿ
24ÿ 25 2)ÿ"$+ÿÿ3"ÿÿ!ÿ''ÿÿÿ!+$ÿ)$&&ÿ"ÿ.$H
25ÿ$)$'ÿÿ&/ÿ!$3/!ÿ+ÿÿ#""ÿÿ2)ÿ"$+ÿÿ3"ÿ!/&ÿ.$H
26ÿIJKLIMNOPÿRSTÿULOJÿNOÿJVVLIMTÿMLÿWLXJIÿYZJNO[Tÿ\NTSKKILKINSMNLOÿLVÿWZNJOMÿV]OU^ÿ
27ÿ___
                                                   7ÿ
                                                   ÿ
    Case 2:23-bk-10990-SK       Doc 391
                                     350 Filed 10/04/23
                                               09/15/23 Entered 10/04/23
                                                                  09/15/23 11:54:55
                                                                           15:58:48           Desc
                                Main
                                MainDocument
                                      Document Page
                                                  Page303
                                                        25 of
                                                           of277
                                                              557



 0ÿ 26 ÿÿÿ!"!#ÿ$"!ÿ%&ÿ"!ÿÿ''(!")ÿ!ÿ%!ÿ!&!*!&
 2ÿ !+ÿ%!"ÿÿ%!ÿ!!ÿÿ,"ÿÿ%!ÿ,"ÿ-ÿ%!ÿ!ÿ.+ÿ(%!&ÿÿ/ÿ
 3ÿ!."!#ÿ(ÿÿÿ!"!#ÿ$"!ÿ&%("ÿ%*!ÿ.!")ÿ00#4 # ÿ%!"ÿÿ%&ÿ
 4ÿ''(ÿÿ%!ÿ!!ÿÿ,"ÿÿ1'ÿÿ2ÿ3'%ÿ24#ÿ220#ÿ$"!ÿ'!ÿ%!ÿ%!"ÿÿ
 5ÿ "'!ÿÿ")ÿ022# ÿÿ%&ÿ!)ÿ!.!&!ÿ''(ÿ!'(&!ÿÿÿ456ÿ'"ÿÿ08# ÿÿ
 6ÿ 27 ÿÿÿ!"!#ÿ789:;<=ÿ?@:8AB9ÿCDÿ!!ÿ!'"&ÿÿ!
 7ÿ&(!ÿÿ%!ÿ4&!"ÿE.+ÿF(%!&ÿ'+ÿ%!ÿ!&!*!&ÿ%!"ÿ)ÿ$"!#ÿ!&!ÿ
 8ÿ,"<=ÿ(!(&ÿ!&ÿÿ$"!ÿÿÿ&#ÿ%*!ÿ(ÿ,"ÿÿG!)ÿÿ'(+ÿ
 9ÿ"ÿ.!&ÿÿ!"!&ÿ&!ÿ)ÿ%!ÿ4&!"ÿE.+ÿF(%!&ÿÿ
0ÿ 28 ÿÿÿ!"!#ÿ$"!ÿ%&ÿ&!ÿ%!ÿ(&ÿ%ÿ'&(!
00ÿ%!ÿ!!'!ÿ!H!!ÿ%!ÿ(ÿ$"!ÿ&ÿ!"!*!ÿÿ!ÿ%"+ÿÿ!%"ÿÿ,"ÿÿ
02ÿ1'ÿÿ%!ÿ(ÿ$"!ÿ&ÿ!+ÿÿ!ÿ%"+ÿÿ%!ÿ!%"ÿ
03ÿ 29 ÿÿÿ!"!#ÿ$"!ÿ%&ÿ"&ÿ")!ÿ*!&ÿÿ%&ÿ!
04ÿ&(&ÿÿ1'ÿH%"!ÿ&("!(&")ÿH%%"+ÿ&(&ÿÿ,"#ÿ!&!ÿ
05ÿ,"<=ÿB9I9@C9JÿJ9K@;J=ÿ?DBÿJ:=CB:LAC:D;=ÿCDÿL9ÿK@J9ÿCDÿ@MD:Jÿ,"ÿ!'+ÿ!&(!ÿ
06ÿÿ"+ÿÿN(')ÿ(!ÿÿÿ")ÿÿ)ÿ%&ÿ'!&ÿÿ
07ÿ                                   OP QPORÿTÿT UPVÿ
08ÿ 3 ,"ÿ%!!)ÿ&!!N&ÿ!'*!)ÿÿ%!ÿ(&ÿH+("")ÿ%!"ÿ)ÿ$"!ÿÿ(""ÿ"(&
09ÿ!!&ÿÿ,"ÿ"&ÿ&!!N&ÿ(*!ÿ+!&ÿ+&ÿ$"!ÿÿ(#ÿ'*!&#ÿÿ!'%ÿÿ
2ÿ(')ÿ()ÿÿWHÿÿ(&ÿ''(&ÿ'&!ÿÿ(&ÿ!"++ÿÿ%!ÿ!"!ÿ'ÿ!ÿ
20ÿA=9Jÿ@=ÿ@ÿ8@XY9B<=ÿIB:M@C9ÿL@;Zÿ@[[DA;Cÿÿ\:=A=9ÿD?ÿ@;ÿ@CCDB;9Y<=ÿCBA=Cÿ@[[DA;Cÿ:=ÿ@KD;]ÿC^9ÿKD=Cÿ
22ÿ!+!+(&ÿ&'('&ÿÿ!)ÿ'ÿ'ÿÿE%&ÿ&ÿ%!ÿ&ÿÿ'('ÿ%ÿ"!&ÿÿ%!ÿ
23ÿIAL8:[<=ÿK:=CBA=CÿD?ÿC^9ÿ89]@8ÿIBD?9==:D;_ÿ
24ÿ 30 ,"ÿ:=ÿ=99Z:;]ÿJ@K@]9=ÿ@;Jÿ@CCDB;9Y<=ÿ?99=ÿ@;Jÿ[D=C=ÿA;J9ÿ,!ÿ̀!ÿa
25ÿbcdÿ@=ÿ@ÿB9=A8CÿD?ÿ789:;<=ÿL@Jÿ?@:C^ÿXBD;]?A8ÿC@Z:;]eÿ[D;[9@8:;]eÿ@;JfDBÿJ:=ID=:;]ÿD?ÿIBDI9BCYÿ
26ÿ !"++ÿÿÿ(&ÿ
27ÿggg
                                                    8ÿ
                                                   ÿ
    Case 2:23-bk-10990-SK      Doc 391
                                    350 Filed 10/04/23
                                              09/15/23 Entered 10/04/23
                                                                 09/15/23 11:54:55
                                                                          15:58:48       Desc
                               Main
                               MainDocument
                                     Document Page
                                                 Page304
                                                       26 of
                                                          of277
                                                             557



 0ÿ 32 ÿÿÿ!"#ÿÿ#ÿÿ$ÿ!ÿ%ÿÿ$$ÿ
 2ÿ&ÿ%'$ÿÿÿÿ&ÿÿ'$(ÿ)!&ÿÿ$'!#ÿ$'#(ÿ$ÿ!"ÿÿÿ&ÿ
 3ÿ)ÿ*'$ÿ&'%&ÿ&ÿÿÿ&ÿÿ!ÿÿ&ÿ+!ÿÿ&ÿÿ)#ÿ)%%ÿ&ÿ
 4ÿ!ÿ%ÿÿ,$ÿÿÿ$ÿÿ!"ÿ!-+ÿÿ&ÿ)#ÿ
 5ÿ./0/11234ÿ6711ÿ78ÿ9:;/<ÿ29973./4=1ÿ8//1<ÿ2.>ÿ79?/3ÿ/@A/.>:9B3/1ÿ1B88/3/>ÿ73ÿ:.0B33/>Cÿ
 6ÿ                                  DEFÿHFIÿDÿ  ÿ
 7ÿ                                JDKLMNÿOÿPLQRSTÿUUÿVWXWRNLRTSYÿ
 8ÿ 33 ÿ%ÿ$ÿ!+ÿ&ÿ)#ÿ!ÿ!&ÿ$ÿ"#ÿ%
 9ÿ!$ÿÿ%+&ÿ0ÿ&'%&ÿ32(ÿ!'"(ÿ)"ÿÿÿ'#ÿÿ&ÿ&ÿ
0ÿ 34 Z&ÿ[ÿ$ÿ&ÿÿÿ\+!ÿ]$-(ÿ&ÿ^+#ÿ+$
00ÿÿ&ÿ_'ÿ$ÿÿÿ$ÿ̀!)ÿ&ÿ&ÿ+aÿ&ÿa'$ÿ^!(ÿ!'$%ÿ&ÿ
02ÿ)$ÿ'$ÿ&ÿaÿÿ]#(ÿa'$ÿ)ÿ-$ÿÿ+#%ÿ&ÿb'ÿ,$ÿa&ÿ&ÿ'$ÿ
03ÿ-ÿ&ÿ_&ÿ]!!'(ÿ)&ÿÿa&!&ÿaÿ&$ÿ)#ÿb]cd]ÿZec,fdgef(ÿ+#(ÿ$ÿÿ
04ÿÿ&ÿ-ÿÿ&ÿb'ÿ
05ÿ 35 h+ÿ-ÿ$ÿ)(ÿa&ÿ[ÿ-$ÿ'!&ÿ+(ÿ[ÿa
06ÿ'!&ÿ+ÿÿ)ÿÿÿh+ÿ-ÿ$ÿ)(ÿ[ÿaÿ&ÿ&ÿa'$ÿ'ÿ&ÿ
07ÿ++-ÿÿ\+!ÿ]$-ÿÿ%ÿ!!ÿ$ÿ!ÿ"ÿb'ÿ'$ÿÿ$ÿÿ
08ÿ-+++ÿ&ÿ-ÿ
09ÿ 36 h+ÿ-ÿ$ÿ)(ÿ[ÿ-$ÿ+ÿÿi#ÿ+#
2ÿj%-ÿ_-+#ÿ&ÿ&ÿ&$ÿ%ÿ'&#(ÿÿ\+!ÿ]$-ÿÿÿÿb'(ÿÿ
20ÿ!!ÿ$ÿ&$ÿ&ÿÿ!-ÿ$"$ÿ-ÿ&ÿb'ÿ++ÿ
22ÿ 37 h+ÿ-ÿ$ÿ)(ÿa&ÿ[ÿ-$ÿ'!&ÿ+(ÿ[ÿa
23ÿ'!&ÿ+ÿÿ)ÿÿÿ
24ÿ 38 h+ÿ-ÿ$ÿ)(ÿ[ÿ-$ÿ+ÿÿÿ$ÿ&ÿdf\(
25ÿkbl(ÿ$ÿdÿb^%ÿ]'&ÿ&ÿ[ÿ&ÿ+$ÿ-$ÿ$)'ÿÿÿÿ
26ÿ-'ÿ$%ÿ-ÿ&ÿ!'#ÿ$)'$ÿÿÿÿkÿ^-+(ÿÿ22(ÿ[ÿ
27ÿ +$ÿ$)'%ÿm02( ÿÿ(ÿa&ÿ!'#ÿ!"$ÿ#ÿm9( ÿÿ$)'ÿ
                                                 9ÿ
                                                 ÿ
    Case 2:23-bk-10990-SK       Doc 391
                                     350 Filed 10/04/23
                                               09/15/23 Entered 10/04/23
                                                                  09/15/23 11:54:55
                                                                           15:58:48          Desc
                                Main
                                MainDocument
                                      Document Page
                                                  Page305
                                                        27 of
                                                           of277
                                                              557



 0ÿ 39 ÿÿÿ!"!#ÿ$%!ÿ&"!ÿ!ÿ'()%ÿ!!'!#ÿ&"!ÿ*!$
 2ÿ'()%ÿ!!'!'ÿÿ!ÿ"'!ÿÿÿÿÿ!"!#ÿ&"!ÿ!ÿ'()%ÿ
 3ÿ'!!'!'ÿÿ)+!ÿ%!ÿ)*'ÿÿ%'ÿ'ÿÿ)"!ÿ('ÿ
 4ÿ 4 ,"ÿ-('".ÿ!"!ÿ(ÿ/012345ÿ718715139:92;35ÿÿ%!ÿ<(ÿÿ,"
 5ÿ:5ÿ=100ÿ:5ÿ/012345ÿ!(ÿ'ÿÿ)!ÿÿ%!ÿ<(ÿ%ÿ&"!ÿ$("ÿ""$ÿ%!ÿ("!'ÿ%!ÿ
 6ÿ'ÿÿ>'!'ÿÿ%!ÿ<02?;732:ÿ@9:91ÿA:745ÿBC015ÿ;?ÿD7;?1552;3:0ÿE;3FCG9ÿ
 7ÿ 40 ,"ÿ%'ÿ!!ÿH!ÿÿÿ(ÿÿÿ"!''ÿ%ÿI78# ÿ"('ÿ!!'ÿ'
 8ÿÿ!'("ÿÿ('ÿ%ÿ%+!ÿ!!ÿ$H("".ÿ$%%!"ÿJÿ!".ÿÿ'(!ÿÿ&"!ÿ
 9ÿ%ÿÿ"!H"ÿ(%.ÿÿ)""!)ÿ%!ÿ!"ÿ)!ÿÿK('ÿ!.ÿ"!ÿ"!ÿ!ÿÿÿL!'!ÿ
0ÿ!!!ÿ!ÿ.ÿ,"#ÿ%!ÿ?C3F5ÿ23ÿ/012345ÿ8;551552;3ÿ%+!ÿÿ!!ÿ!(!ÿÿ,"ÿ
00ÿ 42 M'ÿ%!ÿ!)#ÿN!#ÿÿ!'!!"!ÿ)'!O(!)!ÿÿ%!ÿ(("!ÿ)()ÿ
02ÿ&"!ÿ'ÿ%!!ÿ""!H!#ÿ,"ÿ%'ÿ'(!!ÿ)("ÿH!'ÿÿÿ"!''ÿ%ÿI78# #ÿH!%!ÿ
03ÿ$%ÿ!!'ÿÿ%ÿ(ÿ'ÿ""$!ÿ.ÿ"$ÿ
04ÿ 43 K%!ÿ)()ÿÿ&"!ÿ'ÿ""!H!ÿ%!!ÿ'ÿ!"#ÿ")('#ÿ(H!('#ÿJ
05ÿ)!ÿ(ÿ$%ÿ)')('ÿ'!Hÿ'ÿ'ÿÿ-('.ÿÿ$ÿÿ!N!".ÿÿ(+!ÿH!'ÿÿ
06ÿÿ(ÿ))Hÿÿÿ
07ÿ 44 ,"ÿ"'ÿ'!!*'ÿ!)+!.ÿÿ!.ÿ!!'ÿÿ)''ÿH'ÿ&"!ÿÿ%!
08ÿH('ÿÿÿÿ%!ÿÿ,"ÿ%'ÿ!!ÿ!O(!ÿ%(H%ÿ%!ÿÿÿ%!ÿÿ)ÿÿ%!ÿ
09ÿ!)ÿÿ%'ÿ!!''ÿ.ÿHHÿ%'ÿ)ÿH'ÿ&"!ÿÿ,"ÿ'ÿ!"!ÿÿ!)+!ÿ
2ÿG;P8135:92;3ÿ?;7ÿ9Q1ÿ71:5;3:R0Sÿ31G155:7Sÿ0;55ÿ;?ÿ92P1Tÿ:99;731S45ÿ?11'#ÿÿ%!ÿ!N!(!'ÿ
20ÿ'(!!ÿÿ)(!ÿ
22ÿ                                 UV WÿYUVÿZÿ  ÿ
23ÿ                      [\]^_`aÿbcÿZdef`d_]gÿWfhgÿiÿj_dklhÿmmÿW^c^ke_khlnÿ
24ÿ 45 ,"'ÿ!""!H!'ÿÿ)!'ÿ%!!ÿ.ÿ!!!)!ÿ!)%ÿÿ!+!.ÿ""!H
25ÿ)!ÿÿ,H%'ÿ0ÿ%(H%ÿ44#ÿ)"('+!#ÿ+!ÿ'ÿÿ("".ÿ'!ÿ%ÿ%!!ÿ
26ÿ 46 &"!#ÿ'ÿo!)"ÿM'#ÿ'ÿMH!ÿ(!ÿ,$!ÿÿM!.#ÿ'ÿ
27ÿ!.#ÿÿ'ÿÿ<,M#ÿ$'ÿÿ().ÿÿ,"ÿÿ$!ÿ,"ÿ)!ÿ().ÿ(!'ÿ
                                                  0ÿ
                                                  ÿ
    Case 2:23-bk-10990-SK       Doc 391
                                     350 Filed 10/04/23
                                               09/15/23 Entered 10/04/23
                                                                  09/15/23 11:54:55
                                                                           15:58:48          Desc
                                Main
                                MainDocument
                                      Document Page
                                                  Page306
                                                        28 of
                                                           of277
                                                              557



 0ÿÿÿÿÿÿ!"ÿ#$"ÿ%ÿ#%"ÿ&'"ÿ!#"ÿ"ÿ
 2ÿ$!$"ÿ!ÿÿ!ÿ!#ÿ#(ÿÿ
 3ÿ 47( )'ÿ#&!ÿ!ÿ*"ÿ+ÿ&!#!$ÿ!ÿ,$ÿ*#!ÿÿ!#$
 4ÿÿÿ-!ÿ*$ÿ,#$ÿ#'#ÿÿ!ÿ!ÿ!#$ÿÿ!ÿÿ*!ÿÿÿ.#ÿ
 5ÿ!ÿÿ#!ÿ&ÿ#&ÿ.#ÿ'#'#ÿÿ#ÿ'!#"ÿÿ/$ÿ-#'#$ÿ
 6ÿ0!!&ÿ1&'!$"ÿ*$ÿ,#$ÿ,ÿ-!23ÿ567839ÿ:;ÿ<=>?@#'#ÿ
 7ÿ#*ÿÿ-!"ÿ*$ÿ'!$ÿ&ÿ!ÿ!#$ÿÿ'ÿÿ*ÿ!ÿ.#ÿ!ÿÿ
 8ÿ'#'ÿÿ!''&ÿÿA'!ÿB&#!#ÿ!'ÿ!&ÿ!ÿ!ÿ!"ÿ*$ÿ!ÿÿ
 9ÿ'#%ÿ ÿ!ÿ!#!ÿ!"ÿ*$ÿ!ÿÿ'#%ÿÿ'#'#ÿ#Cÿ
0ÿ&!ÿ#ÿ!Dÿ!#"ÿ!ÿ*$ÿ#*ÿÿÿ!%#ÿÿE!*ÿ,ÿ
00ÿ##$ÿÿ-!23ÿ56783ÿFGHI<6Hÿ?>J3<7J:K>ÿLJ63>(ÿÿÿ
02ÿ 48( -!ÿ!ÿ*ÿ!#&ÿ*$ÿ+23ÿL<786LHÿ8>3L?G:>8ÿI>?>G79ÿG7LK68G7Mÿ
03ÿ*#!ÿÿÿ!#$ÿÿÿ-!ÿ*$ÿ,#$ÿ#'#ÿÿ!ÿ!ÿ!#$ÿÿ!ÿ
04ÿÿ*!ÿÿÿ.#ÿ!ÿÿ#!ÿ&ÿ#&ÿ.#ÿ'#'#ÿÿ#ÿ'!#"ÿÿ
05ÿ/$ÿ-#'#$ÿ0!!&ÿ1&'!$"ÿ*$ÿ,#$ÿ,ÿ-!23ÿ567839ÿ:;ÿ<=>?@
06ÿ#'#ÿ#*ÿÿ-!"ÿ*$ÿ'!$ÿ&ÿ!ÿ!#$ÿÿ'ÿÿ*ÿ!ÿ.#ÿ
07ÿ!ÿÿ'#'ÿÿ!''&ÿÿA'!ÿB&#!#ÿ!'ÿ!&ÿ!ÿ!ÿ!"ÿ*$ÿ!ÿ
08ÿÿ'#%ÿ ÿ!ÿ!#!ÿ!"ÿ*$ÿ!ÿÿ'#%ÿÿ'#'#ÿ#Cÿ
09ÿ&!ÿ#ÿ!Dÿ!#"ÿ!ÿ*$ÿ#*ÿÿÿ!%#ÿÿE!*ÿ,ÿ
2ÿ##$ÿÿ-!23ÿ56783ÿFGHI<6Hÿ?>J3<7J:K>ÿLJ63>(ÿÿ
20ÿ 49( N$ÿÿÿ!ÿ!ÿ!*%"ÿ+ÿ*#!ÿÿ!#$ÿÿÿÿ!"
22ÿ#$"ÿ%ÿ#%"ÿ&'"ÿ!#"ÿ"ÿ$!$"ÿ!ÿÿ!ÿ!#ÿ#ÿ
23ÿ,!#ÿ-!ÿ*$ÿ!ÿÿÿ,ÿ#"ÿ!ÿÿ!ÿ&!#ÿ!%#ÿÿ-!23ÿ*ÿ#(ÿ
24ÿ 5( Bÿ!ÿ#"ÿ'#D&!"ÿ!ÿ#!*ÿ#ÿÿÿOK>G723ÿ*#!ÿÿÿ!#$
25ÿ"ÿ-!ÿ!ÿ #ÿ!!ÿ!&!ÿÿÿÿ!ÿP78" "ÿ#ÿ,ÿ#ÿÿ!ÿ
26ÿ!&ÿ!ÿ!,ÿ*$ÿ!,(ÿ
27ÿQQQ
                                                  00ÿ
                                                  ÿ
    Case 2:23-bk-10990-SK     Doc 391
                                   350 Filed 10/04/23
                                             09/15/23 Entered 10/04/23
                                                                09/15/23 11:54:55
                                                                         15:58:48        Desc
                              Main
                              MainDocument
                                    Document Page
                                                Page307
                                                      29 of
                                                         of277
                                                            557



 0ÿ 50 ÿÿ !ÿ!ÿ"#ÿ!ÿ$ÿ%ÿ$ÿ$ÿ !
 2ÿ&!'&ÿÿ()ÿ*ÿÿÿ+)ÿ!&)ÿÿ&& ÿÿÿ&ÿ
 3ÿ,*ÿ()ÿ!ÿ*ÿ!+&"ÿ&!'&ÿ&!ÿ'ÿÿ&&'ÿ!%!ÿÿ$ÿ!'ÿ!ÿ
 4ÿ"%ÿÿÿ-$')ÿÿÿ!ÿÿ&#ÿ.+/ÿ!ÿ+'#ÿ!%ÿ
 5ÿ%ÿ(ÿÿÿ'ÿ&&!%ÿÿ+ÿÿ$ÿ ÿÿÿ
 6ÿ 52 ÿÿ ,ÿ&#/ÿÿ/ÿ ÿ!ÿ&ÿ(ÿÿ$ÿ%'!ÿ
 7ÿÿÿ$ÿÿÿ$ÿ" ÿ0'!ÿ$'%$ÿ$ÿÿÿ$ÿÿ&ÿÿ$ÿ+&ÿÿ
 8ÿ$ÿÿ"/ÿ"%%ÿ$ÿ&ÿ%ÿ(ÿÿÿÿ!ÿÿ&#ÿ&+ÿ
 9ÿ123ÿ567ÿ37892:8;<=ÿ:7>79983=ÿ<299ÿ21ÿ5?@7Aÿ85523:7=B9ÿ1779Aÿ8!ÿ$ÿ.+!'ÿ'!ÿÿ
0ÿÿ&'!ÿ
00ÿ                                  ÿDEFÿGHIÿJÿ  ÿ
02ÿ                              KLMNOPQRLMÿSÿTURMQVÿWWÿFOXOMYUMVQZÿ
03ÿ 53 ÿ%ÿ!ÿ&+ÿ$ÿ"/ÿ&ÿ&$ÿ!ÿ#/ÿ%
04ÿ&!ÿÿ%+$ÿ0ÿ$'%$ÿ52)ÿ&'#)ÿ"#ÿÿÿ'/ÿÿ$ÿ$ÿ
05ÿ 54 )ÿÿÿ5[ÿ"&/ÿÿ$ÿ-')ÿ$ÿÿÿ*$&$ÿ0'!ÿ!"'
06ÿÿ$ÿ-'ÿ\ÿÿÿ!&!ÿ%)ÿ*!ÿ!ÿ$!ÿÿ%$ÿÿ+ÿ$ÿB9ÿ$ÿÿ
07ÿ$ÿÿ& ÿ$!ÿ"/ÿ(ÿÿÿ
08ÿ 55 (ÿ/ÿ!ÿ'"/ÿ!ÿ*$ÿB9ÿ]32]735=ÿ;=ÿ58^?:_
09ÿ+ÿÿ$ÿB9ÿ$ÿÿ$ÿÿ& ÿ!ÿ"/ÿ'%ÿÿ'ÿ$ÿB9ÿ$ÿ
2ÿÿ$ÿÿ& ÿÿ!!ÿ*ÿ!ÿÿ'ÿÿ$ÿ ÿ
20ÿ 56 ÿ!!ÿÿ&ÿÿ̀<7?:B9ÿ37>7?]5ÿ23ÿ3757:5?2:ÿ21ÿB9ÿ$ÿÿ$
22ÿÿ& ÿ
23ÿ 57 ÿ*ÿ$ !ÿ"/ÿ̀<7?:B9ÿ&+ÿ!ÿÿÿ$ÿB9ÿ$ÿÿ$
24ÿÿ& ÿ
25ÿ 58 `<7?:B9ÿ&!'&ÿÿ&#%ÿ!ÿ'%ÿÿ'ÿ$ÿB9ÿ$ÿÿ$ÿ
26ÿ& ÿ*ÿÿ'"ÿ&ÿÿ$ÿ$ÿ&'!ÿÿÿÿ
27ÿaaa
                                                02ÿ
                                                ÿ
    Case 2:23-bk-10990-SK       Doc 391
                                     350 Filed 10/04/23
                                               09/15/23 Entered 10/04/23
                                                                  09/15/23 11:54:55
                                                                           15:58:48          Desc
                                Main
                                MainDocument
                                      Document Page
                                                  Page308
                                                        30 of
                                                           of277
                                                              557



 0ÿ 59 ÿÿ!ÿ"ÿ!#$ÿÿÿ#%ÿ%ÿ%ÿÿÿ&78' '
 2ÿ(ÿ"%ÿ!ÿ()!$#ÿÿÿÿ#*##ÿ$ÿÿ(%+!!ÿ,-ÿ.ÿ
 3ÿ 6 /012345ÿ"ÿ!ÿÿ"%!"ÿ%ÿ6ÿ.ÿ$$!ÿ.ÿ%((%'ÿ#"'
 4ÿ!7%ÿ!ÿ8'ÿÿÿ!ÿ%ÿ"%+ÿ*#(-ÿ!ÿ(+ÿ!#$ÿ$ÿ6ÿ
 5ÿÿÿ#%ÿ""%!$ÿ%ÿ(%%ÿÿÿ#ÿ%ÿÿ
 6ÿ 60 ÿ%ÿ9ÿ"%+-ÿ%ÿ%-ÿÿ!ÿ"%ÿ$ÿ6ÿ%ÿ
 7ÿ$%!ÿ%ÿ%ÿ%ÿ%ÿÿÿÿ,ÿ:!ÿ%$ÿÿ%ÿ%ÿ%ÿ%ÿ"ÿÿÿ
 8ÿ(%"%ÿ%ÿÿÿ,-ÿ,$$ÿÿ"%ÿ$ÿ6ÿÿÿÿ!ÿ%ÿ"%+ÿ
 9ÿ"%#(%ÿ%ÿÿ%,-ÿ"-ÿ0;55ÿ;=ÿ>2?1@ÿA>>;B31C45ÿ=115@ÿA3Dÿ;>E1Bÿ1FG13D2>HB15ÿ
0ÿ!ÿ%ÿ" !ÿ
00ÿ                                I JKLÿJNOÿIÿ  ÿ
02ÿ                      P QRSTÿLUVÿURVÿKSWSXYSVÿZÿ[UXR\]ÿ^^ÿ_S`SRVUR]\aÿ
03ÿ 62 ÿ$ÿ!ÿ"%(%ÿÿ,-ÿ"ÿ"ÿ!ÿ+-ÿ$%
04ÿ"%!ÿÿ$(ÿ0ÿ%$ÿ60'ÿ"+'ÿ,%+ÿÿÿ-ÿÿ%ÿÿ
05ÿ 63 6ÿ"+!ÿ#%-ÿÿÿ%#ÿ%ÿÿ45ÿÿ%ÿÿÿ"%#
06ÿ 64 8ÿ45ÿÿ%ÿÿÿ"%#ÿ"+!ÿ,-ÿ6ÿ.ÿ%ÿ!ÿ%ÿ
07ÿ,ÿ%ÿÿ
08ÿ 65 6ÿÿ%ÿ$+ÿÿ#%-ÿ"+!ÿÿÿ%#ÿ%ÿÿ4ÿÿ%ÿ
09ÿ ÿ"%#ÿ%ÿÿ
2ÿ 66 ÿÿ!ÿ"ÿ!#$ÿÿÿ#%ÿ%ÿ%ÿÿÿ&78' '
20ÿ(ÿ"%ÿ!ÿ()!$#ÿÿÿÿ#*##ÿ$ÿÿ(%+!!ÿ,-ÿ.ÿ
22ÿ                                 ÿIILÿJNOÿIÿ  ÿ
23ÿ                         PJRbc\]ÿORdXWefSR]Zÿ[UXR\]ÿ^^ÿ_S`SRVUR]\aÿ
24ÿ 67 ÿ$ÿ!ÿ"%(%ÿÿ,-ÿ"ÿ"ÿ!ÿ+-ÿ$%
25ÿ"%!ÿÿ$(ÿ0ÿ%$ÿ66ÿ'ÿ"+'ÿ,%+ÿÿÿ-ÿÿ%ÿÿ
26ÿ 68 6ÿ"+!ÿÿ4ÿÿ%ÿÿÿ"%#ÿ%#ÿÿ8ÿ(%(
27ÿggg
                                                   03ÿ
                                                   ÿ
    Case 2:23-bk-10990-SK       Doc 391
                                     350 Filed 10/04/23
                                               09/15/23 Entered 10/04/23
                                                                  09/15/23 11:54:55
                                                                           15:58:48            Desc
                                Main
                                MainDocument
                                      Document Page
                                                  Page309
                                                        31 of
                                                           of277
                                                              557



 0ÿ 69 ÿÿÿÿÿ!"ÿ#ÿ$%%&'ÿ')*+,ÿ-.ÿ/),ÿ+,0/*1ÿ203-4,ÿ.+-4ÿ/),
 2ÿ56ÿ77ÿ
 3ÿ 7 81,20&'ÿ!7ÿ%ÿ#ÿ$%%&ÿ#ÿ%ÿ#ÿÿ!9ÿ!9ÿÿ#ÿ:7
 4ÿ%ÿ$%%ÿ
 5ÿ 70 $%%ÿ#ÿ6%%ÿ!6ÿ9;ÿÿ#ÿ96ÿ%ÿÿÿ#ÿ<78= =
 6ÿ76ÿ!ÿÿ7>6;9ÿÿÿ#ÿ9:969ÿ;ÿÿ7"ÿ?@ÿÿ
 7ÿ                                           ABÿ
 8ÿ 72 $%%ÿ;ÿÿ!7ÿ#ÿ?@ÿ%!ÿ!#ÿÿ"@ÿ;
 9ÿ!ÿÿ$;7#ÿ0ÿ#6;#ÿ70ÿ=ÿ!6"=ÿ?"ÿÿ%ÿ%6@ÿÿ%#ÿ#ÿ
0ÿ 73 =ÿÿD7!ÿE9=ÿÿE;ÿ6ÿ$ÿ%ÿE@=ÿÿ
00ÿ@=ÿÿÿÿF$E=ÿÿÿ%6!@ÿÿ$%%ÿ
02ÿ 74 $%%ÿÿ6?ÿÿ!ÿÿ#ÿ9ÿÿ%6ÿ!!6;ÿ?@ÿÿ
03ÿ-+G,+ÿ/-ÿG,/,+420,ÿ/),ÿ*4-H0/ÿ-.ÿI1*20/2..&'ÿ*'',/'ÿJ+-0K.H11Lÿ),1GÿMLÿ81,20Nÿ
04ÿ 75 O7ÿ%9ÿÿ?%=ÿ$%%ÿÿÿ#"ÿ!!ÿÿ"ÿ#ÿ%6ÿ#
05ÿMLÿ81,20ÿ'203,ÿI1*20/2..&'ÿ*'',/'ÿ*+,ÿ),1Gÿ20ÿ*33-H0/'ÿÿÿ0&'ÿ0*4,ÿ-+ÿ/),ÿ20ÿ/),ÿP2+4&'ÿ
06ÿ9ÿ
07ÿ                                      QRSQÿT QÿQSSTÿ
08ÿ UVSQST QS=ÿ$%%ÿ7@ÿ%ÿ>6;9ÿ;ÿW%=ÿÿ!#ÿ%ÿ#9=ÿ
09ÿÿ%Xÿÿ
2ÿ                                ÿVSÿTQYÿAYSÿTÿ  ÿ
20ÿ 0 W9;ÿÿÿ96ÿ%ÿÿÿ#ÿ<78= Z
22ÿ 2 [ÿÿ#ÿ;ÿÿ%9ÿÿ%ÿÿÿÿ?ÿ7"ÿÿZ
23ÿ 3 \:97@ÿÿ76"ÿ9;ÿÿÿ96ÿ!!;ÿÿ7%Z
24ÿ 4 E@ÿ%ÿÿ!ÿÿÿ96ÿ!!;ÿÿ7%Z
25ÿ 5 Eÿ!!6;ÿ%ÿÿ%6ÿ!"=ÿ?6=ÿÿ#ÿ?@ÿZ
26ÿ                              ÿVSÿYS ]ÿAYSÿTÿ  ÿ
27ÿ 6 W9;ÿÿÿ96ÿ%ÿÿÿ#ÿ<78= Z
                                                    04ÿ
                                                    ÿ
   Case 2:23-bk-10990-SK    Doc 391
                                 350 Filed 10/04/23
                                           09/15/23 Entered 10/04/23
                                                              09/15/23 11:54:55
                                                                       15:58:48   Desc
                            Main
                            MainDocument
                                  Document Page
                                              Page310
                                                    32 of
                                                       of277
                                                          557



 0ÿ 7 ÿÿÿÿÿ!ÿ"ÿÿÿ"ÿÿ#ÿ$%ÿÿ&'
 2ÿ 8 ()!$*ÿ"ÿ$+&&%ÿ"!ÿ&ÿÿ! +ÿ,,"&ÿÿ$ '
 3ÿ 9 -*ÿÿ"ÿ,ÿ&ÿÿ! +ÿ,,"&ÿÿ$ '
 4ÿ 0 -ÿ,,+&ÿÿÿ+"ÿ,&%".ÿ"&#+".ÿ"ÿ"ÿ#*ÿ/&'
 5ÿ                      ÿ12ÿ134ÿ562ÿ7ÿ  ÿ
 6ÿ 00 8!ÿ&ÿÿ! +ÿÿÿÿÿ978. '
 7ÿ 02 ÿÿÿÿÿ!ÿ"ÿÿÿ"ÿÿ#ÿ$%ÿÿ&'
 8ÿ 03 ()!$*ÿ"ÿ$+&&%ÿ"!ÿ&ÿÿ! +ÿ,,"&ÿÿ$ '
 9ÿ 04 -*ÿÿ"ÿ,ÿ&ÿÿ! +ÿ,,"&ÿÿ$ '
0ÿ                     ÿ12ÿ7 531ÿ562ÿ7ÿ  ÿ
00ÿ 05 8!ÿ&ÿÿ! +ÿÿÿÿÿ978. '
02ÿ 06 ÿÿÿÿÿ&ÿÿ! +ÿ,,"&ÿÿ$ '
03ÿ                      ÿ12ÿ771ÿ562ÿ7ÿ  ÿ
04ÿ 07 8!ÿ&ÿÿ! +ÿÿÿÿÿ978. '
05ÿ 08 ÿÿÿÿÿ!ÿ"ÿÿÿ"ÿÿ#ÿ$%ÿÿ&'
06ÿ                      ÿ12ÿ6:1ÿ562ÿ7ÿ  ÿ
07ÿ 09 -ÿ,,+&ÿÿÿ+"ÿ,&%".ÿ"&#+".ÿ"ÿ"ÿ#*ÿ/&'
08ÿ                         ÿÿ5626ÿ7ÿ  ÿ
09ÿ 2 ;ÿÿ"!ÿÿ#ÿ$%ÿÿ&'
2ÿ 20 ;ÿ,<+&ÿ"!ÿÿ#ÿ$%ÿÿ&'
20ÿ 22 ;ÿ&ÿÿ="ÿ#*ÿ='
22ÿ 23 ;ÿ&+&ÿÿ="ÿ#*ÿ='
23ÿ>>>ÿ
24ÿ>>>ÿ
25ÿ>>>ÿ
26ÿ>>>ÿ
27ÿ>>>ÿ
                                             05ÿ
                                             ÿ
   Case 2:23-bk-10990-SK   Doc 391
                                350 Filed 10/04/23
                                          09/15/23 Entered 10/04/23
                                                             09/15/23 11:54:55
                                                                      15:58:48   Desc
                           Main
                           MainDocument
                                 Document Page
                                             Page311
                                                   33 of
                                                      of277
                                                         557



 0ÿ 24 ÿÿÿÿ!ÿ"#ÿ!
 2ÿ
 3ÿ 25 ÿ$"%ÿ%ÿ!ÿ$%ÿ&ÿÿ%ÿ'$ÿ!(ÿ)$ÿ!ÿ**
 4ÿ+!,ÿÿ-$.$ÿ27/ÿ220ÿ               0123-456ÿ3-77869/ÿ77:ÿ
 5ÿ
 6ÿ                                      ;,ÿ
 7ÿ                                           '7-6<005ÿ982=>ÿ0123-456ÿ
                                              ;65??ÿ@ÿA-00563-=ÿ
 8ÿ                                           -ÿÿ:&&ÿ
 9ÿ                                           -+<ÿB5=+6<>56/ÿÿ'C?$ÿ!ÿ
                                              &!&D&!$ÿ
0ÿ
00ÿ
02ÿ
03ÿ
04ÿ
05ÿ
06ÿ
07ÿ
08ÿ
09ÿ
2ÿ
20ÿ
22ÿ
23ÿ
24ÿ
25ÿ
26ÿ
27ÿ
                                           06ÿ
                                           ÿ
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page312
                                                34 of
                                                   of277
                                                      557




                        0123435ÿ7ÿ
Case 2:23-bk-10990-SK                        Doc 391
                                                  350 Filed 10/04/23
                                                            09/15/23 Entered 10/04/23
                                                                               09/15/23 11:54:55
                                                                                        15:58:48                                  Desc
                                             Main
                                             MainDocument
                                                   Document Page
                                                               Page313
                                                                     35 of
                                                                        of277
                                                                           557



   ADJ <WOcfligll.prapeym,il.-,
   To Jaffe Hlda ~ t ~ . n e t > . i11lU wi,n <V41nd11ge,Oh0tma1.com>
   Al,•ldl••lltlo . .. . . . . . . . /Id's

                                                                                                            2 ""-'1men11,. -429 ICS




                                        AiCEll.a.urt TO FJRST NfDDICDT l>EC'LAAATIOIC or TRUST
                                                  (O!ICAII and TAHU. VEIIDRIGDt • • It.a.
                                                       'rel.ORIC:ER FAia LY TIIVST)




                                              ~llt FrAST NltHCftD;T DECUltATIOII or nttTSl' e.xa-=uted on
                               tho 7th day of My :.990, by OSQR IIJRDa?CD and 'D.(IIA
                               WDIDIUC:U ... TNROT$, ano Osc.\a "1:JfDIUC:D ancl TAlllA
                               W!ICDRICEJl •• 'l'JN&t.cla. ie ~....a,y . ~ .by c.aid TrU:etors •nd
                               Tniat••• pu,ranuant t.o the r19ht t:o       •-nd
                                                                             ~ Wider the
                               or19ift-'l DI.CJ.AJUI.TlOl( or T11VST, Thia • ~ n t shall i-eplaa.
                               1n pertinent pert •ny prov1ai- to the cont.r•rt in tAO
                               or.t9.lnal ll&CJ.AMT:OII or ntUS'T, and abal.l ot:...,o,1 . . ......, ••id
                               OZCURAT?Otr OF' TRUS1' o\a toltovc:

                                       l.    Oi,on tJle dut:l'I of UHi S11..-vivi119 Tr\lstor. the
                              Tna•t•• atuill distrU>ut• the 'l'rust Eat.eta•• tollova:
                                                <•) J:.ch granckhild of U.• 'l'l"ll•tora al\all
                              ro.:.-4,,.. ~ • • - oC 'J'en -;-n.,.....nd - l l a r a ($10,000), increased
                              six parc-t ' " ' por aNIWS, CUDUlat.ivaty;
                                               (b)
                              be d.ivi.s.ct cma-haU C:!./21 to .JACCS VEN1!RICD,        -n
                                                    nie re:aainder ot tba TrUct .t&t•t• sbal1
                                                                                   of the
                              TrUIJtors, end one-half (l/2) ~ ADI VDIDIUGER, :son of t.ba
                              'J'rvstora, par i:ticpo~.

                                          I.H ,.!?MESS WHEREOF, tbe Or19ihbL TN&tor and TNStee
                              bave. axeGVtod ttri• 11:aa-,,.t Co Cl>e DECUIMTlOtl OT TROST tl>ia
                              LL!!!... day or ?f'..u~~,: , t 9U.

                             'l'ROSTOR:                                  TRUST££:


                              a  o·
                             OSCAR ~ ~-
                                             :
                              ,..
                               i".ui.. >kthh)~.•                         TA>lfA iibibiUCii )
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48                                            Desc
                        Main
                        MainDocument
                              Document Page
                                          Page314
                                                36 of
                                                   of277
                                                      557




                                   STATE or CALU'OIUCIA                   I
                                                                          ) SC•
                                   COU#'TY or r.()S Alk.ttzs l




                                   d•'f ot   md y           :,IftfESS
                                                                              •Y hand end ott1c1•1 1011 this Lj'-1,I
                                                                               • lttJ""

                                                                                r~~~Q;,~~~
                                                                                 otuy bhc: oru
                                               ...... t•
                            • •.             omct.U. If.AL                                        1n
                                          , _ill'tllUC'.
                                          ,.,,., """"'"'   $1,opltO
                                                         CN,.'flo«lt,,.
                                                                                  Cc,unt.y and SC..t•
                              I       .        ,
                                           .,_ _ _ .,.U    -""
     Case 2:23-bk-10990-SK                 Doc 391
                                                350 Filed 10/04/23
                                                          09/15/23 Entered 10/04/23
                                                                             09/15/23 11:54:55
                                                                                      15:58:48                               Desc
                                           Main
                                           MainDocument
                                                 Document Page
                                                             Page315
                                                                   37 of
                                                                      of277
                                                                         557

      -
7'
                                                   FIRST AMENDMENT TRUST
                                                     WENORIGER FAMILY

                  THIS FIRST AMENDED TRUST AGREEMENT r eplaces the prior Trust
                  Agree111ent dated July 10, 1986, and is entered into by and
                  between OSCAR WENDRIGER and TANIA WENDRIGER, "HusbandN and
                  "Wife," respectively, of the County ot Lo& Angeles, in the
                  State of California, hereinafter called 11·Trustors," and OSCAR
                  WENDRIGER and TANIA WENDRIGER ot tho Stato ot California,
                  horoinaft•r r•f•rred to as "Cotrustees. M
                  In construing this Trust the fo~lowing definitions shall
                  apply:
                  l.   Whenever used herein the expression "Trustors" shall
                  refer to OSCAR WENORIGER and TANIA HENORIGER.
                  2.   Whenever used herein the expression °0riginal
                  cotrustees" shall refer to OSCAR WENDRIGER and TANIA
                  WENDRIGER.
                  J.   Whenever used herein tho oxpression "Original cotrustec"
                  shall refer to either OSCAR WENDRIGER or TANIA WENDRIGER,
                  4.   Whenever used herein the expression NSuccessor Trustee"
                  shall reter to JACOB a . k.a. YAACOV VENDRIGER and ADI
                  VENDRIGER.
                  5.   Whenever uaed herein the expression "Alternate Trustee"
                  shall refer to the surviving successor Trustee and SHLOMO
              ~   MENl<ES.
                  6.    Whenever used herein the expression "Trustee" shall be
                  deeme d a reference to whomever is serving as Truste e, or
                  Cotrustees, whether original, successor or alternate.
                  7.    Tho ini tial primary beneticiarie• ot this Trus t Est ato
                  shall be OSCAR WENDRIGER and TANIA WENDRIGER.
                  8.    The effective date of this Trust Agree.ment shall. be its
                  date of execution.

                  I.     TRUST PROPERTY
                         A.     Original Trust Estate
                           The Trustors a cknowledge that they have transferred
                  to the Trustee without consideration the sum of ton dollars,
                  along with the foll owing:
                  PERSONAL PROPERTl: All tangible and intangible held personal
                  property that the Truetors, either separately or as COJIIJIIUnity
                  property, now own or do hereafter acquiro, including but not


                                           REVOCABLE LIVING TRUST Pagel


                                                                         -   -   .   -- .   -~ -~-·---
                                                                                                 - -. ,,________   -   ...


          .   - -·- ·--·- ··- -- ..,.. ... - ·-·- . -· ... ·-·-- ·- --
Case 2:23-bk-10990-SK     Doc 391
                               350 Filed 10/04/23
                                         09/15/23 Entered 10/04/23
                                                            09/15/23 11:54:55
                                                                     15:58:48    Desc
                          Main
                          MainDocument
                                Document Page
                                            Page316
                                                  38 of
                                                     of277
                                                        557
                                                                  - ~=--..· ·-


    limited to household furniture, furnishings, and utensils;
    equipment and appliances; a rt; clothing; cash; personal
    effects; bank accounts; registered and unregistered
    securities; notes receivables security interests and liens;
    interests in partnerships, firms, businesses (including
    inventory), and corporations ; contract rights; ana a~ounts
    due from e~ployers; excluding, however, any and all such
    property subject to any (other) trust or power of
    appointment; and any property subject to a pledge, security
    agreement or legal restriction on transfer,
    All such property owned by Tru•tora shall bo considered and
    treated as co1U11unity property unless listed as separate
    property in this Trust on Schedule B (the separate property
    ot husband, it any), and in Schedule c (the separate property
    of wife, if any).
    All such property, which is hereby delivered by the Trustors
    to the TrUstee, shall be held, administered, and distributed
    by the Trustee as hereinafter set forth.

         B.   Additions to Trust Estate
             Additional property may be added to the Trust Estate
    at any time by the Trustors or either o! the~, or by any
    person or persons, by inter vivos or testamentary transfer.
    All such original and additional property is referred to
    herein collectively as the Trust Estate, and shall be held,
    managed cmd distributed as here.in provided.
              i.   Enlployee Benefit Plans
                 In the event that any designation ot the Trustee
    o~ this Trust as Beneficiary i n any employee benefit plan in
    which the Trustor• may have an i nt•r••t shall be inettectual
    in whole or in part, the Trustors specifically request that
    the co111111ittee, or other group having authority to do so under
    any suoh plans, ••lect the Trustee of the Trust as
    beneficiary of such plans to the ~axi.um extent possible ,
    The Tru~tQQ may aleot the mode of payment which, in the
    Trustee's discretion, appears to be the most advantageous
    option available to the Trust and/or lts then current income,
    Beneficiaries in terms ot income ta~. estato and inhoritane•
    tax, and/or inv,stment return considerations, based on the
    Trustee's evaluation ot the facts and circu•stances relevant
    to such conQiderations as they exist at the time the Trustee
    makes such election. FUrther , the Trustee nay, predicated
    upon th• foregoing consideration, elect in writing not t o
    treat the death benefits as a lump aWR distribution tor
    income tax purposes and thus exclude the maximum allowed from


                     REVOCABLE LIVING TRUST Paqe 2
Case 2:23-bk-10990-SK                             Doc 391
                                                       350 Filed 10/04/23
                                                                 09/15/23 Entered 10/04/23
                                                                                    09/15/23 11:54:55
                                                                                             15:58:48                       Desc
                                                  Main
                                                  MainDocument
                                                        Document Page
                                                                    Page317
                                                                          39 of
                                                                             of277
                                                                                557

                                                                                                                        -
---   .. - -':' .... ~
                         -·- · ····· - -· ____.. ..... ..   --- -        ...
                                                                               _ .... ... . ~~- ·- ~··4····   .. ---·



                eatate taxes . An election by a T~stee in good faith in the
                exaroiae of the discretionary power conferred upon it shall
                be final and binding upon all paraon• whoJ11SOaver and shall be
                a full acquittance and discharge to the Truatea, and the
                Truatee shall not be liable to .any peraon by reaaon of its
                exerciaa of such discretionary power.         ·
                           c.      Character of Property Unchanged
                           Tb• property comprising the original corpua of the
                '?r\Ult Estate is comaunity property of the Truatora, except as
                otlierwi•• specifically indicated. During the joint lives of
                the Truators, any property tranaferre4 to this Truat shall
                retain it• original character. All such property •hall be
                aaaUJlled to be community property unl••• otherwise
                epeoifically indicated in writinq by the TrUatora. In the
                event or revoCatio~, the Truetee eha11 diatributo •ugh
                property to the Truatora baaed on the sue property rights
                they had prior to transfer to the Tnaat. Any and all gifts
                made by the Truetora of Trust                       ••••t•
                                                       ah.all constitute a
                revocation by the 1'ruators as to such property, and,
                therefore, a gift by any Truator having an interest in that
                property would al•o constitute a revocation.
                 II.       ORJ:GINAL AND SUCCESSOR 'l'RUSTDS
                           A.      ~~i9inal Cotruat•••
                                   Th• Original Cotrustaas UJJder this Declaratipn ot
                Trust shall be as hereinabove defined, to serve with all of
                the obligation, powers, and authori:ty contained within this
                Truat Agreament.
                           D.      Death or Resignation of Qriginal Cotruatea
                         In the event of the death of either original
                cotrustee, or if for any reason whatsoever he or she ceases
                to serve as cotruatae b.ereunder, the T1;U•tore nomi1Ulte ·can<1
                appoint the remaining cotruatee to serve aa Trustee hereunder
                without the approval Qf any Court.
                         In the event of the death of both Original
               cotrustees, or if tor any reason whatsoever both cease to
               aerve as Trustee hereunder, the TrUatora nominate and appoint
               the successor 'l'rus·t •• aa hereinabove defined to serve aa
               Trustee hereunder without the approval of any court. In the
               event that the abovenamed Successor 'l'rustee consist• of more
               th.an one peraon then if for any raa•on whatsoever any of the
               aroresaid do not serve or cease to serve as cotruatee
               hereunder, tha irrustora nominate and appoint wh011soevar ot


                                                REVOCABLB LIVING '!'RUST Pa9~ 3
Case 2:23-bk-10990-SK             Doc 391
                                       350 Filed 10/04/23
                                                 09/15/23 Entered 10/04/23
                                                                    09/15/23 11:54:55
                                                                             15:58:48          Desc
                                  Main
                                  MainDocument
                                        Document Page
                                                    Page318
                                                          40 of
                                                             of277
                                                                557
                                                                                      Q

     the aforenaaed •hall be available to serve ae Successor
     Trustee hereunder without the approval of any court.
             In the event of the death of the successor Trustee
    as hereinabove defined, or if for any reason whatsoever he,
    she, or they cease(s) to serve or for any reason refuses to
    serve as Trustee hereunder, the Truators no~inate and appoint
    the designated Alternate Trustee to serve as Tru~tee
    hereunder without the approval ot any court. xn the event
    that the Alternate Trustee consists of more than one person
    then if for any reason whatsoever any of the aforesa!d do not
    serve or cease to serve as Cotnistee hereunder, the Trustors
    nominate and appoint whomsoever of the aforenaaed shall be
    available to serve as successor Trustee hereunder without the
    approval of any court.
             In the event of the death of the original Trustors
    hereof, and in the event that neither the aforenamed
    Successor Trustee or the a!orementioned Alternate Trustee is
    available then the majority o! then living beneficiaries
    hereunder who are issue of the Original Trustors hereof shall
    have the right to select another Successor Trustee hereunder
    to serve without approval ot any court. In the case ot minor
    beneficiaries, then any guardian of such a beneficiary shall
    act on behalf of such ~inor beneficiary to select a successor
    Trustee.
          c.    Discharge or Resignation of Trustee
             The Trustors &hall have tha ri9ht to discharge the
    Trustee of any Trust hereunder. Discharge of a Trustee shall
    be by delivery to such Trustee of thirty (JO) daya' written
    notice of discharge, accompanied by the name ot the intended
    Successor Trustee.
          D.    Duties and Responsibilities of Successor Trustees
             No successor Trustee shall have any responsibility
    tor any acts or omissions ot any prior Trustee and no duty to
    audit or investiaate the accounts or adlllini$tr~tion of any
    11uc;.h Tru•~•o; nor, ... nl ... o ln wr.i.tin,y             te•flU••~cia ~o do ao by :a
    parson having a present or future beneficial interest under a
    Trust hereunder, any duty to take action to obtain redress
    for breach oft.rust. It is the intent ot the Original
    Truetors that the successor Trustee shall not be required to
    obtain court approval, discharge, or pursue any other Court
    proceedings at the request ot incOll\e Beneficiaries without
    first attempting to obtain releases troll the majority of the
    adult incoae Beneficiaries with such release and discharge
    being complatoly adequate as to all responsibilities


                          REVOCABLE LIVING TRUST Page 4


               . --·- -- . -· ·- ....... --   --- - .. ·-·--·-·---·-··
Case 2:23-bk-10990-SK       Doc 391
                                 350 Filed 10/04/23
                                           09/15/23 Entered 10/04/23
                                                              09/15/23 11:54:55
                                                                       15:58:48   Desc
                            Main
                            MainDocument
                                  Document Page
                                              Page319
                                                    41 of
                                                       of277
                                                          557




    incumbent upon the Trustee . However, under any
    circumstances, any claim or action against any previous
    Trustee must in any event be asserted or tiled by any
    Beneficiary within one (1) year after the appointment of a
    Successor Trustee.
           E.   Bond
             No Trustee shall be required to post bond or any
    other security for the faithful pertoraance of any duties or
    obligations of such office.                         .,
    III, INITIAL TRUST
          The Trustee shall hold, manage, invest, and reinvest the
    Trust Estate and shall collect the income thereof, and shall,
    upon demand of the Trustors, pay to the Trustors during their
    joint lives all community net income of tha · Trust Estate and
    shall pay to each Trust~r all separate net income from his or
    her respective share of the Trust Estate. In the event that
    the Trustors do not demand payment of the net income of
    CODllllunity property, or it either of the Trustors fails to
    demond distribution of 6eparate property net income, then the
    Trustee may at his discretion accumulate such income, and
    such inco~e will becol'De property of the Trust Estate.
         The Trustee shall further pay colllJl\unity property
    principal, up to the whole thereof, to the Trustors upon
    written request. Upon the written request of the Truator who
    transferred separate estate property to the Trust, the
    Trustee shall pay so much of the principal of the separate
    estate established by such Trustor, up to the whole thereof,
    as he or she ahall request.
    IV,   REVOCATION AND AMENDMENT
          Either of the Trus tors, during their joint lives, may at
    any time and upon succe ssive occasions, revoke this Trust in
   whole or in part.      The Trustors may jointly alter or amend
    any of its provisions .     Any Amendment may be similarly
   cancelled or amended . It a Truster ls incompetent, such
   power to revoke, alter or amend the Trust may be eKeroised by
   the guardian or conservator at the direction of a court of
   competent jurie4iction where such court approval i~ raquirod.
          From and after the death of Githor of the Original
   Truators, this Agreement, · insofar as it relates to the
   SURVIVOR'S TRUST, may be revoked or amonded at any time and
   from til'IO to time by the Survivor delivering written notice
   of revocation or amendment to the Trustee; provided, however,


                       REVOCABLE LIVING :l'RUS? PGge 5
Case 2:23-bk-10990-SK    Doc 391
                              350 Filed 10/04/23
                                        09/15/23 Entered 10/04/23
                                                           09/15/23 11:54:55
                                                                    15:58:48   Desc
                         Main
                         MainDocument
                               Document Page
                                           Page320
                                                 42 of
                                                    of277
                                                       557



- -·-    . - - -···- ·-----            - - ---------- -
                                            -·




        that the duties and liabilities ot th• Trustee cannot be
        increased without ·its .consent. In the event or any
        revocation, the revoking party or parties .shall inde:mnify the
        Trustee in a manner satisfactory to it against liabilities
        lawfully incurred by th• Tru•t•• in th• conduct of its
        office. If a survivor is ino011petent, such power to revoke,
        alter or a.end the Trust may be exerciaed by the guardian or
        conservator at the direction of a court of co~petent
        jurisdiction.     Bxcept as hereinabove provided, this
        Agreement, and the Trusts evidenced hereby, are irrevocable
        and shall not be sul:>ject to amendment.
        V.   DISTRIBtJ'l'IONS ON DEATH OF EITHER TRUSTOR
             Upon the death of the original TrUstor hereof whose
        death shall occur first. the Trustee Shall make any such
        distributions of specific gifta which are itemized and listed
        on Schedule D (the Specific Gift Distribution Schedule) which
        ia attached hereto and incorporated herein by reference.
        With reference to any specific gifts 11a.da in accordance with
        Schedule D, whether referenced in this Article v or Article
        VI below, the following ahall apply. In the event that a · ·
        Beneficiary does not survive the decedent spouae, any gift to
        the deceased Beneficiary shall lapse and pass as part of the
        rest and residue of the 'l'rUat Estate.
             ~haroa~tor, tho TrUatoo •hall divido tho ~ruat Eatato,
        including all property received as a result of the Decedent's
        death, into two parts, each part to be administered as a
        separate Trust to be known respectively as the 11 SURVIVOR'S
        T.ROST," and the .. DECBDBNT'S T.Rt1S'1' . " Reference hereafter to
        the "DECEDENT" shall refer to either of the Trustors whose
        death shall first occur, and reference to the "SURVIVOR•
        shall refer to the survivinq Truster.
             A.   Decedent's Trust
                  Th• DSCBCEN'l''S TRUST •ha11 include an alllOunt equal
        to the lesser of the equivalent Estate Tax Exemption in
        ef!eot 'during the year or the death of the decedent, or one-
        half (l/2) of the 'l'rUst Estate.
                 As a method of illustration of speci,f ic amounts for
        the Estate Tax EXemption, the Trustee is directed to




                         REVOCABLE LIVING TRUST Page 6
Case 2:23-bk-10990-SK       Doc 391
                                 350 Filed 10/04/23
                                           09/15/23 Entered 10/04/23
                                                              09/15/23
                                                                ·,,
                                                                       15:58:48
                                                                       11:54:55         Desc
                            Main
                            MainDocument
                                  Document Page
                                              Page321
                                                    43 of
                                                       of277
                                                          557



                      ·---- -----        --·- .. -·---   - -,.._...._...- .. .... ..-
                                                                          ~-



       distribute to the DBCBDENT'S 'l'RUST an amount equal, in each
       year, to the aaounta as indicated below.

                                               EQUIVALENT ESTATE
                  DATE or DEATH                    TAX BXEKPTIOH
                  1990 and after                          $600,000

                  In determining the equivalent :r:atAte Tax Exemption,
       the Trustee ia to take into consideration any litetillle gifts
       made which may decrease the actual amount availabia to
       transfer to the DBCBDBN'r'S 'l'RUST. The Truators acknowledge
       that their intent is that the aJDount to~• distributed to the
       DBCEDEN'l''S 'l'RUS'l' shall not exceed an amount which will
       provide tor a zero (O) tax upon the death of the first of the
       Trustora to die.
             B.   survivor ' s 'l'ruat
                All at tha raGt and residua ot the assets ot the
       Trust Estate shall be allocated to the SURVIVOR'S TRUST.
             c. other Transfers
                 In the event that property ia received by th•
       TrUatee , either by rnter Vivo• or Testamentary Transfer, and
       directions are contained in the Instrument ot Transfer tor
       allocation to or between the SURVJ:VOR'S 'l'RUST and the
       DECEDENT'S 'l'ROST, then the 'l'rustee shall malc:e allocation i n
       accordance with auch directions, anything to the contrary
       notwitbetandin~ .     In the event no s~ci!io in•~rue~ion• aro
       given as to allocation, such property as is received trom a
       source other than the Trustors (or either of them), shall be
       placed in the SURVIVOR'S TRUST.
       VI.   SURVIVOR'S TRUST
             A.   Distribution of Income
                All the net income shall be distri))uted in
       convenient installments not less trequently than quarterly to
       the Survivor during h1e or her i1ret1me.
             B.   Powers of Appointment ot Principal
                During hi• or her life~iae, the Survivor ahall have
       a general power to appoint the principal and any
       undistributed income of the SURVIVOR'S 'l'RUS~ or any part
       thereof, ta hiaself or herself, or to any per•on or persons.



                           REVOCABLE LIVING TRUST Page 7
Case 2:23-bk-10990-SK    Doc 391
                              350 Filed 10/04/23
                                        09/15/23 Entered 10/04/23
                                                           09/15/23 11:54:55
                                                                    15:58:48   Desc
                         Main
                         MainDocument
                               Document Page
                                           Page322
                                                 44 of
                                                    of277
                                                       557




              Upon the death of the Survivor, he or she shall have
     the power to appoint the principal and any undistributed
     income of the SURVIVOR'S TRUST or any part thereof to his or
     her Estate or any person or persons, or to the DECEDENT'S
     TRUST. Such power of appointment shall be exercised only by
     means of written directions executed by the Survivor and
     delivered to the Trustee during the lifetime of the survivor.
     If the Survivor executes and delivers nore than one such
     written direction to the Trustee, the last one .shall control
     unless, by its context, the Survivor clearly indicates
     otherwise.                                           ,·
         c. Death of survivor
                                       ..
             Upon the death of the Survivor, the SURVIVOR'S TRUST
    shall terminate. The Trustee shall distribute the Trust
    Estate in accordance with and to the extent provided by the
    survivor's exercise of his or her powe r of appointment. All
    specific gifts itemized and listed on Schedule D hereof to be
    distributed by the Trustee at that time shall then be
    distributed by the Trustee. Any part ot the Trust Estate
    with respect to which the Survivor shall not have exercised
    his or her power of appointment shall beco11e a part of the
    trust established under Article VIII hereof, and be        ·
    administered by the Trustee, in accordance with the
    provisions set forth herein.
    VII. DECEDENT'S TRUST
         A.   Distribution of Incone
             Allot the net income chall be distributed in
    convenient installments, not less frequently than quarterly,
    to the Survivor during his or her lifetime.
         8,   Distribution of Principal
              The Trustee shall also distribute principal to the
    survivor, which in the sole discretion or the Trustee is
    necessary to provide proper support for the Survivor as
    defined under Article IX and Article XIII, A.2.
         C,   Survivor's Power of AppointMent

             The Survivor, during his or her lifetime, shall have
    the power to appoint the principal and undistributed incomQ
    of the Trust Estate, or any part thereof, to himself or to
    herself, or to any parson or parsons; however, the survivor
    may exercise said power of appointment during any calendar
    year only to the extent of Five Thousand Dollars ($5,000) or


                    REVOCABLE LIVINC TRU~T Pago 8
Case 2:23-bk-10990-SK     Doc 391
                               350 Filed 10/04/23
                                         09/15/23 Entered 10/04/23
                                                            09/15/23 11:54:55
                                                                     15:58:48         Desc
                          Main
                          MainDocument
                                Document Page
                                            Page323
                                                  45 of
                                                     of277
                                                        557
                                                                     .   - ------:i




    five percent (5%) of the aggregate value of the Trust Estate,
    whichever amount shall be greater, Any such power ot
    appointment shall not be construed to be cumulative and if
    not exercised in any calendar year, such power shall be
    terminated as to that year. Such power of appointment shall
    be exercised only by means of written direction executed by
    the Survivor and delivered to the Trustee during the lifetime
    of the survivor. If the survivor executes and delivers more
    than one such written direction to the Trustee, the last one
    shall control unless, by its context, the survivor clearly
    indicates otherwise.                                 l

         D.   Death of Survivor
             Upon the death of the survivor, the DECEDENT'S TRUST
    shall terminate, and shall become a part of the Trust created
    under Article VlII, and be administered in accordance with
    the provisions of said Article.
    VIII.CHILDREN'S TRUST
        A,    Income and Principal Prior to Division
              Prior to division of the Children's Trust as
    provided for in Paraqraph c hereinafter, the Trustee is
   directed to add any undistributed income to the principal .
         B,   Advancements
              1.   Request for Advancements
                   Any Beneficiary of this TrUst may, at any time,
   and upon successive occasions, by written instrwnent filed
   with the Trustee, request an advancement or advanceMents on
   his or her ultimate anticipated share ot the Children's
   Trust. If, in its solQ discretion, the Trustee determines
   that the requested advancement or advancements will be used
   tor a worthy objective then the Trustee may make such
   advancement or advancements in whole or in part from the
   Beneficiary's share of the Trust. As used herein, the term
   "worthy objectives" may include, but not be limited to, the
   purchase of a home appropriate to the needs and circumstances
   of the Beneficiary; the acquisition of a business interest in
   keepinq with the .age, training and experience of the
   Beneficiary, provided that such business interest is needed
   for the support of the Benericiary and his or her family, and
   £ur~her provided thGt there lo G reGeonable p~obaLilit1 u£
   success in the judg111ent of the Trustee; and the continuance
   of the education of any Beneficiary on a full-time progran in
   an institution of higher learning either on an undergraduate


                     REVOCABLE LIVING TRUST Page 9
Case 2:23-bk-10990-SK    Doc 391
                              350 Filed 10/04/23
                                        09/15/23 Entered 10/04/23
                                                           09/15/23 11:54:55
                                                                    15:58:48   Desc
                         Main
                         MainDocument
                               Document Page
                                           Page324
                                                 46 of
                                                    of277
                                                       557




    or graduate level or at a trade or vocational school, with
    expenses including, but not limited to, tuition, books,
    laboratory fees, room, board and a reasonable spending
    allowance. The Trustee shall incur no liability or
    obligation to any Beneficiary or any othe r pers on by an
    exercise, or nonexercise, in good faith of its discretion
    hereunder.

         c. Division of Children's Trust
              l.   Time of Division
                    The Children's Trust shall be divided into
    shares ill\Jl\ediately upon the death of the survivor of the
    Original Trustors.
              2.   Terms of Division
                 The Trustee shall divide two-thirds or all or
    the assets then re~aining in the Children's Trust, without
    making any adjustments tor payments for support and
    maintenance tor any Beneficiary as provided for under Article
    X, into equal shares with one share for each of the Trustors'
    then living children and one share for each deceased child of
    the Trustors who then has issue surviving. The sole children
    ofthe Trustors are YAACOV a.k.a. JACOB VENDRIGER and ADI
    VENDRIGER.
                 The Trustee shall divide the remaining one-third
    of tho Tru~t E~tato into a~ many ~haro~ a~ thoro aro thon
    living grandchildren . The share arising out of the existence
    of each grandchild shall be added to the share of the parent
    of such grandchild for the benefit of said parent.
                  The division shall be. on a per stirpes basis,
    except that if none of the Trustors' children survive and if
    only grandchildren survive, the division into shares shall be
    on a per oapita basis . The share ot each deceased child
    shall be divtded into proportionate smaller shares, or
    subshares, for each of such deceased child's then living
    issue. After the division ot the assets into shares and
    subshares as provided above, the shares shall be distributed
    and/or held as hereinafter provided,

         D.   Distribution and Administration of Children's Trust
             The Trustee shall distribute the respective share or
    subshare to any Beneficiary who is a child of the Trustors
    immediately upon the death of the Survivor of the Trustors .



                    REVOCABLE LIVING TRUST Page 10
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc


                        --
                        Main
                        MainDocument
                              Document Page
                                          Page325
                                                47 of
                                                   of277
                                                      557




             Trustee shall distribute the respective share or
    subshare to any Beneficiary who has attained the age of
    thirty years old. For any Beneficiary who has not attained
    the age of 30, the following procedures shall govern.
             Upon the division of the Children's Trust into
    shares and subshares and subsequent thereto; income from each
    share or subshare therefrom shall be paid not less than
    quarter-annually to or !or the benefit of the respective
    Beneficiary. In addition to income, the Trustee shall
    distribute the principal from the respective share oi
    subshare to the Beneficiary upop the Beneficiary's attaining
    or having attained the age of 30.
             In the event a Beneficiary of the Trustors dies with
    funds remaining in his or her share or subshare, then such
    funds shall be paid to his or her then living issue, or if
    there be no living issue, then to the remaining Beneficiaries
    of the Trustors, as and in the manner provided for under
    NTerms of Division."
              In tho ovont a BQnQf.ic1~ry olGCts to hava the
    Trustee continue to administer the distributed portion of the
    share or subshare, to which such Beneficiary is entitled as
    hereinbetore provided, or any part thereof, the Trustee may
    continue to administer such Beneficiary's interest as a
    separate TrUst share in accordance with the terms of Article
    X and XI hereof, subject to the continuing right of such
    Beneficiary to withdraw at any ti~e tha amounts of said
    separate Trust share. If a Beneficiary dies with funds
    remaining in his or her separate Trust share, such funds
    shall be paid as he or she designated by testamentary or
    inter vivos disposition, and ~ailin9 sane, to his er her
    estate.    Upon the termination of any share, if any assets
    are distributable to a person who is not yet entitled to
    distribution, then the distributable share of such
    Boneficiary shall at once vest in him or her, but the Trustee
    in its sole discretion, may continue to hold such
    distributable share until said Beneficiary is entitled to
    distribution, using QO much of the income and/or principal
    thereot as may be necessary in the opinion of the Trustee for
    the support of such beneficiary and paying to such
    Beneficiary the then remaining assets of his or her share
    upon his or her becoming entitled to distribution. If the
    said Beneficiary dies prior to such time as he or she would
    bG entitled to diGtribution, all the remaining assets of such
    individual's interest in the Trust share otherwise payabie to
    him or her shall be paid to the estate of such Beneficiary.




                  RBVOCA8LE LIVING TRUBT Paoe 11
Case 2:23-bk-10990-SK       Doc 391
                                 350 Filed 10/04/23
                                           09/15/23 Entered 10/04/23
                                                              09/15/23 11:54:55
                                                                       15:58:48   Desc
                            Main
                            MainDocument
                                  Document Page
                                              Page326
                                                    48 of
                                                       of277
                                                          557




         E.   Provision for Grandchildren
            If, prior to the tenaination of the Children's
   Trust, any o! the Trustors' children are deceased with issue
   surviving, then the Trustee may, in its discretion, support
   such issue of deceased children as though they were children
   of the Trustors.
         F.   Termination
              1.   No Issue surviving                      ,-
                                     ..
                   In the event that no issue of the Trustors
   ~urvive t&e Trustors' deaths, or survive the distribution of
   the Trust Estate, then and in that event all of the assets
   that would have been a part of the Trust Estate shall be
   distributed in the following •anner: any assets of the Trust
   Estate which for any reason cannot be distributed in this
   manner shall be distributed fifty percent to the otherwise
   lawful heirs free of trust and fifty percent to charitable
   facilities in Israel for the benefit of injured soldiers.
              2.   Discretionary Tenaination
                Any time that a Trust or Trust share created
   under this Agreement ha~, in the judglllent of th• Trustee, a
   value so low that the expenses of maintaining the Trust
   cannot be reasonably justified, the Trustee may, in its
   discretion, but is not required to, terrainate such Trust or
   Trust share. In case of such termination, the Trustee shall
   distribute forthwith the share so ter11inated to the primary
   Beneficiaries thereof .
              3.   Mandatory Termination
                The Trust Estate shall terminate in any and all
   aventG not later than twenty-one (21) years arter the death
   of the last surviving Beneficiary herein named who is living
   at the time of death ot the Decedent, it being the intent of
   the Trustors that this Trust Agreement shall be interpreted
   so as not to violate the Rule Against Perpetuities.   The
   Trust Estate, upon such termination, shall be distributed to
   the Beneficiaries for whom, at that time, a share or subshare
   has bean set aside, each such Beneficiary to receive his or
   her share or subshare and any accumulations thereon .
   IX.   SUPPORT AND MAINTENANCE
        lf the Trustee of any Trust hereunder deems the net
   income payable from such Trust not sufficient to support any


                     REVOCABLE LIVING TRUST Paga 12
        Case 2:23-bk-10990-SK     Doc 391
                                       350 Filed 10/04/23
                                                 09/15/23 Entered 10/04/23
                                                                    09/15/23 11:54:55
                                                                             15:58:48   Desc
                                  Main
                                  MainDocument
                                        Document Page
                                                    Page327
                                                          49 of
                                                             of277
                                                                557




.....

            Beneficiary entitled to receive suoh support pursuant to the
            terms ot this Trust Agreement, then the Trustee may, aa often
            as it deeas necessary, pay to or apply for the use and
            benefit of such Beneficiary such part of the principal of
            such Trust, up to and including the whole thereof, as the
            Trustee in its discretion believes necessary for the support
            of such Beneficiary.
                 A.   standard•
                     In exercising its discretton hereunder, the1 Trustee
            shall take into consideration tbe income, earning capacity,
            resources and other sources of receipt of the Beneficiary,
            together with any other factor which the Trustee may deem
            pertinent, including the accustomed manner of living of such
            Beneficiary, but need not require the exhaustion of personal
            resources as a condition for meking disbursements under the
            authority of this paragraph. The jud9111ent of tha Trustee as
            to the propriety and amount of all such paynents shall be
            conol.uaive.

                     Notwithstanding any provision to the contrary, the
            Trustee shall not distribute principal except within the
            standards of Internal Revenue Code 2041.
                 B.   Evidence of Need
                     The Trustee fflay, in its discretion, require as a
            condition precedent to the distribution of any Trust assets
            for support or advancement, that the BeneficiAry turnish
            evidence ot his or her financial condition, income, earning
            capacity and assets, in form and content satisfactory to the
            Trustee. The Trustee shall be entitled to rely upon the
            written certification of such Beneficiary or the guardian of
            such Beneficiary as to the nature and extent of such
            Beneficiary's needs for support, and the inadequacy of such
            Beneficiary's resources apart from the Trust. The Trustee
            shall not be required to make further inquiry as to the
            authenticity of the tacts so certified.
                 c. Preferences
                      In exercising its discretion hereunder, the Trustee
            is to consider the needs ot the survivor tor support ae the
            prilllary purpoH of- the Trusts during his or her li!eti.Jlle,
            even if the satisfaction of such needs requires invasion of
            the entire Trust Es~ate.
                     After the death of the Survivor, the support of the
            children shall be paranount to the conservation of the Truat


                           RIVOCABJ.,i' LIVING 'l'RUST Page 13
Case 2:23-bk-10990-SK    Doc 391
                              350 Filed 10/04/23
                                        09/15/23 Entered 10/04/23
                                                           09/15/23 11:54:55
                                                                    15:58:48   Desc
                         Main
                         MainDocument
                               Document Page
                                           Page328
                                                 50 of
                                                    of277
                                                       557




   Estate for the benefit ot those who will be entitled to take
   it on termination. The Trustee ehall, in exercising the
   discretion given herein for the benefit of the children or
   their issue, do so in such a manner as will encourage thrift,
   indu5try, and salt-reliance to the maximuro extent practicable
   by the respective Beneticiariea, and discourage extravagance
   or indolence on the part of any such Beneficiary.
        o.   Guardian's and conservator's Expenditures
            The Truators do not desire that the guardiarr'' or
   conservator of any Deneticiary should incur personal axpansg
   for the support of such Beneficiary. The Trustee shall
   disburse funds from such Beneficiary's Trust Estate tor the
   purpose of reimbursing such guardian or conservator for
   reasonable expenses incurred in accommodation of such
   Beneficiary.
   X,   POWERS OP TRUSTEE
        The Trustee shall have the following powers, duties and
   discretions in addition to those otherwise granted herein or
   by law, a nd except as elsewhere heroin ~pecitical ly
   restricted.
        A.   Retention
            The Trustee shall have the power to retain, without
   liability tor loss or depreciation resulting from such
   retention, the original assets and all other property
   hereafter transferred, devised or bequeathed to the Trustee,
   although such property may not be of the character prescribed
   by law or by th• terms of this instru11ent for the investment
   ot othor Truet aaeets, and, although i~ representa a large
   percentage or all of the Trust Estate, this said original
   property may accordingly be held as a permanent investment.
             The TrUstee shall have the power, with respect to
   any buainoss interest that may ~ecome a part or the Trust
   Estate, whether organized as a sole proprietorship,
   partnership, or corporation, and upon such terms tor such
   time and in such manner as it may deem advisable, to hold,
   retain and continue to operat• •uch bueinesa solely at the
   risk or the Trust -Estate and without liabil ity on tho part of
   the Tructoo for any- losaes reaultin9 therefrom; to dissolve,
   liquidate , or sell at such time and upon such tarl\Q as the
   Trustee may deem advisable; to incorporate s uch business and
   hold the stock as an asset of the Trust Estate: to use the
   general assets of the Trust for the purpose ot the business;
   to borrow money tor business purposes and pledge or encumber


                  REVOCABLE LIVING TROST Page 14
    Case 2:23-bk-10990-SK                         Doc 391
                                                       350 Filed 10/04/23
                                                                 09/15/23 Entered 10/04/23
                                                                                    09/15/23 11:54:55
                                                                                             15:58:48   Desc
                                                  Main
                                                  MainDocument
                                                        Document Page
                                                                    Page329
                                                                          51 of
                                                                             of277
                                                                                557


                                    ,   ..
,. - ..........   .   ---
                      the assets of th• business or the other assets of the Trust
                      Estate to secure the loan; to employ such officers, managers,
                      employees or agents as it ~ay deea advisable in the
                      management ot such business, including electing directors,
                      officers, or employees or the Trustee to take part in the
                      111anagement o! such business as airectors or o!ticers.
                            B.   General Property Powers
                               The Trustee shall have all such powers and is
                      authorized to do all such acts, take all such proceedings and
                      exercise all such rights and pr~vileges in the management of
                      the Trust Estate as it the absolute owner thereof, including,
                      without limiting the generality of the terms, the right to
                      manage, control, sell, convey, exchange, partition, assign,
                      divide, aubdivide, improve, or repair1 to 9rant options and
                      to sell upon deterred payments; to lease for terms within or
                      extending beyond the duration of the Trust concerned for any
                      purpose, including the exploration for and renoval ot oil,
                      gas and other minerals; to enter into coJ11111unity oil leases,
                      pooling and unitization agreements; to create restrictions,
                      easements and other servitudes1 to co~promise, arbitrate or
                      otherwise adjust clai~s in tavor of or against the Trust; to
                      institute, compromise and defend actions and proceedings at
                      the expense ot the Trust Estate; and to carry such insurance
                      as tha Trust•• may deem advisable.

                            c. Powers Regarding Securities
                               The Trustee shall have, respecting securities, all
                      the rights, powers and privileges ot an owner, including the
                      right to vote stock, give proxies, pay assessments and other
                      sums deemed by the Trustee to be neceasary for the protection
                      of the Trust Estate; to participate in voting trusts, pooling
                      agreements, foreclosures, reorganizations, consolidations,
                      mergara and liquidations, and in connection therewith, to
                      deposit eeourities with and transfer title to any protective
                      or othGr conmittGG under auoh torma aa th• Tru•t•• •ay dooffi
                      ~dvisable; to exercise or sell stock subscription or
                      conversion rights; to open an account with a brokerage firm
                      of tha choosing of the Trustee in the Trustee's nane, in it•
                      own behalf for the purpose of purchasing and selling ot all
                      kinds ot securities and authorizing such brokerage tirai to
                      act upon any orders, including margin orders, options, both
                      covered and uncovered, instructions with respect to such
                      accounts and/or the delivery of securities or money therefrom
                      and received from said Trustee; and to retain as an
                      investment any securities or other property recoivod through
                      the oxerciao ot any gt the rore9oing powers, The Trustee ls
                      turther authorized to sign, deliver and/or receive any


                                             REVOCABLE LIVING TRUST PAge 15
Case 2:23-bk-10990-SK        Doc 391
                                  350 Filed 10/04/23
                                            09/15/23 Entered 10/04/23
                                                               09/15/23 11:54:55
                                                                        15:58:48   Desc
                             Main
                             MainDocument
                                   Document Page
                                               Page330
                                                     52 of
                                                        of277
                                                           557




    doCU11ents necessary to carry out the powers contained within
    this paragraph.
        o.    Exercise Stock Options
              The Trustee is expressly authorized in the Trustee ' s
   sole discretion to exercise any option to purchase stock
   under any stock option purchase plan in which · any Decedent
   Beneficiary is a participant or may bold such option rights
   to t:.he extent that any such option rights may be exercised by
   the TrUa~•• even ~ough ~he •to~k involved is atock ol a
  corporation which may be serving as corporate Trustee f
  hereunder, regardless of the amounti of such stock or the
  percentage of the Trust Estate which may be invested in such
  stock beto~e or attar any purchase under such option.
        £.   Investlllent Powers
             1.   General
                  Th• Tru•~•• has ~he power to invest and reinvest
  principal and income, to purchase or acquire therewith every
  kind of property, real, personal or mixed, and every kind of
  investment, specifically including, but not by way of
  limitation, shares in one or more mutual funds, in any Common
  Trust FUnds administered by the Trustee, corporate
  obligations ot every kind, and stock, preterred or common,
  which persons ot prudence and discretion and intelligence
  acquire tor their own accounts.
                  The Trustee is further authorized to buy, sell
  and trade in securitioc ot a ny natura (including ahol"t: aalea)
  on margin, and for such purposes may maintain and operate
  margin accounts with brokers, and may pledge any securities
  hel d or purchased by him with such brokers as security tor
  loans and advances made to the Trustee.
             2.   Lite Insurance and Annuities
                  The Tl:'Ustee is authorized in the Trustee ' s
  discretion to maintain and/or purchase policies of life
  insurance and/or annuities on the life or for the benefit of
 · any Trust uenet1c1ar1es and to hold and pay tor the saiae as
· an investment and ~sset of the Trustee, at any ti~e and upon
  successive occasions, tha premiums to be charged against
  income or principal, as the Trustee shall determine,
              The Trustee shall have the following powers,
 duties and discretions with respect to policies of life
 insurance held as a part of the Trust Estate:


                   REVOCA~LE LIVING TRUST     Page 16
Case 2:23-bk-10990-SK    Doc 391
                              350 Filed 10/04/23
                                        09/15/23 Entered 10/04/23
                                                           09/15/23 11:54:55
                                                                    15:58:48         Desc
                         Main
                         MainDocument
                               Document Page
                                           Page331
                                                 53 of
                                                    of277
                                                       557
                                                                               ...



               . a. The Trustee may pay premiuas, asses•~•nts or
   other charge.a with respect to such polioies together with all
   other charges upon such policies or otherwise required to
   preserve them as binding contracts, but shall be under no
   duty to do so.
               b. In the event that the Trustee intends not to
  pay any premium, assessment or other charge with respect to
  any policy held by it, or otherwise intends to cancel,
  convert or substantially modify any such policy, it shall
  first give the insured, or the guardian of the person QJ! an
  insured under disability, at least fifteen (15) days' advance
  written notice of its intention to take such action.
               c. Any amounts received by the Trustee with
  respect to any policy as a dividend shall be treated as
  principal.
               d. Upon the . receipt of proof of death of any
  person whose life is insured tor the benefit of any Trust
  hereunder, or upon maturity ot any policy payable to a
  Trustee prior to the death of the insured, the Trustee shall
  collect all SUJIS payable with respect thereto and shall
  thereafter hold such SUIIIS as principal of the respective
  Trust Estate, ~~copt th~t any interest paid by the ineurer
  for a period subseqUent to aaturity shall be considered as
  incoD1e,
               e. The TrUstee may accept any paYJDents due it
  under any settlement arrangement aade before or after the
  death ot the insured and may exercise any rights available to
  it under such arrangement .
               f . The Trustee may compromise, arbitrate or
  otherwise adju&t claims upon any policies, and may, but shall
  not be required to exercise any settlement option• available
  under such policies. Tho receipt of the Trustee to the
  insurer shall be a full discharge and the insurer is not
  required to see to the application of the proceeds.
       F.   Determination of Income and Principal
           The Trustee shall have the power and the authority
  to determine income and principal, and how receipts and
  disbur•ements, including the  f•••  of the Trustee, ahall be
  credited, cnarqad or apportioned oo between ineo•e and
  principal, however, all such detel'111ination shall be maae in
  accordance with tha law of the state of the situs of the
  Trust and the decision and the accounts of tha Trustee in


                 REVOCABLE LIVING TRUST   Page 17
Case 2:23-bk-10990-SK      Doc 391
                                350 Filed 10/04/23
                                          09/15/23 Entered 10/04/23
                                                             09/15/23 11:54:55
                                                                      15:58:48   Desc
                           Main
                           MainDocument
                                 Document Page
                                             Page332
                                                   54 of
                                                      of277
                                                         557




accordance witll said provisions shall be binding on all
persons in int~r,es~.
          Notwithstanding the foregoing, the Trustee shall :
 (l) allocate to principal all dividends or other payments
made by any corporation or mutual investment company that are
designated by the company as a distribution of capital gain~;
(2) where a premium has been paid or a discount ~eceived in
connection with the purchase or a bond, amortize ouch pramiu~
or discount by making an appropriate charge or credit to
income as the case may be; and (3) charge income from time to
time with a reasonable reserve for (a) depreciation of al).
incoae-producing depreciable real ·or personal property, and
capital improvements and extraordinary repairs on inco~e-
producing property; (b) depletion of all depletable natural
resources, and (c) all intangible property having a li~ited
economic life. such allocations and charges need not be
made, however, it written consents are obtained from all
income Beneficiaries and remainder111en, vested or contingent,
living and competent to act .
     G.   Authority to Borrow and Encumber
         Trustee shall have the power to borrow money for any
Trust purpose upon such terms and conditions as the Trustee
may deem proper, and to obligate the Trust Estate for
repayment and to encumber the Trust Estate or any of its
property by mortgage, deed of trust , pledge or otherwise,
using such procedure to consumate the transaction as the
Tru•t•• •ay deea adviaablo .
          In addition to the power to encumber property tor a
loan bring made to the Trust, the Trustee is specifically
authorized and e~powered to obligate, hypothecate and
encumber the estate by mortgage, deed of trust, pledge or
otherwise, or whatever form the Trustee deems appropriate, or
to act as a third party guarantor to guarantee private.
borrowings ot the Trustors or either of them during their
joint lifetime. Upon the death of the decedent, such
guarantee may only be made from the survivor's Trust .
    H.    Loans
          1,   To Trust
             The Trustee shall have the power t o, in the
Trustee'a discretion, advance funds to any Trust herein
created !or any Trust purpose, such advances with interest at
current rates to be a first lien on and be repaid out of
principal and as an expense of the Trust; and to reimburse


                  REVOCABLE LIVING TRUST Page 18
Case 2:23-bk-10990-SK         Doc 391
                                   350 Filed 10/04/23
                                             09/15/23 Entered 10/04/23
                                                                09/15/23 11:54:55
                                                                         15:58:48              Desc
                              Main
                              MainDocument
                                    Document Page
                                                Page333
                                                      55 of
                                                         of277
                                                            557

                     ____-,--
                                         _,.;...,._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ "<;:




~
  the Trustee from P,rincipal or accuaulated income for any loss
  p_;: exp_i~n.s .e··'l~~~r;red ·bY' reason ot the Trustee's ownership or
  ~~1~ing '6f· ·anf ·property in this Trust.
    ~·-
  ;.· .. ·.•....· ·.'- ..
                       ~ -~ ·

               ·2.   To Benefici~ries
                  The Trustee may, at any time and upon successive
  occasions, loan such sUDs to the Beneficiaries· or any of them
  as the 'l'rus·tee shall deem advisable and in the best interest
  of the Beneficiaries, such loan or loans, if made, to bear
  interest at the prevailing rate and to be unsecured or
  ••cured, aa th• Trustee may, in the Trustee's discretiori,
  direct. Provided, however, that •·the TruBtee sholl have w.i.de
  discretion in the making or denial of any such loan, and the
  Trustee's judgment in the aatter shall be conclusive and
  binding on any Beneficiary requesting any such loan.
          I,   Distributions to or tor Minor or Incompetent
           It at any time any Beneficiary entitled to receive
  income and/or principal hereunder shall be a minor or an
  incompetent or a person whoa the Trustee deems to b• unable,
  wisely or properly, to handle !undo it pQid to hi~ or her
  directly, the TrUstee may make any such payments, in tbe
  Truatee's discretion, in any one or more, or any combination,
  of the following ways:
               1.    Directly to such Beneficiary, or
           2. To the natural guardian or the legally appointed
  guardian, conservator or other fiduciary of the person or
  estate of such Beneficiary, or
               J.    To any poruon or organization !urnishing support
  for such Beneficiary, or
               4.    By the Trustee retaining the principal and
  uakinq expenditures directly tor the support of aueh
  Beneficiary.
             The Trust6e shall not be required to sae to the
 application of any funds so paid or applied, and the receipt
 of such pa~ee if disbursed for such purpose in the best
 jud!Jlllent o~ the Truatea shall be !Ull acquittance to the
 Trustee. The decisi~n ot th• Trustee a• to direct paY111•nts
 or application of tunds in the manner herein prescribed shall
 be conclusive ond binding upon all parties in interest if
 made in good faith. The Trustee is requested to make all
 such disbursements in a way calculated to dispense with the
 necessity of quardianship proceedings.


                      REVOCABLE LIVING TRUST Page 19
Case 2:23-bk-10990-SK      Doc 391
                                350 Filed 10/04/23
                                          09/15/23 Entered 10/04/23
                                                             09/15/23 11:54:55
                                                                      15:58:48   Desc
                           Main
                           MainDocument
                                 Document Page
                                             Page334
                                                   56 of
                                                      of277
                                                         557



                ··'""';




           The Truatae may, in its aole and absolute
  discretion, require such reports and take such steps as it
  may deem requisite to assure and enforce the due application
  of such money to the purposes aforesaid.
       J.   Disbursement for FUneral and Last Illness
           The Tru•t•• ~ay pay for the last illness, funeral
  and burial expenses of either Trustor or of any other
  Beneficiary of this Trust unless adequate provision shl1,ll
  have been aade therefor through his or her Probate Estate or
  otherwise.
       K.   Notification of Trustee
           Until the Trustee shall receive written notice of
  any birth, marriage, death, or other event upon which the
  right to paY1Dent from this Trust may depend, the Trustee
  shall incur no liability tor disbursements or distributions
  made or omitted in good faith.
       L.   Division of Trusts
            In making the distributions to any Trust or share
  created under this Agreement, tho judglllent of the Trustee
  concerning the valuation of a•s•t• distributed ehall h•
  binding and conclusive upon all Beneficiaries. The Trustee
  may distribute the shares to the various Trusts or to
  Beneficiaries by making distribution in cash, or in kind, or
  partly in cash and partly in kind, or in undivided
  interests, i~ such manner as the Trustea, in its sole and
  absolute discretion, deems advisable. The Trustee may sell
  such profertr as it deems necessary to make any such division
  or distribution. The Trustee shall not be required to make
  physical division of the Trust property, except when
  necessary for the purposes of diatribution, but may, in the
  Trustee's discretion, maintain and keep the assets o! any
  separate trusts in one or more consolidated trust funds, and
  as to each consolidated trust tund, the division into various
  shares comprising such trust fund need to be made only upon
  the Trustee's books oC account, in which each separate trust
  shall be allotted its proportional share of the principal and
  inco~e of the consolidated fund and shall be charge~ with its
  proportionate part ot expenses th•reot .
       M.   Provision for Taxes
           Upon the death of either Trustor or of any other
  Beneficiary, any estate, inheritance, succession or other


                    REVOCABLE LIVING TRUST Paga 20
Case 2:23-bk-10990-SK            Doc 391
                                      350 Filed 10/04/23
                                                09/15/23 Entered 10/04/23
                                                                   09/15/23 11:54:55
                                                                            15:58:48   Desc
                                 Main
                                 MainDocument
                                       Document Page
                                                   Page335
                                                         57 of
                                                            of277
                                                               557


                        _.,,..
                                    -
            ... . ,-•
              ~




    death taxes, .duties, charges or assessments, together with
    interest, penalties costs, Trustee's compensation and
    attorney's tees which shall become dua by reason of the Trust
    Esuste or any interest therein being includable in the Estate
   ot either Truster, or of such other Beneficiary, for such tax
    purposes, may l>e paid from the TrUst Estate by the Trustee,
   in its discretion, unless other adequate provision shall have
   been made therefore. Any such payments shall· be charged to
   the principal of the Tru•t Estate. The 'l'rUstee aay make such
   P•Yllt•nt• directly, or to the EMecutor or other fiduciary of
   the Trustors or such other Beneficiary, and may rely UP.On the
   written • tatement of such fiduciary as to the amount a~d
   propriety ot such taxes, interest; penalties and other costs.
   The decision ot the Trustee as to any such paYJllents shall be
   conclusive·and binding upon all parties interested in this
   Trust or such Estate. lf the Trust Estate shall be then
   insufficient or if it be then terminated the Trustee shall be
   reillbursed by the persons to whon the Trust Estate shall have
   been distributed, to the extent of tha amount received by
   each distributee. The Trustee, before making any
   distribution or either income or principal, may accordingly
   require a refunding agreement or may withhold distribution
   pending detet'lllination or release of any tax lien .
           The Trustee is authorized to acquire by purchase,
  exchange or otherwise, property, real, personal or mixed. ,
  frqm the Executor or Administrator of the Estate of any
  Beneficiary of this Trust, even though such property may not
  be of a character prescribed by law or by the terms of the
  Trust instrument tor the investment of Trust tunda, and
  although the acquisition of such property may rosult in a
  large percentage or all of the Trust Estate being invested in
  one class of property. The Trustee is expressly authorizad
  to retain the property so acquired so long as it shall deea
  this advisable and to make secured or unsecured loans to the
  Executor or Administrator of such Estate upon such ter111s as
  the Trustee shall deem advisable, such procedures being
  authorized to the extant that they do not adversely affect or
  diminish the marital deduction available to the Estate.         Such
  purchases or loans shall ba without liability to tha '19rustee
  for loss resulting to th• Trust E•tate therefrom. In any
  dealinc:,~ with tha fiduci~rv of tha K~t~to . tha Tructoo •~v
  r•ly upon the statement of such fiduciary as to all material
  tacts.
           Any portion of the Trust Es tate which was received
  from any qualified plan as described in section 2039 ot the
  Internal Revenue Code of 1954, as amended, or any subsequent
  like or sillilar law, may not be used tor any purpose
  described in this Article, which would result in inclusion of


                    REVOCABLE LIVING TRUST Page 21
Case 2:23-bk-10990-SK     Doc 391
                               350 Filed 10/04/23
                                         09/15/23 Entered 10/04/23
                                                            09/15/23 11:54:55
                                                                     15:58:48    Desc
                          Main
                          MainDocument
                                Document Page
                                            Page336
                                                  58 of
                                                     of277
                                                        557


         --   ----· ·--·-- - · - - ·-          ,.   ..   - - - -- -- -· ·-- --

        aaid funds in the taxable Federal Estate of the Truster so
        long as other sources of funds are available.
                 If the Trustee considers that any distribution from
        a Trust hereunder other than pureuant to a pdwer.to withdraw
        or appoint is a taxable diatribution subject to a generation-
        skipping tax payable by the distribute•, the Trustee shall
        augment the distribution by an amount which- the Trustee
        estimates to be auffiqient to pay the tax and shall charge
        the same against the Trust to which the tax relates. If the
        Trustee conaiders that any termination of an interest in or
        power over Trust property hereunder is a taxable termination
        subject to a generation-skipping tax, the Trustee shall pay
        the tax from tho ~t'Uat prope~y to vhioh tho taK ralataa,
        without adjustment of the relative interests of the
        Beneficiaries. If the tax is i•posed in part by reason of
        Trust property hereunder and in part by reason of other
        property, the Trustee shall pay that portion thereof which
        the value of the Trust property bears to the total property
        taxed, taking into consideration deductions, exemptions, and
        other factors which the Trustee deeas pertinent.
              N.   Payment of Trust Expensee
                   The Trustee shall hav• i:ha au~ho~i~y ~o pay all
        costs, charges and expenses of the Trust Bstate, together
        with reasonable co~pensation for the Trustee's services
        hereunder, including servic•• in whole or partial
        distribution ot the Trust Estate; and to employ and
        compensate from the Trust Estate such agents, assistants and
        attorneys as in the Trustee's judgment shall be necessary to
        protect and manage the Trust property.
              o.   Estate Settlement ·
                 Tne Trustee ls hereby relf'leeted to direct any legal
        questions or requirements concerning settlement of this Trust
        Estate to Stewart Levin, tbe TrUstor's legal oouneel.
              P.   Right of Trustee to Probate TrUst Assets
                Notwithstanding any other provision• of this Trust
       Agreement, the Trustee may, in its sole discretion, direct
       the Executor of the Will of either or both of the Trustors,
       to aubject up to and including all Truat assets to the
       jurisdiction o~ t:ha Probate Court ae if no living trancforc
       had been made to the Tru~t.




                        REVOCABLE LIVING TRUST           Page 22
Case 2:23-bk-10990-SK     Doc 391
                               350 Filed 10/04/23
                                         09/15/23 Entered 10/04/23
                                                            09/15/23 11:54:55
                                                                     15:58:48    Desc
                          Main
                          MainDocument
                                Document Page
                                            Page337
                                                  59 of
                                                     of277
                                                        557




     · Q,    Ppv.er ot Cotrustees To Act Independently
           No~ithatanding any other provision to the contrary,
  the Truster~ specifically authorize only either of the
  original cotrustees during their joint lives and while
  serving as Cotrustees, to act independently of the other and
  have the authority to perform all powers and acts as granted
  under this Declaration of Trust, except as affects an
  interest in real property, by example, but not limited
  thereto, to sell, transfer, assign, mortgage, hypothecata or
  otherwise encrumber the real property of the Trust Estat1,
  which will necessitate the concurrence of both Original
  Cotrustees as long as both are al-ive.
             Noewithstanding any other provision to the contrary,
  the TrUstors specifically do not authorize any Successor
  Cotrustaes during their joint lives and while serving as
  cotrustees, to act independently of the other with respect to
  parfot"Jlanca of any and all powore and acts as granted under
  tnia Deciaration or Trust . ·
       R.   CoWDence or De!end Litigation
          The Trustee may commence or defend such litigation
 with respect to the Trust or any property of the Trust E~tate
 as the Trustee may deem advisable at the expense o! the
 Trust.
       s.   Compromise Claims
          The Trustee may compromise or otherwise adjust any
 claims or litigation against or in favor of the Trust.
       T.   Adjustment !or Tax Consequences
          The Trustee shall have the power, in the Trustee's                ·I
 absolute discretion, to take any action and to make any
 election to minimize the tax liabilities or this Trust and
 its Beneticiari•• and to allocate the benefits among the
 various Benefieiaries and to make ad~ustmants in the riqhts
 o~ any Bana~ioiarie• or betveen the income and principal
 accounts, to compensate tor the consequence o! any tax
 election or any investment or adlftini•trative decision that
 ~e Trustee believe~ has had the effect of directly or
 indirectly preferring. one Beneficiary or group of
 Beneficiaries over others.




                 REVOCABLE LIVING TRUST     Page 23
Case 2:23-bk-10990-SK       Doc 391
                                 350 Filed
                                         ,, 10/04/23
                                            09/15/23 Entered 10/04/23
                                                               09/15/23 11:54:55
                                                                        15:58:48   Desc
                            Main
                            MainDocument
                                  Document PagePage338
                                                     60 of
                                                        of277
                                                           557




         u.   Budget Income and Expenses
              T~e Trustee shall have the power to budget the
   esti)llated annual income and expenses or the Trust or Trust
   share in such aanner as to equalize as far as possible
   periodic income payments to Benetiaiaries .
         v.   Interest
              The Trustee shall not pay interest on any 1
   distributions required to be made in the Trust Agreement.
   XI.   REPLACEMEN'l! OF TRUSTEE
        During the time that either o! the original Trustees are
  acting as a Trustee, his or her capacity to continua to so
  function as a Trustee 111ay be ter111inated by the written
  concurrence of the medical physician who ia overseeing the
  general health of that Trustee and the rel'll4ining Original
  Cotrustee or the successor Trustee who would next be
  nominated and appointed to serve as Trustee hereunder. In
  the event that these two designated parties are in agreement,
  that one ot the Original Trustees or both of th. . should be
  removed as a Trustee, they should deliver their
  recommendation to the successor Trustee who would next be
  nominated and appointed to serve as Trustee hereunder, who
  shall have the authority to then aaawaa full responsibility
  as Trustee ot this Trust. In the event that said successor
  Trustee is unavailable then Alternate Trustee named
  hereinabove shall provide all !unction• of said successor
  Trustee hereunder and shall serve as Trustee.
  XlI. GENERAL PROVISIONS
       The administration of any Trust provided tor herein
  shall be subject to the !allowing general provisions.
         A.   supplementary Definitions
              l.   Children and Issue
               The words "children" and "issue" as used herein
  shall include natural children and issue of children, and not
  legally adopted children and the lawful i••ue of legally
  adopted children. The word "living" ahall include unborn
  persona in the persons in the period of gestation.




                    REVOCABLE LIVING TRUST   Page 24
Case 2:23-bk-10990-SK        Doc 391
                                  350 Filed 10/04/23
                                            09/15/23 Entered 10/04/23
                                                               09/15/23 11:54:55
                                                                        15:58:48   Desc
                             Main
                             MainDocument
                                   Document Page
                                               Page339
                                                     61 of
                                                        of277
                                                           557
                                        ,,




              2. 1 support
                I


                    The term "support" as used herein ' shall include
   proper support, maintenance, medical care, and education,
   including private grade, secondary or high schools, private
   or public institutions of higher learning at both
   undergraduate and graduate levels, . professional education,
   vocational and trade schools, depending upon the abilities
   an~ IIJl\bitions ot tho respective Bene~iciary .
        B.   Annual Accounting
            The Trustee shall rendet"an annual accounting to the
   Beneficiary or Beneficiaries of the Trust not more than one
   hundred twenty (120) days following the close of the fiscal
   year of the Trust.
        C.   Spendthrift Clause
           Tho interacts of tho Bonoficiarios in the principal
  and/or income of the Trust shall not be subject to the claim
  or claims of their creditors or others, nor to legal process,
  and may not be voluntarily or involuntarily alienated or
  encumbered.
        o. Partial Invalidity
            It any provision ot thia instrument is void, invalid
  or unenforceable, the remaining provisions shall nevertheless
  be valid and carried into affect. If any Trust herein
  establishe d exceeds the longest per111iaaible period, it shall
  persist in its period tor the longest period permissible,
  then terlllinate.
       E.    Headings

           The headings in this instrument are for convenience
  only and are not part ot the text.
       F.    Situs of Trust
             The situs ot the Trust Estate shall be the state of
   California. The situs of the Trust Estate may be transferred
 . from California to ·such other jurisdiction as the majority of
   the income Beneficiaries may designate, however, only upon
   written notice given to the Trustee.




                    REVOCABLE LIVING TRUST Page 25
    Case 2:23-bk-10990-SK           Doc 391
                                         350 Filed 10/04/23
                                                   09/15/23 Entered 10/04/23
                                                                      09/15/23 11:54:55
                                                                               15:58:48   Desc
                      .
                     ~-,,::;:_
                                    Main
                                        ~ - _ __
                                    MainDocument
                                          Document Page
                                                      Page340
                                                            62 of
                                                               of277
                                                                  557




~                         ·
            . _G.    ~iDultaneous Death
         ,         ·I t there be no sufficient evidence that the Trustors
         died .otherwise than simultaneously, then for the purposes of
         this Agreement and the tax effect of this Agreement, it shall
         be presumed that the Decedent shall be the Husband and the
         Survivor ahall l:>e the Wite.
              H.     counterparts
                 The Agreement may be executed in any nu~er,ot
        counterparts and each shall constitute an original ot one and
        the same instrwaent.
              I.    ~pplication to Probate Court
                 Xf any diaputea ariao as to interpretation ot this
        Agreement, or there is need to obtain Court approval of any
        accounting or any interpretation in regard to this Agreement,
        the Trustors direct the. Trustee to make application to the
        Probate Court, it being the intent of the Trustors that the
        Probate Court shall not assuma continuing jurisdiction,
        except as may be required by law.
             J.     Number and Gender
                   As used in this Trust Agreement, the masculine,
        feminine and neuter gender, and the plural and sinaular
        nulllber shall each be deemed to include the others when the
        context so indicates.
             K.     Trust Shares or Subshares
                 For purposes ot simplicity, the Trustors have used
        in this Trust Agre•ment the terms "shares" and "subshares. 11
        The Trustors intend, however, that each share or subshare
        shall be a separate Trust.
             L.     No Contest Provi~ion
                 It any beneficiary in any manner, directly or
        indirectly, contests this instrument or any ot its
       provisions, any share or intereat in tha trust given to that
       contesting beneficiary under this instrument ia revoked and
       ~hall be diposed of aa if that contesting beneficiary had
       predeceased tha Truators.
                This is to witness -that We, the undersigned
       Trustors, recpiaotivoly, have road ~ho p~oviaiona 0£ i:hi•
       Trust Agreement and understand the provisions therein, and it



                              REVOCABLE LIVING TRUST   Paga 26
Case 2:23-bk-10990-SK       Doc 391
                                 350 Filed 10/04/23
                                           09/15/23 Entered 10/04/23
                                                              09/15/23 11:54:55
                                                                       15:58:48   Desc
                            Main
                            MainDocument
                                  Document Page
                                              Page341
                                                    63 of
                                                       of277
                                                          557




     is .our- ~n~ent to enter into this Trust Agreement in
    ·:~b~\;~~an~ with Col!llllunity Property law, allowing a Husband
    ~nd Wife to enter into a contract with each other regarding
    ooiolunity property.

             IN WITNESS WHEREOF, the provisions.of this
    Declaration Of 'lrwst shall bind OSCAR WENDRIGER and TANIA
    WENDRIGBR as Trustors, and OSCAR WENDRIGER and TANIA
    WENDRIGBR as cotrustees; successor Trustees assuming the role
    of Trustee hereunder, and the Beneficiaries of this TrUst, as
    well aa their successors and assigns.
            ~ t e d at /..~;       ~.A ·· , California,
    this   '+   day ot   IAA try      , 1990.
    TRUSTORS:


    OSCAR WENDRIGER


     r;,;. tk,~~
    TANIA WENDRIG
                                         COTRUSTEES:


                                         OSCAR WENDRIGER

                                          ku,,;_ /J,,,,.Lr
                                        TANIA WENDRIG




                    REVOCABLE LIVING TRUST Page 27
Case 2:23-bk-10990-SK          Doc 391
                                    350 Filed 10/04/23
                                              09/15/23 Entered 10/04/23
                                                                 09/15/23 11:54:55
                                                                          15:58:48   Desc
                               Main
                               MainDocument
                                     Document Page
                                                 Page342
                                                       64 of
                                                          of277
                                                             557




  . STATE OF CA~IPORNIA  )
                         )
   COUNTY OF U>S ANGELES )          /U
        On        -r-'11J·'I;, Y-        , 1990, before me, the
   undersigned, a Not ry Public In and for aaid County and
   State, personally appeared OSCAR WENDRIGER and TANIA
   WENDRIGER, personally known to me or proved to 11e on the
   basis ot satisfactory evidence to be the person(s) whose
   na111e(s) is/are subacri))ed to the within instrument and .
   acknowledged that he/she/they executed the same.~
                                                          :7
  Y2
     ~~<
        WITNESS   my hand and ofticial .~eal, this

                  ,1990.                 ~
                                          ~1~-q
                                                      J~~      day of



                                          said County and State




                   REVOCABLB LIVING TRUST       Pago 28
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page343
                                                65 of
                                                   of277
                                                      557




       EXHIBIT B
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page344
                                                66 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page345
                                                67 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page346
                                                68 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page347
                                                69 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page348
                                                70 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page349
                                                71 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page350
                                                72 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page351
                                                73 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page352
                                                74 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page353
                                                75 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page354
                                                76 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page355
                                                77 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page356
                                                78 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page357
                                                79 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page358
                                                80 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page359
                                                81 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page360
                                                82 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page361
                                                83 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page362
                                                84 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page363
                                                85 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page364
                                                86 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page365
                                                87 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page366
                                                88 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page367
                                                89 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page368
                                                90 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page369
                                                91 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page370
                                                92 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page371
                                                93 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page372
                                                94 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page373
                                                95 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page374
                                                96 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page375
                                                97 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page376
                                                98 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                             350 Filed 10/04/23
                                       09/15/23 Entered 10/04/23
                                                          09/15/23 11:54:55
                                                                   15:58:48   Desc
                        Main
                        MainDocument
                              Document Page
                                          Page377
                                                99 of
                                                   of277
                                                      557
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 378
                                              100 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 379
                                              101 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 380
                                              102 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 381
                                              103 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 382
                                              104 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 383
                                              105 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 384
                                              106 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 385
                                              107 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 386
                                              108 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 387
                                              109 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 388
                                              110 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 389
                                              111 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 390
                                              112 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 391
                                              113 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 392
                                              114 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 393
                                              115 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 394
                                              116 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 395
                                              117 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 396
                                              118 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 397
                                              119 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 398
                                              120 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 399
                                              121 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 400
                                              122 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 401
                                              123 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 402
                                              124 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 403
                                              125 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 404
                                              126 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 405
                                              127 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 406
                                              128 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 407
                                              129 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 408
                                              130 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 409
                                              131 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 410
                                              132 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 411
                                              133 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 412
                                              134 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 413
                                              135 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 414
                                              136 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 415
                                              137 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 416
                                              138 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 417
                                              139 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 418
                                              140 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 419
                                              141 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 420
                                              142 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 421
                                              143 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 422
                                              144 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 423
                                              145 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 424
                                              146 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 425
                                              147 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 426
                                              148 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 427
                                              149 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 428
                                              150 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 429
                                              151 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 430
                                              152 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 431
                                              153 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 432
                                              154 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 433
                                              155 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 434
                                              156 of 557
                                                     277




       EXHIBIT C
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/10/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/10/23
                                                          09/15/2313:02:20
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage157
                                               435
                                                 1 of
                                                   of42
                                                      277
                                                      557



   1   ROBERT P. GOE (State Bar No. 137019
       rgoe@goeforlaw.com
   2   REEM J. BELLO (State Bar No. 198840)
       rbello@goeforlaw.com
   3   GOE FORSYTHE & HODGES LLP
       17701 Cowan Avenue, Suite 210, Bldg. D
   4   Irvine, CA 92614
       Telephone: (949) 798-2460
   5   Facsimile: (949) 955-9437
   6   BRIAN A. PROCEL (State Bar No. 218657)
       brian@procel-law.com
   7   MARTIN H. PRITIKIN (State Bar No. 210845)
       marty@procel-law.com
   8   PROCEL LAW, PC
       401 Wilshire Boulevard, 12th Floor
   9   Santa Monica, California 90401
       Telephone: (424) 788-4538
 10
       Attorneys for Judgment Creditors and Plaintiffs
 11    Erica and Joseph Vago
 12                                UNITED STATES BANKRUPTCY COURT
 13                                CENTRAL DISTRICT OF CALIFORNIA
 14                                      LOS ANGELES DIVISION

 15
       In re                                                 Case No. 2:23-bk-10990-SK
 16
       LESLIE KLEIN,                                         Chapter 11
 17
                     Debtor.                                 Adv. Case No.
 18
 19                                                          COMPLAINT TO DETERMINE THE
       ERICA VAGO and JOSEPH VAGO,                           NONDISCHARGEABILITY OF CERTAIN
 20
                                                             DEBTS OWED BY DEBTOR LESLIE
                     Plaintiffs,
 21                                                          KLEIN TO ERICA AND JOSEPH VAGO
               vs.                                           PURSUANT TO 11 U.S.C. § 523 AND TO
 22                                                          DENY DISCHARGE PURSUANT TO
       LESLIE KLEIN and DOES 1 through 10,                   SECTION 727(A)(12)
 23
                     Defendants.
 24
 25
 26

 27
 28

                                                         1
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/10/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/10/23
                                                          09/15/2313:02:20
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage158
                                               436
                                                 2 of
                                                   of42
                                                      277
                                                      557



   1          Plaintiffs Erica (“Erica”) and Joseph Vago (“Joseph”) (collectively, the “Vagos”), allege as
   2   follows on personal knowledge:
   3                                           Nature of the Case
   4          1.      Defendant and Debtor Leslie Klein (“Defendant” or “Debtor”) stole more than $8
   5   million from Erica in a complicated life insurance scam.
   6          2.      Defendant was the Vagos’ friend for more than 40 years. Defendant preyed on the
   7   Vagos during a time of vulnerability and desperation. Defendant convinced the Vagos to entrust
   8   him with Erica’s $15 million inheritance. Defendant claimed he would act as the Vagos’ lawyer,
   9   accountant and investment adviser.
 10           3.      In truth, Defendant is a con man who systematically embezzled the Vagos’ money
 11    and lied to them every step of the way. Defendant created false financial statements. Defendant
 12    misrepresented the nature of the Vagos’ “investments.” Defendant talked in circles and provided
 13    documents that were designed to confuse. Defendant sold insurance policies without telling the
 14    Vagos. Defendant fabricated meetings that never happened. Defendant made himself the trustee
 15    over life insurance trusts that purportedly held the Vagos’ money.
 16           4.      In the end, Erica’s money simply vanished. Defendant forced the Vagos to take
 17    their case to trial. Defendant attempted to derail the litigation at every possible moment.
 18    Defendant refused to participate in discovery. The trial court sanctioned Defendant on multiple
 19    occasions. At trial, Defendant—who was a CPA for decades—could not account for what
 20    happened to $8 million in Erica’s inheritance. On cross-examination, Defendant admitted that he
 21    had no intention of ever giving Erica a return on her money. This was a scam from start to finish.
 22           5.      The jury ultimately returned a verdict holding Defendant liable for intentional
 23    fraud, fraudulent concealment, breach of fiduciary duty and elder abuse. The jury awarded more
 24    than $8 million in punitive damages. And the trial court entered judgment in the amount of $24.3
 25    million.
 26           6.      This debt is not dischargeable in bankruptcy. The Vagos’ judgment emanates from
 27    a widespread, deliberate and calculated fraud on the part of Defendant.
 28

                                                         2
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/10/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/10/23
                                                          09/15/2313:02:20
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage159
                                               437
                                                 3 of
                                                   of42
                                                      277
                                                      557



   1                                         Jurisdiction and Venue
   2           7.     On February 22, 2023 (the “Petition Date”), Defendant filed a voluntary Chapter 11
   3   bankruptcy petition in the United States Bankruptcy Court, Central District of California, Los
   4   Angeles Division.
   5           8.     This action is a civil proceeding arising in the above-captioned chapter 11
   6   bankruptcy case, which is now pending in this judicial district, and arising under, and arising in
   7   and related to title 11 of the United States Code.
   8           9.     This Court has jurisdiction pursuant to 28 U.S.C. § 1334(b) and 28 U.S.C. §
   9   157(b)(2)(J) to hear and determine this proceeding and to enter an appropriate final order and
 10    judgment.
 11            10.    This matter is a core proceeding pursuant to 28 U.S.C. § 157.
 12            11.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.
 13                                                 The Parties
 14            12.    The Vagos are judgment creditors in the above-captioned Chapter 11 bankruptcy
 15    case.
 16            13.    Defendant is the debtor in the above-captioned Chapter 11 bankruptcy case.
 17                                            General Allegations
 18            A.     The Friendship
 19            14.    Joseph first met Defendant in 1970. They are both Orthodox Jews and they were
 20    members of the same temple.
 21            15.    Over the years, the Vagos and Defendant interacted at family and religious events,
 22    including birthdays, holidays, shabbat dinners, bar mitzvahs, and weddings. Defendant and the
 23    Vagos were friends.
 24            B.     Legal Services
 25            16.    In June 2012, Erica’s uncle died. In October 2012, Erica’s brother died. A few
 26    months later, in July 2013, Erica’s mother died. Erica and Joseph had to deal with three lost loved
 27    ones in short succession.
 28

                                                            3
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/10/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/10/23
                                                          09/15/2313:02:20
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage160
                                               438
                                                 4 of
                                                   of42
                                                      277
                                                      557



   1          17.     Erica’s brother, Robert Schweitzer (“Schweitzer”), died on October 3, 2012.
   2   Schweitzer willed the bulk of his estate to Erica. Schweitzer’s estate included roughly $18 million
   3   in a foreign bank account.
   4          18.     A few days following Schweitzer’s death, the Vagos were at their home mourning
   5   the loss of Schweitzer. Defendant went to the Vagos to pay his respects. At that time, Defendant
   6   also offered his services as a lawyer and accountant. Defendant said he could handle any issues
   7   that might come up with Schweitzer’s estate. The Vagos ultimately agreed to retain their longtime
   8   friend. The Vagos and Defendant arranged to meet the following week.
   9          C.      The Life Insurance Policies
 10           19.     About a week later, the Vagos and Defendant met to discuss Schweitzer’s estate.
 11    Erica learned before the meeting that Schweitzer had left her more than $18 million, located in a
 12    foreign bank account. The Vagos did not know how to handle the will, probate, inheritance,
 13    foreign bank accounts, and estate taxes. At the meeting, Erica told Defendant about the
 14    inheritance.
 15           20.     Defendant said this issue was his “specialty.” Defendant told Erica that he was a
 16    jack-of-all-trades—he was a lawyer, CPA, and financial adviser. Defendant told Erica he could
 17    deal with the will. Defendant told Erica he could prepare the estate tax returns. Defendant told
 18    Erica he could figure out the best way to repatriate the money from the foreign bank account.
 19    Defendant told Erica he could even set up investments for the money once the Vagos received it.
 20           21.     The Vagos agreed to let Defendant guide them through this unfamiliar territory.
 21    Erica wrote Defendant a $7,000 check that day for the legal services he promised to provide
 22    through his law firm Leslie Klein & Associates (“LK&A”).
 23           22.     Defendant also recommended that the Vagos invest the inheritance in life insurance
 24    policies. Defendant explained the safety and benefits of this strategy. Defendant said that each
 25    investment would garner 10 to 12% interest each year, plus a premium on the principal in some
 26    cases, all to be paid when the Vagos cashed out. And Defendant emphasized how simple cashing
 27    out would be. Defendant advised that investments in these policies were “just like cash.”
 28    Defendant promised the Vagos they could “sell them for cash any time [they] wanted.”

                                                        4
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/10/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/10/23
                                                          09/15/2313:02:20
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage161
                                               439
                                                 5 of
                                                   of42
                                                      277
                                                      557



   1          23.     Defendant added that the best way to effect the transaction would be to wire the
   2   money to the LK&A client trust account. Defendant would then invest the money from the
   3   LK&A client trust account into life insurance policies. When the Vagos mentioned they wanted to
   4   donate substantial sums to charity, Defendant suggested they wire the money to the EKLK
   5   Foundation, which Defendant set up and controlled. Defendant said the EKLK Foundation would
   6   then distribute funds to charities the Vagos chose.
   7          24.     Finally, Defendant said that if the Vagos wanted cash from Erica’s inheritance for
   8   themselves, they should ask him for it. He would write them a check from the LK&A client trust
   9   account.
 10           25.     Defendant reassured the Vagos that the strategy was sound. Defendant said he
 11    performed the same transactions for “all my clients” as well as his family. Defendant told the
 12    Vagos that he invested his own money in the life insurance policies. Defendant added that
 13    prominent tax attorneys and accountants “in Century City” confirmed to him that this was a safe
 14    and proper strategy. Defendant claimed to have invested in life insurance policies for several
 15    prominent members of the Jewish community.
 16           D.      The Scam
 17           26.     Over the next four years, Erica arranged more than $15 million in wire transfers
 18    from the foreign bank account holding her inheritance. Erica made each transfer at Defendant’s
 19    direction and to accounts Defendant controlled.
 20           27.     About $12.4 million went to the LK&A client trust account, and the rest went to
 21    Defendant’s EKLK Foundation.
 22           28.     As the money came in, Defendant represented to the Vagos that he was executing
 23    the investment strategy he had convinced them to follow. Defendant told the Vagos he was
 24    investing much of Erica’s inheritance in life insurance policies.
 25           29.     The life insurance “investments” were not really investments; they were non-
 26    recourse loans to irrevocable life insurance trusts. Each life insurance trust purportedly contained
 27    a life insurance policy or policies—on the life of a complete stranger to the Vagos—which served
 28    as the sole security for the Vagos’ loan. The principal and interest on each loan were not due until

                                                         5
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/10/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/10/23
                                                          09/15/2313:02:20
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage162
                                               440
                                                 6 of
                                                   of42
                                                      277
                                                      557



   1   the death of the policyholder. For Erica and Joseph—who were respectively 59 and 61 when
   2   Schweitzer passed—this term rendered the loans almost valueless. They did not know when—if
   3   ever—the loans would become due.
   4           30.     The Vagos did not know the identities of the other “investors” in each life
   5   insurance trust. The Vagos did not know how much money Defendant received from other
   6   “investors.” The Vagos had no way to independently verify whether Defendant was paying the
   7   premiums on the insurance policies. The Vagos had no way to determine whether the insureds
   8   were alive or not. The Vagos could not find out whether any insurance companies had paid
   9   Defendant money in connection with the policies they “invested” in. The Vagos had no way to
 10    know whether Defendant sold the policies they thought they invested in. The Vagos were
 11    completely in the dark and at the mercy of Defendant.
 12            31.     The Vagos’ names were nowhere to be found on the promissory notes or on the life
 13    insurance policies. Rather, the promissory notes were executed for the benefit of the “Estate of
 14    Robert Schweitzer.” It could not be more evident that Defendant structured these “investments” in
 15    a manner designed to confuse and deceive the Vagos. Defendant knew that these “investments”
 16    were never going to pay out.
 17            32.     Though these promissory notes were nearly worthless to the Vagos, by Defendant’s
 18    doing, they still had a huge carrying cost. To keep the underlying life insurance policies from
 19    lapsing, Defendant told the Vagos that they would have to pay hundreds of thousands of dollars
 20    per year toward insurance premiums. This money was in addition to the millions already loaned
 21    to the life insurance policy trusts.
 22            33.     By 2019, Defendant claimed to have “invested” $8.3 million of the Vagos’ money
 23    in life insurance policies.
 24            E.      The Misrepresentations
 25            34.     Defendant routinely visited the Vagos at their house. During these visits,
 26    Defendant would give the Vagos a memo on the letterhead of LK&A that purported to show the
 27    status of their “investments.” In a July 1, 2017 memorandum, Defendant stated that the Vagos’
 28

                                                         6
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/10/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/10/23
                                                          09/15/2313:02:20
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage163
                                               441
                                                 7 of
                                                   of42
                                                      277
                                                      557



   1   “investment” had increased in value to $9.4 million. And the memorandum indicated that the
   2   Vagos were entitled to $3,205,000 in interest since their initial “investment” in 2012.
   3          35.     Defendant provided a memorandum in 2018 that indicated the Vagos’
   4   “investments” were worth $10.2 million and the interest was $3,685,000. These written
   5   memoranda were all lies.
   6          F.      The Vagos Discover Defendant’s Fraud
   7          36.     On or around September 15, 2019, Defendant went to the Vagos’ home for their
   8   regular meeting. At this meeting, Erica told Defendant she needed to cash out roughly $1 million.
   9   Defendant responded that the “interest” that had accrued on the Vagos’ investment was all gone.
 10    Defendant falsely stated that “hedge funds are not paying interest anymore” on life insurance
 11    policies, so their earnings over the past seven years had vanished.
 12           37.     The Vagos demanded that Defendant refund their money. Defendant refused.
 13           G.      The State Board of Accountancy
 14           38.     At the same time Defendant was defrauding the Vagos, he was accused of stealing
 15    money from his client Hubert Scott (“Scott”). The California State Board of Accountancy (the
 16    “State Board”) brought charges against Defendant in 2019.
 17           39.     The State Board alleged that Scott inherited money when his brother and son died.
 18    Defendant purported to serve as Scott’s tax preparer, financial planner and investment adviser.
 19    Scott, at that time, was 86 years old and had dementia. Defendant had himself appointed as the
 20    trustee of Scott’s trust agreement. Over the course of five years, Scott gave Defendant $2.42
 21    million.
 22           40.     Defendant purported to “invest” Scott’s money in non-recourse promissory notes
 23    with irrevocable life insurance trusts (i.e., the exact same investments that are at issue here).
 24    Defendant invested 85% of Scott’s money in these life insurance trusts. Even though Scott was 86
 25    years old, he would only be paid out when the insured passed away. Defendant also invested
 26    Scott’s money in companies with which Defendant was affiliated. Among others, Defendant
 27    purportedly invested $750,000 of Scott’s money in LEDs sold by Time Square Media, Inc. (“Time
 28    Square Media”). Defendant was the president of Time Square Media. This $750,000 investment

                                                          7
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/10/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/10/23
                                                          09/15/2313:02:20
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage164
                                               442
                                                 8 of
                                                   of42
                                                      277
                                                      557



   1   purportedly made by Defendant was not reflected in any accounting. The State Board noted that
   2   none of the transactions were made in Scott’s name. Instead, Defendant admitted that he did not
   3   invest the money in life insurance policies on behalf of his clients, but that he actually borrowed
   4   the money himself from his clients.
   5          41.     The State Board alleged that Defendant failed to provide an accounting, and instead
   6   periodically provided documents showing inflated values that were inaccurate on their face.
   7   Defendant ultimately denied that he was Scott’s tax preparer or adviser.
   8          42.     A conservator was appointed in 2016, and Defendant was removed as trustee. The
   9   State Board filed the Accusation in 2019, based on allegations of fraud, breach of fiduciary duty,
 10    embezzlement, commingling funds and undue influence. Defendant entered into a stipulation with
 11    the State Board that resulted in the surrender of his accounting license.
 12           H.      The Litigation and Defendant’s Failure to Comply with Court Orders
 13           43.     The Vagos filed a state court complaint against Defendant on July 1, 2020. From
 14    day one, Defendant and LK&A engaged in a scheme to evade discovery and to derail the case.
 15           44.     Defendant served boilerplate objections to all written discovery requests and
 16    refused to provide substantive responses. Defendant refused to produce documents. The Vagos
 17    then filed several rounds of discovery motions. The Court granted all of them and entered
 18    monetary and issue sanctions against Defendant. The Court ordered Defendant to produce a
 19    responsivity chart and a privilege log. Defendant did not. The Court ordered Defendant to
 20    produce bank records. Defendant did not. Defendant filed a motion to quash a third-party
 21    subpoena served on Bank of America, which he lost. Defendant failed to pay the court-ordered
 22    monetary sanctions by the deadline and failed to comply with court orders requiring supplemental
 23    responses. Defendant even walked out of a court ordered deposition. Defendant stalled and
 24    refused to make himself available for deposition. Defendant substituted new counsel on the eve of
 25    trial. Defendant filed numerous motions to continue the trial date, all of which were denied
 26           I.      The Trial, Jury Verdict and Judgment
 27           45.     On August 29, 2022, the trial in the Vagos’ state court matter commenced.
 28

                                                         8
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/10/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/10/23
                                                          09/15/2313:02:20
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage165
                                               443
                                                 9 of
                                                   of42
                                                      277
                                                      557



   1          46.     At trial, the Vagos presented evidence that Defendant sought out to defraud them
   2   when they were at their most vulnerable—just after Erica’s brother died and while she was caring
   3   for her dying mother in the hospital. Defendant initially testified that he had no financial interest
   4   in the policies that he purportedly invested the Vagos’ money in. But Defendant later admitted
   5   that he invested his own money in these same policies.
   6          47.     Defendant drafted and signed promissory notes where he agreed as trustee that the
   7   Vagos would be entitled to 12% interest on their money. But Defendant testified at trial that he
   8   never had any intention of actually paying the Vagos that interest. Defendant utterly failed to
   9   explain what these “investments” actually were; whether the Vagos were entitled to make any
 10    money from his perspective; or what he did with the Vagos’ money.
 11           48.     Defendant testified at trial that he kept a contemporaneous “ledger” of all
 12    transactions relating to the Vagos. This was a lie—no such ledger was produced at trial.
 13    Defendant admitted that he provided false and inflated financials to the Vagos on a regular basis.
 14    Defendant took out a life insurance policy on an individual named Ann Radow. Ann Radow
 15    testified at trial that she had never met Defendant; that he took out an insurance policy on her life
 16    without her knowledge or consent; and that Defendant created the Ann Radow Trust and made
 17    himself the trustee without her knowledge or consent.
 18           49.     Unbeknownst to the Vagos, Defendant surrendered his license to practice
 19    accounting after he was accused of embezzling money from Scott, an 86-year-old client with
 20    dementia. The State Board disciplined Defendant at the same time he was defrauding the Vagos.
 21           50.     The jury ultimately found that Erica had proven her case against Defendant for
 22    intentional fraud, fraudulent concealment, financial elder abuse and breach of fiduciary duty. The
 23    jury awarded Erica $8.3 million in compensatory damages, plus $8.3 million more in punitive
 24    damages. And the jury awarded Joseph an additional $400,000 in emotional distress damages.
 25    The Court then awarded $7,334,038.99 in prejudgment interest and entered judgment in the
 26    amount of $24,334,038.99 (“Judgment”). A true and correct copy of the Judgment is attached as
 27    Exhibit 1.
 28

                                                          9
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage444
                                              166
                                               10 of 557
                                                     277
                                                     42



  1                                     FIRST CLAIM FOR RELIEF
  2                       (Nondischargeability of Debt - 11 U.S.C. § 523(a)(2)(A))
  3          51.     The Vagos reallege and incorporate by reference all of the prior and subsequent
  4   allegations in this Complaint as though fully set forth herein.
  5          52.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
  6   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
  7   inheritance (more than $15 million).
  8          53.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
  9   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
 10   purposes and to refrain from using her funds and other property for his own personal non-business
 11   purposes.
 12          54.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
 13   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
 14   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
 15   in a complicated life insurance scam.
 16          55.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
 17   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
 18   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
 19   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
 20          56.     Defendant’s misappropriation of Erica’s funds and other property was
 21   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
 22   deprive Erica of the possession, use and benefit of her funds and other property.
 23          57.     As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
 24   funds and other property and Defendant’s false pretenses, false representations, and actual fraud
 25   set forth herein, the Vagos have suffered damages in the amount of not less than $26,386,891.00.
 26          58.     Defendant’s debt to the Vagos is nondischargeable under 11 U.S.C. § 523(a)(2)
 27   because it was incurred as a result of false pretenses, false representations, and actual fraud.
 28

                                                        10
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage445
                                              167
                                               11 of 557
                                                     277
                                                     42



  1          59.     The damages arising from Defendant’s willful and malicious false pretenses, false
  2   representation and actual fraud to the Vagos constitutes a debt against Defendant that is non-
  3   dischargeable pursuant to 11 U.S.C. § 523(a)(2).
  4                                   SECOND CLAIM FOR RELIEF
  5                         (Nondischargeability of Debt - 11 U.S.C. § 523(a)(4))
  6          60.     The Vagos reallege and incorporate by reference all of the prior and subsequent
  7   allegations in this Complaint as though fully set forth herein.
  8          61.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
  9   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
 10   inheritance (more than $15 million).
 11          62.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
 12   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
 13   purposes and to refrain from using her funds and other property for his own personal non-business
 14   purposes.
 15          63.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
 16   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
 17   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
 18   in a complicated life insurance scam.
 19          64.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
 20   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
 21   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
 22   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
 23          65.     Defendant’s misappropriation of Erica’s funds and other property was
 24   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
 25   deprive Erica of the possession, use and benefit of her funds and other property.
 26          66.     As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
 27   funds and other property while acting in a fiduciary capacity and Defendant’s false pretenses, false
 28

                                                        11
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage446
                                              168
                                               12 of 557
                                                     277
                                                     42



  1   representations, and actual fraud set forth herein while acting in a fiduciary capacity, the Vagos
  2   have suffered damages in the amount of not less than $26,386,891.00.
  3          67.     The damages to the Vagos arising from Defendant’s fraud, defalcation,
  4   embezzlement and larceny while acting in a fiduciary capacity constitutes a debt against
  5   Defendant that is non-dischargeable pursuant to 11 U.S.C. § 523(a)(4).
  6                                     THIRD CLAIM FOR RELIEF
  7                         (Nondischargeability of Debt - 11 U.S.C. § 523(a)(6))
  8          68.     The Vagos reallege and incorporate by reference all of the prior and subsequent
  9   allegations in this Complaint as though fully set forth herein.
 10          69.     At all relevant times, Defendant acted as the Vagos’ fiduciary. Defendant was their
 11   attorney, accountant and investment adviser. Erica entrusted Defendant implicitly with her entire
 12   inheritance (more than $15 million).
 13          70.     Defendant owed the Vagos fiduciary duties at all relevant times, including the duty
 14   of loyalty and candor. Defendant further owed a duty to use Erica’s funds for legitimate business
 15   purposes and to refrain from using her funds and other property for his own personal non-business
 16   purposes.
 17          71.     Defendant embezzled and stole from the Vagos. Defendant misrepresented
 18   information to the Vagos for the purpose of convincing Erica to deposit more than $12 million
 19   into the LK&A client trust account. Defendant then stole more than $8 million of Erica’s money
 20   in a complicated life insurance scam.
 21          72.     A jury found Defendant liable for intentional fraudulent, fraudulent concealment,
 22   breach of fiduciary duty and elder abuse as set forth in the Judgment. The jury awarded Erica $8.3
 23   million in punitive damages after finding that Defendant acted with fraud, oppression and malice.
 24   The trial court ultimately entered the Judgment against Defendant in the amount of $24.3 million.
 25          73.     Defendant’s misappropriation of Erica’s funds and other property was
 26   unauthorized, without her consent and fraudulent. Defendant acted with the intent to permanently
 27   deprive Erica of the possession, use and benefit of her funds and other property.
 28

                                                        12
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage447
                                              169
                                               13 of 557
                                                     277
                                                     42



  1          74.      As a result of Defendant’s unauthorized and fraudulent misappropriation of Erica’s
  2   funds and other property while acting in a fiduciary capacity and Defendant’s false pretenses, false
  3   representations, and actual fraud set forth herein while acting in a fiduciary capacity, the Vagos
  4   have suffered damages in the amount of not less than $26,386,891.00.
  5          75.      The damages arising from Defendant’s willful and malicious injury to the Vagos
  6   constitutes a debt against Defendant that is non-dischargeable pursuant to 11 U.S.C. § 523(a)(6).
  7                                   FOURTH CLAIM FOR RELIEF
  8                           (For Denial of Discharge - 11 U.S.C. § 727(a)(12))
  9          76.      The Vagos reallege and incorporate by reference all of the prior and subsequent
 10   allegations in this Complaint as though fully set forth herein.
 11          77.      Pursuant to 11 U.S.C. § 727(a)(12), the court shall grant the debtor a discharge
 12   unless- the court after notice and a hearing held not more than 10 days before the date of the entry
 13   of the order granting the discharge finds that there is reasonable cause to believe that—(A) section
 14   522(q)(1) may be applicable to the debtor; and (B) there is pending any proceeding in which the
 15   debtor may be found guilty of a felony of the kind described in section 522(q)(1)(A) or liable for a
 16   debt of the kind described in section 522(q)(1)(B).
 17          78.      On April 11, 2023, the Vagos filed a motion [Docket No. 71] seeking disallowance
 18   of Debtor’s claim of exemption in the real property located at 322 N. June Street, Los Angeles,
 19   CA 90004 (the “Property”) in any amount exceeding $189,050.00 pursuant to Section 522(q) of
 20   the Bankruptcy Code.
 21          79.      Section 522(q) operates to reduce any state law homestead exemption claim to
 22   $189,050.00 where debtor owes a debt arising from “fraud, deceit, or manipulation in a fiduciary
 23   capacity.” 11 U.S.C. § 522(q)(1)(B)(ii).
 24          80.      As set forth herein, Debtor owes a debt to the Vagos in an amount of not less than
 25   $26,386,891.00 based upon the Judgment which arose from “fraud, deceit, or manipulation in a
 26   fiduciary capacity.” 11 U.S.C. § 522(q)(1)(B)(ii).
 27          81.      Accordingly, Debtor is not entitled to a discharge of his debts pursuant to 11 U.S.C.
 28   § 727(a)(12).

                                                        13
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage448
                                              170
                                               14 of 557
                                                     277
                                                     42



  1                                           Prayer for Relief
  2          WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
  3          1.     On the First Claim for Relief, the Vagos seek an order determining that Defendant
  4   is indebted to the Vagos in an amount not less than $26,386,891.00 and that Defendant’s debt is
  5   excepted from discharge pursuant to 11 U.S.C. § 523(a)(2);
  6          2.     On the Second Claim for Relief, the Vagos seek an order determining that
  7   Defendant is indebted to the Vagos in an amount not less than $26,386,891.00 and that
  8   Defendant’s debt is excepted from discharge pursuant to 11 U.S.C. § 523(a)(4);
  9          3.     On the Third Claim for Relief, the Vagos seek an order determining that Defendant
 10   is indebted to the Vagos in an amount not less than $26,386,891.00 and that Defendant’s debt is
 11   excepted from discharge pursuant to 11 U.S.C. § 523(a)(6);
 12          4.     On the Fourth Claim for Relief, the Vagos seek an order denying Defendant his
 13   discharge pursuant to 11 U.S.C. § 727(a)(12);
 14          5.     For costs of suit incurred herein; and
 15          6.     For such other and further relief as the Court may deem appropriate.
 16                                                    Respectfully submitted,
 17   Dated: May 10, 2023                             GOE FORSYTHE & HODGES LLP
 18
 19                                               By: /s/Robert P. Goe
                                                      Robert P. Goe
 20
                                                      Attorneys for Plaintiffs Erica Vago and
 21                                                   Joseph Vago

 22
 23
 24
 25
 26

 27
 28

                                                      14
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage449
                                              171
                                               15 of 557
                                                     277
                                                     42



  1                              PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
  3   business address is: 17701 Cowan, Bldg. D., Suite 210, Irvine, CA 92614

  4   A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION
      AND MOTION FOR ORDER DISMISSING DEBTOR’S CHAPTER 11 BANKRUPTCY
  5   CASE; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF
      ERICA VAGO, BRIAN PROCEL; AND REQUEST FOR JUDICIAL NOTICE IN
  6   SUPPORT OF SAME will be served or was served (a) on the judge in chambers in the form
      and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  7
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
  8   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the
      court via NEF and hyperlink to the document. On (date) May 10, 2023, I checked the CM/ECF
  9
      docket for this bankruptcy case or adversary proceeding and determined that the following persons
 10   are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
      below:
 11
 12
                                                            Service information continued on attached
 13
      page
 14
      2. SERVED BY UNITED STATES MAIL:
 15   On (date) May 10, 2023, I served the following persons and/or entities at the last known addresses
      in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
 16   sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
 17   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
      than 24 hours after the document is filed.
 18
                                                            Service information continued on attached
 19   page
 20   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
 21   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
      F.R.Civ.P. 5 and/or controlling LBR, on (date) May 10, 2023, I served the following persons
 22   and/or entities by personal delivery, overnight mail service, or (for those who consented in writing
      to such service method), by facsimile transmission and/or email as follows. Listing the judge here
 23   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
      completed no later than 24 hours after the document is filed.
 24
 25         The Honorable Sandra R. Defendant, USBC, 255 E. Temple Street, Ctrm 1575, Los
             Angeles, CA 90012
 26

 27
 28                                                     1
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage450
                                              172
                                               16 of 557
                                                     277
                                                     42


                                                            Service information continued on attached
  1   page
  2
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and
  3   correct.

  4    May 10, 2023           Susan C. Stein                           /s/Susan C. Stein
       Date                   Printed Name                             Signature
  5
  6
  7
  8

  9
 10
 11
 12
 13
 14

 15
 16
 17
 18
 19
 20

 21
 22
 23
 24
 25
 26

 27
 28                                                     2
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage451
                                              173
                                               17 of 557
                                                     277
                                                     42


      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
  1
  2   Mailing Information for Case 2:23-bk-10990-SK
  3   Electronic Mail Notice List
  4   The following is the list of parties who are currently on the list to receive email notice/service for
      this case.
  5
            Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
  6         Michael Jay Berger michael.berger@bankruptcypower.com,
             yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
  7         Greg P Campbell ch11ecf@aldridgepite.com,
             gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
  8
            Theron S Covey tcovey@raslg.com, sferry@raslg.com
  9         Dane W Exnowski dane.exnowski@mccalla.com,
             bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
 10         Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
            Michael Jones michael.jones4@usdoj.gov
 11         Ron Maroko ron.maroko@usdoj.gov
            Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
 12
            Mark M Sharf (TR) mark@sharflaw.com,
 13          C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
            Alan G Tippie Alan.Tippie@gmlaw.com,
 14          atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denis
             e.walker@gmlaw.com
 15         United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 16         Michael L Wachtell mwachtell@buchalter.com
            John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
 17         Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
            Paul P Young paul@cym.law, jaclyn@cym.law
 18
 19
 20

 21
 22
 23
 24
 25
 26

 27
 28                                                      3
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage452
                                              174
                                               18 of 557
                                                     277
                                                     42




                    EXHIBIT 1




                    EXHIBIT 1
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage453
                                              175
                                               19 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage454
                                              176
                                               20 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage455
                                              177
                                               21 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage456
                                              178
                                               22 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage457
                                              179
                                               23 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage458
                                              180
                                               24 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage459
                                              181
                                               25 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage460
                                              182
                                               26 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage461
                                              183
                                               27 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage462
                                              184
                                               28 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage463
                                              185
                                               29 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage464
                                              186
                                               30 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage465
                                              187
                                               31 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage466
                                              188
                                               32 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage467
                                              189
                                               33 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage468
                                              190
                                               34 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage469
                                              191
                                               35 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage470
                                              192
                                               36 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage471
                                              193
                                               37 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage472
                                              194
                                               38 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage473
                                              195
                                               39 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage474
                                              196
                                               40 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage475
                                              197
                                               41 of 557
                                                     277
                                                     42
Case
 Case2:23-bk-10990-SK
      2:23-ap-01150-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/10/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/10/23
                                                         09/15/2313:02:20
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage476
                                              198
                                               42 of 557
                                                     277
                                                     42
       Case 2:23-bk-10990-SK
            2:23-ap-01150-SK Doc
                              Doc 391
                                  350
                                  1-1 Filed 05/10/23
                                             09/15/23 Entered 05/10/23
                                             10/04/23            09/15/23 13:02:20
                                                                 10/04/23 15:58:48
                                                                          11:54:55                                                        Desc
                             Adversary
                             Main Document
                                       Cover Sheet
                                               Page Page
                                                     199 of1557
                                                     477    277
                                                             of 2
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                    ADVERSARY PROCEEDING NUMBER
                                                                                              (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                     DEFENDANTS
  ERICA VAGO and JOSEPH VAGO,                                                   LESLIE KLEIN and DOES 1 through 10,


ATTORNEYS (Firm Name, Address, and Telephone No.)                              ATTORNEYS (If Known)
GOE FORSYTHE & HODGES LLP
17701 Cowan Avenue, Suite 210, Bldg. D, Irvine, CA 92614
Telephone: (949) 798-2460 / Facsimile: (949) 955-9437
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debto      □ U.S. Trustee/Bankruptcy Admin       □ X Debtor    □ U.S. Trustee/Bankruptcy Admin
□ X Creditor □ Other                               □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

Complaint to Determine the Nondischargeability of Certain Debts Owed by Debtor Leslie Klein to Erica and Joseph Vago
Pursuant to 11 U.S.C. § 523 and to Deny Discharge Pursuant to Section 727(a)(12)


                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                  FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                              □
                                                                                  61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                  68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                        □
                                                                                  63-Dischargeability - §523(a)(8), student loan
                                                                                  64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                               □
                                                                                     (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                           65-Dischargeability - other


                                                                               □
                                                                               FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                               □
                                                                                  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                  72-Injunctive relief – other


□2 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                               □ 81-Subordination of claim or interest
                                                                               FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                               □ 91-Declaratory judgment
                                                                               FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                               □ 01-Determination of removed claim or cause
                                                                               FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,
□1 67-Dischargeability                                                         □
        actual fraud                                                           Other

                                                                               □
                       - §523(a)(4), fraud as fiduciary, embezzlement,             SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
   larceny                                                                         02-Other (e.g. other actions that would have been brought in state court
                       (continued next column)
                                                                                      if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                 □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                               Demand $ 26,386,891.00
Other Relief Sought
     Case 2:23-bk-10990-SK
          2:23-ap-01150-SK Doc
                            Doc 391
                                350
                                1-1 Filed 05/10/23
                                           09/15/23 Entered 05/10/23
                                           10/04/23            09/15/23 13:02:20
                                                               10/04/23 15:58:48
                                                                        11:54:55                                         Desc
                           Adversary
                           Main Document
                                     Cover Sheet
                                             Page Page
                                                   200 of2557
                                                   478    277
                                                           of 2
 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                LESLIE KLEIN                   2:23-bk-10990-SK
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
   CENTRAL                                                             LOS ANGELES                         SANDRA KLEIN
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


    /s/Robert P. Goe


DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
  May 10, 2023                                                          Robert P. Goe



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
          Case 2:23-bk-10990-SK
               2:23-ap-01150-SK Doc
                                Doc 391
                                    350
                                     1-2 Filed 05/10/23
                                               09/15/23 Entered 05/10/23
                                               10/04/23             09/15/23 13:02:20
                                                                    10/04/23 15:58:48
                                                                             11:54:55                                                  Desc
                                Main Document
                                     Summons Page Page1479
                                                        201
                                                         of 3of 557
                                                                277

 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 ROBERT P. GOE (State Bar No. 137019
 rgoe@goeforlaw.com
 REEM J. BELLO (State Bar No. 198840)
 rbello@goeforlaw.com
 GOE FORSYTHE & HODGES LLP
 17701 Cowan Avenue, Suite 210, Bldg. D
 Irvine, CA 92614
 Telephone: (949) 798-2460
 Facsimile: (949) 955-9437


 Attorney for Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                              DIVISION

 In re:

 LESLIE KLEIN,                                                             CASE NO.: 2:23-bk-10990-SK
                                                                           CHAPTER:
                                                                           ADVERSARY NO.:

                                                           Debtor(s).
ERICA VAGO and JOSEPH VAGO,




                                                           Plaintiff(s)
                                                                              SUMMONS AND NOTICE OF STATUS
                                Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
                                                                                       [LBR 7004-1]
 LESLIE KLEIN and DOES 1 through 10,




                                                       Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

             Hearing Date:                                 Address:
             Time:                                            255 East Temple Street, Los Angeles, CA 90012
             Courtroom: 1575                                  3420 Twelfth Street, Riverside, CA 92501
                                                              411 West Fourth Street, Santa Ana, CA 92701
                                                              1415 State Street, Santa Barbara, CA 93101
                                                              21041 Burbank Boulevard, Woodland Hills, CA 91367

           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                        Page 1                                   F 7004-1.SUMMONS.ADV.PROC
        Case 2:23-bk-10990-SK
             2:23-ap-01150-SK Doc
                              Doc 391
                                  350
                                   1-2 Filed 05/10/23
                                             09/15/23 Entered 05/10/23
                                             10/04/23             09/15/23 13:02:20
                                                                  10/04/23 15:58:48
                                                                           11:54:55                                                   Desc
                              Main Document
                                   Summons Page Page2480
                                                      202
                                                       of 3of 557
                                                              277


You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 2                                   F 7004-1.SUMMONS.ADV.PROC
        Case 2:23-bk-10990-SK
             2:23-ap-01150-SK Doc
                              Doc 391
                                  350
                                   1-2 Filed 05/10/23
                                             09/15/23 Entered 05/10/23
                                             10/04/23             09/15/23 13:02:20
                                                                  10/04/23 15:58:48
                                                                           11:54:55                                                   Desc
                              Main Document
                                   Summons Page Page3481
                                                      203
                                                       of 3of 557
                                                              277


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
17701 Cowan Avenue, Suite 210, Bldg. D
Irvine, CA 92614
A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
Complaint to Determine the Nondischargeability of Certain Debts Owed by Debtor Leslie Klein to Erica and Joseph Vago
_________________________________________________________________________________________________
Pursuant to 11 U.S.C. § 523 and to Deny Discharge Pursuant to Section 727(a)(12)
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 3                                   F 7004-1.SUMMONS.ADV.PROC
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 482
                                              204 of 557
                                                     277




       EXHIBIT D
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/12/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/12/23
                                                          09/15/2311:48:19
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage205
                                               483
                                                 1 of
                                                   of19
                                                      277
                                                      557


 1   Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
 2           A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
 3   Los Angeles, California 90010
     Tel: (323) 937-4501 Fax: (888) 316-6107
 4   email: baruchcohen@baruchcohenesq.com
 5   Attorney For Plaintiffs Robert & Esther Mermelstein
 6                              UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 7                                  LOS ANGELES ANA DIVISION
 8

 9    In re                                                Case No. 2:23-bk-10990-SK

10    LESLIE KLEIN,                                        Hon. Sandra Klein

11            Debtor and Debtor in Possession,             Chapter 11

12

13    ROBERT & ESTHER MERMELSTEIN,                         COMPLAINT FOR
                                                           NONDISCHARGEABILITY
14                        Plaintiffs                       OF DEBT PURSUANT TO 11 USC §
                                                           523(a)(2)(A), 11 USC § 523(a)(4), & 11
15    vs.                                                  USC § 523(a)(6); & FOR DENIAL OF
                                                           DISCHARGE PURSUANT TO 11 USC
16    LESLIE KLEIN                                         § 727(a)(2)(A); 11 USC § 727(a)(2)(B);
                                                           11 USC § 727(a)(3); 11 USC § 727(a)(4);
17                       Defendant                         11 USC § 727(a)(5)

18

19
              TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
20
     JUDGE, THE DEBTOR AND HIS COUNSEL, AND ALL OTHER INTERESTED
21
     PARTIES:
22
              Plaintiffs-Creditors, Robert & Esther Mermelstein (“Plaintiffs”), complain for
23
     nondischargeability of debt & for denial of discharge against Defendant-Debtor, Leslie Klein
24
     (“Defendant”), and alleges respectfully as follows:
25
                                   CORE/NON-CORE DESIGNATION
26
     1.       In accordance with Local Bankruptcy Rule 7008-1, Plaintiffs allege that this adversary
27
              proceeding constitutes a core proceeding under 28 USC § 157(b)(2). Plaintiffs
28
              acknowledge that the Court has the power to enter final orders and judgments in this
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/12/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/12/23
                                                          09/15/2311:48:19
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage206
                                               484
                                                 2 of
                                                   of19
                                                      277
                                                      557


 1         matter. Plaintiffs also consent to the Court's entry of final orders and judgments in this
 2         matter under FRBP Rule 7008..
 3                            JURISDICTION, VENUE & STANDING
 4   2.    This adversary proceeding arises under In re Klein, 2:23-bk-10990-SK, a Chapter 11 case
 5         commenced in the United States Bankruptcy Court for the Central District of California
 6         (“Bankruptcy Case”). The Court has jurisdiction under 11 USC §§ 523 and 727, and 28
 7         USC §§ 157 and 1334.
 8   3.    The venue is proper in this Court pursuant to 28 USC § 1409.
 9   4.    Plaintiffs have standing to bring this action because Plaintiffs are creditors in the
10         Bankruptcy Case under 11 USC § 101(10).
11                                              PARTIES
12   5.    The following is a description of the relevant parties involved in the facts forming the
13         basis of this Complaint.
14   6.    Plaintiffs are individuals, senior citizens residing in Brooklyn, NY.
15   7.    Defendant is an individual, whose principal residence is in Los Angeles County,
16         California and who regularly conducted business from Los Angeles County, California.
17         Defendant was a certified public accountant, formerly licensed by the State of California,
18         and a former, and an attorney licensed by the State of California.1 Defendant is the debtor
19         in the above-captioned Chapter 11 bankruptcy case.
20   ///
21

22     1
            On September 10, 1992, the Supreme Court of the State of California, in State Bar
23          Court Case No. 86-O-14258, ordered that Defendant be suspended from the practice
            of law for 18 months and further ordered that he take and pass the California
24          Professional Responsibility Examination (“CPRE”). Defendant failed the November
            1993 and January 1994 CPREs. In Case No. 86-O-14258, Defendant admitted to
25          intentional misrepresentations. On August 3, 1995, the Supreme Court of the State
            of California, in State Bar Court Case No. 92-O-11716 (consolidated with Case Nos.
26
            93-O-11825, 94-O-13951, 94-O12055, and 94-O15901) ordered that Defendant be
27          suspended from the practice of law for one year. In Case No. 92-O-11716, as
            consolidated, Defendant admitted to willful violations of Rules of Professional
28          Conduct concerning client trust accounts and conflicts of interest.

                                                    -2-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/12/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/12/23
                                                          09/15/2311:48:19
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage207
                                               485
                                                 3 of
                                                   of19
                                                      277
                                                      557


 1                                    GENERAL ALLEGATIONS
 2   8.    The following general allegations form the background for the Plaintiffs’ claims for relief
 3         against Defendant.
 4   9.    Plaintiffs are family relatives of Defendant, are Orthodox Jews, and are the settlors and
 5         beneficiaries of the Mermelstein Charitable Remainder Unitrust Dated July 27, 2009, (the
 6         “ Mermelstein Trust”).
 7   10.   Defendant, on behalf of The Klein Charitable Remainder Unitrust dated 2-20-1996 (the
 8         “Klein Trust”) solicited Plaintiffs to invest in at least seven (7) life insurance policies: (1)
 9         Garza; (2) Times Square; (3) Ganz; (4) Spitzer; (5) Kohn; (6) Friedman; & (7)
10         Zimmerman.
11                                                GARZA
12   11.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
13         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
14         Venture (the “Garza Memo”). The purpose of the Garza Memo, was to purchase a
15         $1,000,000.00 life insurance Policy (“Garza Policy”); American General on the life of
16         Emanuel Garza (“Garza”). In furtherance of the Garza Memo, Plaintiffs paid Klein
17         $100,000.00 towards the purchase of the Garza Policy. Defendant instructed Plaintiffs to
18         make said payments to Defendant’s IOLTA - Attorney Client Trust Account. Per the
19         Garza Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
20         ($400,000.00 plus return of premiums paid; plus $100,000.00).
21   12.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
22         Agreement for Joint Venture (Garza), changing the recipient of the $500,000.00 from the
23         Mermelstein Trust to Robert & Esther Mermelstein.
24   13.   Plaintiffs are informed and believe that Defendant sold 50% to the Garza Policy, to the
25         Longevity Fund of NY and partially to the Longevity Fund of Michigan without their
26         consent.
27   14.   Plaintiffs are informed and believe that Garza apparently died in 2018, and on or about 7-
28

                                                     -3-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/12/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/12/23
                                                          09/15/2311:48:19
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage208
                                               486
                                                 4 of
                                                   of19
                                                      277
                                                      557


 1         2-2018, Defendant collected the Garza Proceeds, on the Garza Policy. Defendant
 2         concealed this information from Plaintiffs, misappropriated & kept the Garza Proceeds
 3         for himself, and failed to pay Plaintiffs the $500,00.00 per the Garza Memo.
 4                                         TIMES SQUARE
 5   15.   On 7-16-2012, Defendant issued Plaintiffs a Non-Recourse Promissory Note, in the
 6         amount of $333,333.00, due and payable by 7-16-2013, by Defendant on behalf of the
 7         Times Square Media Inc., containing a “Heter Iska” document (an approved way of
 8         restructuring a loan or debt so that it becomes an investment instead of a loan, per
 9         Halacha - Jewish law).
10   16.   Plaintiffs are informed and believe that Defendant had no intention of paying the Times
11         Square Non-Recourse Promissory Note, as Plaintiffs made no payments whatseoever.
12                                               GANZ
13   17.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
14         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
15         Venture with plaintiffs (the “Ganz Memo”). The purpose of the Ganz Memo, was to
16         purchase a $1,000,000.00 life insurance Policy (“Ganz Policy”); American General on
17         the life of Emanuel Ganz (“Ganz”). In furtherance of the Ganz Memo, Plaintiffs paid
18         Klein $100,000.00 towards the purchase of the Ganz Policy. Defendant instructed
19         Plaintiffs to make said payments to Defendant’s IOLTA - Attorney Client Trust Account.
20         Per the Ganz Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
21         ($400,000.00 plus return of premiums paid; plus $100,000.00).
22   18.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
23         Agreement for Joint Venture (Ganz), changing the recipient of the $500,000.00 from the
24         Mermelstein Trust to Robert & Esther Mermelstein.
25   19.   Plaintiffs are informed and believe that Defendant apparently sold 50% to the Ganz
26         Policy, to the Longevity Fund of NY and partially to the Longevity Fund of Michigan,
27         without Plaintiff’s consent.
28

                                                   -4-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/12/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/12/23
                                                          09/15/2311:48:19
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage209
                                               487
                                                 5 of
                                                   of19
                                                      277
                                                      557


 1   20.   Plaintiffs are informed and believe that Ganz apparently died in 2018, and on or about 7-
 2         2-2018, Defendant collected the Ganz Proceeds, on the Ganz Policy. Defendant
 3         concealed this information from Plaintiffs, misappropriated & kept the Ganz Proceeds for
 4         himself, and failed to pay Plaintiffs the $500,00.00 per the Ganz Memo.
 5                                             SPITZER
 6   21.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 7         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
 8         Venture with Plaintiffs (the “Spitzer Memo”). The purpose of the Spitzer Memo, was to
 9         make premium payments of a $5,000,000.00 life insurance Policy Number: US
10         0023546L (“Spitzer Policy”); American General on the life of Malvine Spitzer
11         (“Spitzer”). In furtherance of the Spitzer Memo, Plaintiffs paid Defendant $250,000.00
12         towards the purchase of the Spitzer Policy. Defendant instructed Plaintiffs to make said
13         payments to Defendant’s IOLTA - Attorney Client Trust Account. Per the Spitzer Memo,
14         Defendant promised to pay the Mermelstein Trust $2,250,000.00 ($2,000,000 plus
15         $250,000 and all premiums paid of the proceeds).
16   22.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
17         Agreement for Joint Venture (Spitzer), changing the recipient of the $2,250,000.00 from
18         the Mermelstein Trust to Robert & Esther Mermelstein.
19   23.   Plaintiffs are informed and believe that Defendant apparently sold portions of the Spitzer
20         Policy, without their consent - but Plaintiffs do not know to whom. Defendant concealed
21         this information from Plaintiffs.
22                                              KOHN
23   24.   On 3-10-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
24         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
25         Venture with Plaintiffs (the “Kohn Memo”). The purpose of the Kohn Memo, was to
26         make premium payments of a $3,000,000.00 life insurance Policy (“Kohn Policy”);
27         American General on the life of Eugene Kohn (“Kohn”). In furtherance of the Kohn
28

                                                   -5-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/12/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/12/23
                                                          09/15/2311:48:19
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage210
                                               488
                                                 6 of
                                                   of19
                                                      277
                                                      557


 1         Memo, Plaintiffs paid Defendant $200,000.00 towards the purchase of the Kohn Policy.
 2         Defendant instructed Plaintiffs to make said payments to Defendant’s IOLTA - Attorney
 3         Client Trust Account. Per the Kohn Memo, Defendant promised to pay the Mermelstein
 4         Trust $1,200,000.00 ($200,000 and $1,000,000 and all premiums paid of the proceeds).
 5   25.   On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for
 6         Joint Venture (Kohn), changing the recipient of the $1,200,000.00 from the Mermelstein
 7         Trust to Robert & Esther Mermelstein.
 8   26.   Plaintiffs are informed and believe that Defendant paid premiums of the Kohn Policy up
 9         to 2011. Thereafter, Defendant apparently sold portions or the entirety of the Kohn
10         Policy - without Plaintiffs’ consent - to Life Capital Group, LLC (“LCG”), where Shlomo
11         Yehuda Rechnitz (“Rechnitz”) was to resume paying the Kohn Policy premiums from
12         2011 onwards. Defendant concealed this information from Plaintiffs.
13   27.   According to information recently received by Plaintiffs an unsigned Amended and
14         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
15         and Rechnitz agreed that upon the death of Kohn, Defendant and Rechnitz would be
16         reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
17         Defendant and Rechnitz would split the profits 50/50 of the Kohn Policy, and that
18         Plaintiffs would receive their $1,200,000.00.
19                                           FRIEDMAN
20   28.   On 3-1-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
21         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
22         Venture with Plaintiffs (the “Friedman Memo”). The purpose of the Friedman Memo,
23         was to purchase a $1,500,000.00 life insurance Policy (“Friedman Policy”); American
24         General on the life of Goldie Friedman (“Friedman”). In furtherance of the Friedman
25         Memo, Plaintiffs paid Klein $250,000.00 towards the purchase of the Friedman Policy.
26         Defendant instructed Plaintiffs to make said payments to Defendant’s IOLTA - Attorney
27         Client Trust Account. Per the Friedman Memo, Defendant promised to pay the
28

                                                   -6-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/12/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/12/23
                                                          09/15/2311:48:19
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage211
                                               489
                                                 7 of
                                                   of19
                                                      277
                                                      557


 1         Mermelstein Trust $1,000,000.00 ($250,000.00 and $750,000.00 and all premiums paid
 2         of the proceeds).
 3   29.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 4         Agreement for Joint Venture (Friedman), changing the recipient of the $1,000,000.00
 5         from the Mermelstein Trust to Robert & Esther Mermelstein.
 6   30.   Plaintiffs are informed and believe that Defendant apparently sold portions of the
 7         Friedman Policy, to the Longevity Fund of NY and partially to the Longevity Fund of
 8         Michigan, without Plaintiff’s consent.
 9   31.   Plaintiffs are informed and believe that Friedman apparently died in 2020, and Defendant
10         collected the Friedman Proceeds, on the Friedman Policy. Defendant concealed this
11         information from Plaintiffs, misappropriated & kept the Friedman Proceeds for himself,
12         and failed to pay Plaintiffs the $1,000,000.00 per the Friedman Memo.
13                                          ZIMMERMAN
14   32.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
15         2-20-1996 (the “Klein Trust”) entered into a Memorandum of Agreement for Joint
16         Venture with Plaintiffs (the “Zimmerman Memo”). The purpose of the Zimmerman
17         Memo, was to purchase a $9,000,000.00 life insurance Policy (“Zimmerman Policy”);
18         American General Policy # US 0023738L on the life of Rozy Pearl Zimmerman
19         (“Zimmerman”). In furtherance of the Zimmerman Memo, Plaintiffs paid Defendant
20         $150,000.00 towards the purchase of the Zimmerman Policy. Defendant instructed
21         Plaintiffs to make said payments to Defendant’s IOLTA - Attorney Client Trust Account.
22         Per the Zimmerman Memo, Defendant promised to pay the Mermelstein Trust
23         $2,400,000.00 ($2,250,000.00 plus $150,000.00).
24   33.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
25         Agreement for Joint Venture (Zimmerman), changing the recipient of the $2,400,000.00
26         from the Mermelstein Trust to Robert & Esther Mermelstein.
27   34.   Plaintiffs are informed and believe that Defendant paid premiums of the Zimmerman
28

                                                    -7-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/12/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/12/23
                                                          09/15/2311:48:19
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage212
                                               490
                                                 8 of
                                                   of19
                                                      277
                                                      557


 1         Policy up to 2011. Thereafter, Defendant apparently sold portions or the entirety of the
 2         Zimmerman Policy to Life Capital Group, LLC (“LCG”) - without Plaintiffs’ consent - ,
 3         where Shlomo Yehuda Rechnitz (“Rechnitz”) was to resume paying the Zimmerman
 4         Policy premiums from 2011 onwards. Defendant concealed this information from
 5         Plaintiffs.
 6   35.   Defendant, as Trustee of the Rozy Pearl Zimmerman Irrevocable Life Insurance Trust
 7         (the “Zimmerman Trust”) issued three Non-Recourse Promissory Notes (the
 8         “Zimmerman Notes”) to Plaintiffs secured by the Zimmerman Policy in the amount of
 9         $2,357,679.50:
10         a.      Non-Recourse Promissory Notes # 1, principal sum of $1,412,679.53, dated June
11                 15, 2011 - due June 15, 2020 (the “$1,412,679.53 Zimmerman Note”);
12         b.      Non-Recourse Promissory Notes # 2, principal sum of $570,000.00, dated
13                 December 7, 2009 - due December 7, 2019 (the: “$570,000.00 Zimmerman
14                 Note”);
15         c.      Non-Recourse Promissory Notes # 2, principal sum of $375,000.00, dated
16                 January 14, 2010 - due January 14, 2020 (the “$375,000.00 Zimmerman Note”).
17         d.      Interest on the three Non-Recourse Zimmerman Notes until 4-30-2023 comes to
18                 $2,939,936.84. Therefore the total amount of the claim is: $7,697,616.34
19                 ($2,400,000.00 (Zimmerman Policy) + $2,357,679.50 (3 Zimmerman Notes) +
20                 2,939,936.84 (interest) = $7,697,616.34.
21   36.   According to information recently received by Plaintiffs, an unsigned Amended and
22         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
23         and Rechnitz agreed that upon the death of Zimmerman, Defendant and Rechnitz would
24         be reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
25         Defendant and Rechnitz would split the profits 50/50 of the Zimmerman Policy, and that
26         Plaintiffs would receive their $2,400,000.00. Defendant concealed this information from
27         Plaintiffs.
28

                                                   -8-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                 Filed05/12/23
                                       09/15/23 Entered
                                       10/04/23   Entered05/12/23
                                                          09/15/2311:48:19
                                                          10/04/23 15:58:48 Desc
                                                                   11:54:55  Desc
                       Main
                        MainDocument
                              Document PagePage213
                                               491
                                                 9 of
                                                   of19
                                                      277
                                                      557


 1    PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT’S IOLTA ACCOUNT
 2   37.   During this entire time, Defendant repeatedly assured Plaintiffs that their investments in
 3         the 7 policies were secure and accruing interest. Defendant mailed Plaintiffs periodic
 4         monthly checks of $5,000.00 issued from Defendant’s IOLTA - Attorney Client Trust
 5         Account.
 6                     PLAINTIFFS’ DISCOVERY OF DEFENDANT’S FRAUD
 7   38.   On or about 1-21-2021, Plaintiffs discovered the above-referenced frauds and
 8         concealment.
 9   39.   On or about 6-22-2022, Defendant wrote Plaintiffs assuring them that their investments
10         were “secure” when in reality, Defendant sold them off to third parties without Plaintiffs’
11         consent:
12         I received you e mail and I disagree. I paid in on the Zmerman policy over
           $1,000,000. The interest for the last 10 years is over $2,300,000 . I also own
13         25%of the profits. You are well secured. You can call me if you have any
           questions. [Emphasis Added]
14
     40.   On or about 7-18-2022, Defendant wrote Plaintiffs admitting that he used Plaintiffs’
15
           monies from the Friedman Garza and Gans to pay for his legal fees in his lawsuit with
16
           Rechnitz.
17
           I got your email. I want to make it very clear we are family and I don’t want to
18         fight. I think I can make a deal with Rechnitz because I have the best lawyers in
           LA. If not we will go to court. I have big leverage on Rechnitz due to the Menlo
19         case. I am not assigning the Zimmerman case to you. I am using the money from
           the Friedman Garza and Gans cases for attorney fees in the Rechnitz case. On
20         Zimmerman Rechnitz and I paid $4,000,000 in premiums but it is return of
           premium. We also gave Mrs Zimmerman $200,000. I am sure they will sue to get
21         more. It is a big policy and all big policies have big fights. [Emphasis Added]
22                              PLAINTIFFS’ PROOF OF CLAIMS
23   41.   Plaintiffs timely filed seven (7) Proofs of Claim against Defendant totaling $13,480,949,
24         primarily based on Defendant misappropriating insurance policies and the proceeds, as
25         follows:
26         a.     Claim # 19-1 (Garza) $500,000.00;
27         b.     Claim # 20-1 (Times Square) $333,333.00;
28

                                                   -9-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/12/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/12/23
                                                         09/15/2311:48:19
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage492
                                              214
                                               10 of 557
                                                     277
                                                     19


 1         c.     Claim # 21-1 (Ganz) $500,000.00;
 2         d.     Claim # 22-1 (Spitzer) $2,250,000.00;
 3         e.     Claim # 23-1 (Kohn) $1,200,000.00;
 4         f.     Claim # 24-1 (Friedman) $1,000,000.00; &
 5         g.     Claim # 25-2 (Zimmerman) $7,697,616.34.
 6                TOTAL:           $13,480,949
 7                                  FIRST CLAIM FOR RELIEF
                          (Nondischargeability of Debt - 11 USC § 523(a)(2)(A))
 8
     42.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 9
           in this Complaint as though fully set forth herein.
10
     43.   At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
11
           Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
12
     44.   Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
13
           loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
14
           business purposes and to refrain from using their funds and other property for his own
15
           personal non-business purposes.
16
     45.   Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
17
           referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
18
           additional policies into Defendant’s IOLTA client trust account. Defendant then stole
19
           more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
20
           constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
21
           elder abuse.
22
     46.   Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
23
           without their consent and fraudulent. Defendant acted with the intent to permanently
24
           deprive Plaintiffs of the possession, use and benefit of their funds and other property.
25
     47.   As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
26
           funds and other property and Defendant’s false pretenses, false representations, and
27
           actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
28

                                                   -10-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/12/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/12/23
                                                         09/15/2311:48:19
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage493
                                              215
                                               11 of 557
                                                     277
                                                     19


 1         than $13,480,949.
 2   48.   Defendant’s debt to Plaintiffs is nondischargeable under 11 USC § 523(a)(2) because it
 3         was incurred as a result of false pretenses, false representations, and actual fraud.
 4   49.   The damages arising from Defendant’s willful and malicious false pretenses, false
 5         representation and actual fraud to Plaintiffs constitutes a debt against Defendant that is
 6         nondischargeable pursuant to 11 USC § 523(a)(2)(A).
 7                                SECOND CLAIM FOR RELIEF
                          (Nondischargeability of Debt - 11 USC § 523(a)(4))
 8
     50.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 9
           in this Complaint as though fully set forth herein.
10
     51.   At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
11
           Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
12
     52.   Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
13
           loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
14
           business purposes and to refrain from using their funds and other property for his own
15
           personal non-business purposes.
16
     53.   Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
17
           referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
18
           additional policies into Defendant’s IOLTA client trust account. Defendant then stole
19
           more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
20
           constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
21
           elder abuse.
22
     54.   Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
23
           without their consent and fraudulent. Defendant acted with the intent to permanently
24
           deprive Plaintiffs of the possession, use and benefit of their funds and other property.
25
     55.   As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
26
           funds and other property and Defendant’s false pretenses, false representations, and
27
           actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
28

                                                   -11-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/12/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/12/23
                                                         09/15/2311:48:19
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage494
                                              216
                                               12 of 557
                                                     277
                                                     19


 1         than $13,480,949.
 2   56.   The damages to Plaintiffs arising from Defendant’s fraud, defalcation, embezzlement and
 3         larceny while acting in a fiduciary capacity constitutes a debt against Defendant that is
 4         non-dischargeable pursuant to 11 USC § 523(a)(4).
 5                                 THIRD CLAIM FOR RELIEF
                          (Nondischargeability of Debt - 11 USC § 523(a)(6))
 6
     57.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 7
           in this Complaint as though fully set forth herein.
 8
     58.   At all relevant times, Defendant acted as Plaintiffs’ fiduciary - investment adviser.
 9
           Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
10
     59.   Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
11
           loyalty and candor. Defendant further owed a duty to use Plaintiffs’ funds for legitimate
12
           business purposes and to refrain from using their funds and other property for his own
13
           personal non-business purposes.
14
     60.   Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
15
           referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
16
           additional policies into Defendant’s IOLTA client trust account. Defendant then stole
17
           more than $13,480,949 of Plaintiffs’ money in a complicated life insurance scam,
18
           constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
19
           elder abuse.
20
     61.   Defendant’s misappropriation of Plaintiffs’ funds and other property was unauthorized,
21
           without their consent and fraudulent. Defendant acted with the intent to permanently
22
           deprive Plaintiffs of the possession, use and benefit of their funds and other property.
23
     62.   As a result of Defendant’s unauthorized and fraudulent misappropriation of Plaintiffs’
24
           funds and other property and Defendant’s false pretenses, false representations, and
25
           actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
26
           than $13,480,949.
27
     63.   The damages to Plaintiffs arising from Defendant’s willful and malicious injury to
28

                                                   -12-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/12/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/12/23
                                                         09/15/2311:48:19
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage495
                                              217
                                               13 of 557
                                                     277
                                                     19


 1         Plaintiffs constitutes a debt against Defendant that is non-dischargeable pursuant to 11
 2         USC § 523(a)(6).
 3                                 FOURTH CAUSE OF ACTION
                       (Objection to Debtor’s Discharge 11 USC § 727(a)(2)(A))
 4
     64.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 5
           in this Complaint as though fully set forth herein.
 6
     65.   Plaintiffs are informed and believe that within one year before the Petition, Defendant
 7
           transferred, removed, and/or concealed, or permitted to be transferred, removed, and/or
 8
           concealed, Defendant’s property.
 9
     66.   As of the dates of the transfers, removals, and/or concealments of Defendant’s property,
10
           Defendant had one or more unsecured creditors.
11
     67.   The transfers, removals, and/or concealments of Defendant’s property prevented the
12
           distribution of Defendant’s property to Defendant’s unsecured creditors.
13
     68.   Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant’s
14
           creditors, including, without limitation, Plaintiffs, transferred, removed, and/or
15
           concealed, or permitted to be transferred, removed, and/or concealed, Defendant’s
16
           property.
17
     69.   By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
18
           concealment of Defendant’s property with the intent to hinder, delay, and/or defraud at
19
           least one of Defendant’s creditors, Defendant violated 11 USC § 727(a)(2)(A).
20
     70.   Defendant failed to list valuable property on his schedule of assets and failed in his
21
           statement of affairs to disclose property transfers.
22
     71.   Defendant has a reckless indifference to the truth.
23
                                     FIFTH CAUSE OF ACTION
24                     (Objection to Debtor’s Discharge 11 USC § 727(a)(2)(B))
25   72.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
26         in this Complaint as though fully set forth herein.
27   73.   Plaintiffs are informed and believe that After the Petition, Defendant transferred,
28

                                                    -13-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/12/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/12/23
                                                         09/15/2311:48:19
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage496
                                              218
                                               14 of 557
                                                     277
                                                     19


 1         removed, concealed, and/or permitted to be transferred, removed, and/or concealed,
 2         property of the Bankruptcy estate.
 3   74.   As of the dates of the transfers, removals, and/or concealments of the property of the
 4         estate, Defendant had one or more unsecured creditors.
 5   75.   The transfers, removals, and/or concealments of the property of the estate prevented the
 6         distribution of this property to Defendant’s unsecured creditors.
 7   76.   Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant’s
 8         creditors, transferred, removed, and/or concealed, or permitted to be transferred,
 9         removed, and/or concealed, property of the estate.
10   77.   By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
11         concealment of estate property, with the intent to hinder, delay, and/or defraud at least
12         one of Defendant’s creditors, Defendant violated 11 USC § 727(a)(2)(B).
13   78.   Defendant failed to list valuable property on his schedule of assets and failed in his
14         statement of affairs to disclose property transfers.
15   79.   Defendant has a reckless indifference to the truth.
16                                  SIXTH CAUSE OF ACTION
                        (Objection to Debtor’s Discharge 11 USC § 727(a)(3)
17
     80.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
18
           in this Complaint as though fully set forth herein.
19
     81.   Plaintiffs are informed and believe that Defendant has not maintained adequate books
20
           and records from which Debtor’s financial condition can be ascertained. Debtor has
21
           consistently not maintained adequate books and records. His failure to keep adequate
22
           books and records is not justified considering the circumstances articulated in this
23
           Complaint.
24
     82.   Defendant has concealed, destroyed, falsified, and/or failed to keep or preserve
25
           information from which Defendant’s financial condition and/or business transactions
26
           might be ascertained.
27
     83.   Defendant has not been cooperative with the Office of the United States Trustee
28

                                                    -14-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/12/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/12/23
                                                         09/15/2311:48:19
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage497
                                              219
                                               15 of 557
                                                     277
                                                     19


 1         ("OUST") or with his creditors. Defendant has intentionally withheld records, books,
 2         documents, and/or other papers relating to Defendant’s property and/or financial affairs.
 3   84.   Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
 4         727(a)(3).
 5                               SEVENTH CAUSE OF ACTION
                        (Objection to Debtor’s Discharge 11 USC § 727(a)(4)
 6
     85.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 7
           in this Complaint as though fully set forth herein.
 8
     86.   Plaintiffs are informed and believe that Defendant has not made simple isolated errors or
 9
           omissions in his Bankruptcy filings. Defendant’s filings, such as his schedules and
10
           statement of affairs, do not reflect inadvertence or incompetence; rather, they exhibit
11
           fraudulent intent.
12
     87.   Defendant has a pattern of misleading conduct.
13
     88.   Defendant has a reckless indifference to the truth.
14
     89.   Defendant has failed to list assets in his schedules.
15
     90.   Defendant has falsely testified in the 341 Meeting.2
16

17
      2
            At the 3-13-2023 341(a) Meeting, Defendant at circa 11:15 testified in response to
18          omissions to be brought to the attention of the United States Trustee (“UST”), that
            there were only “three minor errors” which he thought that his attorney corrected.
19
            Defendant testified that there were “no” errors related to any assets that he owns. At
20          circa 12:52, Defendant testified that he identified all assets on his schedules.
            Defendant at circa 1:18:30-1:09:21 testified that in the year before the Bankruptcy,
21          he received no commissions from his third-party life insurance deals. At circa
            1:20:18, Defendant testified that he has not ever collected money on his third-party
22          life insurance deals. At circa 1:22:18, Defendant testified that he has never received
23          a payoff on his third-party life insurance deals. At circa 1:23:21, Defendant testified
            that four people have died and that he has received no money. Defendant at circa
24          1:39:00 testified, in response to whether he had transactions with Shlomo Rechnitz
            in the last five or six months relating to the thirdparty life insurance policies, “nope.”
25          Defendant testified that he does not remember paying the premiums for these
            policies out of his attorney client trust account at any time. Defendant at circa
26
            1:40:03 testified that he does not remember depositing his own funds into his
27          attorney-client trust account so that these insurance premiums could be paid. In
            response to the question of whether Defendant traveled out of the country anywhere
28          recently, other than Israel, Defendant at circa 2:23:00 testified, “nope.” In response

                                                     -15-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/12/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/12/23
                                                         09/15/2311:48:19
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage498
                                              220
                                               16 of 557
                                                     277
                                                     19


 1   91.   Defendant has knowingly and fraudulently made false oaths and/or accounts in the
 2         Bankruptcy Case.
 3   92.   Defendant has failed to provide records which are necessary for the OUST and his
 4         creditors to properly understand Defendant’s financial condition and/or recent business
 5         transactions.
 6   93.   Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
 7         727(a)(4).
 8                                   EIGHTH CAUSE OF ACTION
                           (Objection to Debtor’s Discharge 11 USC § 727(a)(5)
 9
     94.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
10
           in this Complaint as though fully set forth herein.
11
     95.   Defendant has failed to explain satisfactorily his deficiency and/or loss of assets to meet
12
           Debtor’s liabilities. No determination has yet been made of an entitlement to a discharge
13
           in this Bankruptcy Case.
14
     96.   Considering the foregoing, Defendant’s discharge must be denied under 11 USC §
15
           727(a)(5).
16
                                        PRAYER FOR RELIEF
17
           WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
18
     1.    On the First Claim for Relief, Plaintiffs seek an order determining that Defendant is
19
           indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
20
           excepted from discharge pursuant to 11 USC § 523(a)(2)(A);
21
     2.    On the Second Claim for Relief, Plaintiffs seek an order determining that Defendant is
22
           indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
23
           excepted from discharge pursuant to 11 USC § 523(a)(4);
24
     3.    On the Third Claim for Relief, Plaintiffs seek an order determining that Defendant is
25

26
            to the question of whether Defendant has bank accounts in Israel, Defendant at circa
27          2:26:48 testified, “nope.” Defendant at circa 2:59:15 testified that he has not
            transferred any assets within the last year to a third party. Defendant at circa 2:59:33
28          testified that he has not given any gifts more than $12,000.00 to his family.

                                                    -16-
Case
 Case2:23-bk-10990-SK
      2:23-ap-01153-SK Doc
                        Doc391
                            350
                             1 Filed
                                Filed05/12/23
                                      09/15/23 Entered
                                      10/04/23  Entered05/12/23
                                                         09/15/2311:48:19
                                                         10/04/23 15:58:48 Desc
                                                                  11:54:55  Desc
                       Main
                        MainDocument
                             Document PagePage499
                                              221
                                               17 of 557
                                                     277
                                                     19


 1         indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant’s debt is
 2         excepted from discharge pursuant to 11 USC § 523(a)(6);
 3   4.    On the Fourth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 4         pursuant to 11 USC § 727(a)(2)(A);
 5   5.    On the Fifth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 6         pursuant to 11 USC § 727(a)(2)(B);
 7   6.    On the Sixth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 8         pursuant to 11 USC § 727(a)(3);
 9   7.    On the Seventh Claim for Relief, Plaintiffs seek an order denying Defendant his
10         discharge pursuant to 11 USC § 727(a)(4);
11   8.    On the Eighth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
12         pursuant to 11 USC § 727(a)(5);
13   9.    For costs of suit incurred herein; and
14   10.   For such other and further relief as the Court may deem appropriate.
15
     DATED:       May 12, 2023                      LAW OFFICE OF BARUCH C. COHEN
16                                                  A Professional Law Corporation
17                                                  By     /S/ Baruch C. Cohen
                                                    Baruch C. Cohen, Esq.
18                                                  Attorney For Creditors Robert & Esther
                                                    Mermelstein
19

20

21

22

23

24

25

26

27

28

                                                     -17-
       Case
        Case2:23-bk-10990-SK
             2:23-ap-01153-SK Doc
                               Doc391
                                   350
                                    1 Filed
                                       Filed05/12/23
                                             09/15/23 Entered
                                             10/04/23  Entered05/12/23
                                                                09/15/2311:48:19
                                                                10/04/23 15:58:48 Desc
                                                                         11:54:55  Desc
                              Main
                               MainDocument
                                    Document PagePage500
                                                     222
                                                      18 of 557
                                                            277
                                                            19
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
  52%(57 (67+(50(50(/67(,1                                                      /(6/,(./(,1

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
%DUXFK&&RKHQ(VT 6%1   
/$:2)),&(2)%$58&+&&2+(1$3URIHVVLRQDO/DZ&RUSRUDWLRQ
:LOVKLUH%RXOHYDUG6XLWH/RV$QJHOHV&$

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ
                                                   ; Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
Ƒ &UHGLWRU
;           Ƒ 2WKHU                                Ƒ Creditor    Ƒ Other
Ƒ 7UXVWHH                                          Ƒ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
&203/$,17)25121',6&+$5*($%,/,7<2)'(%738568$177286& D  $ 86& D   86& D   )25
'(1,$/2)',6&+$5*(38568$177286& D  $ 86& D  % 86& D  86& D  86& D 



                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ  61-Dischargeability - §523(a)(5), domestic support
Ƒ 12-Recovery of money/property - §547 preference                               Ƒ
                                                                                ; 68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ  63-Dischargeability - §523(a)(8), student loan
Ƒ 14-Recovery of money/property - other                                         Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ  65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property                                 Ƒ  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                Ƒ  72-Injunctive relief – other

    FRBP 7001(4) – Objection/Revocation of Discharge
Ƒ; 41-Objection / revocation of discharge - §727(c),(d),(e)                     FRBP 7001(8) Subordination of Claim or Interest
                                                                                Ƒ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                Ƒ 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
Ƒ; 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                               Ƒ
Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,         01-Determination of removed claim or cause

       actual fraud                                                            Other
Ƒ; 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                    (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
Ƒ Check if this case involves a substantive issue of state law                  Ƒ Check if this is asserted to be a class action under FRCP 23
Ƒ &KHFNLIDMXU\trial is demanded in complaint                                Demand $ 
Other Relief Sought
     Case
      Case2:23-bk-10990-SK
           2:23-ap-01153-SK Doc
                             Doc391
                                 350
                                  1 Filed
                                     Filed05/12/23
                                           09/15/23 Entered
                                           10/04/23  Entered05/12/23
                                                              09/15/2311:48:19
                                                              10/04/23 15:58:48 Desc
                                                                       11:54:55  Desc
                            Main
                             MainDocument
                                  Document PagePage501
                                                   223
                                                    19 of 557
                                                          277
                                                          19
 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                         /(6/,(./(,1                                                                EN6.
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                      NAME OF JUDGE
&HQWUDO'LVWULFWRI&DOLIRUQLD                                            /RV$QJHOHV                       .OHLQ
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                   ADVERSARY
                                                                                                           PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                      NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF))




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                               %DUXFK&&RKHQ(VT



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
       Case 2:23-bk-10990-SK
            2:23-ap-01153-SK Doc
                             Doc 391
                                 350
                                  1-1 Filed 05/12/23
                                            09/15/23 Entered 05/12/23
                                            10/04/23             09/15/23 11:48:19
                                                                 10/04/23 15:58:48
                                                                          11:54:55                                                    Desc
                             Main Document
                                  Summons Page Page1502
                                                     224
                                                      of 3of 557
                                                             277

 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Baruch C. Cohen, Esq. (SBN 159455)
 LAW OFFICE OF BARUCH C. COHEN
  A Professional Law Corporation
 4929 Wilshire Boulevard, Suite 940
 Los Angeles, California 90010
 (323) 937-4501 Facsimile: (888) 316-6107
 Email: baruchcohen@baruchcohenesq.com




 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                             DIVISION

 In re:
 LESLIE KLEIN
                                                                          CASE NO.: 2:23-bk-10990-SK
                                                                          CHAPTER: 11
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
ROBERT & ESTHER MERMELSTEIN




                                                          Plaintiff(s)
                                                                             SUMMONS AND NOTICE OF STATUS
                               Versus                                     CONFERENCE IN ADVERSARY PROCEEDING
 LESLIE KLEIN                                                                         [LBR 7004-1]




                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom:                                       3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 1                                   F 7004-1.SUMMONS.ADV.PROC
        Case 2:23-bk-10990-SK
             2:23-ap-01153-SK Doc
                              Doc 391
                                  350
                                   1-1 Filed 05/12/23
                                             09/15/23 Entered 05/12/23
                                             10/04/23             09/15/23 11:48:19
                                                                  10/04/23 15:58:48
                                                                           11:54:55                                                   Desc
                              Main Document
                                   Summons Page Page2503
                                                      225
                                                       of 3of 557
                                                              277


You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 2                                   F 7004-1.SUMMONS.ADV.PROC
        Case 2:23-bk-10990-SK
             2:23-ap-01153-SK Doc
                              Doc 391
                                  350
                                   1-1 Filed 05/12/23
                                             09/15/23 Entered 05/12/23
                                             10/04/23             09/15/23 11:48:19
                                                                  10/04/23 15:58:48
                                                                           11:54:55                                                   Desc
                              Main Document
                                   Summons Page Page3504
                                                      226
                                                       of 3of 557
                                                              277


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 3                                   F 7004-1.SUMMONS.ADV.PROC
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 505
                                              227 of 557
                                                     277




       EXHIBIT E
Case 2:23-bk-10990-SK       Doc 391
                                350 Filed 10/04/23
                                          09/15/23 Entered 10/04/23
                                                             09/15/23 11:54:55
                                                                      15:58:48              Desc
                            Main Document   Page 506
                                                  228 of 557
                                                         277



                                   BEFORE THE
                        CALIFORNIA BOARD OF ACCOUNTANCY
                        DEPARTMENT OF CONSUMER AFFAIRS
                              STATE OF CALIFORNIA




 In the Matter of the Accusation Against:         Case No. AC-2019-62
 LESLIE KLEIN                                    OAH No. 2019090073
 322 N. June Street
 Los Angeles, CA 90004
 Certified Public Accountant Certificate No.
 67454
                                   Respondent.



                                   DECISION AND ORDER
       The attached Stipulated Surrender of License and Order is hereby adopted by the
 California Board of Accountancy, Department of Consumer Affairs, as its Decision in this
 matter.
                                                  May 13, 2020
       This Decision shall become effective on -----------
                          April 13, 2020
       It is so ORDERED ----------



                            FOR THE CALIFORNIA BOARD OF ACCOUNTANCY
                            DEPARTMENT OF CONSUMER AFFAIRS
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 507
                                              229 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 508
                                              230 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 509
                                              231 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 510
                                              232 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 511
                                              233 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 512
                                              234 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 513
                                              235 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 514
                                              236 of 557
                                                     277




                                    Exhibit A
                             Accusation No. AC-2019-62
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 515
                                              237 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 516
                                              238 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 517
                                              239 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 518
                                              240 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 519
                                              241 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 520
                                              242 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 521
                                              243 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 522
                                              244 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 523
                                              245 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 524
                                              246 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 525
                                              247 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 526
                                              248 of 557
                                                     277




         EXHIBIT F
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 527
                                              249 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 528
                                              250 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 529
                                              251 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 530
                                              252 of 557
                                                     277




        EXHIBIT G
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 531
                                              253 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 532
                                              254 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 533
                                              255 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 534
                                              256 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 535
                                              257 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 536
                                              258 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 537
                                              259 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 538
                                              260 of 557
                                                     277




        EXHIBIT H
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 539
                                              261 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 540
                                              262 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 541
                                              263 of 557
                                                     277
Case 2:23-bk-10990-SK   Doc 391
                            350 Filed 10/04/23
                                      09/15/23 Entered 10/04/23
                                                         09/15/23 11:54:55
                                                                  15:58:48   Desc
                        Main Document   Page 542
                                              264 of 557
                                                     277
           Case 2:23-bk-10990-SK                   Doc 391
                                                       350 Filed 10/04/23
B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)
                                                                 09/15/23 Entered 10/04/23
                                                                                    09/15/23 11:54:55
                                                                                             15:58:48                        Desc
                                                   Main Document   Page 543
                                                                         265 of 557
                                                                                277
                                   UNITED STATES BANKRUPTCY COURT
                                                         Central District of California, Los Angeles Division

In re LESLIE KLEIN.                                                         Case No.       2:23-bk-10990-SK
                                  Debtor
                                                                            Chapter       11


                                           SUBPOENA FOR RULE 2004 EXAMINATION

To: Bank Hapoalim, BM, dba Bank Hapoalim, USA.
                                                      (Name of person to whom the subpoena is directed)


   Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE                                                                                          DATE AND TIME
    Pachulski Stang Ziehl & Jones LLP                                                            October 9, 2023 at 10:00 a.m.
    10100 Santa Monica Blvd., 13th Floor
    Los Angeles, CA 90067

The examination will be recorded by this method:

   Production: YOU ARE COMMANDED to produce the documents set forth on Exhibit A hereto and complete the
written questions included as Exhibit B.



        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date:    September 15, 2023

                                 CLERK OF COURT

                                                                           OR

                                 Signature of Clerk or Deputy Clerk               Attorney’s signature


The name, address, email address, and telephone number of the attorney representing
       Chapter 11 Trustee          , who issues or requests this subpoena, are: Jeffrey P. Nolan, Pachulski Stang Ziehl
& Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, California 90067, Telephone: (310) 277-6910


                                        Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




                                                                                                                      American LegalNet, Inc.
                                                                                                                      www.FormsWorkFlow.com
DOCS_LA:350995.2 78512/001
           Case 2:23-bk-10990-SK                   Doc 391
                                                       350 Filed 10/04/23
B2540 (Form 2540 - Subpoena for Rule 2004 Examination) (Page 2)
                                                                 09/15/23 Entered 10/04/23
                                                                                    09/15/23 11:54:55
                                                                                             15:58:48                            Desc
                                                   Main Document   Page 544
                                                                         266 of 557
                                                                                277

                                                             PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any):
on (date)              .

    I served the subpoena by delivering a copy to the named person as follows:

                                                     on (date)                             ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                                       .

My fees are $                    for travel and $                 for services, for a total of $            .


          I declare under penalty of perjury that this information is true and correct.

Date:

                                                                                                     Server’s signature


                                                                                                   Printed name and title



                                                                                                     Server’s address


Additional information concerning attempted service, etc.:




                                                                                                                          American LegalNet, Inc.
                                                                                                                          www.FormsWorkFlow.com
DOCS_LA:350995.2 78512/001
            Case 2:23-bk-10990-SK                       Doc 391
                                                            350 Filed 10/04/23
                                                                      09/15/23 Entered 10/04/23
                                                                                         09/15/23 11:54:55
                                                                                                  15:58:48                                   Desc
B2540 (Form 2540 - Subpoena for Rule 2004 Examination) (Page 3)
                                                        Main Document   Page 545
                                                                              267 of 557
                                                                                     277
                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)
(c) Place of compliance.                                                                 (ii) disclosing an unretained expert's opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert's
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                       (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                          modifying a subpoena, order appearance or production under specified
     (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                               (i) shows a substantial need for the testimony or material that cannot
       (i) is a party or a party’s officer; or                                      be otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                 (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                            compensated.

  (2)For Other Discovery. A subpoena may command:                                   (e) Duties in Responding to a Subpoena.
     (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,           (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                      procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                    information:
                                                                                         (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                    documents must produce them as they are kept in the ordinary course of
                                                                                    business or must organize and label them to correspond to the categories in
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or                    the demand.
attorney responsible for issuing and serving a subpoena must take                        (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person              Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is             electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —                a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a               usable form or forms.
party or attorney who fails to comply.                                                   (C) Electronically Stored Information Produced in Only One Form. The
                                                                                    person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                    information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                         (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                    responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                    from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                    of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                    order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                    reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                    made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                    requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                    26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,           (2) Claiming Privilege or Protection.
the following rules apply:                                                               (A) Information Withheld. A person withholding subpoenaed
       (i) At any time, on notice to the commanded person, the serving party        information under a claim that it is privileged or subject to protection as
may move the court for the district where compliance is required for an             trial-preparation material must:
order compelling production or inspection.                                                  (i) expressly make the claim; and
      (ii) These acts may be required only as directed in the order, and the                (ii) describe the nature of the withheld documents, communications,
order must protect a person who is neither a party nor a party's officer from       or tangible things in a manner that, without revealing information itself
significant expense resulting from compliance.                                      privileged or protected, will enable the parties to assess the claim.
                                                                                          (B)Information Produced. If information produced in response to a
  (3) Quashing or Modifying a Subpoena.                                             subpoena is subject to a claim of privilege or of protection as trial-
    (A) When Required. On timely motion, the court for the district where           preparation material, the person making the claim may notify any party that
compliance is required must quash or modify a subpoena that:                        received the information of the claim and the basis for it. After being
      (i) fails to allow a reasonable time to comply;                               notified, a party must promptly return, sequester, or destroy the specified
      (ii) requires a person to comply beyond the geographical limits               information and any copies it has; must not use or disclose the information
specified in Rule 45(c);                                                            until the claim is resolved; must take reasonable steps to retrieve the
      (iii) requires disclosure of privileged or other protected matter, if no      information if the party disclosed it before being notified; and may
exception or waiver applies; or                                                     promptly present the information under seal to the court for the district
      (iv) subjects a person to undue burden.                                       where compliance is required for a determination of the claim. The person
   (B) When Permitted. To protect a person subject to or affected by a              who produced the information must preserve the information until the claim
subpoena, the court for the district where compliance is required may, on           is resolved.
motion, quash or modify the subpoena if it requires:                                …
      (i) disclosing a trade secret or other confidential research,                 (g) Contempt. The court for the district where compliance is required – and
development, or commercial information; or                                          also, after a motion is transferred, the issuing court – may hold in contempt
                                                                                    a person who, having been served, fails without adequate excuse to obey
                                                                                    the subpoena or an order related to it.


                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

                                                                                                                                      American LegalNet, Inc.
                                                                                                                                      www.FormsWorkFlow.com
DOCS_LA:350995.2 78512/001
Case 2:23-bk-10990-SK         Doc 391
                                  350 Filed 10/04/23
                                            09/15/23 Entered 10/04/23
                                                               09/15/23 11:54:55
                                                                        15:58:48               Desc
                              Main Document   Page 546
                                                    268 of 557
                                                           277



                                            EXHIBIT A

                    TO RULE 2004 SUBPOENA TO BANK HAPOALIM, BM

                                 AND BANK HAPOALIM, USA

        Pursuant to Fed. R. Civ. P. 45, Bradley D Sharp, the duly appointed Chapter 11 trustee

(the “Trustee”) in the Chapter 11 Cases (defined below), hereby requests that Bank Hapoalim,

BM, dba Bank Hapoalim International and Bank Hapoalim, USA, its subsidiaries and

affiliates, produce and make available for inspection and copying to the Trustee each of the

following documents, things, and tangible items, or categories of documents, in your possession,

custody, or control which are responsive to the following requests for documents and materials

(the “Requests”) at the offices of Pachulski Stang Ziehl & Jones, LLP, 10100 Santa Monica
Boulevard., 13th Floor, Los Angeles, California, 90067 (Attn: Jeffrey P. Nolan):

                                         INSTRUCTIONS

        A.       You are required to conduct a thorough investigation and produce all

DOCUMENTS (as defined below) in your possession, custody and control including all

DOCUMENTS in the possession, custody and control of your, officers, directors, employees,

agents, representatives and anyone acting on your behalf.

        B.       If there are no documents in existence that are responsive to a particular Request,

your response must include a statement to that effect. If documents once existed in your

possession, custody, or control, but are no longer in your possession, custody, or control for any

reason, please identify the specific circumstances under which you lost possession, custody, or

control, and identify your understanding of the documents’ [current whereabouts] or the manner

in which you disposed of the documents.

        C.       Electronically stored information (“ESI”) responsive to these Requests shall be

produced in the same manner in which it is stored, together with all associated metadata. If

software not in normal, typical, commercial use is necessary to view the ESI produced in full,

native, and usable form with full functionality, then a copy of or license to the necessary software

shall be produced together with the ESI.


DOCS_LA:350996.2 78512/001
Case 2:23-bk-10990-SK         Doc 391
                                  350 Filed 10/04/23
                                            09/15/23 Entered 10/04/23
                                                               09/15/23 11:54:55
                                                                        15:58:48                  Desc
                              Main Document   Page 547
                                                    269 of 557
                                                           277



        D.       Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, documents should

either be organized and labeled to correspond with the categories in this Document Request or

produced as they are kept in the normal course of business.

        E.       If any of the requested documents fall within the scope of this Request, but have

not been produced on grounds that such documents are privileged, please provide the following

information as to each document to which such claim is made: (a) the privilege that is grounds for

withholding the Document; (b) the nature of the Document (e.g., letter, spreadsheet,

memorandum); (c) the date that the Document was prepared; (d) the name/title of the author; (e)
the name/title of each recipient or addressee of the Document; (f) the number of pages withheld;

and (g) the name and location of the current custodian of the Document.

        F.       Unless otherwise provided herein, the relevant period of inquiry for these Requests

is January 1, 2015 through July 31, 2023.

                         DEFINITIONS FOR DOCUMENT PRODUCTION

                                 AND EXAMINATION TOPICS

        1.        “YOU” or “YOUR” means Bank Hapoalim, BM, dba Bank Hapoalim

International, its subsidiaries and affiliates, including, but not limited to, Bank Hapoalim, USA.

        2.       “CONCERNING” means and includes relating to, constituting, defining,

evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

        3.       “DOCUMENT” or “DOCUMENTS” is defined to have the same meaning and to

be equal in scope to the terms “documents” and “electronically stored information” as used in the

Federal Rules of Civil Procedure 34(a) and/or “writings” as defined in the Federal Rules of

Evidence 1001, and each “duplicate” as defined in the Federal Rules of Evidence 1001.

“DOCUMENTS” means and includes all written, recorded, transcribed or graphic matter of every

nature, type and kind, however and by whomever produced, reproduced, disseminated or made.

This includes, but is not limited to, any and all originals, copies or drafts of any and all of the

following: papers; books; letters; correspondence; memoranda; notes; notations; transcripts;

                                                  2
DOCS_LA:350996.2 78512/001
Case 2:23-bk-10990-SK         Doc 391
                                  350 Filed 10/04/23
                                            09/15/23 Entered 10/04/23
                                                               09/15/23 11:54:55
                                                                        15:58:48            Desc
                              Main Document   Page 548
                                                    270 of 557
                                                           277



minutes; reports; appraisals; estimates; projections; charts, graphs and tables; schedules;

proposals; offers; contracts; agreements; signature cards; checks, canceled checks and bank or

account statements; and any information contained in any computer tape, card, disk, drive,

program or other device; computer print-outs; microfilm; microfiche; any other tangible or

intangible thing or item that contains any information; and, all “writings and recordings” and

“photographs” (and all negatives thereof) as defined in and by the Federal Rules of Evidence, Rule

1001.

        4.       “KLEIN” means the individual Leslie Klein and any alias name including
Menachem Klein, and/or Lutzy Klein.


        5.       “KLEIN ASSOCIATED ENTITY” means the following organizations:

The Klein Charitable Remainder Unitrust dated 2-20-1996
The Klein Trust
Klein Charitable Remainder Unitrust
Klein Charitable Remainder Annuity
Klein Living Trust dated April 8, 1990
EKLK Foundation
Doctors Marketing Group, LLC
Doctors Marketing Network LLC
Doctors Referral Service LLC
Doctors Marketing Nationwide, Inc. (MD entity)
The Patient Referral Network, LLC (MD entity)
Bay Area Development Co.
Big Boyz Legal, LLC
Litigation Financing, LLC

        6.       “TRANSFERS” means any and all payments, credits, debits, deposits, in

whatever form made, be it wire, check, ACH or otherwise.

                                   DOCUMENT REQUESTS

        Request No. 1:

        All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS, for

all the following accounts, whether active or inactive:



                                                 3
DOCS_LA:350996.2 78512/001
Case 2:23-bk-10990-SK               Doc 391
                                        350 Filed 10/04/23
                                                  09/15/23 Entered 10/04/23
                                                                     09/15/23 11:54:55
                                                                              15:58:48      Desc
                                    Main Document   Page 549
                                                          271 of 557
                                                                 277



           a.       KLEIN;

           b.       KLEIN ASSOCIATED ENTITY

           Request No. 2:

           All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS,

associated with the following address, whether active or inactive (excluding accounts solely held

in the name of Barbara Roth Klein):

                                                322 N. June Street
                                              Los Angeles, CA 90004

           Request No. 3:
           All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS,

associated with the following taxpayor id, whether active or inactive:

           •        ___-__-69441

           Request No. 4:

           All DOCUMENTS maintained by YOU, including, but not limited to, TRANSFERS, for

any credit card issued or underwritten by YOU to KLEIN or a KLEIN ASSOCIATED ENTITY.




1
    The full social security number will be provided upon request.

                                                            4
DOCS_LA:350996.2 78512/001
Case 2:23-bk-10990-SK         Doc 391
                                  350 Filed 10/04/23
                                            09/15/23 Entered 10/04/23
                                                               09/15/23 11:54:55
                                                                        15:58:48            Desc
                              Main Document   Page 550
                                                    272 of 557
                                                           277

                                            EXHIBIT B

             TO DEPOSITION ON WRITTEN QUESTIONS TO SUBPOENA OF

              BANK HAPOALIM, BM dba BANK HAPOALIM, USA (“BANK”)

1.      Please state your full name, occupation, official title, and business address.

Answer: ______________________________________________________________________

2.      Are you the custodian of records for BANK?

Answer:

3.      In your capacity as custodian of records for BANK, are you familiar with whether BANK
        maintains records of its business activities?

Answer: ______________________________________________________________________

4.      Are the records of BANK kept under your care, supervision, custody, or control?

Answer: ______________________________________________________________________

5.      Was it in the regular course of business activities of BANK for a person with personal
        knowledge of the act, event, condition, opinion, or diagnosis identified in the records
        requested in the attached Exhibit A, to make such records or to transmit such information
        to be included in the records?

Answer:

6.      Were the documents requested in Exhibit A made at or near the time of the act, event,
        condition, opinion, or diagnosis identified in the records or within a reasonable time
        thereafter?

Answer: ______________________________________________________________________

7.      Were the documents requested in the attached Exhibit A made and kept in the regular
        course of daily business activities by BANK?

Answer: ______________________________________________________________________

8.      Were the documents requested in the attached Exhibit A transmitted to your files, and did
        you maintain the records as part of your official duties as the custodian of records for
        BANK?

Answer: ______________________________________________________________________




DOCS_LA:350997.2 78512/001
Case 2:23-bk-10990-SK        Doc 391
                                 350 Filed 10/04/23
                                           09/15/23 Entered 10/04/23
                                                              09/15/23 11:54:55
                                                                       15:58:48                Desc
                             Main Document   Page 551
                                                   273 of 557
                                                          277

9.      Please hand the originals or exact duplicates of the documents requested in the attached
        Exhibit A to the [court reporter/notary public] taking your deposition for photocopying
        and attachment to this deposition. Have you now given all documents requested in the
        attached Exhibit A to the [court reporter] taking your deposition? If not, identify for the
        [court reporter] the records and documents you did not produce and explain why you did
        not produce them.

Answer: ___________________________________________________________________

10.     In the event you are unable to find any of the records requested in the subpoena you
        received, how long does BANK maintain its files, and does BANK ever destroy its files?

Answer: ___________________________________________________________________

11.     Are you aware of any other entities or persons that may have possession of records
        pertaining to those identified in Exhibit A? If so, please state the name and address of
        such entity or person, if known.

Answer: __________________________________________________________________

12.     Have you been requested or directed by any person to withhold or protect, for any reason,
        the records identified in Exhibit A? Has any person suggested that you should withhold
        or protect the records identified in Exhibit A? If so, please state the name and address of
        the person who conveyed this information to you and when such event occurred.

Answer: __________________________________________________________________

13.     Do you know or have reason to believe that the records identified in Exhibit A have in
        any manner been edited, purged, culled, or otherwise altered? If so, please identify the
        records and why they were altered or removed.

Answer: ___________________________________________________________________

14.     If any document responsive to this subpoena was, but is no longer, in your possession,
        custody, or control, or no longer exists, state whether (1) it is missing or lost, (2) it was
        destroyed, (3) it was transferred to others, or (4) it was otherwise disposed of, and explain
        the circumstances surrounding its disposition, including the date of such disposition.

Answer: __________________________________________________________________




DOCS_LA:350997.2 78512/001                        2
Case 2:23-bk-10990-SK        Doc 391
                                 350 Filed 10/04/23
                                           09/15/23 Entered 10/04/23
                                                              09/15/23 11:54:55
                                                                       15:58:48               Desc
                             Main Document   Page 552
                                                   274 of 557
                                                          277


                                          VERIFICATION

STATE OF                              )
     ss.                              )
COUNTY OF                             )

        Before me, the undersigned authority, on this day personally appeared

        _______________________________, custodian of records for Bank Hapoalim, BM and
Bank Hapoalim, USA, known to me to be the person whose named is subscribed to the foregoing
instrument in the capacity therein stated, who being first duly sworn, stated upon his/her oath
that the answers to the foregoing questions are true and correct. I further certify that the records
attached hereto are exact duplicates of the original records.



                                              Witness

SWORN TO ME AND SUBSCRIBED before me by ___________________ on
_______________________, ______.




DOCS_LA:350997.2 78512/001                       3
        Case 2:23-bk-10990-SK                   Doc 391
                                                    350 Filed 10/04/23
                                                              09/15/23 Entered 10/04/23
                                                                                 09/15/23 11:54:55
                                                                                          15:58:48                                       Desc
                                                Main Document   Page 553
                                                                      275 of 557
                                                                             277



                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                             10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION FOR ORDER WITHOUT HEARING
PURSUANT TO LBR 9013-1(o) [WITH ATTACHED MOTION OF CHAPTER 11 TRUSTEE, FOR ORDER
AUTHORIZING THE EXAMINATION OF BANK HAPOALIM, BM DBA BANK HAPOALIM, USA PURSUANT TO FED.
R. BANKR. P. 2004; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF BRADLEY D. SHARP,
NICHOLAS R. TROSZAK AND JEFFREY P. NOLAN IN SUPPORT THEREOF] will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 15, 2023 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) September 15, 2023 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 15, 2023
    , I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here
constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours
after the document is filed.

                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 9/15/2023              Rolanda Mori                                                       /s/ Rolanda Mori
 Date                        Printed Name                                                      Signature


            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 3                   F 9013-1.2.NO.HEARING.NOTICE
DOCS_LA:351194.1 78512/001
        Case 2:23-bk-10990-SK                   Doc 391
                                                    350 Filed 10/04/23
                                                              09/15/23 Entered 10/04/23
                                                                                 09/15/23 11:54:55
                                                                                          15:58:48                                       Desc
                                                Main Document   Page 554
                                                                      276 of 557
                                                                             277



ADDITIONAL SERVICE LIST:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
     Simon Aron    saron@wrslawyers.com, moster@wrslawyers.com
     Reem J Bello    rbello@goeforlaw.com, kmurphy@goeforlaw.com
     Ron Bender    rb@lnbyg.com
     Michael Jay Berger    michael.berger@bankruptcypower.com,
        yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
       Greg P Campbell ch11ecf@aldridgepite.com, gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
       Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
       Theron S Covey tcovey@raslg.com, sferry@raslg.com
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Dane W Exnowski dane.exnowski@mccalla.com,
        bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
       Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
       Michael I. Gottfried mgottfried@elkinskalt.com,
        cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
       Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
       Michael S Kogan mkogan@koganlawfirm.com
       Marc A Lieberman marc.lieberman@flpllp.com, safa.saleem@flpllp.com,addy@flpllp.com
       John W Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
       Ron Maroko ron.maroko@usdoj.gov
       Kirsten Martinez Kirsten.Martinez@bonialpc.com, Notices.Bonial@ecf.courtdrive.com
       Steven M Mayer smayer@mayerlawla.com
       Krikor J Meshefejian kjm@lnbyg.com
       Kenneth Misken Kenneth.M.Misken@usdoj.gov
       Jeffrey P Nolan jnolan@pszjlaw.com
       Eric J Olson eric@ejolsonlaw.com
       Jeffrey N Pomerantz jpomerantz@pszjlaw.com
       Brian A Procel bprocel@millerbarondess.com,
        rdankwa@millerbarondess.com;docket@millerbarondess.com
       Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
       Mark M Sharf (TR) mark@sharflaw.com,
        C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
       Bradley D. Sharp (TR) bsharp@dsi.biz
       Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
       Alan G Tippie Alan.Tippie@gmlaw.com,
        atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denise.walker@gm
        law.com
       Gary Tokumori gtokumori@pmcos.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Michael L Wachtell mwachtell@buchalter.com
       John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
       Brett J. Wasserman wasserman@smcounsel.com
       Alex M Weingarten aweingarten@willkie.com, lcarter@willkie.com
       Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
       Paul P Young paul@cym.law, jaclyn@cym.law
       Roye Zur rzur@elkinskalt.com,
        cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com

            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 3                   F 9013-1.2.NO.HEARING.NOTICE
DOCS_LA:351194.1 78512/001
        Case 2:23-bk-10990-SK                   Doc 391
                                                    350 Filed 10/04/23
                                                              09/15/23 Entered 10/04/23
                                                                                 09/15/23 11:54:55
                                                                                          15:58:48                                       Desc
                                                Main Document   Page 555
                                                                      277 of 557
                                                                             277


2. SERVED BY UNITED STATES MAIL:

Nathan Talei
Oldman, Sallus & Gold, L.L.P.
16133 Ventura Blvd., PH-A
Encino, CA 91436
Counsel for Debtor
Michael Kogan, Esq.
Kogan Law Firm
11500 W. Olympic Blvd., Suite 400
Los Angeles, CA 90064




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 3                   F 9013-1.2.NO.HEARING.NOTICE
DOCS_LA:351194.1 78512/001
        Case 2:23-bk-10990-SK                   Doc 391 Filed 10/04/23 Entered 10/04/23 11:54:55                                         Desc
                                                Main Document   Page 556 of 557

                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                          10100 Santa Monica Boulevard, Suite 1300, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: DECLARATION THAT NO PARTY REQUESTED A
HEARING ON MOTION [LBR 9013-1(o)(3)] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
   10/04/23 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                          Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)      10/04/23 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Via FedEx
Hon. Sandra R. Klein
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1582
Los Angeles, CA 90012
                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


10/04/2023                    Maria R. Viramontes                                         /s/Maria R. Viramontes
 Date                         Printed Name                                                    Signature




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                           Page 3                    F 9013-1.2.NO.REQUEST.HEARING.DEC
DOCS_LA:351611.1 78512/001
                                                                                                                              American LegalNet, Inc.
                                                                                                                              www.FormsWorkFlow.com
         Case 2:23-bk-10990-SK                  Doc 391 Filed 10/04/23 Entered 10/04/23 11:54:55                                         Desc
                                                Main Document   Page 557 of 557
    SERVICE INFORMATION FOR CASE NO. 2:23-bk-19090-SK
    1.     TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)


        Simon Aron saron@wrslawyers.com, moster@wrslawyers.com
        Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
        Ron Bender rb@lnbyg.com
        Michael Jay Berger michael.berger@bankruptcypower.com,
         yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
        Greg P Campbell ch11ecf@aldridgepite.com, gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
        Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
        Theron S Covey tcovey@raslg.com, sferry@raslg.com
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Dane W Exnowski dane.exnowski@mccalla.com, bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
        Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
        Michael I. Gottfried mgottfried@elkinskalt.com,
         cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
        Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
        Michael S Kogan mkogan@koganlawfirm.com
        John W Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
        Ron Maroko ron.maroko@usdoj.gov
        Kirsten Martinez Kirsten.Martinez@bonialpc.com, Notices.Bonial@ecf.courtdrive.com
        Steven M Mayer smayer@mayerlawla.com
        Krikor J Meshefejian kjm@lnbyg.com
        Kenneth Misken Kenneth.M.Misken@usdoj.gov
        Jeffrey P Nolan jnolan@pszjlaw.com
        Eric J Olson eric@ejolsonlaw.com
        Jeffrey N Pomerantz jpomerantz@pszjlaw.com
        Brian A Procel bprocel@millerbarondess.com, rdankwa@millerbarondess.com;docket@millerbarondess.com
        Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
        Mark M Sharf (TR) mark@sharflaw.com, C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
        Bradley D. Sharp (TR) bsharp@dsi.biz
        Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
        Alan G Tippie Alan.Tippie@gmlaw.com,
         atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denise.walker@gmlaw.com
        Gary Tokumori gtokumori@pmcos.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Michael L Wachtell mwachtell@buchalter.com
        John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
        Alex M Weingarten aweingarten@willkie.com, lcarter@willkie.com
        Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
        Paul P Young paul@cym.law, jaclyn@cym.law
        Roye Zur rzur@elkinskalt.com, cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                           Page 3                    F 9013-1.2.NO.REQUEST.HEARING.DEC
DOCS_LA:351611.1 78512/001
                                                                                                                              American LegalNet, Inc.
                                                                                                                              www.FormsWorkFlow.com
